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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


                                       :
  METUCHEN CENTER, INC.                :
                                       : Civil Action
                                       :
                                       : No.3:20-cv-12584-FLW-TJB
                                       :
                           Plaintiffs, :
              vs.                      :
                                       :
                                       :
  LIBERTY MUTUAL INSURANCE             :
  COMPANY, WEST AMERICAN               :
  INSURANCE COMPANY, Et Als.           :
                                       :
                                       :
                                       :
                         Defendants. :



 ________________________________________________________________________

       PLAINTIFF’S NOTICE OF MOTION FOR SUMMARY JUDGMENT

 ________________________________________________________________________

 To:   Rachel R. Hager, Esq.
       FINAZZO COSSOLINI O’LEARY
       MEOLA & HAGER, LLC
       67 East Park Place, Suite 901
       Morristown, New Jersey 07960
       Tel: 973-343-4960
       Fax: 973-343-4970
       Attorney for Defendant

       PLEASE TAKE NOTICE that, on January 4, 2021, at nine o’clock in the

 forenoon, or as soon thereafter as undersigned counsel may be heard, the plaintiff shall
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 apply to the United States District Court for the District of New Jersey (Trenton) for an

 Order granting summary judgment in favor of the plaintiff and against the defendant in

 the above-captioned matter. In support of its Motion, the plaintiff shall rely on the

 supporting Memorandum of Law, Statement of Undisputed Material Facts, and

 Certification of Services, all of which are being filed herewith and incorporated herein by

 reference. A proposed form of Order is enclosed.

       Oral argument is requested.

                                                    /s/ Michael J. Deem
                                                    MICHAEL J. DEEM, Esq.
                                                    R.C. SHEA & ASSOCIATES
                                                    Counsellors At Law, P.C.
                                                    244 Main Street – PO Box 2627
                                                    Toms River, New Jersey 08754-2627
                                                    Tel: (732) 505-1212
                                                    Fax: (732) 505-1360
                                                    Attorney Id. # 020391998
                                                    Attorney for Plaintiff
                                                    File Number:     134473
                                                    Mdeem@rcshea.com

 Dated: December 7, 2020
Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 3 of 376 PageID: 203




                              CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2020, I electronically filed the foregoing

 document with the Clerk of Court using the CM/ECF system, which will send notification

 of such filing to all CM/ECF participants. I also caused to be sent by United States Mail,

 first class postage prepaid, a true and correct courtesy copy of the foregoing to the

 Chambers of the Honorable Freda L. Wolfson, United States District Court, District of

 New Jersey, Clarkson S. Fischer Federal Bldg. & U.S. Courthouse, 402 E. State Street,

 Trenton, New Jersey 08608.
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


                                       :
  METUCHEN CENTER, INC.                :
                                       : Civil Action
                                       :
                                       : No.3:20-cv-12584-FLW-TJB
                                       :
                           Plaintiffs, :
              vs.                      :
                                       :
                                       :
  LIBERTY MUTUAL INSURANCE             :
  COMPANY, WEST AMERICAN               :
  INSURANCE COMPANY, Et Als.           :
                                       :
                                       :
                                       :
                         Defendants. :



 ________________________________________________________________________

               ORDER GRANTING PLAINTIFF SUMMARY JUDGMENT

 ________________________________________________________________________

                THIS MATTER having been opened to the Court by Michael J. Deem, Esq.,

 of the firm of R. C. Shea & Associates, P.C., attorneys for Plaintiff, and the Court having

 considered the moving papers and exhibits attached thereto and defendants’ opposition,

 for good cause having been shown,

                IT IS on this __________ day of ____________________, 2021

           ORDERED, that summary judgment is hereby granted to the plaintiff, and it is

 further
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        ORDERED that no policy exclusion applies to bar or limit coverage for plaintiff’s

 business interruption claim under policy BZW(20) 58 89 98 09; and it is further

        ORDERED that the mandatory closure of the plaintiff’s non-essential business

 constitutes direct physical loss of or damage to covered property; and it is further

        ORDERED that a copy of this Order shall be deemed served upon all counsel of

 record upon being e-filed by the court.



                                                       _____________________________


        __________ Opposed

        __________ Unopposed
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


                                        :
   METUCHEN CENTER, INC.                :
                                        : Civil Action
                                        :
                                        : No.3:20-cv-12584-FLW-TJB
                                        :
                            Plaintiffs, :
               vs.                      :
                                        :
                                        :
   LIBERTY MUTUAL INSURANCE             :
   COMPANY, WEST AMERICAN               :
   INSURANCE COMPANY, Et Als.           :
                                        :
                                        :
                                        :
                          Defendants. :



 ________________________________________________________________________

  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
                          SUMMARY JUDGMENT
 ____________________________________________________________________
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            I.      The defendant’s virus exclusion, as written, is ambiguous because
                    a policy holder cannot make out the boundaries of coverage. . . . . . . . . .                        2

            II.     A fair and reasonable reading of the West American
                    Insurance Company virus exclusion necessarily requires
                    that the virus first reach the insured’s property in order
                    for the exclusion to bar a claim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     9

           III.     The mandatory closure of the plaintiff’s business constituted
                    a “direct physical loss of or damage to its covered property.” . . . . . . . .                      14

          IV.       In the event the defendant takes the position that
                     “direct physical loss” and “direct physical damage”
                    mean the same thing then this honorable court is urged
                    to not read an insurance policy in such a way that it
                    renders another provision meaningless. . . . . . . . . . . . . . . . . . . . . . . . . .            15

           V.       The terms “direct physical loss of” or “damage to”, as
                    used in the West American insurance policy, are ambiguous
                    because they have more than one legitimate meaning,
                    therefore this honorable court is urged to adopt a meaning
                    that is most favorable to the insured as required by law . . . . . . . . . . . . . 18

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                         SUMMARY JUDGMENT STANDARD

        Summary judgment is appropriate “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(a). The “mere existence of some alleged factual dispute between the

 parties will not defeat an otherwise properly supported motion for summary judgment; the

 requirement is that there be no genuine issue of material fact.” Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 247-48 (1986).

        A fact is only “material” for purposes of a summary judgment motion if a dispute

 over that fact “might affect the outcome of the suit under the governing law.” Id. at 248.

 The nonmoving party “must present more than just ‘bare assertions, conclusory allegations

 or suspicions’ to show the existence of a genuine issue.” Podobnik v. U.S. Postal Serv.,

 409 F.3d 584, 594 (3d Cir. 2005) (citation omitted). Further, the nonmoving party is

 required to “point to concrete evidence in the record which supports each essential element

 of its case.” Black Car Assistance Corp. v. New Jersey, 351 F. Supp. 2d 284, 286 (D.N.J.

 2004). If the nonmoving party “fails to make a showing sufficient to establish the existence

 of an element essential to that party’s case, and on which . . . [it has] the burden of proof,”

 then the moving party is entitled to judgment as a matter of law. Celotex Corp. v. Catrett,

 477 U.S. 317, 322-23 (1986).




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                                           POINT I

   THE DEFENDANT’S VIRUS EXCLUSION, AS WRITTEN, IS AMBIGUOUS
  BECAUSE A POLICY HOLDER CANNOT MAKE OUT THE BOUNDARIES OF
                               COVERAGE.
   ____________________________________________________________________

        When members of the public purchase policies of insurance they are entitled to the

 broad measure of protection necessary to fulfill their reasonable expectations. They should

 not be subject to technical encumbrances or to hidden pitfalls and their policies should be

 construed liberally in their favor to the end that coverage is afforded ‘to the full extent that

 any fair interpretation will allow.’” Danzeisen v. Selective Ins. Co. of America, 298 N.J.

 Super. 383, 388 (App. Div. 1997). Additionally, when the court is called upon to interpret

 an ambiguous phrase in an insurance contract it should “consider whether more precise

 language by the insurer, had such language been included in the policy, would have put the

 matter beyond ‘reasonable question.’” Gibson v. Callaghan, 158 N.J. 662, 670 (1999)

 (quoting Doto v. Russo, 140 N.J. 544, 557 (1995)).

        In the case at bar, the plaintiff purchased an All Risk Policy which is a special type

 of insurance covering all fortuitous losses in the absence of fraud or other intentional

 misconduct of the insured, unless a specific provision in the insurance policy expressly

 excludes or limits the loss from coverage. Victory Peach Group, Inc. Greater N.Y. Mutual

 Ins. Co., 310 N.J. Super. 82, 87-88 (App. Div. 1998). (Ex. “A”) In other words, an All Risk

 Policy insures all risks unless specifically excluded or limited. However, plaintiff

 maintains that the West American policy contains ambiguity.                Ambiguity, in the



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 context of an insurance policy interpretation, means that a term or contract may have

 more than one legitimate meaning. In Weedo v. Stone-E-Brick, 81 N.J. 233, 247

 (1979) the court defined an ambiguity as follows, “[w]e conceive a genuine

 ambiguity to arise where the phrasing of the policy is so confusing that the average

 policy holder cannot make out the boundaries of coverage.” The following relevant

 policy language is at issue in this case:

             SECTION I – PROPERTY

             A.      Coverage

             We will pay for direct physical loss of or damage to Covered
             Property at the premises described in the Declarations caused
             by or resulting from any Covered Cause of Loss.

 (Ex. “A”, WAP 52) “Covered Cause of Loss” means “direct physical loss unless the loss

 is excluded or limited under Section I- Property.” (Ex. “A”, WAP 53)

             B. Exclusions

             1. We will not pay for loss or damage caused directly or
             indirectly by any of the following. Such loss or damage is
             excluded regardless of any other cause or event that contributes
             concurrently or in any sequence to the loss. These exclusions
             apply whether or not the loss event results in widespread
             damage or affects a substantial area.
                             ....

 (Ex. “A”, WAP 071)

             j. Virus Or Bacteria

             (1) Any virus, bacterium or other microorganism that induces
             or is capable of inducing physical distress, illness or disease.



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              (2) However, the exclusion in Paragraph (1) does not apply to
              loss or damage caused by or resulting from "fungi", wet rot or
              dry rot. Such loss or damage is addressed in Exclusion i.

              (3) With respect to any loss or damage subject to the exclusion
              in Paragraph (1), such exclusion supersedes any exclusion
              relating to "pollutants".


 (Ex. “A”, WAP 073)

        Defendant West American contends, as set forth in its claim denial letter, that

 its virus exclusion bars Plaintiff’s claims because, “[t]he closing of the Athletic Apparel

 store was not due to physical loss or damage. The decision to suspend operations was

 to limit the spread of Coronavirus (COVID-19). The policy specifically excludes

 losses caused by or resulting from a virus and from contamination.” (Exhibit “E”)

 Such a broad exclusion does not apply to the instant situation but even if it did, the cause

 of Plaintiff’s loss were the Closure Orders, State of Emergency, Public Health Emergency,

 and constructive eviction, not the coronavirus.

        Insurance policy exclusions are to be strictly construed, and because insurers

 control the language, size of print, and placement of their obligations and coverage

 limitations, courts require exclusions be made in an unequivocal manner, so prominently

 placed and so clearly phrased that “he who runs can read.” Argent v. Brady, 386 N.J.

 Super. 343 (App. Div. 2006) (citing Weedo v. Stone-E-Brick, Inc., 155 N.J. Super. 474,

 485 (App. Div. 1997). The ambiguity of the defendant’s virus exclusion is demonstrated

 below. The virus exclusion states the following:




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             B. Exclusions

             1. We will not pay for loss or damage caused directly or
             indirectly by any of the following. Such loss or damage is
             excluded regardless of any other cause or event that contributes
             concurrently or in any sequence to the loss. These exclusions
             apply whether or not the loss event results in widespread
             damage or affects a substantial area.


 (Ex. “A”, WAP 071) In one breath the insurer says it will not pay for “loss” or “damage”,

 which on its face seems distinguishable from “physical loss” or “physical damage”. This

 is significant because the opening paragraph of the “Businessowners Coverage Form” (Ex.

 “A”, WAP 051) states that

              [v]arious provisions in this policy restrict coverage. Read the
              entire policy carefully to determine rights, duties and what is
              and is not covered. Throughout this Coverage Form the words
              “you” and “your” refer to the Named Insured shown in the
              Declarations. The words “we”, “us” and “our” refer to the
              company providing this insurance.

                                          ....
              Other words and phrases that appear in quotation marks have
              special meaning. Refer to Paragraph H. Property Definitions.
              [emphasis added]


 (Ex. “A”, WAP 052)

 Nowhere in the policy are the words “loss” or “damage” defined because they were never

 assigned a special meaning. Likewise nowhere in the policy are the terms “direct physical

 loss” or “direct physical damage” defined, again because these terms were never assigned

 a special meaning. This is disturbing. The lack of clarify creates confusion because

 throughout the policy these words and terms are used separately, independently, and

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 interchangeably yet they are never defined, anywhere in the policy. “Other words and

 phrases that appear in quotation marks have special meaning”, yet the defendant’s

 deliberate failure to define these words and terms allow it to manipulate their meanings to

 fit its narrative. These undefined terms happen to be the pivotal issue in many, if not all,

 of these business interruption claims where the insurer alleges that its insured did not suffer

 a “direct physical loss of or damage to Covered Property.” (Ex. “A”, WAP 052)

        The virus exclusion is a prime example. The exclusion section of the policy opens

 up with the following paragraph:

              1. We will not pay for loss or damage caused directly or
              indirectly by any of the following. Such loss or damage is
              excluded regardless of any other cause or event that contributes
              concurrently or in any sequence to the loss. These exclusions
              apply whether or not the loss event results in widespread
              damage or affects a substantial area.


 As the reader can clearly see, the insurer has attempted to exclude “loss or damage caused

 directly or indirectly by any of the following”, but this language does not exclude “direct

 physical loss of or damage to Covered Property”. (Ex. “A’, WAP 052) The insurer then

 went a step further and added what is known as the anti-concurrent causation clause. This

 clause states that “[s]uch loss or damage is excluded regardless of any other cause or event

 that contributes concurrently or in any sequence to the loss.” (emphasis added) According

 to the insurer, in order for this anti concurrent causation clause to apply the insured must

 have sustained only a “loss”, but apparently not “damage” since “damage” was written-

 out of this anti concurrent causation clause exclusion.



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        In order to understand what the anti-concurrent causation clause means and how it

 applies to insurance claims, one needs to first realize that “concurrent causation” is a

 method of handling losses or damages that occur from more than one cause at the same

 time. For example, if a windstorm and flood hit a home at the same time and cause damage,

 for example, then this is concurrent causation: the two events damaged the property at

 roughly the same time. In the insurance industry, concurrent causation occurs when a

 property experiences a loss from two separate causes. Issues arise when one cause is

 covered by the policy and the other is not. A policy may cover windstorm damage but not

 flood damage, for example. Depending on the policy language, damages from both causes

 are likely to be covered if the insurance policy has a concurrent causation clause. With a

 concurrent causation clause, the insurance company will be required to pay damages to the

 policyholder – even though one type of loss was excluded. However, damages will not be

 covered, if the insured has an anti-concurrent causation clause. Under anti-concurrent

 causation, the insurance company would not be required to pay any damages – even though

 one type of loss was covered.

        In the case at bar, the defendant has not demonstrated that any virus was on the

 insured property or that any virus caused a loss. In fact, the complaint alleged “direct

 physical damage”. There is no evidence that the COVID-19 Virus was in the area of the

 insured premises or even at the insured premises at the same time as the closure order went

 into effect. The excluded risks as proffered by the defendant must have produced a

 simultaneous loss in order for this exclusion to apply. If they did not occur to produce a

 simultaneous loss then the anti-concurrent causation clause does not bar plaintiff’s claim.

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        In addition, in first party coverage cases such as the one in the case at bar, “[i]n

 situations in which multiple events, one of which is covered, occur sequentially in a chain

 of causation to produce a loss, [New Jersey courts] have adopted the approach known as

 “Appleman’s rule,” pursuant to which the loss is covered if a covered cause of loss starts

 or ends the sequence of events leading to the loss. Flomerfelt v. Cardiello, 2020 N.J. 432,

 447 (2010). This rule applies to the case at bar. Plaintiff has filed a first party claim for

 coverage under its policy and defendant has denied the plaintiff’s claim. The defendant’s

 basis for its denial arises from the “virus exclusion” and the policy’s “anti-concurrent cause

 of loss” clause. However this clause does not apply because, pursuant to “Appleman’s

 rule’ a covered cause of loss ended the sequence of events leading to the loss. More

 specifically, the defendant stated in its denial letter to the plaintiff that, “We have

 determined that your Athletic apparel business was fully shutdown and has suffered loss

 of income due to government recommendations or restrictions on the travel of people

 as a preventative measure to slow the spread of COVID-19.” (Ex. “E”) This “preventive

 measure’ is what started the ball rolling. A virus was never on or around the insured

 property. The closure orders resulted in a constructive eviction which is a covered cause

 of loss under the subject policy because it is not specifically excluded. The “preventive

 measure’ preceded the “constructive eviction” which ended the sequence of events leading

 to the loss.

        For all of the foregoing reasons, the plaintiff’s motion for summary judgment should

 be granted.



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                                           POINT II

       A FAIR AND REASONABLE READING OF THE WEST AMERICAN
    INSURANCE COMPANY VIRUS EXCLUSION NECESSARILY REQUIRES
   THAT THE VIRUS FIRST REACH THE INSURED’S PROPERTY IN ORDER
                  FOR THE EXCLUSION TO BAR A CLAIM
      _______________________________________________________________


         In the case at bar the plaintiff’s property was not contaminated by the coronavirus.

 Plaintiff’s claimed loss is not for decontaminating its premises as a result of a coronavirus

 infestation. Plaintiff did not close as a result of coronavirus contamination at the premises.

 No one became sick with Covid-19 as a result of exposure at plaintiff’s premises.

         The aforementioned is significant because the defendant’s virus exclusion does not

 say that coverage is excluded while trying to prevent the spread of a virus and it does not

 say that coverage is excluded when a virus is not on the insured premises. Such language

 is nowhere to be found in the virus exclusion, but it does exist elsewhere in the policy as

 will be discussed below. In fact if we were to circle-back to the defendant’s denial letter

 it states that

                  The policy provides Business Income coverage when there
                  is a suspension of your operations at the described premises
                  and results from a covered cause of loss. The Civil
                  Authority Additional Coverage is only applicable when
                  access to the described premises is prohibited when there is
                  direct physical damage to other property, not on the
                  described premises, from a covered cause of loss. The
                  closing of the Athletic Apparel store was not due to physical
                  loss or damage. The decision to suspend operations was to
                  limit the spread of Coronavirus (COVID-19). The policy
                  specifically excludes losses caused by or resulting from a
                  virus and from contamination. [emphasis added]


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        (Statement of Facts ¶ 16)

 The policy’s Civil Authority Coverage is rather specific and is triggered when there is

 direct physical damage to other property, not on the described premises. (Ex. “A”, WAP

 061) Under the policy’s “Additional Coverage” section, sub-paragraph “f. Business

 Income” states that

               (a) We will pay for the actual loss of Business Income you
               sustain due to the necessary suspension of our “operations”
               during the “period of restoration”. The suspension must be
               caused by direct physical loss of or damage to property at the
               described premises. The loss or damage must be caused by or
               result from a Covered Cause of Loss. With respect to loss of or
               damage to personal property in the open or personal property
               in a vehicle, the described premises include the area within 100
               feet of such premises. [emphasis s added]


 (Ex. “A”, WAP 058)

        In the case at bar, the defendant’s virus exclusion does not say it applies when

 there is a virus not on the described premises or elsewhere other than the insured premises.

 Likewise the virus exclusion does not say that is applied while trying to prevent the spread

 of a virus. The defendant’s virus exclusion, as written, states in relevant part as follows:

               B.     Exclusions
               1. We will not pay for     loss or damage caused directly or
               indirectly by any of the   following. Such loss or damage is
               excluded regardless of      any other causes or event that
               contributes concurrently    or in any sequence of the loss.
               [emphasis added]

 (Ex. “A”, WAP 071)
                                             ....
                j. Virus Or Bacteria


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              (1) Any virus, bacterium or other microorganism that induces
              or is capable of inducing physical distress, illness or disease.


 (Ex. “A”, WAP 073)

        The policy’s virus exclusion is ambiguous because it does not define the

 geographic scope of the exclusion unlike Government Action exclusion and the Ordinance

 or Law exclusion which contain a geographic scope. Although the virus exclusion applies

 to “Any virus, bacterium or other microorganism that induces or is capable of inducing

 physical distress, illness or disease” it does not define at what point it applies, where it

 applies, or where is does not apply? Does the virus exclusion apply only within the

 insured premises? Does it apply within 100 feet of the insured premises or perhaps a

 1,000 feet of the insured premises? Clearly the insurer knew when it wrote this policy

 that there was a distinction between excluding a risk that occurs on the insured premises

 and a risk that does not occur on the insured premises. Yet, in the case at bar the defendant

 chose not to include such defining language in its virus exclusion yet it chose to use such

 defining language in other exclusions.

        This distinction leads a reasonable person to believe two things. First that the virus

 must reach the insured premises in order for the exclusion to apply. Second, the virus

 exclusion does not apply to an attempt to control or prevent the spread of a virus. We

 know this to be true by reading the defendant’s Civil Authority Coverage discussed above

 and the defendant’s Government Action exclusion which applies to prevent the spread of

 a fire. The Government Action exclusion states, in relevant part, the following:



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               c.     Government Action

               Seizure or destruction of property by order of governmental
               authority.

               But we will pay for loss or damage caused by or resulting from
               acts of destruction ordered by governmental authority and
               taken at the time of a fire to prevent its spread. . . . [emphasis
               added]


 (Ex. “A”, WAP 072)

 The Government Action exclusion applies when a governmental authority is trying to

 prevent the spread of the risk, and in particular a fire. This Government Action exclusion

 is adequately defined to inform the insured of the scope of the exclusion and more

 importantly that the exclusion will apply before the risk reaches the insured’s property.

 However, there is not a single exclusion in the subject policy that precludes coverage when

 a governmental entity tries to prevent the spread of a virus. Similarly, the Ordinance or

 Law exclusion “applies whether the loss results from: (a) an ordinance or law that is

 enforced even if the property has not been damaged.” (Ex. “A”, WAP 071)

        In the case at bar, we clearly see the insurer’s intent to cover certain property beyond

 the described premises but up to only 100 feet. Had the insurer defendant intended to

 exclude a virus that had not reached the insured’s premises then it was certainly capable of

 delineating a precise geographic area, such as was done within the “f. Business Income”

 coverage or the Government Action exclusion or the Ordinance or Law exclusion. Within

 the subject policy there seems to be a theme whereby the policy’s various coverages are

 worded more precisely than many of their exclusions which is a problem. As stated earlier,


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 when members of the public purchase policies of insurance they are entitled to the broad

 measure of protection necessary to fulfill their reasonable expectations. They should not

 be subject to technical encumbrances or to hidden pitfalls, and their policies should be

 construed liberally in their favor to the end that coverage is afforded ‘to the full extent that

 any fair interpretation will allow.’” Danzeisen v. Selective Ins. Co. of America, 298 N.J.

 Super. 383, 388 (App. Div. 1997). Additionally, when the court is called upon to interpret

 an ambiguous phrase in an insurance contract it should “consider whether more precise

 language by the insurer, had such language been included in the policy, would have put the

 matter beyond ‘reasonable question.’” Gibson v. Callaghan, 158 N.J. 662, 670 (1999)

 (quoting Doto v. Russo, 140 N.J. 544, 557 (1995)). Insurance policy exclusions are to be

 strictly construed, and because insurers control the language, size of print, and placement

 of their obligations and coverage limitations, courts require exclusions be made in an

 unequivocal manner, so prominently placed and so clearly phrased that “he who runs can

 read.” Argent v. Brady, 386 N.J. Super. 343 (App. Div. 2006) (citing Weedo v. Stone-E-

 Brick, Inc., 155 N.J. Super. 474, 485 (App. Div. 1997).

        Therefore, given the construction rule that exclusions are to be narrowly construed,

 and the wording of the exclusion which is directed at losses resulting from viral

 contamination, defendant’s virus exclusion does not apply to Plaintiff’s loss of use. In light

 of the foregoing, plaintiff respectfully urges this Honorable Court to grant summary

 judgment in its favor.




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                                         POINT III

        THE MANDATORY CLOSURE OF THE PLAINTIFF’S BUSINESS
     CONSTITUTED A “DIRECT PHYSICAL LOSS OF OR DAMAGE TO ITS
                           COVERED PROPERTY.”
    ____________________________________________________________________

        On March 9, 2020, Governor Philip D. Murphy executed Executive Order 103

 which declared a State of Emergency and a Public Health Emergency throughout New

 Jersey. (Ex.“B”) Thereafter, on March 21, 2020, with the execution of Executive Order

 107, Governor Philip D. Murphy closed all New Jersey non-essential businesses

 indefinitely. (Ex. “C”) Plaintiff, MCA, as a sporting good apparel company was deemed

 a non-essential business and ordered closed by the Governor effective March 21, 2020.

 (Ex. “C”)

        The closure of MCI caused it to lose business income because MCI employees were

 not permitted to access or use of the insured premises. The mandatory closure of the

 plaintiff’s non-essential business constitutes a “physical loss” and/or “physical damage” as

 a reasonable person would understand these terms as used within the policy since these

 terms are not defined within the policy. The term “physical” has been held to be

 ambiguous since it can mean more than material alteration or damage, therefore it was

 incumbent upon the defendant(s) to clearly and specifically rule out coverage in the

 circumstances where it was not to be provided, something which did not occur in the case

 at bar. Wakefern Food Corp. v. Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524, 541-542

 (App. Div. 2009). “Physical Damage” is not restricted to the physical destruction or harm

 to the insured property, rather it includes the loss of access, loss of use and loss of


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 functionality of the insured/ scheduled premises. Wakefern Food Corp, 406 N.J. Super.

 543. This is precisely the type of loss suffered by plaintiff. Had defendant intended that

 its policy would not provide coverage for a State of Emergency, a Public Health

 Emergency, and or a Constructive Eviction then it was obligated to define its policy

 exclusion more clearly. Wakefern Food Corp. v. Liberty Mutual Fire Ins. Co., 406 N.J.

 Super. 524, 541 (App. Div. 2009)

        The plaintiff’s loss of use of the insured premises is precisely the type of event

 insured against under the subject policy. “Physical loss” and “physical damage”, although

 not defined in the subject policy, are clearly intended to include the physical loss of use of

 the insured premises. Quite frankly, this is the only reasonable interpretation of these

 otherwise undefined terms. As such, summary judgment should be granted to the plaintiff.

                                          POINT IV

  IN THE EVENT THE DEFENDANT TAKES THE POSITION THAT “DIRECT
  PHYSICAL LOSS” AND “DIRECT PHYSICAL DAMAGE” MEAN THE SAME
   THING THEN THIS HONORABLE COURT IS URGED TO NOT READ AN
    INSURANCE POLICY IN SUCH A WAY THAT IT RENDERS ANOTHER
                       PROVISION MEANINGLESS
         _______________________________________________________


        Construction and interpretation of insurance contracts, in other words, the meaning

 that is given to language used in an insurance policy, is one of the most important parts of

 the insurance law landscape. When disputes or uncertainty arise over the meaning of words

 in an insurance policy, it is the court that will interpret and decide the meaning of a single

 word, several words, a sentence or even an entire clause or section of a policy. Atl. Mut.



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 Ins. Co. v. Palisades Safety & Insurance Ass’n., 364 N.J. Super. 599, 604 (App. Div. 2003);

 National Union Fire Iins. Co. v. Transp. Ins. Co., 336 N.J. Super. 437, 443 (App. Div.

 2001)

         As a starting point, West American’s insurance policy covers business interruption

 losses caused by “direct physical loss of or damage to” the insured’s covered property. This

 Honorable court should not read an insurance policy in such a way that another provision

 would be meaningless. Homesite Ins. v. Hindman, 413 N.J. Super. 41, 47 (App. Div. 2010)

 (citing Hardy v. Abdul-Matin, 298 N.J. 95, 103-04 (2009)). “Or” is “used as a function

 word to indicate an alternative.” Merriam-Webster Dictionary. The disjunctive “or”

 should not be read in such a way that other words or phrases in the policy become

 surplusage. See Minkov v. Reliance Ins. Co. of Philadelphia, 54 N.J. Super. 509, 517-18

 (App. Div. 1959). Properly read, “physical loss” is something different than “physical

 damage” when they are joined by the disjunctive “or”.

          As noted, the policy covered physical losses in addition to physical
          damage, and if a physical loss could not occur without physical damage,
          then the policy would contain surplus language. However, a contract must,
          where possible, be interpreted so as to give reasonable meaning to each
          provision without rendering any portion superfluous. Thus, “direct
          physical loss” must mean something other than “direct physical damage.”
          Indeed, if “direct physical loss” required physical damage, the policy
          would not cover theft, since one can steal property without physically
          damaging it.

          Manpower, Inc. v. Ins. Co. of the State of Penn., 2009 WL 3738099, at 5 (E.D.

  Wis. Nov. 3, 2009); see also Studio 417, Inc., v. Cincinnati Ins. Co., 2020 WL 4692385,

  at 5 (W.D.Mo. Aug. 12, 2020) (“Defendant conflates ‘loss’ and ‘damage’ in support of

  its argument that the Policies require a tangible, physical alteration. However the Court
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  must give meaning to both terms.”)

       In interpreting a contract, the meaning of a word may be indicated by and

 controlled by those with which they are associated. Gil v. Clara Maas Medical Center, 450

 N.J. Super. 368, 386 (App. Div. 2017) (quoting Germann v. Matriss, 55 N.J. 193, 220

 (1970)). “As particularly relevant in the insurance world—where scriveners often use

 series of similar words and phrases as the means of reaching or ensuring a particular

 goal—‘words of a feather flock together.’” Id.

       Generally, the insured has the burden “to bring the claim within the basic
       terms of the policy.” Where language of a policy supports two reasonable
       meanings, one favorable to the insured the interpretation supporting
       coverage will be applied. Where an insurer claims the matter in dispute
       falls within exclusionary provisions of the policy, it bears the burden of
       establishing that claim. Coverage clauses are interpreted liberally,
       whereas exclusions are strictly construed. Further, as with any contract,
       construing insurance policies requires a broad search “for the probable
       common intent of the parties in an effort to find a reasonable meaning in
       keeping with the express general purposes of the policies” Finally,
       insurance contracts are to be interpreted so as to effectuate the reasonable
       expectations of the insured.


 Wakefern Food Corp. v. Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524, 538-539 (App.

 Div. 2009), (quoting S.T. Hudson Eng’rs, Inc. v. Pa. Nat’l Mut. Cas. Co., 388 N.J. Super.

 592, 603-604 (App. Div. 2006)).

       Take the defendant’s virus exclusion, as written, which states in relevant part.

             j. Virus Or Bacteria

              (1) Any virus, bacterium or other microorganism that induces
              or is capable of inducing physical distress, illness or disease.


 (Ex. “A’, WAP 073)

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        This exclusion purposefully included the word “or” as opposed to “and” to make

 it a point that any one of the three elements (virus, bacterium or other microorganism)

 may cause physical distress as opposed to the inclusion of the word “and” which would

 mean that all three elements must be the cause of the physical distress, illness and disease.

 In another example, the policy’s the Civil Authority Coverage is rather specific and is

 triggered when there is direct physical damage to other property, not on the described

 premises. The Civil Authority Coverage does not mention the word “loss” to other

 property. (Ex. “A”, WAP 061)

        Clearly, the use of the disjunctive word “or” was purposeful and it carries a very

 significant and distinct meaning and application. The words “loss” or “damage” carry

 different meanings because they are separated by the word “or” as opposed to “and”, so

 for the reasons set forth above, the plaintiff asks this Honorable Court to grant summary

 judgment in its favor.

                                          POINT V

   THE TERMS “DIRECT PHYSICAL LOSS OF” OR “DAMAGE TO”, AS USED
      IN THE WEST AMERICAN INSURANCE POLICY, ARE AMBIGUOUS
     BECAUSE THEY HAVE MORE THAN ONE LEGITIMATE MEANING,
   THEREFORE; THIS HONORABLE COURT IS EMPOWERED TO ADOPT A
   MEANING THAT IS MOST FAVORABLE TO THE INSURED AS REQUIRED
                                 BY LAW.
     _________________________________________________________________


        Plaintiff submits, for the reasons set forth above, that it suffered “direct physical

 loss” when its business was curtailed as a result of Governor Murphy’s Executive Orders. The

 more persuasive authority supports this result. However, if this Honorable Court is

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 undecided as to whether it should follow the authorities cited by Plaintiff or the authorities

 cited by defendant concerning whether the Plaintiff suffered a “direct physical loss” then

 the Plaintiff’s loss should still be covered because “direct physical loss or damage” as

 used in the defendant’s policy is ambiguous.

        When members of the public purchase policies of insurance they are entitled to the

 broad measure of protection necessary to fulfill their reasonable expectations. They

 should not be subject to technical encumbrances or to hidden pitfalls and their policies

 should be construed liberally in their favor to the end that coverage is afforded ‘to the full

 extent that any fair interpretation will allow.’” Danzeisen v. Selective Ins. Co. of America,

 298 N.J. Super. 383, 388 (App. Div. 1997). Additionally, when the court is called upon to

 interpret an ambiguous phrase in an insurance contract it should “consider whether more

 precise language by the insurer, had such language been included in the policy, would

 have put the matter beyond ‘reasonable question.’” Gibson v. Callaghan, 158 N.J. 662,

 670 (1999) (quoting Doto v. Russo, 140 N.J. 544, 557 (1995)).

        In the case at bar, the plaintiff purchased an All Risk Policy which is a special type

 of insurance covering all fortuitous losses in the absence of fraud or other intentional

 misconduct of the insured, unless a specific provision in the insurance policy expressly

 excludes or limits the loss from coverage. Victory Peach Group, Inc. Greater N.Y. Mutual

 Ins. Co., 310 N.J. Super. 82, 87-88 (App. Div. 1998). In other words, an All Risk Policy

 insures all risks unless specifically excluded or limited. Plaintiff maintains that the policy

 contains ambiguity. Ambiguity, in the context of an insurance policy interpretation, means

 that a term or contract may have more than one legitimate meaning. In Weedo v. Stone-E-
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 Brick, 81 N.J. 233, 247 (1979) the court defined an ambiguity as follows: “We conceive a

 genuine ambiguity to arise where the phrasing of the policy is so confusing that the average

 policy holder cannot make out the boundaries of coverage.” The following relevant policy

 language is at issue in this case:

               A.      Coverage

               We will pay for direct physical loss of or damage to the
               Covered Property at the premises described in the Declarations
               by or resulting from any Covered Cause of Loss. [emphasis
               added]

 (Ex. “A”, WAP 052)

               3.      Covered Cause of Loss

               Direct physical loss unless the loss is excluded or limited . . .

 (Ex. “A”, WAP 053)

               B.     Exclusions
               1. We will not pay for     loss or damage caused directly or
               indirectly by any of the   following. Such loss or damage is
               excluded regardless of      any other causes or event that
               contributes concurrently    or in any sequence of the loss.
               [emphasis added]

 (Ex. “A”, WAP 071)


        These three sections, when read together, are not in accord with one another

 therefore they are ambiguous. First, under “A. Coverage”, the policy states that “We will

 pay for direct physical loss of or damage to the Covered Property . . . resulting from any

 Covered Cause of Loss.” [emphasis added] (Ex. “A”, WAP 052) Next, the policy states

 that “Covered Causes of Loss means direct physical loss unless the loss is excluded or


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 limited in this policy.” [emphasis added] Id. Conspicuously absent from “Covered Causes

 of Loss” is reference to “physical damage”, “indirect loss”, or “indirect damage.” This is

 important because the “Exclusions” section of the policy refers, for the first time, to

 “losses or damage caused directly or indirectly”. [emphasis added] Not surprisingly

 nowhere in the policy is “physical loss” or “physical damage” defined. However, looking

 outside of the policy we know two things: first the word Loss “ is a generic and relative

 ‘term’. It signifies the act of losing or the thing lost; it is not a word of limited, hard and

 fast meaning and has been held synonymous with, or equivalent to, . . . ‘deprivation’ . .

 .” (Blacks Law Dictionary, 5th Ed.) Second, the term ‘physically damaged’ in an insurance

 policy is ambiguous and must be interpreted in accordance with the reasonable

 expectations of the insured. Wakefern Food Corp. v. Liberty Mutual Fire Insurance Co.,
                                           i
 406 N.J. Super. 524 (App. Div. 2009).         Moreover, upon reading the language in “B.

 Exclusions” the policy leads the reader to believe that “loss or damage” may include

 “indirect loss or damage” as opposed to only direct loss or damage, yet the policy does

 not define “indirect loss’ or “indirect damage.” Further confusion arises when we try to

 reads the policy as a whole and consider the policy’s the Civil Authority Coverage which

 rather specific and is triggered only when there is direct physical damage to other

 property, not on the described premises. The Civil Authority Coverage does not mention

 the word “loss” to other property. (Ex. “A”, WAP 061)

        Both parties have cited authorities discussing whether physical loss or damage

 requires some physical alteration of the property in question. The fact that there are

 contrary authorities construing the same insurance policy language differently is a strong

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 indication that the language is ambiguous. New Castle Co., Del. v. National Union Fire

 Ins. Co. of Pittsburgh, Pa., 174 F.3d 338, 347 (3d Cir. 1999); see also, e.g., Amerada Hess

 Corp.. v. Zurich Ins. Co., 29 Fed. Appx. 800, 805 (3d Cir. 2002) (“The very fact that

 HOVIC and Zurich were able to offer conflicting, yet ‘compelling’ interpretations

 establishes the essential ambiguity in this policy.”); Stroehmann v. Mutual Life Ins. of

 N.Y., 300 U.S. 435, 439 (1937) (“Examination of the words relied upon to show an

 exception to the incontestability clause of the policy discloses ample cause for doubt

 concerning their meaning. The arguments of counsel have emphasized the uncertainty.

 The District Court and the Circuit Court of Appeals reached different conclusions, and

 elsewhere there is diversity of opinion.”); St. Paul Mercury Ins. Co. v. FDIC, 774 F.3d

 702, 709 (11th Cir. 2014) (“an important indication of ambiguity in a policy is whether

 nearly identical or similar language has been construed differently by other courts.”);

 Alliance Life Ins. Co. v. Ulysses Volunteer Fireman’s Relief Ass’n., 215 Kan. 937, 948

 (1974) (“The mere fact that there is such a contrariety of judicial opinion over what

 constitutes ‘piloting’ or ‘serving as a crew member’ of an airplane demonstrates, we think,

 the inherent ambiguity of these phrases. The parties here and the parties in all those other

 lawsuits have each been able to make tenable arguments for construing the same language

 in different ways, and the courts have done the same. We certainly can’t say that the

 language used by the insurer here ‘clearly reveals its stated purpose.’”).

        One thing that can be said with certainty about “direct physical loss or damage” is

 that the various courts interpreting this language do not speak with one voice as to what

 those words mean. The more authoritative opinions hold that “loss” and “damage” are

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 different things, and that “loss” does not require a physical alteration of the insured

 property. Other opinions, which plaintiffs believes were incorrectly decided, hold that

 “loss” and “damage” both require some physical alteration of the property. This is not a

 difference of opinion created by the argument of the parties, but differences of opinion

 raised by judges, whose job it is to decide what language means as a matter of law. If

 learned judges cannot agree on what these words mean, then certainly there is more than

 one reasonable meaning for “direct physical loss or damage”, which makes the language

 ambiguous. Since the language is ambiguous, it must be construed in favor of the insured,

 and thus, in favor of coverage. Villa v. Short, 195 N.J. 15, 23 (2008).

        The purpose of business interruption insurance is to return to the insured the profits

 it would have earned had the casualty not occurred. See Pennbarr Corp. v. Ins. Co. of North

 Am., 976 F.2d. 145, 154 (3d Cir. 1992). Plaintiff’s business was interrupted by the Closure

 Orders. It had a reasonable expectation that if its business was interrupted by fortuitous

 events, defendant would make it whole. That is why the Plaintiff paid its business

 interruption premiums. The Closure Orders are just such a fortuitous event. Under the

 circumstances,      defendant       should        honor      the      Plaintiff’s     claim.




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                                            CONCLUSION

         Based upon the foregoing legal arguments and supporting statement of material

 facts, this Honorable Court is well equipped to grant the plaintiff’s motion for summary

 judgment.

                                                          Respectfully submitted

                                                          By /s/ Michael J. Deem
                                                          MICHAEL J. DEEM, ESQ
                                                          R.C. SHEA & ASSOCIATES
                                                          244 Main Street – PO Box 2627
                                                          Toms River, New Jersey 08754-2627
                                                          Tel: (732) 505-1212 Fax: (732) 505-1360
                                                          Attorney Id. # 020391998
                                                          Mdeem@rcshea.com




 i
  The Wakefern court then held that “Physical Damage” is not restricted to the physical destruction or harm
 to the insured property, rather it includes the loss of access, loss of use and loss of functionality of the
 insured’s scheduled premises. Wakefern Food Corp, 406 N.J. Super. at 543.




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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


                                       :
  METUCHEN CENTER, INC.                :
                                       : Civil Action
                                       :
                                       : No.3:20-cv-12584-FLW-TJB
                                       :
                           Plaintiffs, :
              vs.                      :
                                       :
                                       :
  LIBERTY MUTUAL INSURANCE             :
  COMPANY, WEST AMERICAN               :
  INSURANCE COMPANY, Et Als.           :
                                       :
                                       :
                                       :
                         Defendants. :



 ________________________________________________________________________

               CERTIFICATIOIN OF MICHAEL J. DEEM, ESQ.
  IN SUPPORT OF THE PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
 ________________________________________________________________________

        MICHAEL J. DEEM, ESQ., of full age, certifies as follows:
        1.     I am an attorney at law of the State of New Jersey, duly licensed and
 admitted to practice in the State of New Jersey and the United States District Court for

 the District of New Jersey.

        2.     I am an associate with the firm of R. C. Shea & Associates, P.C., attorneys

 for Plaintiff. As such I have full knowledge of the facts and circumstances surrounding

 this matter as set forth below by virtue of my review of the file maintained by my office.
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        3.     This Certification is in support of Plaintiff’s Motion for Summary

 Judgement.

        4.     Attached hereto as Exhibit “A” is a true, complete, and accurate copy of

 insurance policy number BZW 58899809 and which was in effect between October 1,

 2019 and October 1, 2020.

        5.     Attached hereto as Exhibit “B” is a true, complete, and accurate copy of

 Executive Order 103 issued by Governor Philip D. Murphy.

        6.     Attached hereto as Exhibit “C” is a true, complete, and accurate copy of

 Executive Order 107 issued by Governor Philip D. Murphy.

        7.     Attached hereto as Exhibit “D” is a true, complete, and accurate copy of the

 filed Complaint in the case at bar.

        8.     Attached hereto as Exhibit “E” is a true, complete, and accurate copy of the

 April 2, 2020, denial letter issued by Liberty Mutual Insurance Company.

        I certify that the foregoing statements made by me are true. I am aware that if any

 of the foregoing statements made by me are willfully false, I am subject to punishment.

 Dated: December 7, 2020                        R.C. SHEA & ASSOCIATES, P.C.


                                                BY:_/s/ Michael J. Deem
                                                    MICHAEL J. DEEM
Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 37 of 376 PageID: 237




     EXHIBIT “A”
Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 38 of 376 PageID: 238




                                       AFFIDAVIT
         State of Indiana

         County of Hamilton

         NAME OF INSURED:            METUCHEN CENTER INC

         POLICY NUMBER:               BZW 58899809

         POLICY DATES:                10-01-2019 TO 10-01-2020

         David Hager, archivist of

         West American Insurance Company has compared the

         attached copies of the insurance policy number listed above and its

         endorsements with the original records of the policy of insurance and

         endorsements contained in the Company’s files and that the same is a

         true and exact recital of all the provisions in the said original policy and

         endorsements attached thereto.




                                       David Hager
                                      Policy Copy Archivist


                                               July 10, 2020




                                                                                    WAP 000001
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 39 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 239
                                                               West American Insurance Company - a stock company        BZW      (20) 58 89 98 09
                                                                                                                        Policy Period:
                                                                                                                        From 10/01/2019 To 10/01/2020
                                                               175 Berkeley St., Boston, MA 02116
                                                                                                                        Endorsement Period:
                                                                                                                        From 10/01/2019 to 10/01/2020
                                                               Policy Change Endorsement                                12:01 am Standard Time
                                                                                                                        at Insured Mailing Location

                      Named Insured & Mailing Address                                        Agent Mailing Address & Phone No.

                      METUCHEN CENTER INC                                                    (732) 548-2727
                      10-12 EMBROIDERY ST                                                    THE SCHENCK AGENCY INC
                      SAYREVILLE, NJ 08872                                                   PO BOX 351
                                                                                             METUCHEN, NJ 08840-0351

                      CHANGES TO POLICY - TRANSACTION # 2
58899809




                      This Policy Change Endorsement Results In A Change In The Charges As Follows:
                                           No Change in Premium
001640




                      Description of Change(s)
                      Added the following as Loss Payee - Bank of
                      America Attn: Insurance Group.
                      See The Revised Declarations and Declarations Schedule
435
12
of
1




                      Issue Date          10/03/19                                                     Authorized Representative


                      To report a claim, call your Agent or 1-844-325-2467

                      DS 70 27 01 08                                                                                               WAP 000002

           10/03/19         58899809        N0196804     435                     MCAFPPNO             INSURED COPY      001640           PAGE   1   OF   12
                 Case 3:20-cv-12584-FLW-TJB   Document
                                         Coverage           11In: Filed 12/08/20 Page 40 ofPolicy
                                                  Is Provided                               376Number:
                                                                                                  PageID: 240
                                                                West American Insurance Company - a stock company        BZW      (20) 58 89 98 09
                                                                                                                         Policy Period:
                                                                                                                         From 10/01/2019 To 10/01/2020
                                                                175 Berkeley St., Boston, MA 02116
                                                                                                                         Endorsement Period:
                                                                                                                         From 10/01/2019 to 10/01/2020
                                                                Policy Change Endorsement                                12:01 am Standard Time
                                                                                                                         at Insured Mailing Location


                Named Insured                                                                 Agent

                METUCHEN CENTER INC                                                           (732) 548-2727
                                                                                              THE SCHENCK AGENCY INC



                OTHER NAMED INSUREDS

                DORECCO LLC


                SUMMARY OF LOCATION(S) AND PREMIUM(S)

                0001 10-12 Embroidery St, Sayreville, NJ 08872-1809                                                  $10,795.00

                POLICY FORMS AND ENDORSEMENTS

                This section lists the Forms and Endorsements for your policy. Refer to these documents as needed for detailed
                information concerning your coverage.
                FORM NUMBER                            TITLE
                BP    00   03   07   13                Businessowners Coverage Form
                BP    01   89   03   15                New Jersey Changes
                BP    04   09   07   13                Additional Insured - Mortgagee, Assignee or Receiver
                BP    04   17   01   10                Employment - Related Practices Exclusion
                BP    04   19   07   13                Amendment - Liquor Liability Exclusion - Exception for Scheduled Premises or
                                                       Activities
                 BP   05   17   01   06                Exclusion - Silica Or Silica-Related Dust
                 BP   05   23   01   15                Cap On Losses From Certified Acts Of Terrorism
                 BP   05   77   01   06                Fungi or Bacteria Exclusion (Liability)
                *BP   12   03   01   10                Loss Payable Clauses
12
of
2




                Issue Date                10/03/19                                                      Authorized Representative


                To report a claim, call your Agent or 1-844-325-2467

                DS 70 27 01 08                                                                                                      WAP 000003

     10/03/19          58899809             N0196804      435                     MCAFPPNO            INSURED COPY       001640           PAGE   2   OF   12
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 41 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 241
                                                                     West American Insurance Company - a stock company        BZW      (20) 58 89 98 09
                                                                                                                              Policy Period:
                                                                                                                              From 10/01/2019 To 10/01/2020
                                                                     175 Berkeley St., Boston, MA 02116
                                                                                                                              Endorsement Period:
                                                                                                                              From 10/01/2019 to 10/01/2020
                                                                     Policy Change Endorsement                                12:01 am Standard Time
                                                                                                                              at Insured Mailing Location


                      Named Insured                                                                Agent

                      METUCHEN CENTER INC                                                          (732) 548-2727
                                                                                                   THE SCHENCK AGENCY INC


                      POLICY FORMS AND ENDORSEMENTS - CONTINUED
58899809




                      This section lists the Forms and Endorsements for your policy. Refer to these documents as needed for detailed
                      information concerning your coverage.
                      FORM NUMBER                           TITLE
                      BP 15 04 05 14                        Exclusion - Access Or Disclosure Of Confidential Or Personal Information And
001640




                                                            Data-Related Liability - With Limited Bodily Injury Exception
                      BP   70   02   01   01                General Endorsement
                      BP   79   19   09   16                Businessowners Property Extension Endorsement
                      BP   79   74   07   13                Amendment of Pollution Exclusion (Premises)
                      BP   79   96   09   16                Businessowners Liability Extension Endorsement
                      BP   80   60   01   07                Peak Season Endorsement
435




                      BP   81   15   03   11                Exclusion - Asbestos
                      BP   82   37   08   15                Equipment Breakdown Coverage Endorsement
                      BP   88   04   03   14                Exclusion - Professional Services (Real Estate Agents, Insurance Agents, Travel
                                                            Agents, Financial Services, Computer Software, Insurance Operations)
                      BP 88 77 07 13                        Identity Theft Administrative Services and Expense Coverage
                      BP 88 78 07 13                        Business Personal Property Limit - Automatic Increase
12
of
3




                      Issue Date               10/03/19                                                      Authorized Representative


                      To report a claim, call your Agent or 1-844-325-2467

                      DS 70 27 01 08                                                                                                     WAP 000004

           10/03/19         58899809             N0196804      435                     MCAFPPNO            INSURED COPY       001640           PAGE   3   OF   12
     Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 42 of 376 PageID: 242




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12
of
4




                                                                           WAP 000005
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 43 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 243
                                                              West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                   Policy Period:
                                                                                                                   From 10/01/2019 To 10/01/2020
                                                                                                                   12:01 am Standard Time
                                                              Commercial      Protector                            at Insured Mailing Location
                                                              Declarations     - Revised
                      Named Insured                                                        Agent

                      METUCHEN CENTER INC                                                  (732) 548-2727
                                                                                           THE SCHENCK AGENCY INC


                      SUMMARY OF LIMITS AND CHARGES

                      Businessowners         DESCRIPTION                                                                                   LIMIT
58899809




                      Liability
                                             Liability and Medical Expenses - Occurrence                                             1,000,000
                      Limits of
                                             Aggregate Limits of Insurance
                      Insurance
                                                         Products-Completed Operations                                               2,000,000
                                                         Other than Products-Completed Operations                                    2,000,000
                                             Broadened Coverage For Damage To Premises Rented To You                                 1,000,000
001640




                                             Medical Expenses (Any One Person)                                                              15,000


                      Explanation of         DESCRIPTION                                                                                   PREMIUM
                      Charges
                                             Businessowners Location(s) Total                                                       $10,795.00
                                             Businessowners Other Coverage(s) Total                                                         $17.00
435




                                             NJ Property - Liability Insurance Guaranty Association Surcharge                               $65.06
                                             Certified Acts of Terrorism Coverage                                                           $32.00
                                                                                           Total Charges:                       $10,909.06
                                                                                                                    Note: This is not a bill
12
of
5




                      To report a claim, call your Agent or 1-844-325-2467

                                                                                                                            WAP 000006
                      DS 70 22 01 08
           10/03/19         58899809        N0196804    435                    MCAFPPNO             INSURED COPY   001640           PAGE     5     OF   12
                  Case 3:20-cv-12584-FLW-TJB   Document
                                          Coverage           11In: Filed 12/08/20 Page 44 ofPolicy
                                                   Is Provided                               376Number:
                                                                                                   PageID: 244
                                                          West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                               Policy Period:
                                                                                                               From 10/01/2019 To 10/01/2020
                                                                                                               12:01 am Standard Time
                                                          Commercial      Protector                            at Insured Mailing Location
                                                          Declarations     Schedule -Revised
                Named Insured                                                       Agent

                METUCHEN CENTER INC                                                   (732) 548-2727
                                                                                      THE SCHENCK AGENCY INC


                SUMMARY OF COVERAGES BY LOCATION

                0001   10-12 Embroidery St, Sayreville, NJ 08872-1809


                Property               Description:
                Characteristics

                                       Construction: Joisted Masonry


                Building
                                       Occupancy: Sporting Goods or Athletic Equipment - No Guns, Ammunition
                Coverage
                                                      or Vehicles - Wholesale


                                       DESCRIPTION
                                       Limit of Insurance - Replacement Cost                                                      $833,875
                                       Covered Causes of Loss
                                       Special Form
                                       Automatic Increase Building                                                                          4%
                                       Deductible                                                                                      $1,000

                                                                                                     Premium                      $5,552.00

                Business
                                       Occupancy: Sporting Goods or Athletic Equipment - No Guns, Ammunition
                Personal
                Property Coverage                     or Vehicles - Wholesale
12
of




                                       DESCRIPTION
                                       Limit of Insurance - Replacement Cost                                                      $258,222
                                       Covered Causes of Loss
6




                                       Special Form
                                       Deductible                                                                                      $1,000
                                       Automatic Increase Business Personal Property                                                        4%

                                                                                                     Premium                      $5,131.00




                To report a claim, call your Agent or 1-844-325-2467

                                                                                                                        WAP 000007
                DS 70 23 01 08
     10/03/19          58899809       N0196804      435                    MCAFPPNO             INSURED COPY   001640           PAGE    6   OF   12
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 45 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 245
                                                                West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                     Policy Period:
                                                                                                                     From 10/01/2019 To 10/01/2020
                                                                                                                     12:01 am Standard Time
                                                                Commercial      Protector                            at Insured Mailing Location
                                                                Declarations     Schedule -Revised
                      Named Insured                                                       Agent

                      METUCHEN CENTER INC                                                   (732) 548-2727
                                                                                            THE SCHENCK AGENCY INC


                      SUMMARY OF COVERAGES BY LOCATION - CONTINUED

                      Continuation of 0001 10-12 Embroidery St, Sayreville, NJ 08872-1809
58899809




                      Money and              DESCRIPTION
                      Securities             Limit of Insurance - Inside                                                                 $20,000
                                             Limit of Insurance - Outside                                                                $20,000
001640




                                             Deductible                                                                                            $500

                                                                                                           Premium                           $112.00

                      Mortgage            BANK OF AMERICA NA ISAOA                     70 BATTERSONPARK ROAD
                      Holder(s)                                                        MAIL CODECT2-515-BB-03
                                          INSURANCE DIVISION                           FARMINGTON, CT 06032
                                                                                       Loan#
435




                      SUMMARY OF OTHER COVERAGES

                      Employee               DESCRIPTION
                      Dishonesty             Limit of Insurance                                                                          $25,000
                      Including              Number of Employees                                                                                         5
                      Forgery and
                                             Deductible                                                                                            $500
                      Alteration

                                                                                                           Premium                       Included
12




                      Property               DESCRIPTION
of




                      Extension              See Endorsement
                      Endorsement

                                                                                                           Premium                            $8.00
7




                      To report a claim, call your Agent or 1-844-325-2467

                                                                                                                              WAP 000008
                      DS 70 23 01 08
           10/03/19         58899809        N0196804      435                    MCAFPPNO             INSURED COPY   001640           PAGE     7    OF       12
                 Case 3:20-cv-12584-FLW-TJB   Document
                                         Coverage           11In: Filed 12/08/20 Page 46 ofPolicy
                                                  Is Provided                               376Number:
                                                                                                  PageID: 246
                                                        West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                             Policy Period:
                                                                                                             From 10/01/2019 To 10/01/2020
                                                                                                             12:01 am Standard Time
                                                        Commercial      Protector                            at Insured Mailing Location
                                                        Declarations     Schedule -Revised
                Named Insured                                                     Agent

                METUCHEN CENTER INC                                                 (732) 548-2727
                                                                                    THE SCHENCK AGENCY INC


                SUMMARY OF OTHER COVERAGES - continued

                Identity Recovery      DESCRIPTION
                Coverage for           See Endorsement
                Defined Individuals

                                                                                                   Premium                           $9.00
                Businessowners Location(s) Total                                                                                $10,795.00
                Businessowners Other Coverage(s) Total                                                                               $17.00
                Businessowners Schedule Total                                                                                   $10,812.00
12
of
8




                To report a claim, call your Agent or 1-844-325-2467

                                                                                                                      WAP 000009
                DS 70 23 01 08
     10/03/19         58899809        N0196804    435                    MCAFPPNO             INSURED COPY   001640           PAGE   8   OF   12
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 47 of 376 PageID: 247
                                                                       POLICY NUMBER
                                                                       BZW    (20) 58 89 98 09
                                                                       Policy Period:
                              Named Insured Endorsement                From 10/01/2019 To 10/01/2020
                                                                       12:01 am Standard Time
                                                                       at Insured Mailing Location




                            This Endorsement Changes The Policy. Please Read it Carefully.

                            The complete Named Insured reads as follows:
58899809




                            METUCHEN CENTER INC

                            DORECCO LLC
001640
435
12
of
9




           DS 88 04 03 15                                                                    PAGE 1 OF 1
                                                                                         WAP 000010
     Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 48 of 376 PageID: 248




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12
of
10




                                                                           WAP 000011
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 49 of 376 PageID: 249
           POLICY NUMBER:                                                                                BUSINESSOWNERS
                                                                                                              BP 12 03 01 10
                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                               LOSS PAYABLE CLAUSES
           This endorsement modifies insurance provided under the following:
                BUSINESSOWNERS COVERAGE FORM
                                                              SCHEDULE
                                                                                                 Applicable Clause
            Premises        Building                                                            (Indicate Paragraph
            Number          Number                                                                  A, B, C or D):
                10-12 Embroidery St                                                                          A
58899809




                Sayreville
                NJ
                08872-1809
           Description of Property
001640




                COLLATERAL LOAN


           Loss Payee (Name & Address)
                BANK OF AMERICA ATNN: INSURANCE
                GROUP MAIL CODE: NC1-001-05-14
435




                101 NORTH TYRON STREET
                ONE INDEPENCE CENTER
                CHARLOTTE, NC 28255

           Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

           Nothing in this endorsement increases the appli-            B.   Lender’s Loss Payable Clause
           cable Limit of Insurance. We will not pay any Loss               1.   The Loss Payee shown in the Schedule or
           Payee more than their financial interest in the                       in the Declarations is a creditor, including
           Covered Property, and we will not pay more than                       a mortgageholder or trustee, whose in-
           the applicable Limit of Insurance on the Covered                      terest in that Covered Property is estab-
           Property.                                                             lished by such written instruments as:
           The following is added to the Loss Payment Prop-                      a.   Warehouse receipts;
           erty Loss Condition in Section I - Property , as
12




                                                                                 b.   A contract for deed;
           shown in the Declarations or in the Schedule:
of




                                                                                 c.   Bills of lading;
           A.   Loss Payable Clause
                                                                                 d.   Financing statements; or
                For Covered Property in which both you and a
                Loss Payee shown in the Schedule or in the                       e.   Mortgages, deeds of trust, or secu-
11




                Declarations have an insurable interest, we                           rity agreements.
                will:                                                       2.   For Covered Property in which both you
                1.   Adjust losses with you; and                                 and a Loss Payee have an insurable inter-
                                                                                 est:
                2.   Pay any claim for loss or damage jointly
                     to you and the Loss Payee, as interests                     a.   We will pay for covered loss or dam-
                     may appear.                                                      age to each Loss Payee in their order
                                                                                      of precedence, as interests may ap-
                                                                                      pear.




           BP 12 03 01 10                          Insurance Services Office, Inc., 2009                         WAP 000012
                                                                                                                   Page  1 of 2
      Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 50 of 376 PageID: 250


             b.   The Loss Payee has the right to re-               3.   If we cancel this policy, we will give writ-
                  ceive loss payment even if the Loss                    ten notice to the Loss Payee at least:
                  Payee has started foreclosure for                      a.   10 days before the effective date of
                  similar action on the Covered Prop-                         cancellation if we cancel for your
                  erty.                                                       nonpayment of premium; or
             c.   If we deny your claim because of                       b.   30 days before the effective date of
                  your acts or because you have failed                        cancellation if we cancel for any oth-
                  to comply with the terms of this poli-                      er reason.
                  cy, the Loss Payee will still have the
                                                                    4.   If we do not renew this policy, we will
                  right to receive loss payment if the
                                                                         give written notice to the Loss Payee at
                  Loss Payee:
                                                                         least 10 days before the expiration date
                  (1) Pays any premium due under                         of this policy.
                      this policy at our request if you
                                                               C.   Contract Of Sale Clause
                      have failed to do so;
                                                                    1.   The Loss Payee shown in the Schedule or
                  (2) Submits a signed, sworn proof
                                                                         in the Declarations is a person or organi-
                      of loss within 60 days after re-
                                                                         zation you have entered a contract with
                      ceiving notice from us of your
                                                                         for the sale of Covered Property.
                      failure to do so; and; and
                                                                    2.   For Covered Property in which both you
                  (3) Has notified us of any change in
                                                                         and the Loss Payee have an insurable in-
                      ownership, occupancy or sub-
                                                                         terest, we will:
                      stantial change in risk known to
                      the Loss Payee.                                    a.   Adjust losses with you; and
                  All of the terms of Section I - Prop-                  b.   Pay any claim for loss or damage
                  erty will then apply directly to the                        jointly to you and the Loss Payee, as
                  Loss Payee.                                                 interests may appear.
             d.   If we pay the Loss Payee for any loss             3.   The following is added to Paragraph H.
                  or damage and deny payment to you                      Other Insurance in Section III - Common
                  because of your acts or because you                    Policy Conditions:
                  have failed to comply with the terms                   For Covered Property that is the subject
                  of this policy:                                        of a contract of sale, the word "you" in-
                  (1) The Loss Payee’s rights will be                    cludes the Loss Payee.
                      transferred to us to the extent of       D.   Building Owner Loss Payable Clause
                      the amount we pay; and                        1.   The Loss Payee shown in the Schedule or
                  (2) The Loss Payee’s right to recover                  in the Declarations is the owner of the
                      the full amount of the Loss Pay-                   described building, in which you are a
                      ee’s claim will not be impaired.                   tenant.
                      At our option, we may pay to the              2.   We will adjust losses to the described
12




                      Loss Payee the whole principal                     building with the Loss Payee. Any loss
of




                      on the debt plus any accrued in-                   payment made to the Loss Payee will sat-
                      terest. In this event, you will pay                isfy your claims against us for the own-
                      your remaining debt to us.                         er’s property.
12




                                                                    3.   We will adjust losses to tenant’s im-
                                                                         provements and betterments with you,
                                                                         unless the lease provides otherwise.




     BP 12 03 01 10                        Insurance Services Office, Inc., 2009                      WAP 000013
                                                                                                        Page  2 of 2
               Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 51 of 376 PageID: 251

                                                     Policyholder        Information

           Named Insured & Mailing Address                                      Agent Mailing Address & Phone No.

           METUCHEN CENTER INC                                                  (732) 548-2727
           10-12 EMBROIDERY ST                                                  THE SCHENCK AGENCY INC
           SAYREVILLE, NJ 08872                                                 PO BOX 351
                                                                                METUCHEN, NJ 08840-0351
58899809




                                Dear Policyholder:
                                We know you work hard to build your business. We work together with your agent,
                                THE SCHENCK AGENCY INC                       (732) 548-2727
                                to help protect the things you care about. Thank you for selecting us.
002260




                                Enclosed are your insurance documents consisting of:




                                        .    Commercial Protector
435




                                To find your specific coverages, limits of liability, and premium, please refer to your
                                Declarations page(s).

                                If you have any questions or changes that may affect your insurance needs, please
                                contact your Agent at (732) 548-2727
                                                                  .



                                                            .     Verify that all information is correct
                                                            .     If you have any changes, please contact your
                                                                  Agent at (732) 548-2727
                                         Reminders          .     In case of a claim, call your Agent or 1-844-325-2467
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           You Need To Know
1




           .   CONTINUED ON NEXT PAGE




           To report a claim, call your Agent or 1-844-325-2467

                                                                                                                    WAP 000014
           DS 70 20 01 08
             Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 52 of 376 PageID: 252

         You Need To Know - continued

         .   NOTICE(S) TO POLICYHOLDER(S)
             The Important Notice(s) to Policyholder(s) provide a general explanation of changes in coverage to your policy. The
             Important Notice(s) to Policyholder(s) is not a part of your insurance policy and it does not alter policy provisions or
             conditions. Only the provisions of your policy determine the scope of your insurance protection. It is important that you
             read your policy carefully to determine your rights, duties and what is and is not covered.


             FORM NUMBER                   TITLE
             CNI90 11 07 18                Reporting A Commercial Claim 24 Hours A Day
             NP 72 42 01 15                Terrorism Insurance Premium Disclosure And Opportunity To Reject
             NP 72 66 04 17                New Jersey Earthquake Insurance Availability Notice
             NP 74 44 09 06                U.S. Treasury Department’s Office of Foreign Assets Control (OFAC) Advisory
                                           Notice to Policyholders
             NP 89 69 11 10                Important Policyholder Information Concerning Billing Practices
             NP 93 54 07 13                Important Notice to Policyholders - Commercial Protector Coverage
             NP 98 20 01 15                Jurisdictional Boiler And Pressure Vessel Inspections

         .   This policy will be direct billed. You may choose to combine any number of policies on one bill with your billing
             account. Please contact your agent for more information.
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                                                                                                                   WAP 000015
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 53 of 376 PageID: 253
                                                                                                        CNI 90 11 07 18

                          REPORTING A COMMERCIAL CLAIM 24 HOURS A DAY

           Liberty Mutual Insurance claims professionals across the United States are ready to resolve your claim
           quickly and fairly, so you and your team can focus on your business. Our claims teams are specialized,
           experienced and dedicated to a high standard of service.
           We’re Just a Call Away - One Phone Number to Report All Commercial Insurance Claims
           Reporting a new claim has never been easier. A Liberty Mutual customer service representative is
           available to you 24/7 at 800-362-0000 for reporting new property, auto, liability and workers’ compensa-
           tion claims. With contact centers strategically located throughout the country for continuity and
           accessibility, we’re there when we’re needed!

           Additional Resource for Workers’ Compensation Customers
58899809




           In many states, employers are required by law to use state-specific workers compensation claims forms
           and posting notices. This type of information can be found in the Policyholders Toolkit section of our
           website along with other helpful resources such as:
                   Direct links to state workers compensation         websites where you can find state-specific   claim
002260




                   forms
                   Assistance finding local medical providers
                   First Fill pharmacy forms - part of our managed care pharmacy program committed           to helping
                   injured workers recover and return to work

           Our Policyholder Toolkit can be accessed at www.libertymutualgroup.com/toolkit.
435




           For all claims inquiries please call us at 800-362-0000.
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3




                                                       2018 Liberty Mutual Insurance
           CNI 90 11 07 18                                                                                WAP 000016
                                                                                                            Page  1 of 1
          Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 54 of 376 PageID: 254



                                                                   08/14/19

         METUCHEN CENTER INC                                            BZW (20)    58 89 98 09
                                                                        From 10/01/2019 To 10/01/2020
         10-12 EMBROIDERY ST
         SAYREVILLE, NJ 08872


         (732) 548-2727
         THE SCHENCK AGENCY INC

         PO BOX 351
         METUCHEN, NJ 08840-0351

                                          TERRORISM INSURANCE PREMIUM DISCLOSURE
                                                 AND OPPORTUNITY TO REJECT
         This notice contains important information about the Terrorism Risk Insurance Act and its effect on your
         policy. Please read it carefully.
         THE TERRORISM RISK INSURANCE ACT
         The Terrorism Risk Insurance Act, including all amendments ("TRIA" or the "Act"), establishes a program
         to spread the risk of catastrophic losses from certain acts of terrorism between insurers and the federal
         government. If an individual insurer’s losses from certified acts of terrorism exceed a specified deductible
         amount, the government will reimburse the insurer for a percentage of losses (the "Federal Share") paid in
         excess of the deductible, but only if aggregate industry losses from such acts exceed the "Program Trig-
         ger". An insurer that has met its insurer deductible is not liable for any portion of losses in excess of $100
         billion per year. Similarly, the federal government is not liable for any losses covered by the Act that exceed
         this amount. If aggregate insured losses exceed $100 billion, losses up to that amount may be pro-rated, as
         determined by the Secretary of the Treasury.
         The Federal Share and Program Trigger by calendar year are:

                   Calendar Year                   Federal Share                      Program Trigger
                   2015                            85%                                $100,000,000
                   2016                            84%                                $120,000,000
                   2017                            83%                                $140,000,000
                   2018                            82%                                $160,000,000
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                   2019                            81%                                $180,000,000
                   2020                            80%                                $200,000,000

         MANDATORY OFFER OF COVERAGE FOR "CERTIFIED ACTS OF TERRORISM" AND DISCLOSURE OF PRE-
         MIUM
4




         TRIA requires insurers to make coverage available for any loss that occurs within the United States (or
         outside of the U.S. in the case of U.S. missions and certain air carriers and vessels), results from a "certified
         act of terrorism" AND that is otherwise covered under your policy.
         A "certified act of terrorism"   means:
              A ny act that is certified by the Secretary of the Treasury , in consultation          with the Secretary of
             Homeland Security, and the Attorney General of the United States.
             (i)   to be an act of terrorism;




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               (ii) to be a violent act or an act that is dangerous to -
                    (I) human life;
                    (II) property; or
                    (III) infrastructure;
               (iii) to have resulted in damage within the United States, or outside of the United States in the case of -
                     (I) an air carrier (as defined in section 40102 of title 49, United States Code) or United States flag
                          vessel (or a vessel based principally in the United States, on which United States income tax is
                          paid and whose insurance coverage is subject to regulation in the United States); or
                     (II) the premises of a United States mission; and
               (iv) to have been committed by an individual or individuals as part of an effort to coerce the civilian
                    population of the United States or to influence the policy or affect the conduct of the United States
                    Government by coercion.
           REJECTING TERRORISM INSURANCE COVERAGE - WHAT YOU MUST DO
58899809




           We have included in your policy coverage for losses resulting from "certified acts of terrorism"       as defined
           above.
           THE PREMIUM CHARGE FOR THIS COVERAGE APPEARS ON THE DECLARATIONS PAGE OF THE POLICY
           AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS COVERED BY THE FEDERAL GOV-
           ERNMENT UNDER THE ACT. If we are providing you with a quote, the premium charge will also appear on
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           your quote as a separate line item charge.
           IF YOU CHOOSE TO REJECT THIS COVERAGE, PLEASE CHECK THE BOX BELOW, SIGN THE ACKNOWL-
           EDGMENT, AND RETURN THIS FORM TO THE ADDRESS BELOW: Please ensure any rejection is received
           within thirty (30) days of the effective date of your policy .
           Before making a decision to reject terrorism       insurance, refer to the Disclaimer for Standard Fire Policy
           States located at the end of this Notice.
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               I hereby reject this offer of coverage. I understand that by rejecting this offer, I will have no coverage for
               losses arising from "certified acts of terrorism" and my policy will be endorsed accordingly.


           Policyholder/Applicant’s      Signature                    Print Name                        Date Signed



           Named Insured                                                         Policy Number
           METUCHEN CENTER INC                                             BZW   (20)     58 89 98 09


           Policy Effective/Expiration    Date
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           From 10/01/2019 To 10/01/2020


           IF YOU REJECTED THIS COVERAGE, PLEASE RETURN THIS FORM TO:
                    Attn: Commercial Lines Division - Terrorism
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                    PO Box 66400
                    London, KY 40742-6400
           Note: Certain states (currently CA, GA, IA, IL, ME, MO, NY, NC, NJ, OR, RI, WA, WI and WV) mandate
           coverage for loss caused by fire following a "certified act of terrorism" in certain types of insurance policies.
           If you reject TRIA coverage in these states on those policies, you will not be charged any additional
           premium for that state mandated coverage.
           The summary of the Act and the coverage under your policy contained in this notice is necessarily general
           in nature. Your policy contains specific terms, definitions, exclusions and conditions. In case of any
           conflict, your policy language will control the resolution of all coverage questions. Please read your policy
           carefully.
           If you have any questions regarding this notice, please contact your agent.

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                                                                                                         NP 72 66 04 17

                                  NEW JERSEY EARTHQUAKE INSURANCE
                                         AVAILABILITY NOTICE
         All insureds and applicants are cautioned that commercial fire and extended coverage insurance policies do
         not provide coverage for earthquake damage.

         The definition of an earthquake:

                 is a shaking or trembling of the earth that is geologic or tectonic in nature;
                 includes shock waves or tremors before, during or after a volcanic eruption; and
                 can also include after-shocks that occur within a seventy-two hour period following an earthquake.

         A typical commercial fire and extended coverage insurance policy:

                 does not cover the cost to replace your damaged dwelling, premises or structure, such as garages,
                 resulting from an earthquake;
                 does not cover the cost to replace or repair the contents of your business if the damages result from
                 an earthquake; and
                 does not pay for any additional business expenses if your property is badly damaged or destroyed
                 by an earthquake.

         Earthquake insurance is available through an endorsement to your policy for an additional premium. The
         decision to purchase earthquake insurance is one that should be carefully considered based on individual
         circumstances.

         Historically, an earthquake in New Jersey is a rare event, although the possibility exists that it could happen.
         Over the five (5) -year period from 2010 to 2015, for every $1 of earthquake insurance premium, 1/10 of one
         cent has been paid out for losses.

         Please contact your agent if you have any questions or want additional information on how you can obtain
         earthquake insurance.

         This notice is a general description of coverage and does not change, modify or invalidate any of the
         provisions, terms or conditions of your policy or endorsements.
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                                                                                                                          NP 74 44 09 06


                            U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN
                                        ASSETS CONTROL ("OFAC")
                                   ADVISORY NOTICE TO POLICYHOLDERS

           No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of
           your policy. You should read your policy and review your Declarations page for complete information on the
           coverages you are provided.

           This Notice provides information concerning possible impact on your insurance coverage due to directives
58899809




           issued by OFAC. Please read this Notice carefully.

           Please refer any questions you may have to your insurance agent.

           The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presiden-
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           tial declarations of "national emergency". OFAC has identified and listed numerous:
                   Foreign agents;
                   Front organizations;
                   Terrorists;
                   Terrorist organizations; and
                   Narcotics traffickers;
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           as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
           Treasury’s web site - http//www.treas.gov/ofac.

           In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or
           entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated
           National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen
           contract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is
           considered to be such a blocked or frozen contract, no payments nor premium refunds may be made
           without authorization from OFAC. Other limitations on the premiums and payments also apply.
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                                                                                                      NP 89 69 11 10




                               IMPORTANT POLICYHOLDER INFORMATION
                                   CONCERNING BILLING PRACTICES

         Dear Valued Policyholder: This insert provides you with important information about our policy billing
         practices that may affect you. Please review it carefully and contact your agent if you have any questions.

         Premium Notice: We will mail you a policy Premium Notice separately. The Premium Notice will provide
         you with specifics regarding your agent, the account and policy billed, the billing company, payment plan,
         policy number, transaction dates, description of transactions, charges/credits, policy amount balance, mini-
         mum amount, and payment due date. This insert explains fees that may apply to and be shown on your
         Premium Notice.

         Available Premium Payment Plans:
             Annual Payment Plan: When this plan applies, you have elected to pay the entire premium amount
             balance shown on your Premium Notice in full. No installment billing fee applies when the Annual
             Payment Plan applies.
             Installment Payment Plan: When this plan applies, you have elected to pay your policy premium in
             installments (e.g.: quarterly or monthly installments - Installment Payment Plans vary by state). As
             noted below, an installment fee may apply when the Installment Payment Plan applies.

         The Premium Payment Plan that applies to your policy is shown on the top of your Premium Notice. Please
         contact your agent if you want to change your Payment Plan election.

         Installment Payment Plan Fee: If you elected to pay your premiums in installments using the Installment
         Premium Payment Plan, an installment billing fee applies to each installment bill. The installment billing
         charge will not apply, however, if you pay the entire balance due when you receive the bill for the first
         installment. Because the amount of the installment charge varies from state to state, please consult your
         Premium Notice for the actual fee that applies.

         Dishonored Payment Fee: Your financial institution may refuse to honor the premium payment withdrawal
         request you submit to us due to insufficient funds in your account or for some other reason. If that is the
         case, and your premium payment withdrawal request is returned to us dishonored, a payment return fee
         will apply. Because the amount of the return fee varies from state to state, please consult your Premium
         Notice for the actual fee that applies.

         Late Payment Fee: If we do not receive the minimum amount due on or before the date or time the payment
         is due, as indicated on your Premium Notice, you will receive a policy cancellation notice effective at a
         future date that will also reflect a late payment fee charge. Issuance of the cancellation notice due to
         non-payment of a scheduled installment(s) may result in the billing and collection of all or part of any
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         outstanding premiums due for the policy period. Late Payment Fees vary from state to state and are not
         applicable in some states.

         Special Note: Please note that some states do not permit the charging of certain fees. Therefore, if your
         state does not allow the charging of an Installment Payment Plan, Dishonored Payment or Late Payment
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         Fee, the disallowed fee will not be charged and will not be included on your Premium Notice.

         EFT-Automatic Withdrawals Payment Option: When you select this option, you will not be sent Premium
         Notices and, in most cases, will not be charged installment fees. For more information on our EFT-Auto-
         matic Withdrawals payment option, refer to the attached policyholder plan notice and enrollment sheet.

         Once again, please contact your agent if you have any questions about the above billing practice informa-
         tion.

                                Thank you for selecting us to service your insurance needs.




                                                                                                       WAP 000021
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                                                                                                                           NP 93 54 07 13

                                        IMPORTANT NOTICE TO POLICYHOLDERS -
                                          COMMERCIAL PROTECTOR COVERAGE
                                                (BOP 2006 to BOP 2013)

           Dear Valued Policyholder,
           Thank you for selecting us as your carrier for your commercial                     insurance. This notice contains a brief
           summary of the coverage changes made to your policy.
           The changes outlined below are organized by individual endorsements. Please note that not all of the
           endorsements noted may apply to your specific policy. In addition, this notice does not reference every
           editorial change made to the endorsement or coverage form, only significant coverage changes.
           Please read your policy and review your Declarations page for complete coverage information. No coverage
58899809




           is provided by this notice, nor can it be construed to replace any provisions of your policy. If there are
           discrepancies between your policy and this notice, the provisions of the policy shall prevail.
           Should you have questions after reviewing the changes outlined below, please contact your independent
           agent. Thank you for your business.
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                                                                   Coverage Form

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Businessowners                 BP 00 03 01 06                     Businessowners                    BP 00 03 07 13
            Coverage Form                                                     Coverage Form

           Section I - Property
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           I.     Broadenings Of Coverage
                     Business Personal Property - Coverage Radius
                     The Business Personal Property coverage grant is revised to extend coverage 100 feet from the
                     buildings or structures, or 100 feet from the described premises, whichever distance is greater.
                     Vegetated Roofs
                     Property Not Covered is revised to make an exception for lawns, trees, shrubs and plants that are
                     part of a vegetated roof. The Limited Coverage For Fungi, Wet Rot Or Dry Rot Additional Coverage
                     is revised to expressly state that the coverage does not apply to lawns, trees, shrubs or plants that
                     are part of a vegetated roof.
                     Electronic Data In Building Equipment
                     Property Not Covered is revised to make an exception for electronic data which is integrated in and
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                     operates or controls the building’s elevator, lighting, heating, ventilation, air conditioning or secu-
                     rity system. The Electronic Data and Interruption Of Computer Operations Additional Coverages are
                     revised to reinforce that coverage does not apply to such electronic data, data that is integrated in
                     and operates or controls the building’s elevator, lightning, heating, ventilation, air conditionin g or
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                     security system .
                     Debris Removal
                     The Limit of Insurance under the Debris Removal Additional Coverage, is increased from $10,000 to
                     $25,000.
                     Further, coverage for debris removal is expanded to include the expense of removing certain debris
                     that is not Covered Property, however, when no Covered Property sustains direct physical loss or
                     damage, coverage for the removal of debris, is limited to $5,000.
                     Business Income Additional Coverage - Extended Business Income
                     The period of coverage under the Extended Business Income Additional Coverage is increased from
                     30 to 60 days.

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                 Additional Coverages - Civil Authority
                 The period of coverage for the Civil Authority Additional Coverage is increased from three weeks to
                 four weeks.
                 Business Income From Dependent Properties Additional Coverage - Secondary Dependent Prop-
                 erties
                 Coverage is extended to include secondary dependent properties which are direct suppliers and
                 recipients of the dependent property’s materials or services, that are not owned or operated by a
                 dependent property, but do not include any road, bridge, tunnel, waterway, airfield, pipeline, or any
                 other similar area or structure.
                 Coverage Extensions - Outdoor Property
                 The Outdoor Property Coverage Extension has been revised to provide an option to increase the
                 applicable limit, but not more than $1000 for any one tree, shrub or plant.
                 The Outdoor Property Coverage Extension is also revised to include debris removal expense for
                 trees, shrubs and plants that are the property of others, except trees, shrubs and plants owned by
                 the landlord of an insured tenant.
                 Business Personal Property Temporarily In Portable Storage Units Coverage Extension
                 A Coverage Extension for Business Personal Property Temporarily In Portable Storage Units is
                 introduced. Under this Coverage Extension, a 90-day coverage period is provided for Business
                 Personal Property temporarily stored in a portable storage unit located within 100 feet of the
                 described premises, subject to a sub-limit of $10,000 regardless of the number of storage units.
                 Dishonesty Exclusion
                 The Dishonesty Exclusion is revised to distinguish between those who have a role in the insured’s
                 business (partners, managers, employees, etc.) and others to whom property may be entrusted (a
                 category that includes tenants and bailees, for example). With respect to the latter category, the
                 exclusion is narrowed to apply only to theft. Further, the exception to the exclusion (which enables
                 coverage for acts of destruction) is revised to extend applicability to authorized representativ es.
                 Exclusions - Business Income And Extra Expense
                 The exception in the Business Income And Extra Expense Coverage Exclusion with respect to
                 coverage for loss caused by or resulting from suspension, lapse or cancellation of any license, lease
                 or contact directly caused by the suspension of operations has been expanded so that the exception
                 will also apply during the extension of the "period of restoration" in accordance with the terms of
                 that coverage.
                 Property Loss Conditions - Loss Payment - Party Walls
                 A provision within The Loss Payment - Property Loss Condition has been introduced that generally
                 addresses exposures associated with party walls and the insureds interest in that party wall.
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                 Optional Coverages - Equipment Breakdown Protection Coverage
                 The Mechanical Breakdown Optional Coverage has been replaced with Equipment Breakdown
                 Protection Coverage. If Equipment Breakdown replaces Mechanical Breakdown Coverage or is
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                 newly added to the policy, this change represents a broadening of coverage.
                 Specified Causes Of Loss Property Definition
                 Coverage for water damage under the definition of "specified causes of loss" is expanded to
                 include accidental discharge or leakage of water or waterborne material as the direct result of the
                 breaking apart or cracking of certain off- premises systems due to wear and tear.




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                                                                                                                     WAP 000023
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           II.   Reductions in Coverage
                    Property Not Covered Animals
                     Property Not Covered has been revised to state that covered property does not include animals
                     unless they are owned by others and being boarded by you, or your stock while inside buildings
                     (however in both instances the covered causes of loss are limited to the "specified causes of loss"
                     or building glass breakage, and then only if the animals are killed or their destruction is made
                     necessary.
                    Limitations
                     The limitations regarding loss or damage to the interior of any building or structure caused by or
                     resulting from rain, snow, sleet, ice, sand or dust has been extended to apply to personal property
                     in the building or structure.
                    Additional Coverages - Civil Authority
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                     This coverage now requires that the damaged property triggering the exercise of civil authority be
                     within one mile of the described premises.
                    Newly Acquired Or Constructed Property Coverage Extension
                     Under the Newly Acquired Or Constructed Property Coverage Extension, the provision that extends
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                     an additional limit of insurance to newly acquired business personal property at the described
                     premises is removed. There is no change to the coverage for newly acquired business personal
                     property at newly acquired locations or at newly constructed or acquired buildings at the described
                     location.
                    Exclusions - Utility Services
                     This exclusion now applies to utility failure that originates at the described premises, when such
                     failure involves equipment used to provide utility service supplied by an off- premises provider.
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                    Employee Dishonesty Optional Coverage
                     An exclusion is introduced to the Employee Dishonesty Optional Coverage to address acts of
                     employees learned of by the insured prior to the policy period.
           III. Other Changes
                    Business Personal Property
                     The Business Personal Property coverage grant is revised to reinforce that business personal prop-
                     erty is covered when located in or on the buildings or structures at the described premises.
                    Covered Causes Of Loss - Risk Of Loss
                     The term "risk of" is removed from the Covered Causes Of Loss provision.
                    Fire Department Service Charge Additional Coverage
of 148




                     The Fire Department Service Charge Additional Coverage is revised to specify that the amount of
                     such coverage ($2,500 or a designated higher limit) applies to each premises described in the
                     Declarations. Further, the language of the coverage provision is revised to state that the designated
                     limit applies regardless of the number of responders or the number or type of services performed.
11




                    Business Income And Extra Expense Additional Coverages - Coverage Radius
                     In part, the coverage criteria for the Business Income and Extra Expense Additional Coverages
                     relate to loss or damage to personal property in the open or in a vehicle within a certain distance
                     from the described premises. The language relating to the coverage radius is revised to achieve
                     more similarity between the radius outlined for insureds who are occupants of the entire premises
                     or those who occupy only a part of the premises, and to use terminology similar to that used in the
                     Business Personal Property coverage grant.




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                 Business Income From Dependent Properties Additional Coverage
                 The Business Income From Dependent Properties Additional Coverage is revised to provide cov-
                 erage with respect to secondary dependent properties. Such properties are defined within this
                 Additional Coverage.
                 Additionally, the definition of dependent property excludes various utility providers; the list of
                 utilities is updated to make reference to wastewater removal services. With respect to Business
                 Income Coverage, loss caused by interruption in utility service is addressed in Endorsement BP 04
                 57. Refer to the item titled Utility Services - Time Element Endorsement BP 04 57 if that endorse-
                 ment is part of your policy.
                 Temporary Or Leased Employees
                 The Personal Effects Coverage Extension, the Dishonesty Exclusion and the Money And Securities
                 Optional Coverage are revised to reinforce that employees include temporary or leased employees.
                 Ordinance Or Law Exclusion
                 The language of the Ordinance Or Law Exclusion, which relates to enforcement of an ordinance or
                 law, is revised to also refer to compliance with an ordinance or law.
                 Similar references are revised in the Increased Cost Of Construction (ICC) and Business Income
                 From Dependent Properties Additional Coverages, Loss Payment Condition and the Period of Res-
                 toration definition. Further, the ICC Additional Coverage is revised to apply to compliance with the
                 minimum standards of an ordinance or law.
                 Earth Movement Exclusion
                 The Earth Movement Exclusion now reinforces that it applies to earth movement caused by an act
                 of nature or otherwise caused. In addition, the term earthquake now incorporates tremors and
                 aftershocks.
                 With respect to coverage for volcanic action (which is a limited exception to the exclusion of
                 volcanic eruption), all such eruptions that occur within any 168-hour period constitute a single
                 occurrence.
                 Exclusions - Virus Or Bacteria
                 The Virus Or Bacteria Exclusion has been added to this form and incorporates                         the function of
                 Exclusion Of Loss Due To Virus Or Bacteria Endorsement BP 06 01.
                 Exclusions - Artificially Generated Electrical Current
                 The Electrical Apparatus Exclusion has been revised to incorporate various terms that reflect cur-
                 rent understandings of technology with regard to power sources and associated systems.
                 Exclusion - Collapse
                 The Collapse Exclusion has been revised in conjunction                  with revisions to reinforce the Collapse
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                 Additional Coverage.
                 Exclusions - Product Errors
                 An exclusion has been added for loss or damage to any merchandise, goods or other product,
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                 caused by or resulting from error or omission in any stage of the development, production or use of
                 the product. But if the error or omission results in a covered cause of loss, the loss or damage
                 attributable to the ensuing covered cause of loss is covered.
                 Limits Of Insurance
                 The Limits of Insurance provision has been revised to provide that the amounts of insurance for the
                 Increased Cost Of Construction, Business Income From Dependent Properties, Electronic Data and
                 Interruption Of Computer Operations Additional Coverages apply in addition to the Section I -
                 Property Limits.




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                     Building Limit - Automatic Increase
                      The Building Limit - Automatic Increase Limit of Insurance has been revised to indicate that the
                      limit will increase by 8% unless a higher or lower annual percentage is shown in the Declarations.
                     Business Personal Property Limit - Seasonal Increase
                      The Business Personal Property Limit - Seasonal Increase provision has been revised to indicate
                      that the Limit of Insurance for Business Personal Property will increase by 25% or by a different
                      percentage shown in the Declarations.
                     Deductibles
                      The Deductibles provision has been revised to eliminate references to a separate glass deductible.
                      Glass losses will now be subject to the otherwise applicable policy deductible.
                     Loss Payment Property Loss Condition
                      The Loss Payment Property Loss Condition is revised to include an illustrative example.
58899809




                     Optional Coverages - Equipment Breakdown Protection Coverage
                      The Mechanical Breakdown Optional Coverage has been replaced with Equipment Breakdown
                      Protection Coverage. As a result we are withdrawing Equipment Breakdown Protection Endorse-
                      ment BP 04 59. If the Equipment Breakdown Optional Coverage is replacing BP 04 59, there is no
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                      change in coverage.
           Section II - Liability
           I.     Broadenings of Coverage:
                     Liquor Liability Exclusion
                      The Liquor Liability Exclusion is revised to provide that, for the purposes of the exclusion,
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                      permitting a person to bring alcoholic beverages for consumption on an insured’s premises (e.g., a
                      "Bring Your Own"), whether or not a fee is charged or a license is required for such activity, is not
                      by itself considered the business of selling, serving or furnishing alcoholic beverages.
                     Electronic Data Exclusion
                      An exception to the Electronic Data Exclusion is introduced to provide that the exclusion does not
                      apply to liability for damages because of bodily injury.
                     Who Is An Insured
                      The Who Is An Insured Provision has been revised to include trusts as insureds.
           II.    Reductions in Coverage
                     Liquor Liability Exclusion
                      The Liquor Liability Exclusion is revised to state that the Liquor Liability Exclusion applies even if
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                      the claims allege the negligence or other wrongdoing in:
                          The supervision, hiring, employment, training or monitoring of others; or
                          Providing or failing to provide transportation             with respect to any person that may be under the
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                          influence of alcohol;
                      if the occurrence which caused the bodily injury or property damage involved that which is de-
                      scribed in Paragraph (1), (2) or (3) of the exclusion.
           III. Other Changes
                     Business Liability
                      A reference to or any offense has been added within the insuring agreement for Business Liability
                      with respect to an insurers right to investigate any occurrence and settle any claim or suit that may
                      result.




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                   Coverage Extension - Supplementary Payments
                   The Coverage Extension Supplementary Payments Provision has been revised to reinforce that
                   coverage is provided for court costs taxed against the insured but that this does not include attor-
                   ney’s fees or attorney expenses taxed against the insured. While this change is considered to be a
                   reinforcement of coverage intent, it may result in a decrease in coverage in jurisdictions where
                   courts have ruled that plaintiff’s attorneys’ fees or attorneys’ expenses taxed against the insured
                   can be levied as a supplementary payment.
                   War Liability Exclusion
                   The War Liability Exclusion is editorially revised.
                   Professional Services Exclusion
                   The Professional Services Exclusion has been revised to add language noting that the exclusion
                   applies even if the claims allege negligence or other wrongdoing in the hiring, employment, train-
                   ing, supervision or monitoring of others by an insured, if it involved the rendering or failure to
                   render any professional service.
                   Personal And Advertising Injury Exclusion
                   The Personal And Advertising Injury Exclusion is revised for consistency with the definition of
                   personal and advertising injury and to reinforce that the exclusion does not apply to injuries arising
                   out of other intellectual property rights involving the use of another’s advertising idea in the in-
                   sured’s advertisement.
                   Electronic Data Exclusion
                   Under the Electronic Data Exclusion the definition of electronic data has been revised for consis-
                   tency with the definition of electronic data under Section I - Property of the policy.
                   Recording And Distribution Of Material Or Information In Violation Of Law Exclusion
                   The Distribution of Material in Violation of Statutes Exclusion has been revised, in part, to address
                   actions or omissions that violate not only the Fair Credit Reporting Act (FCRA), but also the Fair and
                   Accurate Credit Transactions Act (FACTA) and any federal, state or local statutes. The title of the
                   exclusion has been revised to Recording And Distribution Of Material Or Information In Violation Of
                   Law to reflect the revised provision.
                   Liability And Medical Expense
                   The Liability And Medical Expense definition for Mobile Equipment has been editorially revised.
         Section III - Common Policy Conditions
         I.     Other Changes
                   Other Insurance Condition
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                   The Other Insurance Condition is editorially revised.

                                                               Endorsements
          Expiring Form                  Expiring Form Number               New Form                          New Form Number
14




          Windstorm Or Hail              BP 03 12 01 06                     Windstorm Or Hail                 BP 03 12 01 10
          Percentage Deductibles                                            Percentage Deductibles

         I.     Other Changes
                   This endorsement has been revised to delete the language pertaining to other causes or events that
                   contribute concurrently or in any sequence and to add language that the endorsement does not
                   imply or afford coverage for any loss or damage that is excluded under the Water Exclusion any
                   other exclusion or the application of a Flood Deductible if this policy or another policy provides
                   flood coverage.




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            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Employment-Related             BP 04 17 07 02                     Employment-Related                BP 04 17 01 10
            Practices Exclusion                                               Practices Exclusion

           I.     Reductions in Coverage
                      The Employment-related Practices Exclusion has been revised to reinforce that the exclusion ap-
                      plies to an injury-causing event associated with employment, whether it occurs before employ-
                      ment, during employment or after employment of that person, and that coverage does not apply for
                      injury caused by the malicious prosecution of a person.
                      While these changes are each a reinforcement of coverage intent, they may result in a decrease in
                      coverage in jurisdictions where courts have ruled the exclusion to be inapplicable in employment-
                      related malicious prosecution claims and/or post-employment claims.
58899809




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Amendment - Liquor             BP 04 19 01 06                     Amendment - Liquor                BP 04 19 07 13
            Liability Exclusion -                                             Liability Exclusion -
            Exception For Scheduled                                           Exception For Scheduled
            Premises Or Activities                                            Premises Or Activities
002260




           I.     Reductions in Coverage
                      The Liquor Liability Exclusion in this endorsement is revised, in part, to indicate that the causing or
                      contributing to the intoxication of any person includes causing or contributing to the intoxication of
                      any person because alcoholic beverages were permitted to be brought on your premises for con-
                      sumption on your premises.
                      This endorsement is also revised to indicate that the Liquor Liability Exclusion will apply if an
435




                      insured permits any person to bring any alcoholic beverages on the Named Insured’s premises, for
                      consumption on the Named Insured’s premises, except for the premises described in the Schedule
                      of the endorsement for consumption on such premises.
           II.    Other Changes
                      This endorsement is revised for consistency with revisions made to the Liquor Liability Exclusion in
                      the policy.
                      Various editorial revisions with no impact on coverage.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Protective Safeguards          BP 04 30 01 06                     Protective Safeguards             BP 04 30 07 13

           I.     Other Changes
of 148




                      This endorsement is revised by the addition of a symbol and description to recognize Automatic
                      Commercial Cooking Exhaust And Extinguishing Systems.
                      Various editorial revisions with no impact on coverage.
15




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Business Income                BP 04 41 01 06                     Business Income                   BP 04 41 07 13
            Changes - Time Period                                             Changes - Time Period

           I.     Broadening of Coverage
                      This endorsement is revised to reflect changes made to the Business Income From Dependent
                      Properties Additional Coverage in the Businessowners Coverage Form with respect to secondary
                      dependent properties.
                      The period of coverage has been increased from three consecutive weeks to four consecutive
                      weeks.


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         II.    Other Changes
                   Various editorial revisions with no impact on coverage.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Additional Insured -              BP 04 50 07 13
                                                                            Owners, Lessees Or
                                                                            Contractors - Scheduled
                                                                            Person Or Organization

         I.     Other Changes
                   This new Additional Insured Endorsement provides coverage for Owners, lessees of buildings on
                   policies covering contractors, and contractors on policies covering subcontractors, but only for
                   liability for ongoing operations.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Additional Insured -              BP 04 51 07 13
                                                                            Owners, State Or
                                                                            Governmental Agency
                                                                            Or Subdivision Or
                                                                            Political Subdivision -
                                                                            Permits Or
                                                                            Authorizations

         I.     Other Changes
                   This new Additional Insured Endorsement provides coverage for Owners, lessees or Contractors
                   who have signed a contract or agreement that requires them to be added as additional insureds, but
                   only for liability for ongoing operations.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Additional Insured -              BP 04 52 07 13
                                                                            State Or Governmental
                                                                            Agency Or Subdivision
                                                                            Or Political
                                                                            Subdivision - Permits
                                                                            Or Authorizations

         I.     Other Changes
                   This new Additional Insured Endorsement provides coverage for certain premises hazards for state
                   or federal governmental organizations issuing permits or authorization to contractors.
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          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Utility Services -             BP 04 56 01 06                     Utility Services -                BP 04 56 07 13
          Direct Damage                                                     Direct Damage
16




         I.     Other Changes
                   This endorsement is revised to reinforce that transmission lines include all lines that serve in the
                   transmission of power or communication service, including lines that may be identified as distribu-
                   tion lines.
                   This endorsement has been revised to remove the qualification                    that the utility service property be
                   located outside a covered building.
                   Various editorial revisions with no impact on coverage.




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            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Utility Services -             BP 04 57 01 06                     Utility Services -                BP 04 57 07 13
            Time Element                                                      Time Element

           I.     Broadening of Coverage
                     This endorsement is revised to provide the means to select                      a new category of utility service:
                     wastewater removal property. With respect to the coverage                      provided under this endorsement,
                     wastewater removal property is a utility system for removing                    wastewater and sewage from the
                     described premises, other than a system designed primarily for                 draining storm water.
           II.    Other Changes
                     This endorsement is revised to reinforce that transmission lines include all lines that serve in the
                     transmission of power or communication service, including lines which may be identified as dis-
                     tribution lines.
58899809




                     This endorsement has been revised to remove the qualification                    that the utility service property be
                     located outside a covered building.
                     Various editorial revisions with no impact on coverage.
002260




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Functional Building            BP 04 84 01 06                     Functional Building               BP 04 84 07 13
            Valuation                                                         Valuation

           I.     Other Changes
                     This endorsement is revised to reflect the revisions made to the Ordinance Or Law Exclusion in the
                     Businessowners Coverage Form.
435




                     Various editorial revisions with no impact on coverage.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Computer Fraud                 BP 05 47 01 06                     Computer Fraud                    BP 05 47 07 13
            And Fund                                                          And Fund
            Transfer Fraud                                                    Transfer Fraud

           I.     Broadening of Coverage
                     This endorsement has been revised to delete the Limitation regarding the transfer of property on
                     the basis of unauthorized instructions and that the false pretense exclusion does not apply.
           II.    Reduction of Coverage
                     An exclusion has been added for loss or damages caused by or resulting from the use or purported
of 148




                     use of credit, debit, charge, access, convenience, identification, store valued or other cards or the
                     information contained on such cards.
           III. Other Changes
17




                     Various editorial revisions with no impact on coverage.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Not Available                                                     Photography                       BP 07 83 07 13

           I.     Broadening of Coverage
                     This new endorsement is available for photographer risks.




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          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Pharmacists                    BP 08 07 01 06                     Pharmacists                       BP 08 07 07 13

         I.     Broadening of Coverage
                   This endorsement is revised to include an exception to the Professional Services Exclusion with
                   respect to the administering of vaccinations in accordance with applicable state or federal law.
         II.    Other Changes
                   Various editorial revisions with no impact on coverage.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Earthquake And                    BP 10 11 07 13
                                                                            Volcanic Eruption
                                                                            (Sub-Limit)

         I.     Other Changes
                   This new endorsement extends coverage against loss by earthquake and volcanic eruption at a
                   limit lower than the limit which applies to other covered perils. The limit of insurance for this
                   coverage is on an annual aggregate basis.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Loss Payable                   BP 12 03 01 06                     Loss Payable                      BP 12 03 01 10
          Provisions                                                        Clauses

         I.     Broadening of Coverage
                   The Loss Payable Provision has been revised to add an option, Building Owner Loss Payable
                   Clause, to identify the building owner and recognize that entity as a loss payee.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Additional Insured -              BP 12 31 01 10
                                                                            Building Owners

         I.     Other Changes
                   This new endorsement has been introduced to recognize the interest of a building owner, as an
                   additional named insured, under a tenant’s policy with respect to property damage under Section I -
                   Property.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
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          Not Available                                                     Additional Insured -              BP 14 02 07 13
                                                                            Owners, Lessees
                                                                            Or Contractors -
                                                                            Completed Operations
18




         I.     Broadening of Coverage
                   This new endorsement provides completed operations coverage for specified additional insured(s)
                   identified in the Schedule of the endorsement.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Windstorm Or Hail                 BP 14 04 07 13
                                                                            Losses To Roof
                                                                            Surfacing - Actual
                                                                            Cash Value Loss
                                                                            Settlement



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           I.     Other Changes
                     This new endorsement changes the Loss Payment Property Loss Condition to provide that loss or
                     damage to roof surfacing caused by windstorm or hail will be settled on an actual cash value basis
                     rather than a replacement cost basis.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            No Form                        Dec entry only                     Business Income                   Dec entry only
                                                                              And Extra Expense -
                                                                              Revised Period
                                                                              of Indemnity

           I.     Broadening of Coverage
                     Additional options of 270 and 360 days has been added.
58899809




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Not Available                                                     Debris Removal                    BP 14 09 07 13
                                                                              Additional Insurance

           I.     Other Changes
002260




                     This new endorsement provides for increasing the Debris Removal limit of insurance.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Not Available                                                     Limited Exclusion -               BP 14 15 07 13
                                                                              Personal And
                                                                              Advertising
                                                                              Injury - Lawyers
435




           I.     Reduction of Coverage
                     This new endorsement is used to exclude personal and advertising injury arising out of the render-
                     ing of or failure to render professional services as a lawyer.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Not Available                                                     Increased Cost Of                 BP 14 75 07 13
                                                                              Loss And Related
                                                                              Expenses For Green
                                                                              Upgrades

           I.     Other Changes
of 148




                     This new endorsement amends various Section I - Property coverage provisions to address green
                     up-grades to real and personal property, and related expenses.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Not Available                                                     Communicable                      BP 14 86 07 13
19




                                                                              Disease Exclusion

           I.     Reduction of Coverage
                     This new endorsement amends coverage to exclude bodily injury, property damage, and personal
                     and advertising injury arising out of the actual or alleged transmission of a communicable disease.




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          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Additional Insured -              BP 14 87 07 13
                                                                            Owners, Lessees Or
                                                                            Contractors - With
                                                                            Additional Insured
                                                                            Requirement For Other
                                                                            Parties In Construction
                                                                            Contract

         I.     Other Changes
                   This new endorsement provides additional insured status to those parties whom the Named In-
                   sured is obligated in writing in a contract or agreement to name as an additional insured under their
                   policy.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Not Available                                                     Primary And                       BP 14 88 07 13
                                                                            Noncontributory -
                                                                            Other Insurance
                                                                            Condition

         I.     Other Changes
                   This new endorsement provides that the coverage made available to an additional insured will be
                   provided on a primary and noncontributory basis.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Condominium                    BP 17 01 01 06                     Condominium                       BP 17 01 07 13
          Association Coverage                                              Association Coverage

         I.     Broadening of Coverage
                   This endorsement is revised to provide that coverage extends 100 feet from the building or 100 feet
                   from the described premises, whichever distance is greater.
         II.    Other Changes
                   This endorsement is revised such that Business Personal Property is covered when located in or on
                   the buildings or structures at the described premises.
                   Various editorial revisions with no impact on coverage.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
of 148




          Condominium                    BP 17 02 01 06                     Condominium                       BP 17 02 07 13
          Commercial Unit-                                                  Commercial Unit-
          Owners Coverage                                                   Owners Coverage

         I.     Broadening of Coverage
20




                   This endorsement is revised to provide that coverage extends 100 feet from the building or 100 feet
                   from the described premises, whichever distance is greater. Additionally, this endorsement is
                   revised to include leased personal property which the Named Insured has a contractual responsibil-
                   ity to insure as covered Business Personal Property.
         II.    Other Changes
                   This endorsement is revised such that Business Personal Property is covered when located in or on
                   the buildings or structures at the described premises.
                   Various editorial revisions with no impact on coverage.




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                                                           OTHER CHANGES
               The endorsements identified below are being editorially               revised to comply with ISO uniformity      stan-
               dards as follows:
               Various editorial revisions with no impact on coverage.
                   BP 04 04 01 10 - Hired Auto And Non-owned Auto Liability
                   This endorsement has been revised to introduce an Other Insurance provision to generally state
                   that coverage provided by the endorsement is excess over any primary insurance covering the
                   "hired auto" or "non-owned auto".
                   BP 08 03 07 13 - Optical And Hearing Aid Establishments (Editorially Revised)
                   BP 12 02 07 13 - Fire Department Service Contract
               The additional insured endorsements identified below are revised to:
58899809




                   Add language, in response to growing number of states enacting anti-indemnification         laws, to
                   provide that the insurance afforded to an additional insured only applies to the extent permitted by
                   law;
                   Provide that, if coverage provided to the additional insured is required by contract or agreement,
                   the insurance afforded to the additional insured will not be broader than that which the Named
002260




                   Insured is required by the contract or agreement to provide for the additional insured; and
                   Provide that, if coverage provided to the additional insured is required by contract or agreement,
                   the most the insurer will pay on behalf of the additional insured is the amount of insurance required
                   by the contract or agreement or the amount of insured available under the applicable Limits Of
                   Insurance shown in the Declarations, whichever is less. The provision also provides that the en-
                   dorsement will not increase the applicable Limits Of Insurance shown in the Declarations.
435




                       BP 04 02 07 13 - Additional Insured - Managers Or Lessors Of Premises
                       BP 04 06 07 13 - Additional Insured - Controlling Interest
                       BP 04 07 07 13 - Additional Insured - State Or Governmental Agency Or Subdivision Or Political
                       Subdivision - Permits Or Authorizations Relating To Premises
                       BP 04 09 07 13 - Additional Insured - Mortgagee, Assignee Or Receiver
                       BP 04 10 07 13 - Additional        Insured - Owners Or Other Interests From Whom Land Has Been
                       Leased
                       BP 04 11 07 13 - Additional Insured - Co-owner Of Insured Premises
                       BP 04 13 07 13 - Additional Insured - Engineers, Architects Or Surveyors
                       BP 04 47 07 13 - Additional Insured - Vendors
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                       BP 04 48 07 13 - Additional Insured - Designated Person Or Organization
                       BP 04 49 07 13 - Additional Insured - Engineers, Architects Or Surveyors Not Engaged By The
                       Named Insured
21




                       BP 04 50 07 13 - Additional        Insured - Owners, Lessees Or Contractors - Scheduled Person Or
                       Organization
                       BP 04 51 07 13 - Additional Insured - Owners, Lessees Or Contractors - With Additional Insured
                       Requirement In Construction Contract
                       BP 04 52 07 13 - Additional Insured - State Or Governmental Agency Or Subdivision Or Political
                       Subdivision - Permits Or Authorizations
                       BP 14 02 - Additional Insured - Owners, Lessees Or Contractors - Completed Operations




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                The additional insured endorsements identified below are revised to:
                    Allow for any governmental       agency or subdivision (federal or state) to be named as an additional
                    insured.
                    To address situations in which a permit many not be issued, but the governmental                          agency or
                    subdivision authorizes the insured to perform operations
                    The endorsements now reference the issuing of permits or authorization to the insured.
                        BP 04 07 07 13 - Additional Insured - State Or Governmental Agency Or Subdivision Or Political
                        Subdivision - Permits Or Authorizations Relating To Premises.
                        BP 04 52 07 13 - Additional Insured - State Or Governmental Agency Or Subdivision Or Political
                        Subdivision - Permits Or Authorizations.
                The additional insured endorsements identified below are revised to:
                    Specifically excluding completed operations coverage for an additional insured;
                    Removed the Professional Services Exclusion, as a similar exclusion is already contained in the
                    Businessowners Coverage Form.
                        BP 04 13 07 13 - Additional Insured - Engineers, Architects Or Surveyors
                        BP 04 49 07 13 - Additional Insured - Engineers, Architects Or Surveyors Not Engaged By The
                        Named Insured
                        BP 04 51 07 13 - Additional Insured - Owners, Lessees Or Contractors - With Additional Insured
                        Requirement In Construction Contract
                The endorsements identified below are revised to:
                    The Professional Services Exclusion has been modified to address claims alleging negligence or
                    other wrongdoing in the hiring, employment, training, supervision or monitoring of others by an
                    insured.
                        BP 08 03 07 13 - Optical And Hearing Aid Establishments
                        BP 08 07 07 13 - Pharmacists
                        BP 14 15 07 13 - Limited Exclusion - Personal And Advertising Injury - Lawyers

                                                          COMPANY FORMS
         Only the countrywide versions of endorsements are referenced. State specific versions, where applicable,
         have been amended in the same manner as the countrywide version unless otherwise specified.

          Expiring Form                 Expiring Form Number               New Form                          New Form Number
          Businessowners                BP 79 19 07 10                     Businessowners                    BP 79 19 07 13
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          Property Extension                                               Property Extension
          Endorsement                                                      Endorsement

         I.     Broadening of Coverage
22




                    Theft Of Clients’ Property Coverage has been added and includes a limit of $5,000, unless a higher
                    limit is shown in the Declarations, and a deductible of $250.
         II.    Reductions of Coverage
                    Water Back-Up And Sump Overflow language has been added which states that we will not pay
                    when back-up, overflow or discharge is caused directly or indirectly by any flood whether caused
                    by an act of nature or otherwise caused, and is excluded regardless of any other cause or event that
                    contributes concurrently or in any sequence to the loss.




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           III. Other Changes
                     Revision to the paragraph references.
                     Duplication of language has been eliminated.
                     Debris Removal has been moved to the BP 00 03 Businessowners Coverage Form.
                     Ordinance Or Law Coverage has been revised to reflect the revisions made in the Ordinance
                     Or Law Exclusion in the Businessowners Coverage Form.
                     Water Back-Up And Sump Overflow has revisions to the paragraph referencing and lead in lan-
                     guage, and includes clarifying language.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Amendment Of                   BP 79 74 02 08                     Amendment Of                      BP 79 74 07 13
            Pollution Exclusion                                               Pollution Exclusion
58899809




            (Premises)                                                        (Premises)

           I.     Other Changes
                     Revision to the paragraph referencing.
002260




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Businessowners                 BP 79 96 03 11                     Businessowners                    BP 79 96 07 13
            Liability Extension                                               Liability Extension
            Endorsement                                                       Endorsement

           I.     Broadening of Coverage
435




                     The definition of "Bodily Injury" has been revised to include mental anguish.
           II.    Other Changes
                     The definition of Insured Contract has been revised to add clarifying language which states that a
                     contract or agreement shall only be considered and "insured contract" to the extent your assump-
                     tion of the tort liability is permitted by law.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Condominium                    BP 80 05 09 10                     Condominium                       BP 80 05 07 13
            Association Directors                                             Association Directors
            And Officers Liability                                            And Officers Liability
            Coverage                                                          Coverage

           I.     Other Changes
of 148




                     Revision to the paragraph references.
                     The Punitive Damages Exclusion in BP 80 05 has been removed, and Amendment - Punitive Dam-
                     ages Exclusion, BP 81 04, has been withdrawn. There is no change to the coverage provided.
23




            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Bookstore Endorsement          BP 80 27 01 07                     Bookstore Endorsement             BP 80 27 07 13

           I.     Reduction of Coverage
                     The Liquor Liability Exclusion now applies to this coverage.
           II.    Other Changes
                     Revision to the paragraph references.




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          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Coverage For Pets              BP 80 33 01 07                     Coverage For Pets                 BP 80 33 07 13

         I.     Broadening of Coverage
                    The Property Not Covered has been revised to list the exceptions to the animals not covered.
                    Recovery Expense Coverage and Reward Expense Coverage have been revised to include coverage
                    for unauthorized instructions given to transfer the animals to any person or place.
         II.    Restrictions of Coverage
                    Flood and surface water language in the Covered Causes Of Loss has been revised in keeping with
                    the water exclusion language in BP 00 03 Businessowners Coverage Form.
         III. Other Changes
                    Revision to the paragraph references.
                    Duplicate language has been eliminated.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Goodwill Replacement           BP 80 41 01 07                     Goodwill Replacement              BP 80 41 07 13
          Valuation Endorsement                                             Valuation Endorsement

         I.     Broadening of Coverage
                    Coverage for Replacement Cost is no longer limited to items less than two years of age.
         II.    Other Changes
                    Revision to the paragraph referencing and lead in language.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Medical Office                 BP 80 56 06 09                     Medical Office                    BP 80 56 07 13
          Endorsement                                                       Endorsement

         I.     Broadening of Coverage
                    Spoilage Coverage has been increased from $5,000 to $10,000.
         II.    Other Changes
                    Revision to the paragraph references.

          Expiring Form                  Expiring Form Number               New Form                          New Form Number
          Businessowners                 BP 82 42 07 10                     Businessowners                    BP 82 42 07 13
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          Property Plus                                                     Property Plus
          Extension                                                         Extension
          Endorsement                                                       Endorsement
24




         I.     Broadening of Coverage
                    Theft Of Clients’ Property Coverage has been added and includes a limit of $5,000, unless a higher
                    limit is shown in the Declarations, and includes a deductible of $250.
         II.    Other Changes
                    Revision to the paragraph references.
                    Clarifying language has been added to the Water Back- Up And Sump Overflow.
                    Duplication of language has been eliminated.
                    Debris Removal has been moved to the BP 00 03 Businessowners Coverage Form.



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            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Windstorm Or                   BP 88 11 06 09                     Windstorm Or                      BP 88 11 07 13
            Hail Exclusion                                                    Hail Exclusion

           I.     Other Changes
                     Revision to the paragraph referencing and lead in language.
                     Windstorm or Hail has been deleted from the "Specified Causes Of Loss" definition.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Identity Recovery              BP 88 15 03 12                     Identity Theft                    BP 88 77 07 13
            Coverage For                                                      Administration
            Defined Individuals                                               Service And
                                                                              Expense Coverage
58899809




           I.     Other Changes
                     Title Change and editorial revisions.

            Expiring Form                  Expiring Form Number               New Form                          New Form Number
002260




            Businessowners                 BP 88 19 07 10                     Businessowners                    BP 88 19 07 13
            Property Endorsement                                              Property Endorsement

           I.     Broadening of Coverage
                     Theft Of Clients’ Property Coverage has been added and includes a limit of $5,000, unless a higher
                     limit is shown in the Declarations, and includes a deductible of $250.
435




           II.    Reductions of Coverage
                     Water Back-Up And Sump Overflow language has been added which states that we will not pay
                     when back-up, overflow or discharge is caused directly or indirectly by any flood whether caused
                     by an act of nature or otherwise caused, and is excluded regardless of any other cause or event that
                     contributes concurrently or in any sequence to the loss.
           III. Other Changes
                     Revision to the paragraph references.
                     Duplication of language has been eliminated.
                     Debris Removal has been moved to the BP 00 03 Businessowners Coverage Form.
                     Ordinance Or Law Coverage has been revised to reflect the revisions made in the Ordinance Or Law
                     Exclusion in the Businessowners Coverage Form.
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            Expiring Form                  Expiring Form Number               New Form                          New Form Number
            Water Back-Up                  BP 88 72 01 13                     Water Back-Up                     BP 88 72 07 13
            And Sump Overflow                                                 And Sump Overflow
25




           I.     Reduction of Coverage
                     Language has been added which states the we will not pay when back-up, overflow or discharge is
                     caused directly or indirectly by any flood whether caused by an act of nature or otherwise caused,
                     and is excluded regardless of any other cause or event that contributes concurrently or in any
                     sequence to the loss.
           II.    Other Changes
                     Revision to the paragraph references.
                     Clarifying language has been added.
                     Duplicate language has been eliminated.

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                                                                                                                           WAP 000038
           NP 93 54 07 13         Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 17 of 18
              Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 76 of 376 PageID: 276

          Expiring Form                Expiring Form Number               New Form                          New Form Number
          Not Available                                                   Business Personal                 BP 88 78 07 13
                                                                          Property Limit -
                                                                          Automatic Increase

         I.     Broadening of Coverage
                   This new coverage provides Business Personal Property - Automatic Increase Limit of Insurance of
                   2% unless a higher or lower annual percentage is shown in the Declarations.
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                                                                                                                       WAP 000039
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                                                                                                         NP 98 20 01 15


                      JURISDICTIONAL BOILER AND PRESSURE VESSEL INSPECTIONS

           Most jurisdictions (cities or states) are governed by laws and regulations that require owners of boilers and
           pressure vessels to have their equipment inspected on a routine basis. Jurisdictions require that equipment
           is installed and operated according to these regulations, and it is the equipment breakdown engineering
           inspector’s responsibility to verify the equipment complies with all requirements.

           Liberty Mutual Equipment Breakdown is a National Board Accredited Authorized Inspection Agency. This
           designation is recognized by authorities having jurisdictions in the U.S. & provinces of Canada and gives
           Liberty Mutual commissioned inspectors the ability to perform jurisdictionally required inspection on boil-
           ers and pressure vessels at insured locations. We have field inspectors strategically located throughout the
58899809




           U.S. to perform boiler and pressure vessel inspection for our customers and clients.

           To request a Jurisdictional Inspection please:

                   Call the LMEB Hotline (877) 526-0020
002260




           Or

                   Email your request to LMEBInspections@Libertymutual.com

           The assigned EB Risk Engineer will call to schedule within 24 - 48 hours. When requesting an inspection
           please include the following:

                   Current Policy Number
435




                   Location Address

                   Contact Name

                   Contact Phone Number and/or Email Address
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           NP 98 20 01 15                             2015 Liberty Mutual Insurance                       WAP 000040
                                                                                                            Page  1 of 1
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                                                                               WAP 000041
                          Case 3:20-cv-12584-FLW-TJB   Document
                                                  Coverage           11In: Filed 12/08/20 Page 79 ofPolicy
                                                           Is Provided                               376Number:
                                                                                                           PageID: 279
                                                              West American Insurance Company - a stock company          BZW(20) 58 89 98 09
                                                                                                                         Policy Period:
                                                              175 Berkeley St., Boston, MA 02116                         From 10/01/2019 To 10/01/2020
                                                                                                                         12:01 am Standard Time
                                                                                                                         at Insured Mailing Location
                                                              Commercial       Protector    Common
                                                              Policy Declarations
                      Named Insured & Mailing Address                                       Agent Mailing Address & Phone No.
                      METUCHEN CENTER INC                                                   (732) 548-2727
                      10-12 EMBROIDERY ST                                                   THE SCHENCK AGENCY INC
                      SAYREVILLE, NJ 08872                                                  PO BOX 351
                                                                                            METUCHEN, NJ 08840-0351
58899809




                      Named Insured Is: CORPORATION

                      Named Insured Business Is: SPORTING GOODS OR ATHLETIC EQUIPMENT STORES -

                      In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to
002260




                      provide the insurance as stated in this policy.

                      SUMMARY OF COVERAGE PARTS AND CHARGES

                      These Declarations together with the Businessowners Coverage Form (and other applicable forms and endorsements, if
                      any, issued to form a part of them) complete this policy.

                      COVERAGE PART                                                                CHARGES
435




                      Commercial Protector                                                 $10,909.06

                                                                Total Charges for all of the above coverage parts:                           $10,909.06
                                                                Certified Acts of Terrorism Coverage:    $32.00                              (Included)
                                                                                                                                  Note: This is not a bill
of 148




                      IMPORTANT MESSAGES

                      .   THIS POLICY CONTAINS AGGREGATE LIMITS; REFER TO SECTION II - LIABILITY, PARAGRAPH D.
                          LIABILITY AND MEDICAL EXPENSES LIMITS OF INSURANCE FOR DETAILS.
29




                      .   Equipment Breakdown Enhancement Is Included - See Policy Forms and Endorsements summary




                      Issue Date          08/14/19                                                      Authorized Representative


                      To report a claim, call your Agent or 1-844-325-2467

                      DS 70 21 11 16
                                                                                                                                    WAP 000042

           08/14/19           58899809      POLSVCS     435                     MCAOPPNO               INSURED COPY      002260           PAGE   29   OF   148
                     Case 3:20-cv-12584-FLW-TJBCoverage
                                                  Document      11 In:Filed 12/08/20 Page 80 ofPolicy
                                                        Is Provided                             376Number:
                                                                                                      PageID: 280
                                                                                                                         BZW      (20) 58 89 98 09
                                                                                                                         Policy Period:
                                                                175 Berkeley St., Boston, MA 02116                       From 10/01/2019 To 10/01/2020
                                                                                                                         12:01 am Standard Time
                                                                                                                         at Insured Mailing Location
                                                                Common Policy Declarations

                    Named Insured                                                           Agent

                    METUCHEN CENTER INC                                                     (732) 548-2727
                    10-12 EMBROIDERY ST                                                     THE SCHENCK AGENCY INC
                    SAYREVILLE, NJ 08872                                                    PO BOX 351
                                                                                            METUCHEN, NJ 08840-0351



                    OTHER NAMED INSUREDS

                    See Named Insured Endorsement DS8804

                    SUMMARY OF LOCATION(S) AND PREMIUM(S)

                    0001 10-12 Embroidery St, Sayreville, NJ 08872-1809                                               $10,795.00

                    POLICY FORMS AND ENDORSEMENTS

                    This section lists the Forms and Endorsements for your policy. Refer to these documents as needed for detailed
                    information concerning your coverage.
                    FORM NUMBER                        TITLE
                    BP   00   03   07   13             Businessowners Coverage Form
                    BP   01   89   03   15             New Jersey Changes
                    BP   04   09   07   13             Additional Insured - Mortgagee, Assignee or Receiver
                    BP   04   17   01   10             Employment - Related Practices Exclusion
                    BP   04   19   07   13             Amendment - Liquor Liability Exclusion - Exception for Scheduled Premises or
                                                       Activities
                    BP   05   17   01   06             Exclusion - Silica Or Silica-Related Dust
                    BP   05   23   01   15             Cap On Losses From Certified Acts Of Terrorism
                    BP   05   77   01   06             Fungi or Bacteria Exclusion (Liability)
                    BP   15   04   05   14             Exclusion - Access Or Disclosure Of Confidential Or Personal Information And
of 148




                                                       Data-Related Liability - With Limited Bodily Injury Exception
                    BP   70   02   01   01             General Endorsement
                    BP   79   19   09   16             Businessowners Property Extension Endorsement
                    BP   79   74   07   13             Amendment of Pollution Exclusion (Premises)
30




                    BP   79   96   09   16             Businessowners Liability Extension Endorsement


                    In witness whereof, we have caused this policy to be signed by our authorized officers.




                                   Mark Touhey                                          Paul Condrin
                                     Secretary                                            President

                    To report a claim, call your Agent or 1-844-325-2467
                    DS 70 21 11 16
                                                                                                                                    WAP 000043

         08/14/19         58899809           POLSVCS      435                   MCAOPPNO               INSURED COPY      002260           PAGE   30   OF   148
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 81 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 281
                                                                  West American Insurance Company - a stock company      BZW      (20) 58 89 98 09
                                                                                                                         Policy Period:
                                                                  175 Berkeley St., Boston, MA 02116                     From 10/01/2019 To 10/01/2020
                                                                                                                         12:01 am Standard Time
                                                                                                                         at Insured Mailing Location
                                                                  Commercial       Protector    Common
                                                                  Policy Declarations
                      Named Insured                                                             Agent

                      METUCHEN CENTER INC                                                       (732) 548-2727
                      10-12 EMBROIDERY ST                                                       THE SCHENCK AGENCY INC
                                                                                                PO BOX 351


                      POLICY FORMS AND ENDORSEMENTS - CONTINUED
58899809




                      This section lists the Forms and Endorsements for your policy. Refer to these documents as needed for detailed
                      information concerning your coverage.
                      FORM NUMBER                        TITLE
002260




                      BP   80   60   01   07             Peak Season Endorsement
                      BP   81   15   03   11             Exclusion - Asbestos
                      BP   82   37   08   15             Equipment Breakdown Coverage Endorsement
                      BP   88   04   03   14             Exclusion - Professional Services (Real Estate Agents, Insurance Agents, Travel
                                                         Agents, Financial Services, Computer Software, Insurance Operations)
                      BP 88 77 07 13                     Identity Theft Administrative Services and Expense Coverage
435




                      BP 88 78 07 13                     Business Personal Property Limit - Automatic Increase
of 148
31




                      To report a claim, call your Agent or 1-844-325-2467

                                                                                                                                    WAP 000044
                      DS 70 21 11 16
           08/14/19         58899809           POLSVCS      435                     MCAOPPNO            INSURED COPY     002260           PAGE   31   OF   148
         Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 82 of 376 PageID: 282




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                                                                               WAP 000045
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 83 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 283
                                                              West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                   Policy Period:
                                                                                                                   From 10/01/2019 To 10/01/2020
                                                                                                                   12:01 am Standard Time
                                                              Commercial      Protector                            at Insured Mailing Location
                                                              Policy Declarations
                      Named Insured                                                       Agent

                      METUCHEN CENTER INC                                                 (732) 548-2727
                                                                                          THE SCHENCK AGENCY INC


                      SUMMARY OF LIMITS AND CHARGES

                      Businessowners         DESCRIPTION                                                                                   LIMIT
58899809




                      Liability
                                             Liability and Medical Expenses - Occurrence                                             1,000,000
                      Limits of
                                             Aggregate Limits of Insurance
                      Insurance
                                                         Products-Completed Operations                                               2,000,000
                                                         Other than Products-Completed Operations                                    2,000,000
                                             Broadened Coverage For Damage To Premises Rented To You                                 1,000,000
002260




                                             Medical Expenses (Any One Person)                                                              15,000


                      Explanation of         DESCRIPTION                                                                                   PREMIUM
                      Charges
                                             Businessowners Location(s) Total                                                       $10,795.00
                                             Businessowners Other Coverage(s) Total                                                         $17.00
435




                                             NJ Property - Liability Insurance Guaranty Association Surcharge                               $65.06
                                             Certified Acts of Terrorism Coverage                                                           $32.00
                                                                                           Total Charges:                       $10,909.06
                                                                                                                    Note: This is not a bill
of 148
33




                      To report a claim, call your Agent or 1-844-325-2467

                                                                                                                            WAP 000046
                      DS 70 22 01 08
           08/14/19         58899809        POLSVCS     435                    MCAOPPNO             INSURED COPY   002260           PAGE    33     OF   148
                      Case 3:20-cv-12584-FLW-TJB   Document
                                              Coverage           11In: Filed 12/08/20 Page 84 ofPolicy
                                                       Is Provided                               376Number:
                                                                                                       PageID: 284
                                                              West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                   Policy Period:
                                                                                                                   From 10/01/2019 To 10/01/2020
                                                                                                                   12:01 am Standard Time
                                                              Commercial      Protector                            at Insured Mailing Location
                                                              Declarations     Schedule
                    Named Insured                                                         Agent

                    METUCHEN CENTER INC                                                   (732) 548-2727
                                                                                          THE SCHENCK AGENCY INC


                    SUMMARY OF COVERAGES BY LOCATION

                    0001   10-12 Embroidery St, Sayreville, NJ 08872-1809


                    Property               Description:
                    Characteristics

                                           Construction: Joisted Masonry


                    Building
                                           Occupancy: Sporting Goods or Athletic Equipment - No Guns, Ammunition
                    Coverage
                                                          or Vehicles - Wholesale


                                           DESCRIPTION
                                           Limit of Insurance - Replacement Cost                                                      $833,875
                                           Covered Causes of Loss
                                           Special Form
                                           Automatic Increase Building                                                                          4%
                                           Deductible                                                                                      $1,000

                                                                                                         Premium                      $5,552.00

                    Business
                                           Occupancy: Sporting Goods or Athletic Equipment - No Guns, Ammunition
                    Personal
                    Property Coverage                     or Vehicles - Wholesale
of 148




                                           DESCRIPTION
                                           Limit of Insurance - Replacement Cost                                                      $258,222
                                           Covered Causes of Loss
34




                                           Special Form
                                           Deductible                                                                                      $1,000
                                           Automatic Increase Business Personal Property                                                        4%

                                                                                                         Premium                      $5,131.00




                    To report a claim, call your Agent or 1-844-325-2467

                                                                                                                            WAP 000047
                    DS 70 23 01 08
         08/14/19          58899809       POLSVCS       435                    MCAOPPNO             INSURED COPY   002260           PAGE   34   OF   148
                       Case 3:20-cv-12584-FLW-TJB   Document
                                               Coverage           11In: Filed 12/08/20 Page 85 ofPolicy
                                                        Is Provided                               376Number:
                                                                                                        PageID: 285
                                                                West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                     Policy Period:
                                                                                                                     From 10/01/2019 To 10/01/2020
                                                                                                                     12:01 am Standard Time
                                                                Commercial      Protector                            at Insured Mailing Location
                                                                Declarations     Schedule
                      Named Insured                                                         Agent

                      METUCHEN CENTER INC                                                   (732) 548-2727
                                                                                            THE SCHENCK AGENCY INC


                      SUMMARY OF COVERAGES BY LOCATION - CONTINUED

                      Continuation of 0001 10-12 Embroidery St, Sayreville, NJ 08872-1809
58899809




                      Money and              DESCRIPTION
                      Securities             Limit of Insurance - Inside                                                                 $20,000
                                             Limit of Insurance - Outside                                                                $20,000
002260




                                             Deductible                                                                                        $500

                                                                                                           Premium                           $112.00

                      Mortgage            BANK OF AMERICA NA ISAOA                     70 BATTERSONPARK ROAD
                      Holder(s)                                                        MAIL CODECT2-515-BB-03
                                          INSURANCE DIVISION                           FARMINGTON, CT 06032
                                                                                       Loan#
435




                      SUMMARY OF OTHER COVERAGES

                      Employee               DESCRIPTION
                      Dishonesty             Limit of Insurance                                                                          $25,000
                      Including              Number of Employees                                                                                        5
                      Forgery and
                                             Deductible                                                                                        $500
                      Alteration

                                                                                                           Premium                       Included
of 148




                      Property               DESCRIPTION
                      Extension              See Endorsement
                      Endorsement
35




                                                                                                           Premium                            $8.00




                      To report a claim, call your Agent or 1-844-325-2467

                                                                                                                              WAP 000048
                      DS 70 23 01 08
           08/14/19         58899809        POLSVCS       435                    MCAOPPNO             INSURED COPY   002260           PAGE    35   OF       148
                     Case 3:20-cv-12584-FLW-TJB   Document
                                             Coverage           11In: Filed 12/08/20 Page 86 ofPolicy
                                                      Is Provided                               376Number:
                                                                                                      PageID: 286
                                                            West American Insurance Company - a stock company    BZW(20) 58 89 98 09
                                                                                                                 Policy Period:
                                                                                                                 From 10/01/2019 To 10/01/2020
                                                                                                                 12:01 am Standard Time
                                                            Commercial      Protector                            at Insured Mailing Location
                                                            Declarations     Schedule
                    Named Insured                                                       Agent

                    METUCHEN CENTER INC                                                 (732) 548-2727
                                                                                        THE SCHENCK AGENCY INC


                    SUMMARY OF OTHER COVERAGES - continued

                    Identity Recovery      DESCRIPTION
                    Coverage for           See Endorsement
                    Defined Individuals

                                                                                                       Premium                           $9.00
                    Businessowners Location(s) Total                                                                                $10,795.00
                    Businessowners Other Coverage(s) Total                                                                               $17.00
                    Businessowners Schedule Total                                                                                   $10,812.00
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                    To report a claim, call your Agent or 1-844-325-2467

                                                                                                                          WAP 000049
                    DS 70 23 01 08
         08/14/19         58899809        POLSVCS     435                    MCAOPPNO             INSURED COPY   002260           PAGE   36   OF   148
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 87 of 376 PageID: 287
                                                                       POLICY NUMBER
                                                                       BZW    (20) 58 89 98 09
                                                                       Policy Period:
                              Named Insured Endorsement                From 10/01/2019 To 10/01/2020
                                                                       12:01 am Standard Time
                                                                       at Insured Mailing Location




                            This Endorsement Changes The Policy. Please Read it Carefully.

                            The complete Named Insured reads as follows:
58899809




                            METUCHEN CENTER INC

                            DORECCO LLC
002260
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           DS 88 04 03 15                                                                    PAGE 1 OF 1
                                                                                         WAP 000050
         Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 88 of 376 PageID: 288




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                                                                               WAP 000051
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 89 of 376 PageID: 289
                                                                                                         BUSINESSOWNERS
                                                                                                              BP 00 03 07 13

                                        BUSINESSOWNERS COVERAGE FORM
           Various provisions in this policy restrict coverage.                       (5) Personal property owned by you
           Read the entire policy carefully to determine                                  that is used to maintain or ser-
           rights, duties and what is and is not covered.                                 vice the buildings or structures
           Throughout this Coverage Form the words "you"                                  or the premises, including:
           and "your" refer to the Named Insured shown in                                   (a) Fire extinguishing     equip-
           the Declarations. The words "we", "us" and                                           ment;
           "our" refer to the company providing this insur-                                 (b) Outdoor furniture;
           ance.
                                                                                            (c) Floor coverings; and
           In Section II - Liability, the word "insured" means
                                                                                            (d) Appliances used for refriger-
           any person or organization qualifying as such un-
58899809




                                                                                                ating, ventilating, cooking,
           der Paragraph C. Who Is An Insured.
                                                                                                dishwashing or laundering;
           Other words and phrases that appear in quotation
                                                                                      (6) If not covered by other insur-
           marks have special meaning. Refer to Paragraph
                                                                                          ance:
           H. Property Definitions in Section I - Property and
           Paragraph F. Liability And Medical Expenses Defi-                                (a) Additions     under construc-
002260




           nitions in Section II - Liability.                                                   tion, alterations and repairs
                                                                                                to the buildings or struc-
           SECTION I - PROPERTY
                                                                                                tures;
           A.   Coverage
                                                                                            (b) Materials, equipment, sup-
                We will pay for direct physical loss of or dam-                                 plies and temporary struc-
                age to Covered Property at the premises de-                                     tures, on or within 100 feet
                scribed in the Declarations caused by or                                        of the described premises,
435




                resulting from any Covered Cause of Loss.                                       used for making additions,
                1.   Covered Property                                                           alterations or repairs to the
                     Covered Property includes Buildings as                                     buildings or structures.
                     described under Paragraph a. below,                         b.   Business Personal Property located
                     Business Personal Property as described                          in or on the buildings or structures at
                     under Paragraph b. below, or both, de-                           the described premises or in the
                     pending on whether a Limit Of Insurance                          open (or in a vehicle) within 100 feet
                     is shown in the Declarations for that type                       of the buildings or structures or with-
                     of property. Regardless of whether cov-                          in 100 feet of the premises described
                     erage is shown in the Declarations for                           in the Declarations, whichever dis-
                     Buildings, Business Personal Property, or                        tance is greater, including:
                     both, there is no coverage for property                          (1) Property you own that is used in
                     described under Paragraph 2. Property                                your business;
                     Not Covered.
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                                                                                      (2) Property of others that is in your
                     a.   Buildings, meaning the buildings                                care, custody or control, except
                          and structures at the premises de-                              as otherwise provided in Loss
                          scribed in the Declarations, includ-                            Payment Property Loss Condi-
                          ing:                                                            tion Paragraph E.5.d.(3)(b);
39




                          (1) Completed additions;                                    (3) Tenant’s improvements and bet-
                          (2) Fixtures, including    outdoor   fix-                       terments.     Improvements      and
                              tures;                                                      betterments are fixtures, alter-
                          (3) Permanently installed:                                      ations, installations or additions:
                              (a) Machinery; and                                            (a) Made a part of the building
                                                                                                or structure you occupy but
                              (b) Equipment;
                                                                                                do not own; and
                          (4) Your    personal  property   in
                                                                                            (b) You acquired or made at
                              apartments, rooms or common
                                                                                                your expense but cannot le-
                              areas furnished by you as land-
                                                                                                gally remove;
                              lord;



           BP 00 03 07 13                           Insurance Services Office, Inc., 2012                      WAP 000052
                                                                                                                Page  1 of 61
          Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 90 of 376 PageID: 290
                        (4) Leased personal property which                      h.   "Computer(s)"    which are perma-
                            you have a contractual responsi-                         nently installed or designed to be
                            bility to insure, unless otherwise                       permanently installed in any aircraft,
                            provided for under Paragraph                             watercraft, motortruck or other vehi-
                            1.b.(2); and                                             cle subject to motor vehicle registra-
                        (5) Exterior building glass, if you are                      tion. This paragraph does not apply
                            a tenant and no Limit Of Insur-                          to "computer(s)"     while held as
                            ance is shown in the Declara-                            "stock";
                            tions for Building property. The                    i.   "Electronic data", except as provided
                            glass must be owned by you or                            under Additional Coverages - Elec-
                            in your care, custody or control.                        tronic Data. This Paragraph i. does
             2.   Property Not Covered                                               not apply to your "stock"            of
                                                                                     prepackaged software or to "elec-
                  Covered Property does not include:
                                                                                     tronic data" which is integrated in
                  a.    Aircraft, automobiles,  motortrucks                          and operates or controls the build-
                        and other vehicles subject to motor                          ing’s elevator, lighting, heating, ven-
                        vehicle registration;                                        tilation, air conditioning or security
                  b.    "Money" or "securities"     except as                        system; or
                        provided in the:                                        j.   Animals, unless owned by others
                        (1) Money And Securities Optional                            and boarded by you, or if owned by
                            Coverage; or                                             you, only as "stock" while inside of
                        (2) Employee Dishonesty        Optional                      buildings.
                            Coverage;                                      3.   Covered Causes Of Loss
                  c.    Contraband,   or property     in the                    Direct physical loss unless the loss is ex-
                        course of illegal transportation or                     cluded or limited under Section I - Prop-
                        trade;                                                  erty.
                  d.    Land (including land on which the                  4.   Limitations
                        property is located), water, growing                    a.   We will not pay for loss of or damage
                        crops or lawns (other than lawns                             to:
                        which are part of a vegetated roof);
                                                                                     (1) Steam boilers,      steam pipes,
                  e.    Outdoor fences, radio or television                              steam engines or steam turbines
                        antennas (including satellite dishes)                            caused by or resulting from any
                        and their lead-in wiring, masts or                               condition or event inside such
                        towers, signs (other than signs at-                              equipment. But we will pay for
                        tached to buildings), trees, shrubs or                           loss of or damage to such equip-
                        plants (other than trees, shrubs or                              ment caused by or resulting
                        plants which are part of a vegetated                             from an explosion of gases or
                        roof), all except as provided in the:                            fuel within the furnace of any
                        (1) Outdoor Property Coverage Ex-                                fired vessel or within the flues or
                            tension; or                                                  passages through which the gas-
of 148




                        (2) Outdoor   Signs Optional     Cover-                          es of combustion pass.
                            age;                                                     (2) Hot water boilers or other water
                  f.    Watercraft (including motors, equip-                             heating equipment caused by or
                        ment and accessories) while afloat;                              resulting from any condition or
40




                                                                                         event inside such boilers or
                  g.    Accounts, bills, food stamps, other
                                                                                         equipment, other than an explo-
                        evidences of debt, accounts receiv-
                                                                                         sion.
                        able or "valuable      papers and
                        records"; except as otherwise pro-
                        vided in this policy;




         Page 2 of 61                             Insurance Services Office, Inc., 2012                      WAP
                                                                                                            BP 00000053
                                                                                                                  03 07 13
            Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 91 of 376 PageID: 291
                        (3) Property that is missing, where                            (2) Fragile articles such as glass-
                            the only evidence of the loss or                               ware,       statuary,     marble,
                            damage is a shortage disclosed                                 chinaware     and porcelain,    if
                            on taking inventory, or other in-                              broken. This restriction does not
                            stances where there is no phys-                                apply to:
                            ical evidence to show what hap-                                 (a) Glass that is part of the ex-
                            pened to the property. This                                         terior or interior of a build-
                            limitation does not apply to the                                    ing or structure;
                            Optional Coverage for Money
                                                                                            (b) Containers of property held
                            and Securities.
                                                                                                for sale; or
                        (4) Property that has been trans-
                                                                                            (c) Photographic or scientific in-
                            ferred to a person or to a place
                                                                                                strument lenses.
                            outside the described premises
                            on the basis of unauthorized                          c.   For loss or damage by theft, the fol-
                            instructions.                                              lowing types of property are covered
58899809




                                                                                       only up to the limits shown (unless a
                        (5) The interior of any building or
                                                                                       higher Limit Of Insurance is shown in
                            structure, or to personal proper-
                                                                                       the Declarations):
                            ty in the building or structure,
                            caused by or resulting from rain,                          (1) $2,500 for furs, fur garments and
                            snow, sleet, ice, sand or dust,                                garments trimmed with fur.
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                            whether driven by wind or not,                             (2) $2,500 for jewelry,      watches,
                            unless:                                                        watch      movements,     jewels,
                            (a) The building or structure                                  pearls,        precious       and
                                first sustains damage by a                                 semiprecious     stones, bullion,
                                Covered Cause of Loss to its                               gold, silver, platinum and other
                                roof or walls through which                                precious alloys or metals. This
                                the rain, snow, sleet, ice,                                limit does not apply to jewelry
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                                sand or dust enters; or                                    and watches worth $100 or less
                                                                                           per item.
                            (b) The loss or damage is
                                caused by or results from                              (3) $2,500 for patterns, dies, molds
                                thawing of snow, sleet or ice                              and forms.
                                on the building or structure.                5.   Additional Coverages
                        (6) Lawns, trees, shrubs or plants                        a.   Debris Removal
                            which are part of a vegetated                              (1) Subject to Paragraphs (2), (3)
                            roof, caused by or resulting                                   and (4), we will pay your ex-
                            from:                                                          pense to remove debris of Cov-
                            (a) Dampness or dryness of at-                                 ered Property and other debris
                                mosphere or of soil support-                               that is on the described prem-
                                ing the vegetation;                                        ises, when such debris is caused
                            (b) Changes in or extremes of                                  by or results from a Covered
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                                temperature;                                               Cause of Loss that occurs during
                                                                                           the policy period. The expenses
                            (c) Disease;
                                                                                           will be paid only if they are re-
                            (d) Frost or hail; or                                          ported to us in writing within 180
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                            (e) Rain, snow, ice or sleet.                                  days of the date of direct phys-
                   b.   We will not pay for loss of or damage                              ical loss or damage.
                        to the following types of property un-                         (2) Debris Removal does not apply
                        less caused by the "specified causes                               to costs to:
                        of loss" or building glass breakage:                                (a) Remove debris of property
                        (1) Animals, and then only if they                                      of yours that is not insured
                            are killed or their destruction is                                  under this policy, or proper-
                            made necessary.                                                     ty in your possession that is
                                                                                                not Covered Property;




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                            (b) Remove debris of property                          (4) We will pay up to an additional
                                owned by or leased to the                              $25,000 for debris removal ex-
                                landlord     of the building                           pense, for each location, in any
                                where your described prem-                             one occurrence of physical loss
                                ises are located, unless you                           or damage to Covered Property,
                                have a contractual responsi-                           if one or both of the following
                                bility to insure such property                         circumstances apply:
                                and it is insured under this                              (a) The total of the actual debris
                                policy;                                                       removal expense plus the
                            (c) Remove any property that is                                   amount we pay for direct
                                Property Not Covered, in-                                     physical loss or damage ex-
                                cluding property addressed                                    ceeds the Limit of Insurance
                                under the Outdoor Property                                    on the Covered Property that
                                Coverage Extension;                                           has sustained loss or dam-
                            (d) Remove property of others                                     age.
                                of a type that would not be                               (b) The actual debris removal
                                Covered Property under this                                   expense exceeds 25% of the
                                policy;                                                       sum of the deductible plus
                            (e) Remove deposits of mud or                                     the amount that we pay for
                                earth from the grounds of                                     direct physical loss or dam-
                                the described premises;                                       age to the Covered Property
                                                                                              that has sustained loss or
                            (f)   Extract "pollutants"    from
                                                                                              damage.
                                  land or water; or
                                                                                          Therefore, if Paragraphs (4)(a)
                            (g) Remove, restore or replace
                                                                                          and/or (4)(b) apply, our total pay-
                                polluted land or water.
                                                                                          ment for direct physical loss or
                        (3) Subject to the exceptions in                                  damage and debris removal ex-
                            Paragraph (4), the following pro-                             pense may reach but will never
                            visions apply:                                                exceed the Limit of Insurance on
                            (a) The most that we will pay                                 the Covered Property that has
                                for the total of direct phys-                             sustained loss or damage, plus
                                ical loss or damage plus de-                              $25,000.
                                bris removal expense is the                        (5) Examples
                                Limit of Insurance applica-
                                ble to the Covered Property                               Example 1
                                that has sustained loss or                                Limit of Insurance         $90,000
                                damage.
                                                                                          Amount of Deductible          $500
                            (b) Subject to Paragraph (3)(a)
                                                                                          Amount of Loss             $50,000
                                above, the amount we will
                                pay for debris removal ex-                                Amount of Loss Payable $49,500
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                                pense is limited to 25% of                                                  ($50,000 - $500)
                                the sum of the deductible                                 Debris Removal Expense $10,000
                                plus the amount that we pay
                                                                                          Debris Removal Expense
                                for direct physical loss or
                                damage to the Covered                                     Payable                    $10,000
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                                Property that has sustained                               ($10,000 is 20% of $50,000)
                                loss or damage. However, if                               The debris removal expense is
                                no Covered Property has                                   less than 25% of the sum of the
                                sustained   direct physical                               loss payable plus the deductible.
                                loss or damage, the most we                               The sum of the loss payable and
                                will pay for removal of de-                               the debris removal       expense
                                bris of other property (if                                ($49,500 + $10,000 = $59,500) is
                                such removal is covered un-                               less than the Limit of Insurance.
                                der this Additional Cover-                                Therefore, the full amount of de-
                                age) is $5,000 at each loca-                              bris removal expense is payable
                                tion.                                                     in accordance with the terms of
                                                                                          Paragraph (3).


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                            Example 2                                               (2) Only if the loss or damage oc-
                                                                                        curs within 30 days after the
                            Limit of Insurance         $90,000
                                                                                        property is first moved.
                            Amount of Deductible        $ 500
                                                                               c.   Fire Department Service Charge
                            Amount of Loss             $80,000
                                                                                    When the fire department is called to
                            Amount of Loss Payable $79,500                          save or protect Covered Property
                                                 ($80,000-$500)                     from a Covered Cause of Loss, we
                            Debris Removal Expense $40,000                          will pay up to $2,500 for service at
                                                                                    each premises described in the Dec-
                            Debris Removal Expense
                                                                                    larations, unless a different limit is
                            Payable                                                 shown in the Declarations. Such limit
                                Basic Amount           $10,500                      is the most we will pay regardless of
                                Additional Amount      $25,000                      the number of responding fire de-
                                                                                    partments or fire units, and regard-
                            The basic amount payable for
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                                                                                    less of the number or type of ser-
                            debris removal expense under
                                                                                    vices performed.
                            the terms of Paragraph (3) is cal-
                            culated   as follows:    $80,000                        This Additional Coverage applies to
                            ($79,500 + $500) x .25 =                                your liability for fire department ser-
                            $20,000; capped at $10,500. The                         vice charges:
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                            cap applies because the sum of                          (1) Assumed by contract or agree-
                            the loss payable ($79,500) and                              ment prior to loss; or
                            the basic amount payable for de-                        (2) Required by local ordinance.
                            bris removal expense ($10,500)
                                                                               d.   Collapse
                            cannot exceed the Limit of Insur-
                            ance ($90,000).                                         The coverage provided under this
                                                                                    Additional Coverage - Collapse ap-
                            The additional amount payable
                                                                                    plies only to an abrupt collapse as
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                            for debris removal expense is
                                                                                    described and limited in Paragraphs
                            provided in accordance with the
                                                                                    d.(1) through d.(7).
                            terms of Paragraph (4), because
                            the debris removal         expense                      (1) For the purpose of this Addition-
                            ($40,000) exceeds 25% of the                                al Coverage - Collapse, abrupt
                            loss payable plus the deductible                            collapse means an abrupt falling
                            ($40,000 is 50% of $80,000), and                            down or caving in of a building
                            because the sum of the loss pay-                            or any part of a building with the
                            able and debris removal expense                             result that the building or part of
                            ($79,500 + $40,000 = $119,500)                              the building cannot be occupied
                            would exceed the Limit of Insur-                            for its intended purpose.
                            ance ($90,000). The additional                          (2) We will pay for direct physical
                            amount of covered debris re-                                loss or damage to Covered Prop-
                            moval expense is $25,000, the                               erty, caused by abrupt collapse
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                            maximum payable under Para-                                 of a building or any part of a
                            graph (4). Thus, the total payable                          building that is insured under
                            for debris removal expense in                               this policy or that contains Cov-
                            this example is $35,500; $4,500                             ered Property insured under this
                            of the debris removal expense is                            policy, if such collapse is caused
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                            not covered.                                                by one or more of the following:
                   b.   Preservation Of Property                                          (a) Building decay that is hid-
                        If it is necessary to move Covered                                    den from view, unless the
                        Property from the described prem-                                     presence of such decay is
                        ises to preserve it from loss or dam-                                 known to an insured prior to
                        age by a Covered Cause of Loss, we                                    collapse;
                        will pay for any direct physical loss                             (b) Insect or vermin damage
                        of or damage to that property:                                        that is hidden from view, un-
                        (1) While it is being moved or while                                  less the presence of such
                            temporarily stored at another lo-                                 damage is known to an in-
                            cation; and                                                       sured prior to collapse;


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                            (c) Use of defective material or                                (h) Walks, roadways and other
                                methods in construction, re-                                    paved surfaces;
                                modeling or renovation if                                   if an abrupt collapse is caused
                                the abrupt collapse occurs                                  by a cause of loss listed in Para-
                                during the course of the con-                               graphs (2)(a) through (2)(d), we
                                struction, remodeling or ren-                               will pay for loss or damage to
                                ovation.                                                    that property only if such loss or
                            (d) Use of defective material or                                damage is a direct result of the
                                methods in construction, re-                                abrupt collapse of a building in-
                                modeling or renovation if                                   sured under this policy and the
                                the abrupt collapse occurs                                  property is Covered Property un-
                                after the construction, re-                                 der this policy.
                                modeling or renovation is                            (5) If personal property abruptly
                                complete, but only if the col-                           falls down or caves in and such
                                lapse is caused in part by:                              collapse is not the result of
                                  (i)   A cause of loss listed in                        abrupt collapse of a building, we
                                        Paragraph     (2)(a)   or                        will pay for loss or damage to
                                        (2)(b);                                          Covered Property caused by
                                  (ii) One or more of the                                such collapse of personal prop-
                                       "specified causes of                              erty only if:
                                       loss";                                               (a) The collapse of personal
                                  (iii) Breakage    of   building                               property was caused by a
                                        glass;                                                  cause of loss listed in Para-
                                                                                                graphs (2)(a) through (2)(d)
                                  (iv) Weight of people or per-
                                                                                                of this Additional Coverage;
                                       sonal property; or
                                                                                            (b) The personal property which
                                  (v) Weight of rain that col-
                                                                                                collapses is inside a build-
                                      lects on a roof.
                                                                                                ing; and
                        (3) This Additional Coverage - Col-
                                                                                            (c) The property      which col-
                            lapse does not apply to:
                                                                                                lapses is not of a kind listed
                            (a) A building or any part of a                                     in Paragraph (4), regardless
                                building that is in danger of                                   of whether that kind of prop-
                                falling down or caving in;                                      erty is considered to be per-
                            (b) A part of a building that is                                    sonal property or real prop-
                                standing, even if it has sepa-                                  erty.
                                rated from another part of                                  The coverage stated in this
                                the building; or                                            Paragraph (5) does not apply to
                            (c) A building that is standing                                 personal property if marring
                                or any part of a building that                              and/or scratching is the only
                                is standing, even if it shows                               damage to that personal proper-
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                                evidence of cracking, bulg-                                 ty caused by the collapse.
                                ing, sagging, bending, lean-                         (6) This Additional Coverage - Col-
                                ing, settling, shrinkage or                              lapse does not apply to personal
                                expansion.                                               property that has not abruptly
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                        (4) With respect      to the following                           fallen down or caved in, even if
                            property:                                                    the personal property shows evi-
                            (a) Awnings;                                                 dence of cracking, bulging, sag-
                                                                                         ging, bending, leaning, settling,
                            (b) Gutters and downspouts;
                                                                                         shrinkage or expansion.
                            (c) Yard fixtures;
                                                                                     (7) This Additional Coverage - Col-
                            (d) Outdoor swimming pools;                                  lapse will not increase the Limits
                            (e) Piers, wharves and docks;                                of Insurance provided in this
                            (f)   Beach or diving platforms or                           policy.
                                  appurtenances;
                            (g) Retaining walls; and



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                        (8) The term Covered Cause of Loss                                     (ii) The area within 100 feet
                            includes the Additional Cover-                                          of the building or within
                            age - Collapse as described and                                         100 feet of the premises
                            limited   in Paragraphs    d.(1)                                        described in the Decla-
                            through d.(7).                                                          rations, whichever dis-
                   e.   Water Damage, Other Liquids, Pow-                                           tance is greater (with re-
                        der Or Molten Material Damage                                               spect to loss of or
                                                                                                    damage      to personal
                        If loss or damage caused by or re-
                                                                                                    property in the open or
                        sulting from covered water or other
                                                                                                    personal property in a
                        liquid, powder or molten material oc-
                                                                                                    vehicle); and
                        curs, we will also pay the cost to tear
                        out and replace any part of the build-                                 (iii) Any area within       the
                        ing or structure to repair damage to                                         building or at the de-
                        the system or appliance from which                                           scribed premises, if that
                                                                                                     area services, or is used
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                        the water or other substance es-
                        capes.                                                                       to gain access to, the
                                                                                                     portion of the building
                        We will not pay the cost to repair any
                                                                                                     which you rent, lease or
                        defect that caused the loss or dam-
                                                                                                     occupy.
                        age, but we will pay the cost to repair
                        or replace damaged parts of fire ex-                               (b) We will only pay for loss of
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                        tinguishing equipment if the dam-                                      Business Income that you
                        age:                                                                   sustain during the "period of
                                                                                               restoration" and that occurs
                        (1) Results in discharge of any sub-
                                                                                               within      12   consecutive
                            stance from an automatic fire
                                                                                               months after the date of di-
                            protection system; or
                                                                                               rect physical loss or dam-
                        (2) Is directly caused by freezing.                                    age. We will only pay for or-
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                   f.   Business Income                                                        dinary payroll expenses for
                        (1) Business Income                                                    60 days following the date of
                                                                                               direct physical loss or dam-
                            (a) We will pay for the actual
                                                                                               age, unless a greater num-
                                loss of Business Income you
                                                                                               ber of days is shown in the
                                sustain due to the necessary
                                                                                               Declarations.
                                suspension of your "oper-
                                ations" during the "period                                 (c) Business     Income    means
                                of restoration". The suspen-                                   the:
                                sion must be caused by di-                                     (i)   Net Income (Net Profit
                                rect physical loss of or dam-                                        or Loss before income
                                age to property        at the                                        taxes) that would have
                                described     premises.   The                                        been earned or incurred
                                loss or damage must be                                               if no physical loss or
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                                caused by or result from a                                           damage had occurred,
                                Covered Cause of Loss. With                                          but not including any
                                respect to loss of or damage                                         Net Income that would
                                to personal property in the                                          likely have been earned
                                open or personal property in                                         as a result of an in-
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                                a vehicle, the described                                             crease in the volume of
                                premises include the area                                            business due to favor-
                                within   100 feet of such                                            able business     condi-
                                premises.                                                            tions caused by the im-
                                 With respect to the require-                                        pact of the Covered
                                 ments set forth in the pre-                                         Cause of Loss on cus-
                                 ceding paragraph, if you oc-                                        tomers or on other busi-
                                 cupy only part of a building,                                       nesses; and
                                 your premises mean:                                           (ii) Continuing normal op-
                                 (i)   The portion of the build-                                    erating         expenses
                                       ing which you rent,                                          incurred, including pay-
                                       lease or occupy;                                             roll.


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                           (d) Ordinary payroll expenses:                                          (ii) Ends on the earlier of:
                               (i)   Means payroll expenses                                            i.    The date you could
                                     for all your employees                                                  restore your "oper-
                                     except:                                                                 ations", with rea-
                                     i.     Officers;                                                        sonable speed, to
                                                                                                             the    level   which
                                     ii.    Executives;
                                                                                                             would generate the
                                     iii.   Department Manag-                                                Business     Income
                                            ers;                                                             amount that would
                                     iv.    Employees     under                                              have existed if no
                                            contract; and                                                    direct physical loss
                                     v.     Additional   Exemp-                                              or damage had oc-
                                            tions shown in the                                               curred; or
                                            Declarations as:                                           ii.   60 consecutive days
                                                Job Classifica-                                              after the date deter-
                                                tions; or                                                    mined in Paragraph
                                                                                                             (a)(i) above, unless
                                                Employees.
                                                                                                             a greater number of
                               (ii) Include:                                                                 consecutive days is
                                     i.     Payroll;                                                         shown in the Decla-
                                     ii.    Employee benefits,                                               rations.
                                            if directly related to                                 However,    Extended Busi-
                                            payroll;                                               ness Income does not apply
                                     iii.   FICA payments you                                      to loss of Business Income
                                            pay;                                                   incurred as a result of unfa-
                                                                                                   vorable business conditions
                                     iv.    Union    dues       you
                                                                                                   caused by the impact of the
                                            pay; and
                                                                                                   Covered Cause of Loss in
                                     v.     Workers’ compen-                                       the area where the de-
                                            sation premiums.                                       scribed premises are locat-
                        (2) Extended Business Income                                               ed.
                           (a) If the necessary suspension                                     (b) Loss of Business Income
                               of your "operations"      pro-                                      must be caused by direct
                               duces a Business Income                                             physical loss or damage at
                               loss payable under this poli-                                       the   described     premises
                               cy, we will pay for the actual                                      caused by or resulting from
                               loss of Business Income you                                         any Covered Cause of Loss.
                               incur during the period that:                            (3) With respect to the coverage
                               (i)   Begins on the date                                     provided in this Additional Cov-
                                     property except finished                               erage, suspension means:
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                                     stock is actually re-                                     (a) The partial slowdown    or
                                     paired, rebuilt or re-                                        complete cessation of your
                                     placed    and     "oper-                                      business activities; or
                                     ations"  are resumed;
                                                                                               (b) That a part or all of the de-
                                     and
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                                                                                                   scribed     premises       is
                                                                                                   rendered untenantable,      if
                                                                                                   coverage for Business In-
                                                                                                   come applies.
                                                                                        (4) This Additional Coverage is not
                                                                                            subject to the Limits of Insur-
                                                                                            ance of Section I - Property.




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                   g.   Extra Expense                                                    (b) To minimize the suspension
                        (1) We will pay necessary Extra Ex-                                  of business if you cannot
                            pense you incur during the "pe-                                  continue "operations".
                            riod of restoration"   that you                              (c) To:
                            would not have incurred if there                                 (i)   Repair or replace   any
                            had been no direct physical loss                                       property; or
                            or damage to property at the de-
                                                                                             (ii) Research, replace or re-
                            scribed premises. The loss or
                                                                                                  store the lost informa-
                            damage must be caused by or
                                                                                                  tion on damaged "valu-
                            result from a Covered Cause of
                                                                                                  able      papers    and
                            Loss. With respect to loss of or
                                                                                                  records";
                            damage to personal property in
                            the open or personal property in                                 to the extent it reduces the
                            a vehicle, the described prem-                                   amount of loss that other-
                            ises include the area within 100                                 wise would have been pay-
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                            feet of such premises.                                           able under this Additional
                                                                                             Coverage or Additional Cov-
                            With respect to the requirements
                                                                                             erage f. Business Income.
                            set forth in the preceding para-
                            graph, if you occupy only part of                      (3) With respect to the coverage
                            a building, your premises mean:                            provided in this Additional Cov-
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                                                                                       erage, suspension means:
                            (a) The portion of the building
                                which you rent, lease or oc-                             (a) The partial slowdown    or
                                cupy;                                                        complete cessation of your
                                                                                             business activities; or
                            (b) The area within 100 feet of
                                the building or within 100                               (b) That a part or all of the de-
                                feet of the premises de-                                     scribed     premises       is
                                scribed in the Declarations,                                 rendered untenantable,      if
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                                whichever distance is great-                                 coverage for Business In-
                                er (with respect to loss of or                               come applies.
                                damage to personal proper-                         (4) We will only pay for Extra Ex-
                                ty in the open or personal                             pense that occurs within 12 con-
                                property in a vehicle); and                            secutive months after the date of
                            (c) Any area within the building                           direct physical loss or damage.
                                or at the described prem-                              This Additional Coverage is not
                                ises, if that area services, or                        subject to the Limits of Insur-
                                is used to gain access to, the                         ance of Section I - Property.
                                portion     of the building                   h.   Pollutant Clean-up And Removal
                                which you rent, lease or oc-                       We will pay your expense to extract
                                cupy.                                              "pollutants"  from land or water at
                        (2) Extra Expense means expense                            the described premises if the dis-
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                            incurred:                                              charge, dispersal, seepage, migra-
                            (a) To avoid or minimize the                           tion, release or escape of the "pollu-
                                suspension of business and                         tants" is caused by or results from a
                                to continue "operations":                          Covered Cause of Loss that occurs
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                                                                                   during the policy period. The ex-
                                (i)   At the described prem-
                                                                                   penses will be paid only if they are
                                      ises; or
                                                                                   reported to us in writing within 180
                                (ii) At replacement prem-                          days of the date on which the Cov-
                                     ises or at temporary lo-                      ered Cause of Loss occurs.
                                     cations,        including
                                                                                   This Additional Coverage does not
                                     relocation     expenses,
                                                                                   apply to costs to test for, monitor or
                                     and costs to equip and
                                                                                   assess the existence, concentration
                                     operate the replacement
                                                                                   or effects of "pollutants". But we will
                                     or temporary locations.
                                                                                   pay for testing which is performed in
                                                                                   the course of extracting the "pollu-
                                                                                   tants" from the land or water.


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                      The most we will pay for each loca-                          The definitions of Business Income
                      tion under this Additional Coverage                          and Extra Expense contained in the
                      is $10,000 for the sum of all such ex-                       Business Income and Extra Expense
                      penses arising      out of Covered                           Additional Coverages also apply to
                      Causes of Loss occurring during                              this Civil Authority Additional Cover-
                      each separate 12-month period of                             age. The Civil Authority Additional
                      this policy.                                                 Coverage is not subject to the Limits
                 i.   Civil Authority                                              of Insurance of Section I - Property.
                      When a Covered Cause of Loss                            j.   Money Orders       And    "Counterfeit
                      causes damage to property other                              Money"
                      than property at the described prem-                         We will pay for loss resulting directly
                      ises, we will pay for the actual loss of                     from your having accepted in good
                      Business Income you sustain and                              faith, in exchange for merchandise,
                      necessary Extra Expense caused by                            "money" or services:
                      action of civil authority that prohibits                     (1) Money orders issued by any post
                      access to the described premises,                                office, express company or bank
                      provided that both of the following                              that are not paid upon presenta-
                      apply:                                                           tion; or
                      (1) Access to the area immediately                           (2) "Counterfeit money" that is ac-
                          surrounding the damaged prop-                                quired during the regular course
                          erty is prohibited by civil author-                          of business.
                          ity as a result of the damage, and
                                                                                   The most we will pay for any loss un-
                          the described premises are with-
                                                                                   der this Additional    Coverage is
                          in that area but are not more
                                                                                   $1,000.
                          than one mile from the damaged
                          property; and                                       k.   Forgery Or Alteration
                      (2) The action of civil authority is                         (1) We will pay for loss resulting di-
                          taken in response to dangerous                               rectly from forgery or alteration
                          physical    conditions  resulting                            of any check, draft, promissory
                          from the damage or continuation                              note, bill of exchange or similar
                          of the Covered Cause of Loss                                 written promise of payment in
                          that caused the damage, or the                               "money" that you or your agent
                          action is taken to enable a civil                            has issued, or that was issued by
                          authority to have unimpeded ac-                              someone who impersonates you
                          cess to the damaged property.                                or your agent.
                      Civil Authority Coverage for Busi-                           (2) If you are sued for refusing to
                      ness Income will begin 72 hours after                            pay the check, draft, promissory
                      the time of the first action of civil au-                        note, bill of exchange or similar
                      thority that prohibits access to the                             written promise of payment in
                      described premises and will apply                                "money", on the basis that it has
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                      for a period of up to four consecutive                           been forged or altered, and you
                      weeks from the date on which such                                have our written consent to de-
                      coverage began.                                                  fend against the suit, we will pay
                                                                                       for any reasonable legal ex-
                      Civil Authority Coverage for neces-
                                                                                       penses that you incur in that de-
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                      sary Extra Expense will begin imme-
                                                                                       fense.
                      diately after the time of the first ac-
                      tion of civil authority that prohibits                       (3) For the purpose of this coverage,
                      access to the described premises and                             check includes        a substitute
                      will end:                                                        check as defined in the Check
                                                                                       Clearing for the 21st Century Act
                      (1) Four consecutive weeks after the
                                                                                       and will be treated the same as
                          date of that action; or
                                                                                       the original it replaced.
                      (2) When your Civil Authority Cov-
                          erage for Business Income ends;
                      whichever is later.




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                        (4) The most we will pay for any                                  (b) Any costs associated with
                            loss, including legal expenses,                                   the enforcement of or com-
                            under this Additional Coverage                                    pliance with an ordinance or
                            is $2,500, unless a higher Limit                                  law which requires any in-
                            Of Insurance is shown in the                                      sured or others to test for,
                            Declarations.                                                     monitor, clean up, remove,
                   l.   Increased Cost Of Construction                                        contain, treat, detoxify or
                                                                                              neutralize, or in any way re-
                        (1) This Additional   Coverage ap-
                                                                                              spond to, or assess the ef-
                            plies only to buildings insured
                                                                                              fects     of     "pollutants",
                            on a replacement cost basis.
                                                                                              "fungi", wet rot or dry rot.
                        (2) In the event of damage by a Cov-
                                                                                   (6) The most we will pay under this
                            ered Cause of Loss to a building
                                                                                       Additional Coverage, for each
                            that is Covered Property, we will
                                                                                       described building insured un-
                            pay the increased costs incurred
                                                                                       der Section I - Property, is
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                            to comply with the minimum
                                                                                       $10,000. If a damaged build-
                            standards of an ordinance or law
                                                                                       ing(s) is covered under a blanket
                            in the course of repair, rebuild-
                                                                                       Limit of Insurance which applies
                            ing or replacement of damaged
                                                                                       to more than one building or
                            parts of that property, subject to
                                                                                       item of property, then the most
                            the limitations stated in Para-
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                                                                                       we will pay under this Additional
                            graphs (3) through (9) of this Ad-
                                                                                       Coverage, for each damaged
                            ditional Coverage.
                                                                                       building, is $10,000.
                        (3) The ordinance or law referred to
                                                                                          The amount payable under this
                            in Paragraph (2) of this Addition-
                                                                                          Additional Coverage is addition-
                            al Coverage is an ordinance or
                                                                                          al insurance.
                            law that regulates the construc-
                            tion or repair of buildings or es-                     (7) With respect to this Additional
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                            tablishes zoning or land use re-                           Coverage:
                            quirements     at the described                               (a) We will not pay for the In-
                            premises and is in force at the                                   creased Cost of Construc-
                            time of loss.                                                     tion:
                        (4) Under this Additional Coverage,                                   (i)   Until the property is ac-
                            we will not pay any costs due to                                        tually    repaired     or
                            an ordinance or law that:                                               replaced, at the same or
                            (a) You were required to com-                                           another premises; and
                                ply with before the loss,                                     (ii) Unless the repair or re-
                                even when the building was                                         placement is made as
                                undamaged; and                                                     soon as reasonably pos-
                            (b) You failed to comply with.                                         sible after the loss or
                                                                                                   damage, not to exceed
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                        (5) Under this Additional    Coverage,
                                                                                                   two years. We may ex-
                            we will not pay for:
                                                                                                   tend this period in writ-
                            (a) The enforcement of or com-                                         ing during     the two
                                pliance with any ordinance                                         years.
                                or     law    which     requires
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                                                                                          (b) If the building is repaired or
                                demolition, repair, replace-
                                                                                              replaced at the same prem-
                                ment,      reconstruction,    re-
                                                                                              ises, or if you elect to rebuild
                                modeling or remediation of
                                                                                              at another premises, the
                                property due to contamina-
                                                                                              most we will pay for the In-
                                tion by "pollutants" or due
                                                                                              creased Cost of Construc-
                                to the presence, growth,
                                                                                              tion is the increased cost of
                                proliferation, spread or any
                                                                                              construction     at the same
                                activity of "fungi", wet rot or
                                                                                              premises.
                                dry rot; or




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                         (c) If the ordinance or law re-                       (2) We will reduce the amount of
                             quires relocation to another                          your Business Income loss, oth-
                             premises, the most we will                            er than Extra Expense, to the ex-
                             pay for the Increased Cost of                         tent you can resume "oper-
                             Construction     is the in-                           ations", in whole or in part, by
                             creased cost of construction                          using any other available:
                             at the new premises.                                     (a) Source of materials; or
                     (8) This Additional Coverage is not                              (b) Outlet for your products.
                         subject to the terms of the Ordi-
                                                                               (3) If you do not resume "oper-
                         nance Or Law Exclusion, to the
                                                                                   ations", or do not resume "oper-
                         extent that such exclusion would
                                                                                   ations" as quickly as possible,
                         conflict with the provisions of
                                                                                   we will pay based on the length
                         this Additional Coverage.
                                                                                   of time it would have taken to re-
                     (9) The costs addressed in the Loss                           sume "operations" as quickly as
                         Payment Property Loss Condi-                              possible.
                         tion in Section I - Property do not
                                                                               (4) Dependent    property    means
                         include the increased cost attrib-
                                                                                   property owned by others whom
                         utable to enforcement of or com-
                                                                                   you depend on to:
                         pliance with an ordinance or
                         law. The amount payable under                                (a) Deliver materials or services
                         this Additional       Coverage, as                               to you, or to others for your
                         stated in Paragraph (6) of this                                  account. But services does
                         Additional Coverage, is not sub-                                 not mean water supply ser-
                         ject to such limitation.                                         vices, wastewater removal
                                                                                          services,    communication
                 m. Business Income From Dependent
                                                                                          supply services or power
                    Properties
                                                                                          supply services;
                     (1) We will pay for the actual loss of
                                                                                      (b) Accept your products or ser-
                         Business Income you sustain
                                                                                          vices;
                         due to physical loss or damage
                         at the premises of a dependent                               (c) Manufacture your products
                         property or secondary depen-                                     for delivery to your custom-
                         dent property caused by or re-                                   ers under contract for sale;
                         sulting from any Covered Cause                                   or
                         of Loss.                                                     (d) Attract customers    to your
                         However, this Additional Cover-                                  business.
                         age does not apply when the                                  The dependent property must be
                         only loss at the premises of a de-                           located in the coverage territory
                         pendent property or secondary                                of this policy.
                         dependent property is loss or                         (5) Secondary dependent property
                         damage to "electronic data", in-                          means an entity which is not
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                         cluding destruction or corruption                         owned or operated by a depen-
                         of "electronic data". If the de-                          dent property and which;
                         pendent property or secondary
                                                                                      (a) Delivers materials or ser-
                         dependent      property  sustains
                                                                                          vices to a dependent proper-
                         loss or damage to "electronic
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                                                                                          ty, which in turn are used by
                         data" and other property, cover-
                                                                                          the dependent property in
                         age under this Additional Cover-
                                                                                          providing materials or ser-
                         age will not continue once the
                                                                                          vices to you; or
                         other    property    is repaired,
                         rebuilt or replaced.                                         (b) Accepts materials or ser-
                                                                                          vices from a dependent
                         The most we will pay under this
                                                                                          property, which in turn ac-
                         Additional Coverage is $5,000
                                                                                          cepts your materials or ser-
                         unless a higher Limit Of Insur-
                                                                                          vices.
                         ance is indicated in the Declara-
                         tions.




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                            A     road,    bridge,    tunnel,                             The expiration date of this policy
                            waterway, airfield, pipeline or                               will not reduce the Business In-
                            any other similar area or struc-                              come coverage period.
                            ture is not a secondary depen-                          (8) The definition of Business In-
                            dent property.                                              come contained in the Business
                            Any property which delivers any                             Income      Additional Coverage
                            of the following services is not a                          also applies to this Business In-
                            secondary dependent property                                come From Dependent Proper-
                            with respect to such services:                              ties Additional Coverage.
                                (i)   Water supply services;                   n.   Glass Expenses
                                (ii) Wastewater       removal                       (1) We will pay for expenses in-
                                     services;                                          curred to put up temporary
                                (iii) Communication     supply                          plates or board up openings if
                                      services; or                                      repair   or   replacement   of
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                                                                                        damaged glass is delayed.
                                (iv) Power supply services.
                                                                                    (2) We will pay for expenses in-
                            The secondary dependent prop-
                                                                                        curred to remove or replace ob-
                            erty must be located in the cov-
                                                                                        structions when repairing or re-
                            erage territory of this policy.
                                                                                        placing glass that is part of a
                       (6) The coverage period for Busi-
002260




                                                                                        building. This does not include
                           ness     Income    under this                                removing or replacing window
                           Additional Coverage:                                         displays.
                            (a) Begins 72 hours after the                      o.   Fire Extinguisher Systems Recharge
                                time of direct physical loss                        Expense
                                or damage caused by or re-
                                                                                    (1) We will pay:
                                sulting from any Covered
                                Cause of Loss at the prem-                                (a) The cost of recharging or re-
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                                ises of the dependent prop-                                   placing, whichever is less,
                                erty or secondary dependent                                   your fire extinguishers and
                                property; and                                                 fire extinguishing    systems
                                                                                              (including hydrostatic test-
                            (b) Ends on the date when the
                                                                                              ing if needed) if they are dis-
                                property at the premises of
                                                                                              charged on or within 100
                                the dependent property or
                                                                                              feet of the described prem-
                                secondary dependent prop-
                                                                                              ises; and
                                erty should be repaired,
                                rebuilt or replaced with rea-                             (b) For loss or damage to Cov-
                                sonable speed and similar                                     ered Property if such loss or
                                quality.                                                      damage is the result of an
                                                                                              accidental   discharge      of
                       (7) The Business Income coverage
                                                                                              chemicals from a fire extin-
                           period, as stated in Paragraph
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                                                                                              guisher or a fire extinguish-
                           (6), does not include any in-
                                                                                              ing system.
                           creased period required due to
                           the enforcement of or compli-                            (2) No coverage will apply if the fire
                           ance with any ordinance or law                               extinguishing  system is dis-
                                                                                        charged during installation or
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                           that:
                                                                                        testing.
                            (a) Regulates the construction,
                                use or repair, or requires the                      (3) The most we will pay under this
                                tearing down of any proper-                             Additional Coverage is $5,000 in
                                ty; or                                                  any one occurrence.
                            (b) Requires any insured or oth-                   p.   Electronic Data
                                ers to test for, monitor,                           (1) Subject to the provisions of this
                                clean up, remove, contain,                              Additional Coverage, we will pay
                                treat, detoxify or neutralize,                          for the cost to replace or restore
                                or in any way respond to, or                            "electronic   data" which has
                                assess the effects of "pollu-                           been destroyed or corrupted by
                                tants".                                                 a Covered Cause of Loss. To the


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                         extent that "electronic data" is                       (4) This Additional Coverage does
                         not replaced or restored, the loss                         not apply to your "stock" of
                         will be valued at the cost of re-                          prepackaged software,          or to
                         placement of the media on                                  "electronic data" which is inte-
                         which the "electronic data" was                            grated in and operates or con-
                         stored, with blank media of sub-                           trols a building’s elevator, light-
                         stantially identical type.                                 ing, heating,     ventilation,    air
                     (2) The Covered Causes of Loss ap-                             conditioning or security system.
                         plicable to Business Personal                     q.   Interruption    Of   Computer     Oper-
                         Property include a computer                            ations
                         virus, harmful code or similar in-                     (1) Subject to all provisions of this
                         struction introduced into or en-                           Additional Coverage, you may
                         acted on a computer system (in-                            extend the insurance that ap-
                         cluding "electronic data") or a                            plies to Business Income and Ex-
                         network to which it is connected,                          tra Expense to apply to a suspen-
                         designed to damage or destroy                              sion of "operations" caused by
                         any part of the system or disrupt                          an interruption in computer op-
                         its normal operation. But there is                         erations due to destruction or
                         no coverage for loss or damage                             corruption of "electronic data"
                         caused by or resulting from ma-                            due to a Covered Cause of Loss.
                         nipulation of a computer system
                                                                                (2) With respect to the coverage
                         (including "electronic data") by
                                                                                    provided under this Additional
                         any employee, including a tem-
                                                                                    Coverage, the Covered Causes
                         porary or leased employee, or by
                                                                                    of Loss are subject to the follow-
                         an entity retained by you, or for
                                                                                    ing:
                         you, to inspect, design, install,
                         modify, maintain, repair or re-                              (a) Coverage under this Addi-
                         place that system.                                               tional Coverage - Interrup-
                                                                                          tion      Of       Computer
                     (3) The most we will pay under this
                                                                                          Operations is limited to the
                         Additional Coverage - Electronic
                                                                                          "specified causes of loss"
                         Data for all loss or damage sus-
                                                                                          and Collapse.
                         tained in any one policy year, re-
                         gardless of the number of occur-                             (b) If the Businessowners Cov-
                         rences of loss or damage or the                                  erage Form is endorsed to
                         number of premises, locations                                    add a Covered Cause of
                         or computer systems involved,                                    Loss, the additional Covered
                         is $10,000, unless a higher Limit                                Cause of Loss does not ap-
                         Of Insurance is shown in the                                     ply to the coverage provided
                         Declarations. If loss payment on                                 under this Additional Cover-
                         the first occurrence does not ex-                                age.
                         haust this amount, then the bal-                             (c) The Covered Causes of Loss
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                         ance is available for subsequent                                 include a computer virus,
                         loss or damage sustained in, but                                 harmful code or similar in-
                         not after, that policy year. With                                struction introduced into or
                         respect to an occurrence which                                   enacted on a computer sys-
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                         begins in one policy year and                                    tem (including "electronic
                         continues or results in additional                               data") or a network to which
                         loss or damage in a subsequent                                   it is connected, designed to
                         policy year(s), all loss or damage                               damage or destroy any part
                         is deemed to be sustained in the                                 of the system or disrupt its
                         policy year in which the occur-                                  normal operation. But there
                         rence began.                                                     is no coverage for an inter-
                                                                                          ruption related to manipula-
                                                                                          tion of a computer system
                                                                                          (including "electronic data")




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                               by any employee, including                         (6) Coverage for Extra Expense does
                               a temporary or leased em-                              not apply when action is taken to
                               ployee, or by an entity re-                            avoid or minimize a suspension
                               tained by you, or for you, to                          of "operations"    caused by de-
                               inspect,    design,   install,                         struction or corruption of "elec-
                               modify, maintain, repair or                            tronic data", or any loss or dam-
                               replace that system.                                   age to "electronic data", except
                       (3) The most we will pay under this                            as provided under Paragraphs
                           Additional Coverage - Interrup-                            (1) through (4) of this Additional
                           tion Of Computer Operations for                            Coverage.
                           all loss sustained and expense                         (7) This Additional Coverage does
                           incurred in any one policy year,                           not apply when loss or damage
                           regardless of the number of in-                            to "electronic    data" involves
                           terruptions or the number of                               only "electronic data" which is
                           premises, locations or computer                            integrated in and operates or
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                           systems involved, is $10,000 un-                           controls a building’s elevator,
                           less a higher Limit Of Insurance                           lighting, heating, ventilation, air
                           is shown in the Declarations. If                           conditioning or security system.
                           loss payment relating to the first                r.   Limited Coverage For "Fungi", Wet
                           interruption   does not exhaust                        Rot Or Dry Rot
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                           this amount, then the balance is
                                                                                  (1) The coverage described in Para-
                           available for loss or expense
                                                                                      graphs r.(2) and r.(6) only ap-
                           sustained or incurred as a result
                                                                                      plies when the "fungi", wet rot
                           of subsequent interruptions in
                                                                                      or dry rot is the result of a
                           that policy year. A balance re-
                                                                                      "specified cause of loss" other
                           maining at the end of a policy
                                                                                      than fire or lightning that occurs
                           year does not increase the
                                                                                      during the policy period and only
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                           amount of insurance in the next
                                                                                      if all reasonable means were
                           policy year. With respect to any
                                                                                      used to save and preserve the
                           interruption which begins in one
                                                                                      property from further damage at
                           policy year and continues or re-
                                                                                      the time of and after that occur-
                           sults in additional loss or ex-
                                                                                      rence.
                           pense in a subsequent policy
                           year(s), all loss and expense is                             This Additional Coverage does
                           deemed to be sustained or in-                                not apply to lawns, trees, shrubs
                           curred in the policy year in                                 or plants which are part of a
                           which the interruption began.                                vegetated roof.
                       (4) This Additional Coverage - Inter-                      (2) We will pay for loss or damage
                           ruption Of Computer Operations                             by "fungi", wet rot or dry rot. As
                           does not apply to loss sustained                           used in this Limited Coverage,
                           or expense incurred after the end                          the term loss or damage means:
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                           of the "period of restoration",                              (a) Direct physical loss    or dam-
                           even if the amount of insurance                                  age to Covered          Property
                           stated in (3) above has not been                                 caused by "fungi",       wet rot
                           exhausted.                                                       or dry rot, including   the cost
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                       (5) Coverage for Business Income                                     of removal of the       "fungi",
                           does not apply when a suspen-                                    wet rot or dry rot;
                           sion of "operations" is caused                               (b) The cost to tear out and re-
                           by destruction or corruption of                                  place any part of the build-
                           "electronic data", or any loss or                                ing or other property as
                           damage to "electronic data", ex-                                 needed to gain access to the
                           cept as provided under Para-                                     "fungi", wet rot or dry rot;
                           graphs (1) through (4) of this Ad-                               and
                           ditional Coverage.




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                         (c) The cost of testing per-                           (6) The following      applies only if
                             formed after removal, re-                              Business Income and/or Extra
                             pair, replacement or restora-                          Expense Coverage applies to the
                             tion    of    the    damaged                           described premises and only if
                             property is completed, pro-                            the suspension of "operations"
                             vided there is a reason to be-                         satisfies all the terms and condi-
                             lieve that "fungi", wet rot or                         tions of the applicable Business
                             dry rot is present.                                    Income and/or Extra Expense
                     (3) The coverage described under                               Additional Coverage:
                         this Limited Coverage is limited                             (a) If the loss which resulted in
                         to $15,000. Regardless of the                                    "fungi", wet rot or dry rot
                         number of claims, this limit is                                  does not in itself necessitate
                         the most we will pay for the total                               a suspension       of "oper-
                         of all loss or damage arising out                                ations", but such suspen-
                         of all occurrences of "specified                                 sion is necessary due to loss
                         causes of loss" (other than fire                                 or damage        to property
                         or lightning) which take place in                                caused by "fungi", wet rot
                         a 12-month period (starting with                                 or dry rot, then our payment
                         the beginning of the present an-                                 under the Business Income
                         nual policy period). With respect                                and/or Extra Expense Addi-
                         to a particular occurrence of loss                               tional Coverages is limited
                         which results in "fungi", wet rot                                to the amount of loss and/or
                         or dry rot, we will not pay more                                 expense sustained in a peri-
                         than the total of $15,000 even if                                od of not more than 30 days.
                         the "fungi", wet rot or dry rot                                  The days need not be con-
                         continues to be present or ac-                                   secutive.
                         tive, or recurs, in a later policy                           (b) If a covered suspension of
                         period.                                                          "operations" was caused by
                     (4) The coverage provided under                                      loss or damage other than
                         this Limited Coverage does not                                   "fungi", wet rot or dry rot,
                         increase the applicable Limit of                                 but remediation of "fungi",
                         Insurance on any Covered Prop-                                   wet rot or dry rot prolongs
                         erty. If a particular occurrence                                 the "period of restoration",
                         results in loss or damage by                                     we will pay for loss and/or
                         "fungi", wet rot or dry rot, and                                 expense sustained during
                         other loss or damage, we will                                    the delay (regardless      of
                         not pay more, for the total of all                               when such a delay occurs
                         loss or damage, than the appli-                                  during the "period of resto-
                         cable Limit of Insurance on the                                  ration"), but such coverage
                         affected Covered Property.                                       is limited to 30 days. The
                         If there is covered loss or dam-                                 days need not be consecu-
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                         age to Covered Property, not                                     tive.
                         caused by "fungi", wet rot or dry             6.   Coverage Extensions
                         rot, loss payment will not be                      In addition to the Limits of Insurance of
                         limited by the terms of this                       Section I - Property, you may extend the
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                         Limited Coverage, except to the                    insurance provided by this policy as pro-
                         extent that "fungi", wet rot or                    vided below.
                         dry rot causes an increase in the
                                                                            Except as otherwise provided, the follow-
                         loss. Any such increase in the
                                                                            ing extensions apply to property located
                         loss will be subject to the terms
                                                                            in or on the building described in the Dec-
                         of this Limited Coverage.
                                                                            larations or in the open (or in a vehicle)
                     (5) The terms of this Limited Cover-                   within 100 feet of the described prem-
                         age do not increase or reduce                      ises:
                         the coverage provided under the
                         Water Damage, Other Liquids,
                         Powder    Or Molten      Material
                         Damage or Collapse Additional
                         Coverages.

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                   a.   Newly Acquired       Or   Constructed                             (b) 30 days expire after you ac-
                        Property                                                              quire the property or begin
                        (1) Buildings                                                         construction of that part of
                                                                                              the building    that would
                            If this policy covers Buildings,
                                                                                              qualify as Covered Property;
                            you may extend that insurance
                                                                                              or
                            to apply to:
                                                                                          (c) You report values to us.
                            (a) Your new buildings while
                                being built on the described                              We will charge you additional
                                premises; and                                             premium for values reported
                                                                                          from the date you acquire the
                            (b) Buildings   you acquire at
                                                                                          property or begin construction of
                                premises other than the one
                                                                                          that part of the building that
                                described, intended for:
                                                                                          would qualify as Covered Prop-
                                (i)   Similar use as the build-                           erty.
                                      ing described in the
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                                                                               b.   Personal Property Off-premises
                                      Declarations; or
                                                                                    You may extend the insurance pro-
                                (ii) Use as a warehouse.
                                                                                    vided by this policy to apply to your
                            The most we will pay for loss or                        Covered Property, other than "mon-
                            damage under this Extension is                          ey" and "securities", "valuable pa-
                            $250,000 at each building.
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                                                                                    pers and records" or accounts re-
                        (2) Business Personal Property                              ceivable, while it is in the course of
                            If this policy covers Business                          transit or at a premises you do not
                            Personal Property, you may ex-                          own, lease or operate. The most we
                            tend that insurance to apply to:                        will pay for loss or damage under
                                                                                    this Extension is $10,000.
                            (a) Business Personal Property,
                                including such property that                   c.   Outdoor Property
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                                you newly acquire, at any lo-                       You may extend the insurance pro-
                                cation you acquire; or                              vided by this policy to apply to your
                            (b) Business Personal Property,                         outdoor fences, radio and television
                                including such property that                        antennas (including satellite dishes),
                                you newly acquire, located                          signs (other than signs attached to
                                at your newly constructed or                        buildings), trees, shrubs and plants
                                acquired buildings at the lo-                       (other than trees, shrubs or plants
                                cation described in the Dec-                        which are part of a vegetated roof),
                                larations.                                          including debris removal expense.
                                                                                    Loss or damage must be caused by
                            This Extension does not apply to
                                                                                    or result from any of the following
                            personal property that you tem-
                                                                                    causes of loss:
                            porarily acquire in the course of
                            installing or performing work on                        (1) Fire;
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                            such property or your wholesale                         (2) Lightning;
                            activities.                                             (3) Explosion;
                            The most we will pay for loss or                        (4) Riot or Civil Commotion;   or
                            damage under this Extension is
                                                                                    (5) Aircraft.
                            $100,000 at each building.
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                                                                                    The most we will pay for loss or
                        (3) Period Of Coverage
                                                                                    damage under this Extension is
                            With respect to insurance pro-                          $2,500, unless a higher Limit Of In-
                            vided under this Coverage Ex-                           surance for Outdoor Property is
                            tension for Newly Acquired Or                           shown in the Declarations, but not
                            Constructed Property, coverage                          more than $1,000 for any one tree,
                            will end when any of the follow-                        shrub or plant.
                            ing first occurs:
                            (a) This policy expires;




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                      Subject to all aforementioned terms                        (3) The most we will pay under this
                      and limitations of coverage, this Cov-                         Coverage Extension for loss or
                      erage Extension includes the ex-                               damage to "valuable papers and
                      pense of removing from the de-                                 records" in any one occurrence
                      scribed premises the debris of trees,                          at the described premises is
                      shrubs and plants which are the                                $10,000, unless a higher Limit Of
                      property of others, except in the situ-                        Insurance for "valuable papers
                      ation in which you are a tenant and                            and records" is shown in the
                      such property is owned by the land-                            Declarations.
                      lord of the described premises.                                  For    "valuable  papers   and
                 d.   Personal Effects                                                 records" not at the described
                      You may extend the insurance that                                premises, the most we will pay
                      applies to Business Personal Proper-                             is $5,000.
                      ty to apply to personal effects owned                      (4) Loss or damage to "valuable pa-
                      by you, your officers, your partners                           pers and records" will be valued
                      or "members", your "managers" or                               at the cost of restoration or re-
                      your employees, including tempo-                               placement       of   the lost  or
                      rary or leased employees. This ex-                             damaged information. To the ex-
                      tension does not apply to:                                     tent that the contents of the
                      (1) Tools or equipment used in your                            "valuable papers and records"
                          business; or                                               are not restored, the "valuable
                                                                                     papers and records" will be val-
                      (2) Loss or damage by theft.
                                                                                     ued at the cost of replacement
                          The most we will pay for loss or                           with blank materials of substan-
                          damage under this Extension is                             tially identical type.
                          $2,500 at each described prem-
                                                                                 (5) Paragraph B. Exclusions in Sec-
                          ises.
                                                                                     tion I - Property does not apply
                 e.   Valuable Papers And Records                                    to this Coverage Extension ex-
                      (1) You may extend the insurance                               cept for:
                          that applies to Business Personal                            (a) Paragraph B.1.c.,       Govern-
                          Property to apply to direct phys-                                mental Action;
                          ical loss or damage to "valuable
                                                                                       (b) Paragraph    B.1.d.,    Nuclear
                          papers and records" that you
                                                                                           Hazard;
                          own, or that are in your care,
                          custody or control, caused by or                             (c) Paragraph B.1.f., War And
                          resulting from a Covered Cause                                   Military Action;
                          of Loss. This Coverage Exten-                                (d) Paragraph     B.2.f.,   Dishon-
                          sion includes the cost to re-                                    esty;
                          search, replace or restore the                               (e) Paragraph B.2.g., False Pre-
                          lost information    on "valuable                                 tense;
                          papers and records" for which
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                                                                                       (f)   Paragraph B.2.m.(2), Errors
                          duplicates do not exist.
                                                                                             Or Omissions; and
                      (2) This Coverage Extension       does
                                                                                       (g) Paragraph B.3.
                          not apply to:
                                                                            f.   Accounts Receivable
                          (a) Property held as samples or
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                              for delivery after sale; and                       (1) You may extend the insurance
                                                                                     that applies to Business Personal
                          (b) Property in storage away
                                                                                     Property to apply to accounts re-
                              from the premises shown in
                                                                                     ceivable. We will pay:
                              the Declarations.
                                                                                       (a) All amounts due from your
                                                                                           customers that you are un-
                                                                                           able to collect;




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                            (b) Interest charges on any loan                   g.   Business Personal Property Tempo-
                                required to offset amounts                          rarily In Portable Storage Units
                                you are unable to collect                           (1) You may extend the insurance
                                pending our payment of                                  that applies to Business Personal
                                these amounts;                                          Property to apply to such prop-
                            (c) Collection expenses in ex-                              erty while temporarily stored in
                                cess of your normal collec-                             a portable storage unit (includ-
                                tion expenses that are made                             ing a detached trailer) located
                                necessary by loss or dam-                               within 100 feet of the buildings
                                age; and                                                or structures described in the
                            (d) Other reasonable expenses                               Declarations or within 100 feet of
                                that you incur to reestablish                           the described premises, which-
                                your records of accounts re-                            ever distance is greater.
                                ceivable;                                           (2) The limitation under Paragraph
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                            that result from direct physical                            A.4.a.(5) also applies to property
                            loss or damage by any Covered                               in a portable storage unit.
                            Cause of Loss to your records of                        (3) Coverage under this Extension:
                            accounts receivable.                                          (a) Will end 90 days after the
                       (2) The most we will pay under this                                    Business Personal Property
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                           Coverage Extension for loss or                                     has been placed in the stor-
                           damage in any one occurrence at                                    age unit;
                           the    described   premises    is                              (b) Does not apply if the storage
                           $10,000, unless a higher Limit of                                  unit itself has been in use at
                           Insurance for accounts receiv-                                     the described premises for
                           able is shown in the Declara-                                      more than 90 consecutive
                           tions.                                                             days, even if the Business
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                            For accounts receivable not at                                    Personal Property has been
                            the described    premises,  the                                   stored there for 90 or fewer
                            most we will pay is $5,000.                                       days as of the time of loss or
                       (3) Paragraph B. Exclusions in Sec-                                    damage.
                           tion I - Property does not apply                         (4) Under this Extension, the most
                           to this Coverage Extension ex-                               we will pay for the total of all
                           cept for:                                                    loss or damage to Business Per-
                            (a) Paragraph B.1.c.,       Govern-                         sonal Property is $10,000 (unless
                                mental Action;                                          a higher limit is indicated in the
                                                                                        Declarations for such Extension)
                            (b) Paragraph     B.1.d.,   Nuclear
                                                                                        regardless of the number of stor-
                                Hazard;
                                                                                        age units.
                            (c) Paragraph B.1.f., War And
                                                                                    (5) This Extension does not apply to
                                Military Action;
                                                                                        loss or damage otherwise cov-
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                            (d) Paragraph     B.2.f.,   Dishon-                         ered under this Coverage Form
                                esty;                                                   or any endorsement to this Cov-
                            (e) Paragraph B.2.g., False Pre-                            erage Form, and does not apply
                                tense;                                                  to loss or damage to the storage
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                            (f)   Paragraph B.3.; and                                   unit itself.
                            (g) Paragraph B.6., Accounts
                                Receivable Exclusion.




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         B.   Exclusions                                                          (4) Earth     sinking      (other    than
              1.   We will not pay for loss or damage                                 sinkhole     collapse),    rising or
                   caused directly or indirectly by any of the                        shifting including soil conditions
                   following. Such loss or damage is ex-                              which cause settling, cracking or
                   cluded regardless of any other cause or                            other disarrangement of founda-
                   event that contributes concurrently or in                          tions or other parts of realty. Soil
                   any sequence to the loss. These exclu-                             conditions include contraction,
                   sions apply whether or not the loss event                          expansion,      freezing, thawing,
                   results in widespread damage or affects a                          erosion, improperly compacted
                   substantial area.                                                  soil and the action of water un-
                                                                                      der the ground surface.
                   a.   Ordinance Or Law
                                                                                   But if Earth Movement, as described
                        (1) The enforcement of or compli-
                                                                                   in Paragraphs (1) through (4) above,
                            ance with any ordinance or law:
                                                                                   results in fire or explosion, we will
                            (a) Regulating the construction,                       pay for the loss or damage caused by
                                use or repair of any proper-                       that fire or explosion.
                                ty; or
                                                                                  (5) Volcanic eruption, explosion or
                            (b) Requiring the tearing down                            effusion. But if volcanic erup-
                                of any property, including                            tion, explosion or effusion re-
                                the cost of removing its de-                          sults in fire, building glass break-
                                bris.                                                 age or volcanic action, we will
                        (2) This exclusion, Ordinance Or                              pay for the loss or damage
                            Law, applies whether the loss re-                         caused by that fire, building
                            sults from:                                               glass breakage or volcanic ac-
                            (a) An ordinance or law that is                           tion.
                                enforced even if the proper-                             Volcanic action means direct
                                ty has not been damaged; or                              loss or damage resulting from
                            (b) The increased costs incurred                             the eruption of a volcano when
                                to comply with an ordinance                              the loss or damage is caused by:
                                or law in the course of con-                             (a) Airborne volcanic blast or
                                struction, repair, renovation,                               airborne shock waves;
                                remodeling or demolition of                              (b) Ash, dust or particulate mat-
                                property or removal of its                                   ter; or
                                debris, following a physical
                                                                                         (c) Lava flow.
                                loss to that property.
                                                                                         With respect to coverage for vol-
                   b.   Earth Movement
                                                                                         canic action as set forth in 5(a),
                        (1) Earthquake, including      tremors                           (5)(b) and 5(c), all volcanic erup-
                            and aftershocks and any earth                                tions that occur within any
                            sinking, rising or shifting related                          168-hour period will constitute a
                            to such event;                                               single occurrence.
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                        (2) Landslide, including any earth                               Volcanic action does not include
                            sinking, rising or shifting related                          the cost to remove ash, dust or
                            to such event;                                               particulate matter that does not
                        (3) Mine subsidence, meaning sub-                                cause direct physical loss of or
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                            sidence of a man- made mine,                                 damage to Covered Property.
                            whether or not mining activity                         This exclusion applies regardless of
                            has ceased;                                            whether any of the above, in Para-
                                                                                   graphs (1) through (5), is caused by
                                                                                   an act of nature or is otherwise
                                                                                   caused.




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                   c.   Governmental Action                                     f.   War And Military Action
                        Seizure or destruction of property by                        (1) War, including      undeclared    or
                        order of governmental authority.                                 civil war;
                        But we will pay for loss or damage                           (2) Warlike action by a military
                        caused by or resulting from acts of                              force, including action in hinder-
                        destruction ordered by governmental                              ing or defending against an ac-
                        authority and taken at the time of a                             tual or expected attack, by any
                        fire to prevent its spread, if the fire                          government, sovereign or other
                        would be covered under this policy.                              authority using military person-
                   d.   Nuclear Hazard                                                   nel or other agents; or
                        Nuclear reaction or radiation, or ra-                        (3) Insurrection,   rebellion, revolu-
                        dioactive contamination,     however                             tion, usurped power, or action
                        caused.                                                          taken by governmental authority
                                                                                         in    hindering    or     defending
                        But if nuclear reaction or radiation,
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                                                                                         against any of these.
                        or radioactive contamination, results
                        in fire, we will pay for the loss or                    g.   Water
                        damage caused by that fire.                                  (1) Flood, surface water, waves (in-
                   e.   Utility Services                                                 cluding tidal wave and tsunami),
                                                                                         tides, tidal water, overflow of
                        The failure of power, communica-
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                                                                                         any body of water, or spray from
                        tion, water or other utility service
                                                                                         any of these, all whether or not
                        supplied to the described premises,
                                                                                         driven by wind (including storm
                        however caused, if the failure:
                                                                                         surge);
                        (1) Originates away from         the de-
                                                                                     (2) Mudslide or mudflow;
                            scribed premises; or
                                                                                     (3) Water that backs up or overflows
                        (2) Originates     at the described
                                                                                         or is otherwise discharged from
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                            premises, but only if such failure
                                                                                         a sewer, drain, sump, sump
                            involves equipment used to sup-
                                                                                         pump or related equipment;
                            ply the utility service to the de-
                            scribed premises from a source                           (4) Water under the ground surface
                            away from the described prem-                                pressing on, or flowing or seep-
                            ises.                                                        ing through:
                        Failure of any utility service includes                            (a) Foundations, walls, floors or
                        lack of sufficient capacity and reduc-                                 paved surfaces;
                        tion in supply.                                                    (b) Basements,   whether     paved
                        Loss or damage caused by a surge of                                    or not; or
                        power is also excluded, if the surge                               (c) Doors, windows      or   other
                        would not have occurred but for an                                     openings; or
                        event causing a failure of power.                            (5) Waterborne material carried or
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                        But if the failure or surge of power,                            otherwise moved by any of the
                        or the failure of communication, wa-                             water referred to in Paragraph
                        ter or other utility service, results in a                       (1), (3) or (4), or material carried
                        Covered Cause of Loss, we will pay                               or otherwise moved by mudslide
                        for the loss or damage caused by                                 or mudflow.
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                        that Covered Cause of Loss.                                  This exclusion applies regardless of
                        Communication services include but                           whether any of the above, in Para-
                        are not limited to service relating to                       graphs (1) through (5), is caused by
                        Internet access or access to any elec-                       an act of nature or is otherwise
                        tronic, cellular or satellite network.                       caused. An example of a situation to
                        This exclusion does not apply to loss                        which this exclusion applies is the
                        or damage to "computer(s)"        and                        situation   where   a dam, levee,
                        "electronic data".                                           seawall or other boundary or con-
                                                                                     tainment system fails in whole or in
                                                                                     part, for any reason, to contain the
                                                                                     water.



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                      But if any of the above, in Paragraphs                       However, if excluded loss or dam-
                      (1) through (5), results in fire, explo-                     age, as described in Paragraph (1)
                      sion or sprinkler leakage, we will pay                       above, results in a "specified cause
                      for the loss or damage caused by                             of loss" under Section I - Property,
                      that fire, explosion or sprinkler leak-                      we will pay only for the loss or dam-
                      age.                                                         age caused by such "specified cause
                 h.   Certain Computer-related Losses                              of loss".
                      (1) The failure,   malfunction          or                   We will not pay for repair, replace-
                          inadequacy of:                                           ment or modification of any items in
                                                                                   Paragraph (1)(a) or (1)(b) to correct
                          (a) Any of the following, wheth-
                                                                                   any deficiencies or change any fea-
                              er belonging to any insured
                                                                                   tures.
                              or to others:
                                                                              i.   "Fungi", Wet Rot Or Dry Rot
                               (i)   "Computer"    hardware,
                                     including microproces-                        Presence,       growth,  proliferation,
                                     sors or other electronic                      spread or any activity of "fungi", wet
                                     data processing equip-                        rot or dry rot.
                                     ment as may be de-                            But if "fungi", wet rot or dry rot re-
                                     scribed elsewhere      in                     sults in a "specified cause of loss",
                                     this policy;                                  we will pay for the loss or damage
                               (ii) "Computer" application                         caused by that "specified cause of
                                    software or other "elec-                       loss".
                                    tronic data" as may be                         This exclusion does not apply:
                                    described elsewhere in                         (1) When "fungi", wet rot or dry rot
                                    this policy;                                       results from fire or lightning; or
                               (iii) "Computer"    operating                       (2) To the extent that coverage is
                                     systems    and related                            provided in the Limited Cover-
                                     software;                                         age For "Fungi", Wet Rot Or Dry
                               (iv) "Computer"    networks;                            Rot Additional Coverage, with
                               (v) Microprocessors ("com-                              respect to loss or damage by a
                                   puter" chips) not part of                           cause of loss other than fire or
                                   any "computer"      sys-                            lightning.
                                   tem; or                                    j.   Virus Or Bacteria
                               (vi) Any other computerized                         (1) Any virus, bacterium or other
                                    or electronic equipment                            microorganism that induces or is
                                    or components; or                                  capable of inducing physical dis-
                          (b) Any other products, and any                              tress, illness or disease.
                              services, data or functions                          (2) However, the exclusion in Para-
                              that directly or indirectly use                          graph (1) does not apply to loss
                              or rely upon, in any manner,                             or damage caused by or result-
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                              any of the items listed in                               ing from "fungi", wet rot or dry
                              Paragraph (a) above;                                     rot. Such loss or damage is ad-
                          due to the inability to correctly                            dressed in Exclusion i.
                          recognize, distinguish, interpret                        (3) With respect to any loss or dam-
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                          or accept one or more dates or                               age subject to the exclusion in
                          times. An example is the inabil-                             Paragraph (1), such exclusion
                          ity of computer software to rec-                             supersedes any exclusion relat-
                          ognize the year 2000.                                        ing to "pollutants".
                      (2) Any advice, consultation,       de-
                          sign,     evaluation,  inspection,
                          installation, maintenance, repair,
                          replacement or supervision pro-
                          vided or done by you or for you
                          to determine, rectify or test for,
                          any potential or actual problems
                          described      in Paragraph     (1)
                          above.

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               2.   We will not pay for loss or damage                             d.   Steam Apparatus
                    caused by or resulting from any of the                              Explosion of steam boilers, steam
                    following:                                                          pipes, steam engines or steam
                    a.   Electrical Apparatus                                           turbines owned or leased by you, or
                         Artificially generated electrical, mag-                        operated under your control. But if
                         netic or electromagnetic energy that                           explosion of steam boilers, steam
                         damages, disturbs, disrupts or other-                          pipes, steam engines or steam
                         wise interferes with any:                                      turbines results in fire or combustion
                                                                                        explosion, we will pay for the loss or
                         (1) Electrical or electronic wire, de-
                                                                                        damage caused by that fire or com-
                             vice, appliance, system or net-
                                                                                        bustion explosion. We will also pay
                             work; or
                                                                                        for loss or damage caused by or re-
                         (2) Device, appliance, system or                               sulting from the explosion of gases
                             network utilizing cellular or sat-                         or fuel within the furnace of any fired
                             ellite technology.                                         vessel or within the flues or pas-
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                         For the purpose of this exclusion,                             sages through which the gases of
                         electrical, magnetic or electromag-                            combustion pass.
                         netic energy includes but is not limit-                   e.   Frozen Plumbing
                         ed to:
                                                                                        Water, other liquids, powder or mol-
                         (1) Electrical    current,      including                      ten material that leaks or flows from
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                             arcing;                                                    plumbing, heating, air conditioning
                         (2) Electrical charge produced or                              or other equipment (except fire pro-
                             conducted by a magnetic or elec-                           tective systems) caused by or result-
                             tromagnetic field;                                         ing from freezing, unless:
                         (3) Pulse of electromagnetic      energy;                      (1) You do your best to maintain
                             or                                                             heat in the building or structure;
                                                                                            or
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                         (4) Electromagnetic waves or micro-
                             waves.                                                     (2) You drain the equipment and
                         But if fire results, we will pay for the                           shut off the supply if the heat is
                         loss or damage caused by fire.                                     not maintained.
                         We will pay for loss or damage to                         f.   Dishonesty
                         "computer(s)" due to artificially gen-                         Dishonest or criminal acts (including
                         erated electrical, magnetic or electro-                        theft) by you, anyone else with an in-
                         magnetic energy if such loss or dam-                           terest in the property, or any of your
                         age is caused by or results from:                              or their partners, "members", offi-
                         (1) An occurrence that took place                              cers, "managers",       employees (in-
                             within 100 feet of the described                           cluding temporary or leased employ-
                             premises; or                                               ees), directors, trustees or authorized
                                                                                        representatives,      whether    acting
                         (2) Interruption   of electric power
                                                                                        alone or in collusion with each other
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                             supply, power surge, blackout or
                                                                                        or with any other party; or theft by
                             brownout if the cause of such oc-
                                                                                        any person to whom you entrust the
                             currence took place within 100
                                                                                        property for any purpose, whether
                             feet of the described premises.
                                                                                        acting alone or in collusion with any
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                    b.   Consequential Losses                                           other party.
                         Delay, loss of use or loss of market.                          This exclusion:
                    c.   Smoke, Vapor, Gas                                              (1) Applies whether or not an act oc-
                         Smoke, vapor or gas from agricultur-                               curs during your normal hours of
                         al smudging or industrial operations.                              operation;




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                      (2) Does not apply to acts of de-                                (b) To collapse caused by one
                          struction by your employees (in-                                 or more of the following:
                          cluding temporary or leased em-                                  (i)   The "specified    causes
                          ployees)       or      authorized                                      of loss";
                          representatives;  but theft by
                                                                                           (ii) Breakage    of    building
                          your employees (including tem-
                                                                                                glass;
                          porary or leased employees) or
                          authorized representatives is not                                (iii) Weight of rain that col-
                          covered.                                                               lects on a roof; or
                      With respect to accounts receivable                                  (iv) Weight of people or per-
                      and "valuable papers and records",                                        sonal property.
                      this exclusion does not apply to car-                 j.   Pollution
                      riers for hire.                                            We will not pay for loss or damage
                      This exclusion does not apply to cov-                      caused by or resulting from the dis-
                      erage that is provided under the Em-                       charge, dispersal, seepage, migra-
                      ployee       Dishonesty     Optional                       tion, release or escape of "pollu-
                      Coverage.                                                  tants"     unless     the   discharge,
                 g.   False Pretense                                             dispersal, seepage, migration, re-
                                                                                 lease or escape is itself caused by
                      Voluntary parting with any property
                                                                                 any of the "specified causes of loss".
                      by you or anyone else to whom you
                                                                                 But if the discharge, dispersal, seep-
                      have entrusted the property if in-
                                                                                 age, migration, release or escape of
                      duced to do so by any fraudulent
                                                                                 "pollutants"   results in a "specified
                      scheme, trick, device or false pre-
                                                                                 cause of loss", we will pay for the
                      tense.
                                                                                 loss or damage caused by that
                 h.   Exposed Property                                           "specified cause of loss".
                      Rain, snow, ice or sleet to personal                  k.   Neglect
                      property in the open.
                                                                                 Neglect of an insured to use all rea-
                 i.   Collapse                                                   sonable means to save and preserve
                      (1) Collapse, including any of the                         property from further damage at and
                          following conditions of property                       after the time of loss.
                          or any part of the property:                      l.   Other Types Of Loss
                          (a) An abrupt    falling   down or                     (1) Wear and tear;
                              caving in;
                                                                                 (2) Rust or other corrosion, decay,
                          (b) Loss of structural integrity,                          deterioration, hidden or latent
                              including separation of parts                          defect or any quality in property
                              of the property or property                            that causes it to damage or de-
                              in danger of falling down or                           stroy itself;
                              caving in; or
                                                                                 (3) Smog;
                          (c) Any cracking, bulging, sag-
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                                                                                 (4) Settling, cracking,    shrinking   or
                              ging, bending, leaning, set-
                                                                                     expansion;
                              tling, shrinkage or expan-
                              sion     as such condition                         (5) Nesting or infestation, or dis-
                              relates to Paragraph i.(1)(a)                          charge or release of waste pro-
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                              or i.(1)(b).                                           ducts or secretions, by insects,
                                                                                     birds, rodents or other animals;
                      But if collapse results in a Covered
                      Cause of Loss at the described prem-                       (6) Mechanical breakdown,         includ-
                      ises, we will pay for the loss or dam-                         ing rupture or bursting       caused
                      age caused by that Covered Cause of                            by centrifugal force.
                      Loss.                                                            This exclusion does not apply
                      (2) This Exclusion i. does not apply:                            with respect to the breakdown of
                                                                                       "computer(s)";
                          (a) To the extent that coverage
                              is provided under the Addi-
                              tional Coverage - Collapse;
                              or



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                        (7) The following causes of loss to                3.   We will not pay for loss or damage
                            personal property:                                  caused by or resulting from any of the
                            (a) Dampness or dryness of at-                      following Paragraphs a. through c. But if
                                mosphere;                                       an excluded cause of loss that is listed in
                                                                                Paragraphs a. through c. results in a Cov-
                            (b) Changes in or extremes of
                                                                                ered Cause of Loss, we will pay for the
                                temperature; or
                                                                                loss or damage caused by that Covered
                            (c) Marring or scratching.                          Cause of Loss.
                        But if an excluded cause of loss that                   a.   Weather Conditions
                        is listed in Paragraphs (1) through (7)
                                                                                     Weather conditions. But this exclu-
                        above results in a "specified cause of
                                                                                     sion only applies if weather condi-
                        loss" or building glass breakage, we
                                                                                     tions contribute in any way with a
                        will pay for the loss or damage
                                                                                     cause or event excluded in Para-
                        caused by that "specified cause of
                                                                                     graph B.1. above to produce the loss
                        loss" or building glass breakage.
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                                                                                     or damage.
                   m. Errors Or Omissions
                                                                                b.   Acts Or Decisions
                        Errors or omissions in:
                                                                                     Acts or decisions, including the fail-
                        (1) Programming,      processing  or                         ure to act or decide, of any person,
                            storing data, as described under                         group, organization or governmental
                            "electronic   data" or in any
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                                                                                     body.
                            "computer" operations; or
                                                                                c.   Negligent Work
                        (2) Processing or copying "valuable
                                                                                     Faulty, inadequate or defective:
                            papers and records".
                                                                                     (1) Planning, zoning, development,
                        However, we will pay for direct phys-
                                                                                         surveying, siting;
                        ical loss or damage caused by result-
                        ing fire or explosion if these causes                        (2) Design,    specifications, work-
                                                                                         manship, repair, construction,
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                        of loss would be covered by this Cov-
                        erage Form.                                                      renovation,   remodeling,  grad-
                                                                                         ing, compaction;
                   n.   Installation, Testing, Repair
                                                                                     (3) Materials    used in repair, con-
                        Errors or deficiency in design, instal-
                                                                                         struction,   renovation or remod-
                        lation, testing, maintenance, modifi-
                                                                                         eling; or
                        cation or repair of your "computer"
                        system including "electronic data".                          (4) Maintenance;
                        However, we will pay for direct phys-                        of part or all of any property on or off
                        ical loss or damage caused by result-                        the described premises.
                        ing fire or explosion if these causes              4.   Additional Exclusion
                        of loss would be covered by this Cov-                   The following applies only to the prop-
                        erage Form.                                             erty specified in this Additional Exclu-
                   o.   Electrical Disturbance                                  sion:
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                        Electrical or magnetic injury, distur-                  Loss Or Damage To Products
                        bance or erasure of "electronic                         We will not pay for loss or damage to any
                        data", except as provided for under                     merchandise, goods or other product
                        the Additional Coverages of Section I                   caused by or resulting from error or
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                        - Property.                                             omission by any person or entity (includ-
                        However, we will pay for direct loss                    ing those having possession under an ar-
                        or damage caused by lightning.                          rangement where work or a portion of the
                   p.   Continuous Or Repeated Seepage Or                       work is outsourced) in any stage of the
                        Leakage Of Water                                        development, production or use of the
                                                                                product, including planning, testing, pro-
                        Continuous or repeated seepage or
                                                                                cessing, packaging, installation, mainten-
                        leakage of water, or the presence or
                                                                                ance or repair. This exclusion applies to
                        condensation of humidity, moisture
                                                                                any effect that compromises the form,
                        or vapor, that occurs over a period of
                                                                                substance or quality of the product. But if
                        14 days or more.




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                  such error or omission results in a Cov-                    We will not pay for:
                  ered Cause of Loss, we will pay for the                     a.   Loss or damage caused by or result-
                  loss or damage caused by that Covered                            ing from alteration,       falsification,
                  Cause of Loss.                                                   concealment      or   destruction       of
             5.   Business Income And Extra Expense Ex-                            records of accounts receivable done
                  clusions                                                         to conceal the wrongful giving, tak-
                  a.   We will not pay for:                                        ing or withholding of "money", "se-
                                                                                   curities" or other property.
                       (1) Any Extra Expense, or increase
                           of Business Income loss, caused                         This exclusion applies only to the ex-
                           by or resulting from:                                   tent of the wrongful giving, taking or
                                                                                   withholding.
                           (a) Delay in rebuilding, repair-
                               ing or replacing the property                  b.   Loss or damage caused by or result-
                               or resuming "operations",                           ing from bookkeeping, accounting or
                               due to interference at the lo-                      billing errors or omissions.
                               cation of the rebuilding, re-                  c.   Any loss or damage that requires any
                               pair or replacement by strik-                       audit of records or any inventory
                               ers or other persons; or                            computation to prove its factual exis-
                           (b) Suspension,        lapse   or                       tence.
                               cancellation of any license,         C.   Limits Of Insurance
                               lease or contract. But if the             1.   The most we will pay for loss or damage
                               suspension, lapse or cancel-                   in any one occurrence is the applicable
                               lation is directly caused by                   Limits Of Insurance of Section I - Property
                               the suspension of "oper-                       shown in the Declarations.
                               ations", we will cover such
                                                                         2.   The most we will pay for loss of or dam-
                               loss that affects your Busi-
                                                                              age to outdoor signs attached to build-
                               ness Income during the "pe-
                                                                              ings is $1,000 per sign in any one occur-
                               riod of restoration" and any
                                                                              rence.
                               extension of the "period of
                               restoration"   in accordance              3.   The amounts of insurance applicable to
                               with the terms of the Ex-                      the Coverage Extensions and the follow-
                               tended Business Income Ad-                     ing Additional Coverages apply in accor-
                               ditional Coverage.                             dance with the terms of such coverages
                                                                              and are in addition to the Limits of Insur-
                       (2) Any other consequential loss.
                                                                              ance of Section I - Property:
                  b.   With respect to this exclusion, sus-
                                                                              a.   Fire Department Service Charge;
                       pension means:
                                                                              b.   Pollutant Clean-up And Removal;
                       (1) The    partial    slowdown    or
                           complete cessation of your busi-                   c.   Increased Cost Of Construction;
                           ness activities; and                               d.   Business Income       From Dependent
                       (2) That a part or all of the described                     Properties;
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                           premises         is        rendered                e.   Electronic Data; and
                           untenantable,    if coverage for                   f.   Interruption    Of   Computer      Oper-
                           Business Income applies.                                ations.
             6.   Accounts Receivable Exclusion                          4.   Building Limit - Automatic Increase
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                  The following additional exclusion ap-                      a.   In accordance with Paragraph C.4.b.,
                  plies to the Accounts Receivable Cover-                          the Limit of Insurance for Buildings
                  age Extension:                                                   will automatically increase by 8%,
                                                                                   unless a different percentage of an-
                                                                                   nual increase is shown in the Dec-
                                                                                   larations.




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                    b.   The amount of increase is calculated                    b.   The increase described in Paragraph
                         as follows:                                                  5.a. will apply only if the Limit Of In-
                         (1) Multiply the Building limit that                         surance shown for Business Person-
                             applied on the most recent of the                        al Property in the Declarations is at
                             policy inception date, the policy                        least 100% of your average monthly
                             anniversary date or any other                            values during the lesser of:
                             policy change amending the                               (1) The 12 months immediately pre-
                             Building limit by:                                           ceding the date the loss or dam-
                               (a) The percentage of annual in-                           age occurs; or
                                   crease shown in the Declara-                       (2) The period of time you have
                                   tions, expressed as a deci-                            been in business as of the date
                                   mal (example: 7% is .07); or                           the loss or damage occurs.
                               (b) .08, if no percentage of            D.   Deductibles
                                   annual increase is shown in              1.   We will not pay for loss or damage in any
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                                   the Declarations; and                         one occurrence until the amount of loss
                         (2) Multiply the number calculated                      or damage exceeds the Deductible
                             in accordance with b.(1) by the                     shown in the Declarations. We will then
                             number of days since the begin-                     pay the amount of loss or damage in ex-
                             ning of the current policy year,                    cess of the Deductible up to the applica-
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                             or the effective date of the most                   ble Limit of Insurance of Section I - Prop-
                             recent policy change amending                       erty.
                             the Building limit, divided by                 2.   Regardless of the amount           of the
                             365.                                                Deductible, the most we will deduct from
                         Example                                                 any loss or damage under all of the fol-
                         If:                                                     lowing Optional Coverages in any one
                                                                                 occurrence is the Optional Coverage De-
                         The applicable Building         limit is
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                                                                                 ductible shown in the Declarations:
                         $100,000. The annual percentage in-
                         crease is 8%. The number of days                        a.   Money and Securities;
                         since the beginning of the policy year                  b.   Employee Dishonesty;
                         (or last policy change) is 146.                         c.   Outdoor Signs; and
                         The amount of increase is                               d.   Forgery or Alteration.
                         $100,000 x .08 x 146 365 = $3,200.                      But this Optional Coverage Deductible
               5.   Business Personal Property Limit - Sea-                      will not increase the Deductible shown in
                    sonal Increase                                               the Declarations. This Deductible will be
                    a.   Subject to Paragraph 5.b., the Limit                    used to satisfy the requirements of the
                         of Insurance for Business Personal                      Deductible in the Declarations.
                         Property is automatically increased                3.   No deductible applies to the following
                         by:                                                     Additional Coverages:
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                         (1) The Business Personal Property -                    a.   Fire Department Service Charge;
                             Seasonal Increase percentage                        b.   Business Income;
                             shown in the Declarations; or
                                                                                 c.   Extra Expense;
                         (2) 25% if no Business Personal
                                                                                 d.   Civil Authority; and
                             Property - Seasonal Increase
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                             percentage is shown in the Dec-                     e.   Fire Extinguisher   Systems Recharge
                             larations;                                               Expense.
                         to provide for seasonal variances.            E.   Property Loss Conditions
                                                                            1.   Abandonment
                                                                                 There can be no abandonment          of any
                                                                                 property to us.




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             2.   Appraisal                                                          (6) As often as may be reasonably
                  If we and you disagree on the amount of                                required, permit us to inspect
                  loss, either may make written demand for                               the property proving the loss or
                  an appraisal of the loss. In this event,                               damage     and examine      your
                  each party will select a competent and                                 books and records.
                  impartial appraiser. The two appraisers                                 Also permit us to take samples
                  will select an umpire. If they cannot                                   of damaged and undamaged
                  agree, either may request that selection                                property for inspection, testing
                  be made by a judge of a court having ju-                                and analysis, and permit us to
                  risdiction. The appraisers will state sepa-                             make copies from your books
                  rately the amount of loss. If they fail to                              and records.
                  agree, they will submit their differences                          (7) Send us a signed, sworn proof of
                  to the umpire. A decision agreed to by                                 loss containing the information
                  any two will be binding. Each party will:                              we request to investigate the
                  a.   Pay its chosen appraiser; and                                     claim. You must do this within
                  b.   Bear the other expenses of the ap-                                60 days after our request. We
                       praisal and umpire equally.                                       will supply you with the neces-
                                                                                         sary forms.
                  If there is an appraisal, we will still retain
                  our right to deny the claim.                                       (8) Cooperate with us in the inves-
                                                                                         tigation or settlement of the
             3.   Duties In The Event Of Loss Or Damage
                                                                                         claim.
                  a.   You must see that the following are
                                                                                     (9) Resume all or part of your "oper-
                       done in the event of loss or damage
                                                                                         ations" as quickly as possible.
                       to Covered Property:
                                                                                b.   We may examine any insured under
                       (1) Notify the police if a law may
                                                                                     oath, while not in the presence of
                           have been broken.
                                                                                     any other insured and at such times
                       (2) Give us prompt notice of the loss                         as may be reasonably required,
                           or damage. Include a description                          about any matter relating to this in-
                           of the property involved.                                 surance or the claim, including an in-
                       (3) As soon as possible, give us a                            sured’s books and records. In the
                           description of how, when and                              event of an examination,       an in-
                           where the loss or damage oc-                              sured’s answers must be signed.
                           curred.                                         4.   Legal Action Against Us
                       (4) Take all reasonable steps to pro-                    No one may bring a legal action against
                           tect the Covered Property from                       us under this insurance unless:
                           further damage, and keep a
                                                                                a.   There has been full compliance with
                           record of your expenses neces-
                                                                                     all of the terms of this insurance; and
                           sary to protect the Covered Prop-
                           erty, for consideration in the set-                  b.   The action is brought within two
                           tlement of the claim. This will                           years after the date on which the di-
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                           not increase the Limits of Insur-                         rect physical loss or damage oc-
                           ance of Section I - Property.                             curred.
                           However, we will not pay for any                5.   Loss Payment
                           subsequent loss or damage re-                        In the event of loss or damage covered by
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                           sulting from a cause of loss that                    this policy:
                           is not a Covered Cause of Loss.
                                                                                a.   At our option, we will either:
                           Also,    if  feasible,   set   the
                           damaged property aside and in                             (1) Pay the value of lost or damaged
                           the best possible order for ex-                               property;
                           amination.                                                (2) Pay the cost of repairing or re-
                       (5) At our request, give us complete                              placing the lost or damaged
                           inventories of the damaged and                                property;
                           undamaged      property.  Include                         (3) Take all or any part of the prop-
                           quantities,  costs, values and                                erty at an agreed or appraised
                           amount of loss claimed.                                       value; or



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                        (4) Repair, rebuild or replace the                                 (b) If, at the time of loss, the
                            property with other property of                                    Limit of Insurance applica-
                            like kind and quality, subject to                                  ble to the lost or damaged
                            Paragraph d.(1)(e) below.                                          property is less than 80% of
                   b.   We will give notice of our intentions                                  the full replacement cost of
                        within 30 days after we receive the                                    the property     immediately
                        sworn proof of loss.                                                   before the loss, we will pay
                                                                                               the greater of the following
                   c.   We will not pay you more than your
                                                                                               amounts, but not more than
                        financial interest in the Covered
                                                                                               the Limit of Insurance that
                        Property.
                                                                                               applies to the property:
                   d.   Except as provided in Paragraphs (2)
                                                                                               (i)   The actual cash value of
                        through (7) below, we will determine
                                                                                                     the lost or damaged
                        the value of Covered Property as fol-
                                                                                                     property; or
                        lows:
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                                                                                               (ii) A proportion of the cost
                        (1) At replacement cost without de-
                                                                                                    to repair or replace the
                            duction for depreciation, subject
                                                                                                    lost or damaged proper-
                            to the following:
                                                                                                    ty, after application of
                            (a) If, at the time of loss, the                                        the deductible and with-
                                Limit of Insurance on the                                           out deduction for depre-
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                                lost or damaged property is                                         ciation. This proportion
                                80% or more of the full re-                                         will equal the ratio of
                                placement cost of the prop-                                         the applicable Limit of
                                erty immediately before the                                         Insurance to 80% of the
                                loss, we will pay the cost to                                       full replacement cost of
                                repair or replace, after appli-                                     the property.
                                cation of the deductible and
                                                                                                     Example
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                                without deduction for depre-
                                ciation, but not more than                                           The full replacement
                                the least of the following                                           cost of property which
                                amounts:                                                             suffers a total loss is
                                                                                                     $100,000. The property
                                (i)   The Limit of Insurance
                                                                                                     is insured for $70,000.
                                      under Section I - Prop-
                                                                                                     80% of the full replace-
                                      erty that applies to the
                                                                                                     ment cost of the proper-
                                      lost or damaged proper-
                                                                                                     ty immediately    before
                                      ty;
                                                                                                     the loss is $80,000
                                (ii) The cost to replace, on                                         ($100,000    x .80 =
                                     the same premises, the                                          $80,000). A partial loss
                                     lost or damaged proper-                                         of $25,000 is sustained.
                                     ty with other property:                                         The amount of recovery
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                                      i.    Of comparable ma-                                        is determined as fol-
                                            terial and quality;                                      lows:
                                            and                                                      Amount of recovery
                                      ii.   Used for the same                                        $70,000      $80,000 =
                                            purpose; or
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                                                                                                     .875
                                (iii) The amount that you ac-                                        .875   x    $25,000    =
                                      tually spend that is nec-                                      $21,875
                                      essary to repair or re-
                                      place    the   lost    or
                                      damaged property.
                                If a building is rebuilt at a
                                new premises, the cost is
                                limited to the cost which
                                would have been incurred
                                had the building been built
                                at the original premises.


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                         (c) You may make a claim for                                 (b) Property of others. However,
                             loss or damage covered by                                    if an item(s) of personal
                             this insurance on an actual                                  property of others is subject
                             cash value basis instead of                                  to a written contract which
                             on a replacement cost basis.                                 governs your liability     for
                             In the event you elect to                                    loss or damage to that
                             have loss or damage settled                                  item(s), then valuation of
                             on an actual cash value ba-                                  that item(s) will be based on
                             sis, you may still make a                                    the amount for which you
                             claim on a replacement cost                                  are liable under such con-
                             basis if you notify us of your                               tract, but not to exceed the
                             intent to do so within 180                                   lesser of the replacement
                             days after the loss or dam-                                  cost of the property or the
                             age.                                                         applicable Limit of Insur-
                         (d) We will not pay on a re-                                     ance;
                             placement cost basis for any                             (c) Household contents, except
                             loss or damage:                                              personal property in apart-
                             (i)   Until   the    lost  or                                ments or rooms furnished
                                   damaged property is ac-                                by you as landlord;
                                   tually repaired or re-                             (d) Manuscripts; and
                                   placed; and                                        (e) Works of art, antiques or
                             (ii) Unless the repair or re-                                rare articles, including etch-
                                  placement is made as                                    ings, pictures, statuary, mar-
                                  soon as reasonably pos-                                 ble, bronzes, porcelain and
                                  sible after the loss or                                 bric-a-brac.
                                  damage.                                      (4) Glass at the cost of replacement
                             However, if the cost to re-                           with safety glazing material if re-
                             pair or replace the damaged                           quired by law.
                             building property is $2,500                       (5) Tenants’ improvements        and bet-
                             or less, we will settle the                           terments at:
                             loss according to the provi-
                                                                                      (a) Replacement cost if        you
                             sions of Paragraphs d.(1)(a)
                                                                                          make repairs promptly.
                             and d.(1)(b) above whether
                             or not the actual repair or re-                          (b) A proportion of your original
                             placement is complete.                                       cost if you do not make re-
                                                                                          pairs promptly. We will de-
                         (e) The cost to repair, rebuild or
                                                                                          termine the proportionate
                             replace does not include the
                                                                                          value as follows:
                             increased cost attributable
                             to enforcement of or compli-                                 (i)   Multiply     the original
                             ance with any ordinance or                                         cost by the number of
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                             law regulating the construc-                                       days from the loss or
                             tion, use or repair of any                                         damage to the expira-
                             property.                                                          tion of the lease; and
                     (2) If the Actual Cash Value - Build-                                (ii) Divide the amount de-
                                                                                               termined in (i) above by
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                         ings option applies, as shown in
                         the Declarations, Paragraph (1)                                       the number of days
                         above does not apply to Build-                                        from the installation of
                         ings. Instead, we will determine                                      improvements      to the
                         the value of Buildings at actual                                      expiration of the lease.
                         cash value.
                     (3) The following   property at actual
                         cash value:
                         (a) Used or secondhand mer-
                             chandise held in storage or
                             for sale;



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                                If your lease contains a re-                               (iv) All unearned interest
                                newal option, the expiration                                    and service charges.
                                of the renewal option period                  e.   Our payment for loss of or damage
                                will replace the expiration of                     to personal property of others will
                                the lease in this procedure.                       only be for the account of the owners
                            (c) Nothing if others pay for re-                      of the property. We may adjust
                                pairs or replacement.                              losses with the owners of lost or
                       (6) Applicable only to the Optional                         damaged property if other than you.
                           Coverages:                                              If we pay the owners, such payments
                                                                                   will satisfy your claims against us for
                            (a) "Money"     at its face value;
                                                                                   the owners’ property. We will not
                                and
                                                                                   pay the owners more than their fi-
                            (b) "Securities" at their value at                     nancial interest in the Covered Prop-
                                the close of business on the                       erty.
                                day the loss is discovered.
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                                                                              f.   We may elect to defend you against
                       (7) Applicable    only to accounts re-                      suits arising from claims of owners
                           ceivable:                                               of property. We will do this at our ex-
                            (a) If you cannot accurately es-                       pense.
                                tablish the amount of ac-                     g.   We will pay for covered loss or dam-
                                counts             receivable                      age within 30 days after we receive
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                                outstanding as of the time of                      the sworn proof of loss, provided
                                loss or damage:                                    you have complied with all of the
                                (i)   We will determine the                        terms of this policy, and:
                                      total of the average                         (1) We have reached agreement
                                      monthly amounts of ac-                           with you on the amount of loss;
                                      counts receivable    for                         or
                                      the 12 months immedi-
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                                                                                   (2) An appraisal    award   has been
                                      ately  preceding    the
                                                                                       made.
                                      month in which the loss
                                      or damage occurs; and                   h.   A party wall is a wall that separates
                                                                                   and is common to adjoining build-
                                (ii) We will adjust that total
                                                                                   ings that are owned by different par-
                                     for any normal fluctu-
                                                                                   ties. In settling covered losses in-
                                     ations in the amount of
                                                                                   volving a party wall, we will pay a
                                     accounts receivable for
                                                                                   proportion of the loss to the party
                                     the month in which the
                                                                                   wall based on your interest in the
                                     loss or damage oc-
                                                                                   wall in proportion to the interest of
                                     curred or for any dem-
                                                                                   the owner of the adjoining building.
                                     onstrated variance from
                                                                                   However, if you elect to repair or re-
                                     the average for that
                                                                                   place your building and the owner of
                                     month.
                                                                                   the adjoining building elects not to
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                            (b) The following will be de-                          repair or replace that building, we
                                ducted      from the total                         will pay you the full value of the loss
                                amount of accounts receiv-                         to the party wall, subject to all ap-
                                able, however that amount                          plicable policy provisions including
                                is established:
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                                                                                   Limits of Insurance and all other pro-
                                (i)   The amount of the ac-                        visions of this Loss Payment Condi-
                                      counts for which there                       tion. Our payment under the provi-
                                      is no loss or damage;                        sions of this paragraph does not alter
                                (ii) The amount of the ac-                         any right of subrogation we may
                                     counts that you are able                      have against any entity, including the
                                     to reestablish or collect;                    owner or insurer of the adjoining
                                                                                   building, and does not alter the
                                (iii) An amount to allow for
                                                                                   terms of the Transfer Of Rights Of
                                      probable bad debts that
                                                                                   Recovery Against Others To Us Con-
                                      you are normally unable
                                                                                   dition in this policy.
                                      to collect; and



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             6.   Recovered Property                                                           (ii) Used by the building
                  If either you or we recover any property                                          owner to conduct cus-
                  after loss settlement, that party must give                                       tomary operations.
                  the other prompt notice. At your option,                          (2) Buildings under construction or
                  you may retain the property. But then you                             renovation are not considered
                  must return to us the amount we paid to                               vacant.
                  you for the property. We will pay recov-                     b.   Vacancy Provisions
                  ery expenses and the expenses to repair
                                                                                    If the building where loss or damage
                  the recovered property, subject to the
                                                                                    occurs has been vacant for more
                  Limits of Insurance of Section I - Prop-
                                                                                    than 60 consecutive days before that
                  erty.
                                                                                    loss or damage occurs:
             7.   Resumption Of Operations
                                                                                    (1) We will not pay for any loss or
                  We will reduce the amount of your:                                    damage caused by any of the fol-
                  a.   Business Income loss, other than Ex-                             lowing even if they are Covered
                       tra Expense, to the extent you can re-                           Causes of Loss:
                       sume your "operations", in whole or                               (a) Vandalism;
                       in part, by using damaged or
                                                                                         (b) Sprinkler  leakage, unless
                       undamaged property (including mer-
                                                                                             you have protected the sys-
                       chandise or stock) at the described
                                                                                             tem against freezing;
                       premises or elsewhere.
                                                                                         (c) Building glass breakage;
                  b.   Extra Expense loss to the extent you
                       can return "operations"   to normal                               (d) Water damage;
                       and discontinue such Extra Expense.                               (e) Theft; or
             8.   Vacancy                                                                (f)   Attempted theft.
                  a.   Description Of Terms                                         (2) With respect to Covered Causes
                       (1) As used in this Vacancy Condi-                               of Loss other than those listed in
                           tion, the term building and the                              Paragraphs (1)(a) through (1)(f)
                           term vacant have the meanings                                above, we will       reduce the
                           set forth in Paragraphs (a) and                              amount we would otherwise pay
                           (b) below:                                                   for the loss or damage by 15%.
                            (a) When this policy is issued to        F.   Property General Conditions
                                a tenant, and with respect to             1.   Control Of Property
                                that tenant’s interest in Cov-                 Any act or neglect of any person other
                                ered    Property,     building                 than you beyond your direction or control
                                means the unit or suite                        will not affect this insurance.
                                rented or leased to the ten-
                                                                               The breach of any condition of this Cov-
                                ant. Such building is vacant
                                                                               erage Form at any one or more locations
                                when it does not contain
                                                                               will not affect coverage at any location
                                enough business personal
                                                                               where, at the time of loss or damage, the
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                                property to conduct custom-
                                                                               breach of condition does not exist.
                                ary operations.
                                                                          2.   Mortgageholders
                            (b) When this policy is issued to
                                the owner or general lessee                    a.   The term "mortgageholder"      includes
                                                                                    trustee.
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                                of a building,       building
                                means the entire building.                     b.   We will pay for covered loss of or
                                Such building is vacant un-                         damage to buildings or structures to
                                less at least 31% of its total                      each mortgageholder shown in the
                                square footage is:                                  Declarations in their order of prece-
                                (i)   Rented to a lessee or                         dence, as interests may appear.
                                      sublessee and used by                    c.   The mortgageholder has the right to
                                      the lessee or sublessee                       receive loss payment even if the
                                      to conduct its custom-                        mortgageholder has started foreclo-
                                      ary operations; and/or                        sure or similar action on the building
                                                                                    or structure.



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                   d.   If we deny your claim because of                   3.   No Benefit To Bailee
                        your acts or because you have failed                    No person or organization, other than
                        to comply with the terms of this poli-                  you, having custody of Covered Property
                        cy, the mortgageholder will still have                  will benefit from this insurance.
                        the right to receive loss payment if
                                                                           4.   Policy Period, Coverage Territory
                        the mortgageholder:
                                                                                Under Section I - Property:
                        (1) Pays any premium due under
                            this policy at our request if you                   a.   We cover loss or damage commenc-
                            have failed to do so;                                    ing:
                        (2) Submits a signed, sworn proof                            (1) During the policy period shown
                            of loss within 60 days after re-                             in the Declarations; and
                            ceiving notice from us of your                           (2) Within the coverage territory or,
                            failure to do so; and                                        with respect to property in tran-
                        (3) Has notified us of any change in                             sit, while it is between points in
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                            ownership, occupancy or sub-                                 the coverage territory.
                            stantial change in risk known to                    b.   The coverage territory is:
                            the mortgageholder.                                      (1) The United States of America
                        All of the terms of this policy will                             (including its territories and pos-
                        then    apply   directly   to   the                              sessions);
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                        mortgageholder.                                              (2) Puerto Rico; and
                   e.   If we pay the mortgageholder for any                         (3) Canada.
                        loss or damage and deny payment to
                                                                      G.   Optional Coverages
                        you because of your acts or because
                        you have failed to comply with the                 If shown as applicable in the Declarations, the
                        terms of this policy:                              following    Optional Coverages also apply.
                                                                           These coverages are subject to the terms and
                        (1) The mortgageholder’s rights un-
                                                                           conditions applicable to property coverage in
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                            der the mortgage will be trans-
                                                                           this policy, except as provided below:
                            ferred to us to the extent of the
                            amount we pay; and                             1.   Outdoor Signs
                        (2) The mortgageholder’s   right to                     a.   We will pay for direct physical loss of
                            recover the full amount of the                           or damage to all outdoor signs at the
                            mortgageholder’s claim will not                          described premises:
                            be impaired.                                             (1) Owned by you; or
                        At our option, we may pay to the                             (2) Owned by others but in your
                        mortgageholder the whole principal                               care, custody or control.
                        on the mortgage plus any accrued in-                    b.   Paragraph A.3., Covered Causes Of
                        terest. In this event, your mortgage                         Loss and Paragraph B., Exclusions in
                        and note will be transferred to us and                       Section I - Property do not apply to
                        you will pay your remaining mort-                            this Optional Coverage, except for:
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                        gage debt to us.
                                                                                     (1) Paragraph B.1.c., Governmental
                   f.   If we cancel this policy, we will give                           Action;
                        written notice to the mortgageholder
                                                                                     (2) Paragraph B.1.d., Nuclear Haz-
                        at least:
                                                                                         ard; and
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                        (1) 10 days before the effective date
                                                                                     (3) Paragraph B.1.f., War And Mili-
                            of cancellation if we cancel for
                                                                                         tary Action.
                            your nonpayment of premium;
                            or                                                  c.   We will not pay for loss or damage
                                                                                     caused by or resulting from:
                        (2) 30 days before the effective date
                            of cancellation if we cancel for                         (1) Wear and tear;
                            any other reason.                                        (2) Hidden or latent defect;
                   g.   If we elect not to renew this policy,                        (3) Rust;
                        we will give written notice to the                           (4) Corrosion; or
                        mortgageholder at least 10 days be-
                                                                                     (5) Mechanical breakdown.
                        fore the expiration date of this policy.



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                  d.   The most we will pay for loss or                            (2) Involving a single act or series of
                       damage in any one occurrence is the                             related acts;
                       Limit Of Insurance for Outdoor Signs                        is considered one occurrence.
                       shown in the Declarations.
                                                                              e.   You must keep records of all "mon-
                  e.   The provisions of this Optional Cov-                        ey" and "securities" so we can verify
                       erage supersede all other references                        the amount of any loss or damage.
                       to outdoor signs in this policy.
                                                                         3.   Employee Dishonesty
             2.   Money And Securities
                                                                              a.   We will pay for direct loss of or dam-
                  a.   We will pay for loss of "money" and                         age to Business Personal Property
                       "securities" used in your business                          and "money" and "securities"        re-
                       while at a bank or savings institution,                     sulting from dishonest acts commit-
                       within your living quarters or the liv-                     ted by any of your employees acting
                       ing quarters of your partners or any                        alone or in collusion with other per-
                       employee (including a temporary or                          sons (except you or your partner)
                       leased employee) having use and                             with the manifest intent to:
                       custody of the property, at the de-
                                                                                   (1) Cause you to sustain        loss or
                       scribed premises, or in transit be-
                                                                                       damage; and also
                       tween any of these places, resulting
                       directly from:                                              (2) Obtain financial benefit (other
                                                                                       than   salaries,   commissions,
                       (1) Theft, meaning any act of steal-
                                                                                       fees,   bonuses,     promotions,
                           ing;
                                                                                       awards, profit sharing, pensions
                       (2) Disappearance; or                                           or other employee        benefits
                       (3) Destruction.                                                earned in the normal course of
                  b.   In addition to the Limitations and Ex-                          employment) for:
                       clusions applicable to Section I -                               (a) Any employee; or
                       Property, we will not pay for loss:                              (b) Any other person or organi-
                       (1) Resulting from accounting or ar-                                 zation.
                           ithmetical errors or omissions;                    b.   We will not pay for loss or damage:
                       (2) Due to the giving or surrender-                         (1) Resulting from any dishonest or
                           ing of property in any exchange                             criminal act that you or any of
                           or purchase; or                                             your partners or "members"
                       (3) Of property contained in any                                commit whether acting alone or
                           "money" operated device unless                              in collusion with other persons.
                           the amount of "money" depos-                            (2) Resulting from any dishonest act
                           ited in it is recorded by a con-                            committed by any of your em-
                           tinuous recording instrument in                             ployees (except as provided in
                           the device.                                                 Paragraph a. ), "managers" or di-
                  c.   The most we will pay for loss in any                            rectors:
                       one occurrence is:
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                                                                                        (a) Whether acting alone or in
                       (1) The limit shown in the Declara-                                  collusion with other per-
                           tions for Inside the Premises for                                sons; or
                           "money" and "securities" while:                              (b) While performing      services
                            (a) In or on the described prem-                                for you or otherwise.
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                                ises; or                                           (3) The only proof of which as to its
                            (b) Within a bank or savings in-                           existence or amount is:
                                stitution; and                                          (a) An inventory    computation;
                       (2) The limit shown in the Declara-                                  or
                           tions for Outside the Premises                               (b) A profit and loss computa-
                           for "money"    and "securities"                                  tion.
                           while anywhere else.
                  d.   All loss:
                       (1) Caused by one or more persons;
                           or



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                        (4) Caused by an employee if the                       h.   If you (or any predecessor in interest)
                            employee had also committed                             sustained loss or damage during the
                            theft or any other dishonest act                        policy period of any prior insurance
                            prior to the effective date of this                     that you could have recovered under
                            policy and you or any of your                           that insurance except that the time
                            partners, "members",      "manag-                       within which to discover loss or
                            ers", officers, directors or trust-                     damage had expired, we will pay for
                            ees, not in collusion with the em-                      it under this Optional Coverage, pro-
                            ployee, learned of that theft or                        vided:
                            dishonest act prior to the policy                       (1) This Optional Coverage became
                            period shown in the Declara-                                effective at the time of cancella-
                            tions.                                                      tion or termination of the prior
                   c.   The most we will pay for loss or                                insurance; and
                        damage in any one occurrence is the                         (2) The loss or damage would have
                        Limit Of Insurance for Employee Dis-
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                                                                                        been covered by this Optional
                        honesty shown in the Declarations.                              Coverage had it been in effect
                   d.   All loss or damage:                                             when the acts or events causing
                        (1) Caused by one or more persons;                              the loss or damage were com-
                            or                                                          mitted or occurred.
                                                                               i.   The insurance under Paragraph h.
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                        (2) Involving a single act or series of
                            acts;                                                   above is part of, not in addition to,
                                                                                    the Limit of Insurance applying to
                        is considered one occurrence.
                                                                                    this Optional Coverage and is limited
                   e.   If any loss is covered:                                     to the lesser of the amount recover-
                        (1) Partly by this insurance; and                           able under:
                        (2) Partly by any prior cancelled or                        (1) This Optional Coverage as of its
                            terminated insurance that we or                             effective date; or
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                            any affiliate had issued to you or                      (2) The prior insurance      had it re-
                            any predecessor in interest;                                mained in effect.
                        the most we will pay is the larger of                  j.   With respect to the Employee Dis-
                        the amount recoverable under this                           honesty Optional Coverage in Para-
                        insurance or the prior insurance.                           graph G.3., employee means:
                        We will pay only for loss or damage                         (1) Any natural person:
                        you sustain through acts committed
                                                                                          (a) While in your service or for
                        or events occurring during the policy
                                                                                              30 days after termination of
                        period. Regardless of the number of
                                                                                              service;
                        years this policy remains in force or
                        the number of premiums paid, no                                   (b) Who you compensate direct-
                        Limit of Insurance cumulates from                                     ly by salary, wages or com-
                        year to year or period to period.                                     missions; and
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                   f.   This Optional Coverage is cancelled                               (c) Who you have the right to
                        as to any employee immediately                                        direct and control while per-
                        upon discovery by:                                                    forming services for you;
                        (1) You; or                                                 (2) Any natural person who is fur-
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                                                                                        nished temporarily to you:
                        (2) Any of your partners, "mem-
                            bers", "managers", officers or                                (a) To substitute for a perma-
                            directors not in collusion with                                   nent employee, as defined
                            the employee;                                                     in Paragraph (1) above, who
                                                                                              is on leave; or
                        of any dishonest act committed by
                        that employee before or after being                               (b) To meet seasonal or short-
                        hired by you.                                                         term workload conditions;
                   g.   We will pay only for covered loss or
                        damage sustained during the policy
                        period and discovered no later than
                        one year from the end of the policy
                        period.

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                     (3) Any natural person who is                                     (4) The functioning of any safe-
                         leased to you under a written                                     ty or protective device.
                         agreement between you and a                            b.     Paragraphs         A.4.a.(1)   and
                         labor leasing firm, to perform                                A.4.a.(2), Limitations, do not ap-
                         duties related to the conduct of                              ply to this Optional Coverage.
                         your business, but does not
                                                                                c.     With respect to the coverage
                         mean a temporary employee as
                                                                                       provided by this Optional Cover-
                         defined in Paragraph (2) above;
                                                                                       age, the following exclusions in
                     (4) Any natural person who is a for-                              Paragraph B. Exclusions do not
                         mer employee, director, partner,                              apply:
                         member, manager, representa-
                                                                                       (1) Paragraph B.2.a., Electrical
                         tive or trustee retained as a con-
                                                                                           Apparatus;
                         sultant while performing       ser-
                         vices for you; or                                             (2) Paragraph B.2.d., Steam Ap-
                                                                                           paratus; and
                     (5) Any natural person who is a
                         guest student or intern pursuing                              (3) Paragraph    B.2.l.(6),     Me-
                         studies or duties, excluding,                                     chanical Breakdown.
                         however, any such person while                         d.     With respect to the coverage
                         having care and custody of prop-                              provided by this Optional Cover-
                         erty outside any building you oc-                             age, Paragraph G.1.c.(5) of the
                         cupy in conducting your busi-                                 Outdoor Signs Optional Cover-
                         ness.                                                         age does not apply.
                     But employee does not mean:                                e.     If a dollar deductible is shown in
                     (1) Any     agent,   broker,  factor,                             the Declarations for this Optional
                         commission merchant, consign-                                 Coverage, we will first subtract
                         ee, independent contractor or re-                             the      applicable      deductible
                         presentative of the same general                              amount from any loss we would
                         character; or                                                 otherwise pay. We will then pay
                                                                                       the amount of loss in excess of
                     (2) Any "manager",       director or
                                                                                       the applicable deductible up to
                         trustee except while performing
                                                                                       the applicable limit for this cov-
                         acts coming within the usual du-
                                                                                       erage.
                         ties of an employee.
                                                                                       If no optional deductible is cho-
             4.   Equipment Breakdown Protection Cov-
                                                                                       sen for this Optional Coverage,
                  erage
                                                                                       the Property Deductible shown
                     a.   We will pay for direct loss of or                            in the Declarations applies.
                          damage to Covered Property
                                                                                f.     With respect to Additional Cov-
                          caused by or resulting from a
                                                                                       erages 5.f. Business Income and
                          mechanical breakdown or elec-
                                                                                       5.g. Extra Expense, if the 72-hour
                          trical failure to pressure, me-
                                                                                       time period in the definition of
                          chanical or electrical machinery
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                                                                                       "period         of       restoration"
                          and equipment.
                                                                                       (hereinafter referred to as time
                          Mechanical breakdown or elec-                                deductible) is amended for this
                          trical failure to pressure, me-                              Optional Coverage as shown in
                          chanical or electrical machinery                             the Declarations, we will not pay
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                          and equipment does not mean                                  for any Business Income loss
                          any:                                                         that occurs during the consecu-
                          (1) Malfunction   including     but                          tive number of hours shown as
                              not limited to adjustment,                               the time deductible in the Dec-
                              alignment,        calibration,                           larations immediately following
                              cleaning or modification;                                a mechanical breakdown or elec-
                          (2) Leakage at any valve, fitting,                           trical failure. If a time deductible
                              shaft seal, gland packing,                               is shown in days, each day shall
                              joint or connection;                                     mean 24 consecutive hours.
                          (3) Damage to any vacuum
                              tube, gas tube, or brush; or


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                            With respect to the coverage                                 (1) Your last known address; or
                            provided by this Optional Cover-                             (2) The address where the pres-
                            age, any time deductible shown                                   sure, mechanical or electri-
                            in the Declarations for Equip-                                   cal machinery and equip-
                            ment Breakdown Protection Cov-                                   ment is located.
                            erage supersedes any time de-
                                                                                         This notification will indicate the
                            ductible otherwise applicable to
                                                                                         effective date of the suspension
                            the Business Income coverage
                                                                                         or reinstatement.
                            provided by this policy.
                                                                                         If the coverage provided by this
                       g.   With respect to the coverage
                                                                                         Optional Coverage is not rein-
                            provided by this Optional Cover-
                                                                                         stated, you will get a pro rata re-
                            age, Paragraph H. Property Defi-
                                                                                         fund of premium. But the sus-
                            nitions is amended as follows:
                                                                                         pension will be effective even if
                            1.   "Computer"   means:                                     we have not yet made or offered
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                                 a.   Programmable electron-                             a refund.
                                      ic equipment    that is        H.   Property Definitions
                                      used to store, retrieve
                                                                          1.   "Computer"    means:
                                      and process data; and
                                                                               a.   Programmable electronic equipment
                                 b.   Associated     peripheral
                                                                                    that is used to store, retrieve and
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                                      equipment     that   pro-
                                                                                    process data; and
                                      vides    communication,
                                      including input and out-                 b.   Associated    peripheral   equipment
                                      put functions such as                         that provides communication,      in-
                                      printing   and auxiliary                      cluding input and output functions
                                      functions such as data                        such as printing and auxiliary func-
                                      transmission.                                 tions such as data transmission.
                                                                               "Computer" does not include those used
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                            "Computer" includes those used
                            to operate production-type ma-                     to operate production-type machinery or
                            chinery or equipment.                              equipment.
                       h.   Whenever any covered pressure,                2.   "Counterfeit money" means an imitation
                            mechanical or electrical machin-                   of "money" that is intended to deceive
                            ery and equipment is found to be                   and to be taken as genuine.
                            in, or exposed to, a dangerous                3.   "Electronic   data" means information,
                            condition, any of our representa-                  facts or computer programs stored as or
                            tives may suspend coverage pro-                    on, created or used on, or transmitted to
                            vided by this Optional Coverage                    or from computer software (including
                            for loss from a mechanical                         systems and applications software), on
                            breakdown or electrical failure to                 hard or floppy disks, CD- ROMs, tapes,
                            that pressure, mechanical or                       drives, cells, data processing devices or
                            electrical machinery and equip-                    any other repositories of computer soft-
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                            ment.                                              ware which are used with electronically
                            However, coverage provided by                      controlled equipment. The term comput-
                            this Optional Coverage may be                      er programs, referred to in the foregoing
                            reinstated for loss from a me-                     description of electronic data, means a
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                            chanical breakdown or electrical                   set of related electronic instructions
                            failure to that pressure, me-                      which direct the operations and functions
                            chanical or electrical machinery                   of a "computer" or device connected to
                            and equipment if the reasons for                   it, which enable the "computer" or de-
                            the suspension are found by any                    vice to receive, process, store, retrieve or
                            of our representatives    to no                    send data.
                            longer exist.                                 4.   "Fungi" means any type or form of fun-
                            We may suspend or reinstate                        gus, including mold or mildew, and any
                            this Optional coverage by mail-                    mycotoxins, spores, scents or by-pro-
                            ing or delivering a written notifi-                ducts produced or released by fungi.
                            cation regarding the suspension
                            or reinstatement to:


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             5.   "Manager" means a person serving in a                       The expiration date of this policy will not
                  directorial capacity for a limited liability                cut short the "period of restoration".
                  company.                                                10. "Pollutants" means any solid, liquid, gas-
             6.   "Member" means an owner of a limited                        eous or thermal irritant or contaminant,
                  liability company represented by its                        including smoke, vapor, soot, fumes,
                  membership     interest, who also may                       acids, alkalis, chemicals and waste.
                  serve as a "manager".                                       Waste includes materials to be recycled,
             7.   "Money"    means:                                           reconditioned or reclaimed.
                  a.   Currency, coins and bank notes in                  11. "Securities"   means   negotiable   and
                       current use and having a face value;                   nonnegotiable instruments or contracts
                       and                                                    representing either "money"    or other
                                                                              property and includes:
                  b.   Traveler’s checks, register checks
                       and money orders held for sale to the                  a.   Tokens, tickets, revenue and other
                       public.                                                     stamps (whether represented by ac-
                                                                                   tual stamps or unused value in a me-
             8.   "Operations" means your business ac-
                                                                                   ter) in current use; and
                  tivities occurring at the described prem-
                  ises.                                                       b.   Evidences of debt issued in connec-
                                                                                   tion with credit or charge cards,
             9.   "Period of restoration":
                                                                                   which cards are not issued by you;
                  a.   Means the period of time that:
                                                                              but does not include "money".
                       (1) Begins:
                                                                          12. "Specified causes of loss" means the fol-
                            (a) 72 hours after the time of di-                lowing:
                                rect physical loss or damage
                                                                              Fire; lightning; explosion; windstorm or
                                for Business Income Cover-
                                                                              hail; smoke; aircraft or vehicles; riot or
                                age; or
                                                                              civil commotion;       vandalism;   leakage
                            (b) Immediately after the time                    from     fire  extinguishing    equipment;
                                of direct physical loss or                    sinkhole collapse; volcanic action; falling
                                damage for Extra Expense                      objects; weight of snow, ice or sleet; wa-
                                Coverage;                                     ter damage.
                            caused by or resulting from any                   a.   Sinkhole collapse means the sudden
                            Covered Cause of Loss at the de-                       sinking or collapse of land into un-
                            scribed premises; and                                  derground empty spaces created by
                       (2) Ends on the earlier of:                                 the action of water on limestone or
                            (a) The date when the property                         dolomite. This cause of loss does not
                                at the described premises                          include:
                                should be repaired, rebuilt                        (1) The cost of filling sinkholes; or
                                or replaced with reasonable                        (2) Sinking or collapse of land into
                                speed and similar quality; or                          man-made     underground    cav-
                            (b) The date when business is                              ities.
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                                resumed at a new perma-                       b.   Falling objects does not include loss
                                nent location.                                     of or damage to:
                  b.   Does not include any increased pe-                          (1) Personal property in the open; or
                       riod required due to the enforcement
                                                                                   (2) The interior of a building or
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                       of or compliance with any ordinance
                                                                                       structure, or property inside a
                       or law that:
                                                                                       building or structure, unless the
                       (1) Regulates the construction, use                             roof or an outside wall of the
                           or repair, or requires the tearing                          building   or structure is first
                           down of any property; or                                    damaged by a falling object.
                       (2) Requires any insured or others
                           to test for, monitor, clean up, re-
                           move, contain, treat, detoxify or
                           neutralize, or in any way re-
                           spond to, or assess the effects of
                           "pollutants".



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                   c.   Water damage means:                                       b.   Manuscripts; and
                        (1) Accidental discharge or leakage                       c.   Records;
                            of water or steam as the direct                       including    abstracts,  books,   deeds,
                            result of the breaking apart or                       drawings, films, maps or mortgages.
                            cracking of any part of a system
                                                                                  But "valuable papers and records" does
                            or appliance (other than a sump
                                                                                  not mean "money" or "securities".
                            system including     its related
                            equipment and parts) containing             SECTION II - LIABILITY
                            water or steam; and                         A.   Coverages
                        (2) Accidental discharge or leakage                  1.   Business Liability
                            of water or waterborne material                       a.   We will pay those sums that the in-
                            as the direct result of the break-                         sured becomes legally obligated to
                            ing apart or cracking of a water                           pay as damages because of "bodily
                            or sewer pipe that is located off                          injury", "property damage" or "per-
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                            the described premises and is                              sonal and advertising      injury"   to
                            part of a municipal potable water                          which this insurance applies. We will
                            supply system or municipal sani-                           have the right and duty to defend the
                            tary sewer system, if the break-                           insured against any "suit" seeking
                            age or cracking is caused by                               those damages. However, we will
                            wear and tear.                                             have no duty to defend the insured
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                        But water damage does not include                              against any "suit" seeking damages
                        loss or damage otherwise excluded                              for "bodily injury", "property dam-
                        under the terms of the Water Exclu-                            age" or "personal and advertising in-
                        sion. Therefore, for example, there is                         jury" to which this insurance does
                        no coverage in the situation in which                          not apply. We may, at our discretion,
                        discharge or leakage of water results                          investigate any "occurrence" or any
                        from the breaking apart or cracking                            offense and settle any claim or "suit"
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                        of a pipe which was caused by or re-                           that may result. But:
                        lated to weather-induced flooding,                             (1) The amount we will pay for dam-
                        even if wear and tear contributed to                               ages is limited as described in
                        the breakage or cracking. As another                               Paragraph D. Liability And Medi-
                        example, and also in accordance                                    cal Expenses Limits Of Insurance
                        with the terms of the Water Exclu-                                 in Section II - Liability; and
                        sion, there is no coverage for loss or
                                                                                       (2) Our right and duty to defend end
                        damage caused by or related to
                                                                                           when we have used up the ap-
                        weather-induced flooding which fol-
                                                                                           plicable Limit of Insurance in the
                        lows or is exacerbated by pipe break-
                                                                                           payment of judgments or settle-
                        age or cracking attributable to wear
                                                                                           ments or medical expenses.
                        and tear.
                                                                                       No other obligation or liability to pay
                        To the extent that accidental dis-
                                                                                       sums or perform acts or services is
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                        charge or leakage of water falls with-
                                                                                       covered unless explicitly provided
                        in the criteria set forth in c.(1) or c.(2)
                                                                                       for under Paragraph f. Coverage Ex-
                        of this definition of "specified causes
                                                                                       tension - Supplementary Payments.
                        of loss", such water is not subject to
                        the provisions of the Water Exclusion                     b.   This insurance applies:
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                        which preclude coverage for surface                            (1) To "bodily injury" and "property
                        water or water under the ground sur-                               damage" only if:
                        face.                                                               (a) The    "bodily    injury"  or
               13. "Stock" means merchandise held in stor-                                      "property       damage"     is
                   age or for sale, raw materials and in-pro-                                   caused by an "occurrence"
                   cess or finished       goods,    including                                   that takes place in the "cov-
                   supplies used in their packing or ship-                                      erage territory";
                   ping.                                                                    (b) The    "bodily injury" or
               14. "Valuable papers and records" means in-                                      "property damage" occurs
                   scribed, printed or written:                                                 during the policy period;
                   a.   Documents;                                                              and



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                          (c) Prior to the policy period, no                     (2) Receives    a written or verbal de-
                              insured listed under Para-                             mand or     claim for damages be-
                              graph C.1. Who Is An In-                               cause of    the "bodily injury" or
                              sured and no "employee"                                "property    damage"; or
                              authorized by you to give or                       (3) Becomes aware by any other
                              receive notice of an "occur-                           means that "bodily injury" or
                              rence" or claim, knew that                             "property damage" has occurred
                              the "bodily injury" or "prop-                          or has begun to occur.
                              erty damage" had occurred,
                                                                            e.   Damages because of "bodily injury"
                              in whole or in part. If such a
                                                                                 include damages claimed by any per-
                              listed insured or authorized
                                                                                 son or organization for care, loss of
                              "employee" knew, prior to
                                                                                 services or death resulting at any
                              the policy period, that the
                                                                                 time from the "bodily injury".
                              "bodily injury" or "property
                              damage" occurred, then any                    f.   Coverage Extension - Supplemen-
                              continuation, change or re-                        tary Payments
                              sumption of such "bodily in-                       (1) We will pay, with respect to any
                              jury" or "property damage"                             claim we investigate or settle, or
                              during or after the policy pe-                         any "suit" against an insured we
                              riod will be deemed to have                            defend:
                              been known before the poli-                              (a) All expenses we incur.
                              cy period.
                                                                                       (b) Up to $250 for cost of bail
                      (2) To "personal and advertising in-                                 bonds required because of
                          jury" caused by an offense aris-                                 accidents or traffic law viola-
                          ing out of your business, but                                    tions arising out of the use
                          only if the offense was commit-                                  of any vehicle to which Busi-
                          ted in the "coverage territory"                                  ness Liability Coverage for
                          during the policy period.                                        "bodily injury" applies. We
                 c.   "Bodily injury" or "property dam-                                    do not have to furnish these
                      age" which occurs during the policy                                  bonds.
                      period and was not, prior to the poli-                           (c) The cost of bonds to release
                      cy period, known to have occurred                                    attachments, but only for
                      by any insured listed under Para-                                    bond amounts within our
                      graph C.1. Who Is An Insured or any                                  Limit of Insurance. We do
                      "employee"    authorized by you to                                   not have to furnish these
                      give or receive notice of an "occur-                                 bonds.
                      rence" or claim, includes any con-
                                                                                       (d) All reasonable expenses in-
                      tinuation, change or resumption of
                                                                                           curred by the insured at our
                      "bodily injury" or "property dam-
                                                                                           request to assist us in the in-
                      age" after the end of the policy pe-
                                                                                           vestigation or defense of the
                      riod.
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                                                                                           claim or "suit", including ac-
                 d.   "Bodily injury" or "property dam-                                    tual loss of earnings up to
                      age" will be deemed to have been                                     $250 a day because of time
                      known to have occurred at the earli-                                 off from work.
                      est time when any insured listed un-
                                                                                       (e) All court costs taxed against
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                      der Paragraph C.1. Who Is An In-
                                                                                           the insured in the "suit".
                      sured or any "employee" authorized
                                                                                           However, these payments
                      by you to give or receive notice of an
                                                                                           do not include attorneys’
                      "occurrence" or claim:
                                                                                           fees or attorneys’ expenses
                      (1) Reports all, or any part, of the                                 taxed against the insured.
                          "bodily  injury"  or "property
                          damage" to us or any other in-
                          surer;




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                            (f)   Prejudgment interest award-                              (f)   The indemnitee:
                                  ed against the insured on                                      (i)   Agrees in writing to:
                                  that part of the judgment we
                                                                                                       i.     Cooperate with us
                                  pay. If we make an offer to
                                                                                                              in the investigation,
                                  pay the Limit of Insurance,
                                                                                                              settlement    or de-
                                  we will not pay any prejudg-
                                                                                                              fense of the "suit";
                                  ment interest based on that
                                  period of time after the offer.                                      ii.    Immediately    send
                                                                                                              us copies of any de-
                            (g) All interest     on the full
                                                                                                              mands,      notices,
                                amount of any judgment
                                                                                                              summonses or le-
                                that accrues after entry of
                                                                                                              gal papers received
                                the judgment and before we
                                                                                                              in connection with
                                have paid, offered to pay, or
                                                                                                              the "suit";
                                deposited in court the part
                                of the judgment that is with-                                          iii.   Notify any other in-
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                                in our Limit of Insurance.                                                    surer whose cover-
                                                                                                              age is available to
                            These payments will not reduce
                                                                                                              the indemnitee; and
                            the limit of liability.
                                                                                                       iv.    Cooperate with us
                       (2) If we defend an insured against a
                                                                                                              with respect to co-
                           "suit" and an indemnitee of the
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                                                                                                              ordinating other ap-
                           insured is also named as a party
                                                                                                              plicable   insurance
                           to the "suit", we will defend that
                                                                                                              available    to   the
                           indemnitee if all of the following
                                                                                                              indemnitee; and
                           conditions are met:
                                                                                                 (ii) Provides us with written
                            (a) The "suit"       against  the
                                                                                                      authorization to:
                                indemnitee seeks damages
                                for which the insured has as-                                          i.     Obtain records and
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                                sumed the liability of the                                                    other    information
                                indemnitee in a contract or                                                   related     to     the
                                agreement that is an "in-                                                     "suit"; and
                                sured contract";                                                       ii.    Conduct and con-
                            (b) This insurance applies to                                                     trol the defense of
                                such liability assumed by                                                     the indemnitee in
                                the insured;                                                                  such "suit".
                            (c) The obligation to defend, or                        (3) So long as the conditions in
                                the cost of the defense of,                             Paragraph (2) are met, attorneys’
                                that indemnitee, has also                               fees incurred by us in the de-
                                been assumed by the in-                                 fense of that indemnitee, neces-
                                sured in the same "insured                              sary litigation expenses incurred
                                contract";                                              by us and necessary litigation
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                                                                                        expenses       incurred  by    the
                            (d) The allegations in the "suit"
                                                                                        indemnitee at our request will be
                                and the information       we
                                                                                        paid as Supplementary        Pay-
                                know about the "occur-
                                                                                        ments. Notwithstanding the pro-
                                rence" are such that no con-
                                                                                        visions of Paragraph B.1.b.(2)
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                                flict appears to exist be-
                                                                                        Exclusions in Section II - Liabil-
                                tween the interests of the
                                                                                        ity, such payments will not be
                                insured and the interests of
                                                                                        deemed to be damages for "bod-
                                the indemnitee;
                                                                                        ily injury" and "property dam-
                            (e) The indemnitee and the in-                              age" and will not reduce the
                                sured ask us to conduct and                             Limits of Insurance.
                                control the defense of that
                                indemnitee    against   such
                                "suit" and agree that we can
                                assign the same counsel to
                                defend the insured and the
                                indemnitee; and


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                           Our obligation to defend an in-          B.   Exclusions
                           sured’s indemnitee and to pay                 1.   Applicable To Business Liability Cover-
                           for attorneys’ fees and necessary                  age
                           litigation expenses as Supple-
                                                                              This insurance does not apply to:
                           mentary Payments ends when:
                                                                              a.   Expected Or Intended Injury
                           (a) We have used up the appli-
                               cable Limit of Insurance in                         "Bodily injury" or "property dam-
                               the payment of judgments                            age" expected or intended from the
                               or settlements; or                                  standpoint of the insured. This exclu-
                                                                                   sion does not apply to "bodily in-
                           (b) The conditions     set forth
                                                                                   jury" resulting from the use of rea-
                               above, or the terms of the
                                                                                   sonable force to protect persons or
                               agreement     described    in
                                                                                   property.
                               Paragraph (2)(f) above, are
                               no longer met.                                 b.   Contractual Liability
             2.   Medical Expenses                                                 "Bodily injury" or "property dam-
                                                                                   age" for which the insured is obligat-
                  a.   We will pay medical expenses as de-
                                                                                   ed to pay damages by reason of the
                       scribed below for "bodily injury"
                                                                                   assumption of liability in a contract
                       caused by an accident:
                                                                                   or agreement. This exclusion does
                       (1) On premises you own or rent;                            not apply to liability for damages:
                       (2) On ways next to premises you                            (1) That the insured would have in
                           own or rent; or                                             the absence of the contract or
                       (3) Because of your operations;                                 agreement; or
                       provided that:                                              (2) Assumed in a contract or agree-
                           (a) The accident takes place in                             ment that is an "insured con-
                               the "coverage territory" and                            tract", provided the "bodily in-
                               during the policy period;                               jury"     or "property  damage"
                                                                                       occurs subsequent to the execu-
                           (b) The expenses are incurred
                                                                                       tion of the contract or agree-
                               and reported to us within
                                                                                       ment. Solely for the purposes of
                               one year of the date of the
                                                                                       liability assumed in an "insured
                               accident; and
                                                                                       contract", reasonable attorneys’
                           (c) The injured person submits                              fees and necessary litigation ex-
                               to examination, at our ex-                              penses incurred by or for a party
                               pense, by physicians of our                             other than an insured         are
                               choice as often as we rea-                              deemed to be damages because
                               sonably require.                                        of "bodily injury" or "property
                  b.   We will make these payments re-                                 damage", provided:
                       gardless of fault. These payments                                (a) Liability to such party for, or
                       will not exceed the Limits of Insur-                                 for the cost of, that party’s
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                       ance of Section II - Liability. We will                              defense has also been as-
                       pay reasonable expenses for:                                         sumed in the same "insured
                       (1) First aid administered at the time                               contract"; and
                           of an accident;                                              (b) Such attorney fees and liti-
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                       (2) Necessary medical, surgical, X-                                  gation expenses are for de-
                           ray and dental services, includ-                                 fense of that party against a
                           ing prosthetic devices; and                                      civil or alternative dispute
                       (3) Necessary ambulance, hospital,                                   resolution    proceeding    in
                           professional nursing and funeral                                 which damages to which
                           services.                                                        this insurance applies are al-
                                                                                            leged.




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                   c.   Liquor Liability                                        e.   Employer’s Liability
                        "Bodily injury" or "property dam-                            "Bodily injury" to:
                        age" for which any insured may be                            (1) An "employee"    of the insured
                        held liable by reason of:                                        arising out of and in the course
                        (1) Causing or contributing to the in-                           of:
                            toxication of any person;                                      (a) Employment by the insured;
                        (2) The furnishing of alcoholic bev-                                   or
                            erages to a person under the le-                               (b) Performing duties related to
                            gal drinking age or under the                                      the conduct of the insured’s
                            influence of alcohol; or                                           business; or
                        (3) Any statute, ordinance or regula-                        (2) The spouse, child, parent, broth-
                            tion relating to the sale, gift, dis-                        er or sister of that "employee"
                            tribution or use of alcoholic bev-                           as a consequence of Paragraph
                            erages.                                                      (1) above.
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                        This exclusion applies even if the                           This exclusion applies whether the
                        claims allege negligence or other                            insured may be liable as an employer
                        wrongdoing in:                                               or in any other capacity and to any
                            (a) The supervision, hiring, em-                         obligation to share damages with or
                                ployment, training or moni-                          repay someone else who must pay
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                                toring of others by an in-                           damages because of the injury.
                                sured; or                                            This exclusion does not apply to li-
                            (b) Providing   or   failing  to                         ability assumed by the insured under
                                provide transportation with                          an "insured contract".
                                respect to any person that                      f.   Pollution
                                may be under the influence
                                                                                     (1) "Bodily    injury" or "property
                                of alcohol;
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                                                                                         damage" arising out of the ac-
                        if the "occurrence" which caused the                             tual, alleged or threatened dis-
                        "bodily injury" or "property dam-                                charge, dispersal, seepage, mi-
                        age", involved that which is de-                                 gration, release or escape of
                        scribed in Paragraph (1), (2) or (3)                             "pollutants":
                        above.
                                                                                           (a) At or from any premises,
                        However, this exclusion applies only                                   site or location which is or
                        if you are in the business of manu-                                    was at any time owned or
                        facturing, distributing, selling, serv-                                occupied by, or rented or
                        ing or furnishing alcoholic bever-                                     loaned to, any insured. How-
                        ages. For the purposes of this                                         ever,    this   subparagraph
                        exclusion, permitting a person to                                      does not apply to:
                        bring alcoholic beverages on your
                                                                                               (i)   "Bodily injury" if sus-
                        premises, for consumption on your
                                                                                                     tained within a building
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                        premises, whether or not a fee is
                                                                                                     and caused by smoke,
                        charged or a license is required for
                                                                                                     fumes, vapor or soot
                        such activity, is not by itself consid-
                                                                                                     produced by or originat-
                        ered the business of selling, serving
                                                                                                     ing from equipment that
                        or furnishing alcoholic beverages.
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                                                                                                     is used to heat, cool or
                   d.   Workers’ Compensation And Similar                                            dehumidify    the build-
                        Laws                                                                         ing, or equipment that is
                        Any obligation of the insured under a                                        used to heat water for
                        workers’    compensation,    disability                                      personal use, by the
                        benefits or unemployment compen-                                             building’s occupants or
                        sation law or any similar law.                                               their guests;




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                             (ii) "Bodily      injury"     or                         (d) At or from any premises,
                                  "property damage" for                                   site or location on which any
                                  which you may be held                                   insured or any contractors
                                  liable, if you are a con-                               or subcontractors working
                                  tractor and the owner or                                directly or indirectly on any
                                  lessee of such prem-                                    insured’s behalf are per-
                                  ises, site or location has                              forming operations if the
                                  been added to your poli-                                "pollutants" are brought on
                                  cy as an additional in-                                 or to the premises, site or lo-
                                  sured with respect to                                   cation in connection with
                                  your     ongoing      oper-                             such operations by such in-
                                  ations performed        for                             sured, contractor or subcon-
                                  that additional insured                                 tractor.     However,      this
                                  at that premises, site or                               subparagraph does not ap-
                                  location and such prem-                                 ply to:
                                  ises, site or location is                               (i)   "Bodily      injury"      or
                                  not and never was                                             "property         damage"
                                  owned or occupied by,                                         arising out of the escape
                                  or rented or loaned to,                                       of fuels, lubricants or
                                  any insured, other than                                       other operating fluids
                                  that additional insured;                                      which are needed to
                                  or                                                            perform     the      normal
                             (iii) "Bodily      injury"    or                                   electrical, hydraulic or
                                   "property         damage"                                    mechanical        functions
                                   arising    out of heat,                                      necessary for the opera-
                                   smoke or fumes from a                                        tion of "mobile equip-
                                   "hostile fire";                                              ment" or its parts, if
                         (b) At or from any premises,                                           such fuels, lubricants or
                             site or location which is or                                       other operating fluids
                             was at any time used by or                                         escape from a vehicle
                             for any insured or others for                                      part designed to hold,
                             the handling, storage, dis-                                        store or receive them.
                             posal, processing or treat-                                        This exception does not
                             ment of waste;                                                     apply if the "bodily in-
                                                                                                jury" or "property dam-
                         (c) Which are or were at any
                                                                                                age" arises out of the
                             time transported, handled,
                                                                                                intentional     discharge,
                             stored, treated, disposed of,
                                                                                                dispersal or release of
                             or processed as waste by or
                                                                                                the fuels, lubricants or
                             for:
                                                                                                other operating fluids,
                             (i)   Any insured; or                                              or     if   such      fuels,
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                             (ii) Any person or organiza-                                       lubricants or other oper-
                                  tion for whom you may                                         ating fluids are brought
                                  be legally responsible;                                       on or to the premises,
                                                                                                site or location with the
                                                                                                intent that they be dis-
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                                                                                                charged, dispersed or
                                                                                                released as part of the
                                                                                                operations being per-
                                                                                                formed by such insured,
                                                                                                contractor or subcon-
                                                                                                tractor;




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                                (ii) "Bodily     injury"    or                           However, this paragraph does
                                     "property damage" sus-                              not apply to liability for damages
                                     tained within a building                            because of "property damage"
                                     and caused by the re-                               that the insured would have in
                                     lease of gases, fumes or                            the absence of such request, de-
                                     vapors from materials                               mand, order or statutory or regu-
                                     brought into that build-                            latory requirement or such claim
                                     ing in connection with                              or "suit" by or on behalf of a
                                     operations being per-                               governmental authority.
                                     formed by you or on                      g.   Aircraft, Auto Or Watercraft
                                     your behalf by a con-
                                                                                   "Bodily injury" or "property dam-
                                     tractor or subcontrac-
                                                                                   age" arising out of the ownership,
                                     tor; or
                                                                                   maintenance, use or entrustment to
                                (iii) "Bodily      injury"    or                   others of any aircraft, "auto" or
                                      "property         damage"
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                                                                                   watercraft owned or operated by or
                                      arising    out of heat,                      rented or loaned to any insured. Use
                                      smoke or fumes from a                        includes operation and "loading or
                                      "hostile fire"; or                           unloading".
                            (e) At or from any premises,                           This exclusion applies even if the
                                site or location on which any                      claims allege negligence or other
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                                insured or any contractors                         wrongdoing in the supervision, hir-
                                or subcontractors working                          ing, employment, training or moni-
                                directly or indirectly on any                      toring of others by an insured, if the
                                insured’s behalf are per-                          "occurrence"     which   caused the
                                forming operations if the op-                      "bodily injury" or "property dam-
                                erations are to test for, mon-                     age" involved the ownership, main-
                                itor,   clean up, remove,                          tenance, use or entrustment to oth-
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                                contain, treat, detoxify or                        ers of any aircraft,      "auto"    or
                                neutralize, or in any way re-                      watercraft that is owned or operated
                                spond to, or assess the ef-                        by or rented or loaned to any in-
                                fects of, "pollutants".                            sured.
                       (2) Any loss, cost or expense arising                       This exclusion does not apply to:
                           out of any:
                                                                                   (1) A watercraft while ashore        on
                            (a) Request, demand, order or                              premises you own or rent;
                                statutory or regulatory re-
                                                                                   (2) A watercraft you do not own that
                                quirement that any insured
                                                                                       is:
                                or others test for, monitor,
                                clean up, remove, contain,                               (a) Less than 51 feet long; and
                                treat, detoxify or neutralize,                           (b) Not being used to carry per-
                                or in any way respond to, or                                 sons or property      for a
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                                assess the effects of, "pollu-                               charge;
                                tants"; or                                         (3) Parking an "auto" on, or on the
                            (b) Claim or "suit" by or on be-                           ways next to, premises you own
                                half of a governmental au-                             or rent, provided the "auto" is
                                thority for damages because                            not owned by or rented or
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                                of testing for, monitoring,                            loaned to you or the insured;
                                cleaning up, removing, con-                        (4) Liability assumed under any "in-
                                taining, treating, detoxifying                         sured contract" for the owner-
                                or neutralizing, or in any                             ship, maintenance or use of air-
                                way responding to, or as-                              craft or watercraft; or
                                sessing the effects of, "pol-
                                lutants".




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                      (5) "Bodily injury"   or "property                           (2) Warlike action by a military
                          damage" arising out of:                                      force, including action in hinder-
                            (a) The operation of machinery                             ing or defending against an ac-
                                or equipment that is at-                               tual or expected attack, by any
                                tached to, or part of, a land                          government, sovereign or other
                                vehicle that would qualify                             authority using military person-
                                under the definition of "mo-                           nel or other agents; or
                                bile equipment" if it were                         (3) Insurrection,   rebellion, revolu-
                                not subject to a compulsory                            tion, usurped power, or action
                                or financial responsibility                            taken by government authority
                                law or other motor vehicle                             in    hindering    or     defending
                                insurance or motor vehicle                             against any of these.
                                registration law where it is                  j.   Professional Services
                                licensed or principally ga-
                                                                                   "Bodily injury", "property damage"
                                raged; or
                                                                                   or "personal and advertising injury"
                            (b) The operation of any of the                        caused by the rendering or failure to
                                following   machinery    or                        render any professional service. This
                                equipment:                                         includes but is not limited to:
                                (i)   Cherry pickers and simi-                     (1) Legal, accounting or advertising
                                      lar devices mounted on                           services;
                                      automobile    or   truck
                                                                                   (2) Preparing, approving, or failing
                                      chassis and used to
                                                                                       to prepare or approve maps,
                                      raise or lower workers;
                                                                                       drawings, opinions, reports, sur-
                                      and
                                                                                       veys, change orders, designs or
                                (ii) Air         compressors,                          specifications;
                                     pumps and generators,
                                                                                   (3) Supervisory, inspection or engi-
                                     including        spraying,
                                                                                       neering services;
                                     welding, building clean-
                                     ing, geophysical explo-                       (4) Medical, surgical, dental, X-ray
                                     ration, lighting and well                         or nursing services treatment,
                                     servicing equipment.                              advice or instruction;
                 h.   Mobile Equipment                                             (5) Any health or therapeutic service
                                                                                       treatment, advice or instruction;
                      "Bodily injury" or "property       dam-
                      age" arising out of:                                         (6) Any service, treatment, advice or
                                                                                       instruction for the purpose of ap-
                      (1) The transportation    of "mobile
                                                                                       pearance or skin enhancement,
                          equipment" by an "auto" owned
                                                                                       hair removal or replacement or
                          or operated by or rented or
                                                                                       personal grooming;
                          loaned to any insured; or
                                                                                   (7) Optometry or optical or hearing
                      (2) The use of "mobile equipment"
                                                                                       aid services including the pre-
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                          in, or while in practice for, or
                                                                                       scribing,  preparation,    fitting,
                          while being prepared for, any
                                                                                       demonstration or distribution of
                          prearranged     racing,    speed,
                                                                                       ophthalmic lenses and similar
                          demolition or stunting activity.
                                                                                       products or hearing aid devices;
                 i.   War
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                                                                                   (8) Body piercing services; and
                      "Bodily injury", "property damage"
                                                                                   (9) Services in the practice of phar-
                      or "personal and advertising injury",
                                                                                       macy.
                      however caused, arising, directly or
                      indirectly, out of:
                      (1) War, including       undeclared    or
                          civil war;




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                        This exclusion applies even if the                         Paragraphs (1), (3) and (4) of this ex-
                        claims allege negligence or other                          clusion do not apply to "property
                        wrongdoing in the supervision, hir-                        damage" (other than damage by fire)
                        ing, employment, training or moni-                         to premises, including the contents
                        toring of others by an insured, if the                     of such premises, rented to you for a
                        "occurrence"     which   caused the                        period of seven or fewer consecutive
                        "bodily injury" or "property dam-                          days. A separate Limit of Insurance
                        age", or the offense which caused                          applies to Damage To Premises
                        the "personal and advertising in-                          Rented To You as described in Para-
                        jury", involved the rendering or fail-                     graph D. Liability And Medical Ex-
                        ure to render of any professional ser-                     penses Limits Of Insurance in Sec-
                        vice.                                                      tion II - Liability.
                   k.   Damage To Property                                         Paragraph (2) of this exclusion does
                        "Property damage" to:                                      not apply if the premises are "your
                                                                                   work" and were never occupied,
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                        (1) Property     you own, rent or
                                                                                   rented or held for rental by you.
                            occupy, including any costs or
                            expenses incurred by you, or any                       Paragraphs (3), (4), (5) and (6) of this
                            other person, organization or en-                      exclusion do not apply to liability as-
                            tity, for repair, replacement, en-                     sumed under a sidetrack agreement.
                            hancement, restoration or main-                        Paragraph     (6) of this exclusion does
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                            tenance of such property for any                       not apply    to "property damage" in-
                            reason, including prevention of                        cluded in     the "products-completed
                            injury to a person or damage to                        operations    hazard".
                            another’s property;                               l.   Damage To Your Product
                        (2) Premises you sell, give away or                        "Property damage" to "your prod-
                            abandon, if the "property dam-                         uct" arising out of it or any part of it.
                            age" arises out of any part of
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                                                                              m. Damage To Your Work
                            those premises;
                                                                                   "Property damage" to "your work"
                        (3) Property loaned to you;
                                                                                   arising out of it or any part of it and
                        (4) Personal property in the care,                         included in the "products-completed
                            custody or control of the in-                          operations hazard".
                            sured;
                                                                                   This exclusion does not apply if the
                        (5) That particular part of real prop-                     damaged work or the work out of
                            erty on which you or any con-                          which the damage arises was per-
                            tractor or subcontractor working                       formed on your behalf by a subcon-
                            directly or indirectly on your be-                     tractor.
                            half is performing operations, if
                                                                              n.   Damage To Impaired Property Or
                            the "property damage" arises
                                                                                   Property Not Physically Injured
                            out of those operations; or
                                                                                   "Property  damage" to "impaired
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                        (6) That particular part of any prop-
                                                                                   property" or property that has not
                            erty that must be restored, re-
                                                                                   been physically injured, arising out
                            paired   or replaced     because
                                                                                   of:
                            "your work" was incorrectly per-
                            formed on it.                                          (1) A defect, deficiency, inadequacy
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                                                                                       or dangerous condition in "your
                                                                                       product" or "your work"; or




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                      (2) A delay or failure by you or any-                       (5) Arising out of a breach of con-
                          one acting on your behalf to per-                           tract, except an implied contract
                          form a contract or agreement in                             to use another’s advertising idea
                          accordance with its terms.                                  in your "advertisement";
                      This exclusion does not apply to the                        (6) Arising out of the failure          of
                      loss of use of other property arising                           goods, products or services         to
                      out of sudden and accidental phys-                              conform with any statement          of
                      ical injury to "your product" or "your                          quality or performance made         in
                      work" after it has been put to its in-                          your "advertisement";
                      tended use.                                                 (7) Arising out of the wrong descrip-
                 o.   Recall Of Products, Work Or Im-                                 tion of the price of goods, pro-
                      paired Property                                                 ducts or services stated in your
                      Damages claimed for any loss, cost                              "advertisement";
                      or expense incurred by you or others                        (8) Committed by an insured whose
                      for the loss of use, withdrawal, re-                            business is:
                      call, inspection, repair, replacement,                             (a) Advertising,    broadcasting,
                      adjustment, removal or disposal of:                                    publishing or telecasting;
                      (1) "Your product";                                                (b) Designing   or determining
                      (2) "Your work"; or                                                    content of web sites for oth-
                      (3) "Impaired property";                                               ers; or
                      if such product, work or property is                               (c) An Internet search, access,
                      withdrawn or recalled from the mar-                                    content or service provider.
                      ket or from use by any person or or-                               However, this exclusion does
                      ganization because of a known or                                   not apply to Paragraphs 14.a., b.
                      suspected      defect,    deficiency,                              and c. of "personal and advertis-
                      inadequacy or dangerous condition                                  ing injury" under Paragraph F.
                      in it.                                                             Liability And Medical Expenses
                 p.   Personal And Advertising Injury                                    Definitions.
                      "Personal and advertising injury":                                 For the purposes of this exclu-
                                                                                         sion, the placing of frames, bor-
                      (1) Caused by or at the direction of
                                                                                         ders or links, or advertising, for
                          the insured with the knowledge
                                                                                         you or others anywhere on the
                          that the act would violate the
                                                                                         Internet, by itself, is not consid-
                          rights of another and would in-
                                                                                         ered the business of advertising,
                          flict "personal and advertising
                                                                                         broadcasting, publishing or tele-
                          injury";
                                                                                         casting;
                      (2) Arising out of oral or written
                                                                                  (9) Arising out of the actual, alleged
                          publication, in any manner, of
                                                                                      or      threatened     discharge,
                          material, if done by or at the di-
                                                                                      dispersal, seepage, migration,
                          rection of the insured with
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                                                                                      release or escape of "pollutants"
                          knowledge of its falsity;
                                                                                      at any time;
                      (3) Arising out of oral or written
                          publication, in any manner, of
                          material whose first publication
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                          took place before the beginning
                          of the policy period;
                      (4) For which the insured has as-
                          sumed liability in a contract or
                          agreement. This exclusion does
                          not apply to liability for damages
                          that the insured would have in
                          the absence of the contract or
                          agreement;




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                        (10) With respect to any loss, cost or                      As used in this exclusion, electronic
                             expense arising out of any:                            data means information,       facts or
                            (a) Request, demand or order                            computer programs stored as or on,
                                that any insured or others                          created or used on, or transmitted to
                                test for, monitor, clean up,                        or from computer software (includ-
                                remove, contain, treat, de-                         ing systems and applications soft-
                                toxify or neutralize, or in any                     ware), on hard or floppy disks, CD-
                                way respond to, or assess                           ROMs, tapes, drives, cells, data
                                the effects of, "pollutants";                       processing devices or any other re-
                                or                                                  positories   of computer      software
                                                                                    which are used with electronically
                            (b) Claim or "suit" by or on be-
                                                                                    controlled   equipment.     The term
                                half of a governmental au-
                                                                                    computer programs, referred to in
                                thority for damages because
                                                                                    the foregoing description of electron-
                                of testing for, monitoring,
                                                                                    ic data, means a set of related elec-
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                                cleaning up, removing, con-
                                                                                    tronic instructions which direct the
                                taining, treating, detoxifying
                                                                                    operations and functions of a com-
                                or neutralizing, or in any
                                                                                    puter or device connected to it,
                                way responding to, or as-
                                                                                    which enable the computer or device
                                sessing the effects of, "pol-
                                                                                    to receive, process, store, retrieve or
                                lutants";
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                                                                                    send data.
                        (11) Arising out of an electronic
                                                                               r.   Criminal Acts
                             chatroom or bulletin board the
                             insured hosts, owns or over                            "Personal and advertising injury"
                             which the insured exercises con-                       arising out of a criminal act commit-
                             trol;                                                  ted by or at the direction of the in-
                                                                                    sured.
                        (12) Arising out of the infringement
                             of copyright, patent, trademark,                  s.   Recording And Distribution Of Ma-
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                             trade secret or other intellectual                     terial Or Information In Violation Of
                             property rights. Under this ex-                        Law
                             clusion, such other intellectual                       "Bodily injury", "property damage"
                             property rights do not include                         or "personal and advertising injury"
                             the use of another’s advertising                       arising directly or indirectly out of
                             idea in your "advertisement".                          any action or omission that violates
                            However, this exclusion does                            or is alleged to violate:
                            not apply to infringement,      in                      (1) The Telephone Consumer Pro-
                            your "advertisement",     of copy-                          tection Act (TCPA), including any
                            right, trade dress or slogan;                               amendment of or addition to
                        (13) Arising out of the unauthorized                            such law;
                             use of another’s name or prod-                         (2) The CAN-SPAM Act of 2003, in-
                             uct in your e-mail address, do-                            cluding any amendment of or
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                             main name or metatags, or any                              addition to such law;
                             other similar tactics to mislead                       (3) The Fair Credit Reporting Act
                             another’s potential customers.                             (FCRA), and any amendment of
                   q.   Electronic Data                                                 or addition to such law, includ-
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                        Damages arising out of the loss of,                             ing the Fair and Accurate Credit
                        loss of use of, damage to, corruption                           Transaction Act (FACTA); or
                        of, inability to access, or inability to
                        manipulate electronic data.
                        However, this exclusion does not ap-
                        ply to liability for damages because
                        of "bodily injury".




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                       (4) Any federal, state or local stat-                 3.   Applicable To Both Business Liability
                           ute, ordinance or regulation, oth-                     Coverage And Medical Expenses Cover-
                           er than the TCPA, CAN-SPAM                             age - Nuclear Energy Liability Exclusion
                           Act of 2003 or FCRA and their                          This insurance does not apply:
                           amendments and additions, that
                                                                                  a.   Under Business Liability Coverage,
                           addresses, prohibits, or limits
                                                                                       to "bodily injury" or "property dam-
                           the printing, dissemination, dis-
                                                                                       age":
                           posal,    collecting,   recording,
                           sending, transmitting, communi-                             (1) With respect to which an insured
                           cating or distribution of material                              under the policy is also an in-
                           or information.                                                 sured under a nuclear energy li-
                                                                                           ability policy issued by the Nu-
                  Exclusions c., d., e., f., g., h., i., k., l., m.,
                                                                                           clear Energy Liability Insurance
                  n. and o. in Section II - Liability do not
                                                                                           Association, Mutual Atomic En-
                  apply to damage by fire to premises
                                                                                           ergy Liability Underwriters    or
                  while rented to you, or temporarily oc-
                                                                                           Nuclear Insurance Association of
                  cupied by you with permission of the
                                                                                           Canada, or would be an insured
                  owner. A separate Damage To Premises
                                                                                           under any such policy but for its
                  Rented To You Limit of Insurance applies
                                                                                           termination upon exhaustion of
                  to this coverage as described in Para-
                                                                                           its limit of liability; or
                  graph D. Liability And Medical Expenses
                  Limits of Insurance in Section II - Liabil-                          (2) Resulting from the "hazardous
                  ity.                                                                     properties" of "nuclear materi-
                                                                                           al" and with respect to which:
             2.   Applicable To Medical Expenses Cover-
                  age                                                                       (a) Any person or organization
                                                                                                is required to maintain fi-
                  We will not pay expenses for "bodily in-
                                                                                                nancial protection pursuant
                  jury":
                                                                                                to the Atomic Energy Act of
                  a.   To any insured,       except "volunteer                                  1954, or any law amenda-
                       workers".                                                                tory thereof; or
                  b.   To a person hired to do work for or                                  (b) The insured is, or had this
                       on behalf of any insured or a tenant                                     policy   not been issued
                       of any insured.                                                          would be, entitled to indem-
                  c.   To a person injured on that part of                                      nity from the United States
                       premises you own or rent that the                                        of America, or any agency
                       person normally occupies.                                                thereof, under any agree-
                  d.   To a person, whether or not an "em-                                      ment entered into by the
                       ployee" of any insured, if benefits for                                  United States of America, or
                       the "bodily injury" are payable or                                       any agency thereof, with
                       must be provided under a workers’                                        any person or organization.
                       compensation or disability benefits                        b.   Under Medical Expenses Coverage,
                       law or a similar law.                                           to expenses incurred with respect to
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                  e.   To a person injured while practicing,                           "bodily injury" resulting from the
                       instructing or participating in any                             "hazardous properties" of "nuclear
                       physical exercises or games, sports                             material" and arising out of the op-
                       or athletic contests.                                           eration of a "nuclear facility" by any
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                                                                                       person or organization.
                  f.   Included within the "products-com-
                       pleted operations hazard".
                  g.   Excluded under        Business     Liability
                       Coverage.




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                   c.   Under Business Liability Coverage,                                   (c) Any equipment or device
                        to "bodily injury" or "property dam-                                     used for the processing,
                        age" resulting from the "hazardous                                       fabricating  or alloying of
                        properties" of the "nuclear materi-                                      "special nuclear material" if
                        al"; if:                                                                 at any time the total amount
                        (1) The "nuclear material":                                              of such material in the cus-
                                                                                                 tody of the insured at the
                            (a) Is at any "nuclear facility"
                                                                                                 premises where such equip-
                                owned by, or operated by or
                                                                                                 ment or device is located
                                on behalf of, an insured; or
                                                                                                 consists of or contains more
                            (b) Has been discharged or dis-                                      than 25 grams of plutonium
                                persed therefrom;                                                or uranium 233 or any com-
                        (2) The "nuclear material" is con-                                       bination thereof, or more
                            tained in "spent fuel" or "waste"                                    than 250 grams of uranium
                            at any time possessed, handled,                                      235;
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                            used, processed, stored, trans-                                  (d) Any structure, basin, exca-
                            ported or disposed of by or on                                       vation, premises or place
                            behalf of an insured; or                                             prepared or used for the
                        (3) The "bodily injury" or "property                                     storage   or   disposal  of
                            damage" arises out of the fur-                                       "waste";
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                            nishing by an insured of ser-                                    and includes the site on which
                            vices, materials, parts or equip-                                any of the foregoing is located,
                            ment in connection with the                                      all operations conducted on such
                            planning, construction, mainten-                                 site and all premises used for
                            ance, operation or use of any                                    such operations;
                            "nuclear facility"; but if such fa-
                                                                                      (4) "Nuclear     material"   means
                            cility is located within the United
                                                                                          "source material", "special nu-
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                            States of America, its territories
                                                                                          clear material" or "by-product
                            or possessions or Canada, this
                                                                                          material";
                            Exclusion (3) applies only to
                            "property damage" to such "nu-                            (5) "Nuclear reactor" means any ap-
                            clear facility" and any property                              paratus designed or used to sus-
                            thereat.                                                      tain nuclear fission in a self- sup-
                                                                                          porting chain reaction or to
                   d.   As used in this exclusion:
                                                                                          contain a critical mass of fission-
                        (1) "By-product material" has the                                 able material;
                            meaning given it in the Atomic
                                                                                      (6) "Property damage" includes all
                            Energy Act of 1954 or in any law
                                                                                          forms of radioactive contamina-
                            amendatory thereof;
                                                                                          tion of property;
                        (2) "Hazardous     properties" include
                                                                                      (7) "Source material" has the mean-
                            radioactive,   toxic or explosive
                                                                                          ing given it in the Atomic Energy
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                            properties;
                                                                                          Act of 1954 or in any law amen-
                        (3) "Nuclear facility" means:                                     datory thereof;
                            (a) Any "nuclear reactor";                                (8) "Special nuclear material" has
                            (b) Any equipment or device de-                               the meaning given it in the
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                                signed or used for:                                       Atomic Energy Act of 1954 or in
                                 (i)   Separating the isotopes                            any law amendatory thereof;
                                       of uranium or plutoni-                         (9) "Spent fuel" means any fuel ele-
                                       um;                                                ment or fuel component, solid or
                                 (ii) Processing or utilizing                             liquid, which has been used or
                                      "spent fuel"; or                                    exposed to radiation in a "nucle-
                                                                                          ar reactor";
                                 (iii) Handling, processing or
                                       packaging "waste";




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                        (10) "Waste"   means any waste ma-                 2.   Each of the following is also an insured:
                             terial:                                            a.   Your "volunteer workers" only while
                            (a) Containing "by-product ma-                           performing duties related to the con-
                                terial" other than the tailings                      duct of your business, or your "em-
                                or wastes produced by the                            ployees", other than either your "ex-
                                extraction or concentration                          ecutive officers"      (if you are an
                                of uranium or thorium from                           organization other than a partner-
                                any ore processed primarily                          ship, joint venture or limited liability
                                for its "source material"                            company) or your managers (if you
                                content; and                                         are a limited liability company), but
                            (b) Resulting from the operation                         only for acts within the scope of their
                                by any person or organiza-                           employment by you or while per-
                                tion of any "nuclear facility"                       forming duties related to the conduct
                                included under Paragraphs                            of your business. However, none of
                                (a) and (b) of the definition                        these "employees"         or "volunteer
                                of "nuclear facility".                               workers" are insureds for:
         C.   Who Is An Insured                                                      (1) "Bodily injury" or "personal and
                                                                                         advertising injury":
              1.   If you are designated in the Declarations
                   as:                                                                    (a) To you, to your partners or
                                                                                              members (if you are a part-
                   a.   An individual, you and your spouse
                                                                                              nership or joint venture), to
                        are insureds, but only with respect to
                                                                                              your members (if you are a
                        the conduct of a business of which
                                                                                              limited liability company),
                        you are the sole owner.
                                                                                              or to a co-"employee" while
                   b.   A partnership or joint venture, you                                   in the course of his or her
                        are an insured. Your members, your                                    employment or performing
                        partners and their spouses are also                                   duties related to the conduct
                        insureds, but only with respect to the                                of your business, or to your
                        conduct of your business.                                             other "volunteer     workers"
                   c.   A limited liability company, you are                                  while performing duties re-
                        an insured. Your members are also                                     lated to the conduct of your
                        insureds, but only with respect to the                                business;
                        conduct of your business. Your man-                               (b) To the spouse, child, parent,
                        agers are insureds, but only with re-                                 brother or sister of that
                        spect to their duties as your manag-                                  co-"employee"   as a conse-
                        ers.                                                                  quence of Paragraph (a)
                   d.   An organization       other      than  a                              above;
                        partnership, joint venture or limited                             (c) For which there is any obli-
                        liability company, you are an in-                                     gation to share damages
                        sured. Your "executive officers" and                                  with or repay someone else
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                        directors are insureds, but only with                                 who must pay damages be-
                        respect to their duties as your offi-                                 cause of the injury described
                        cers or directors. Your stockholders                                  in Paragraph (a) or (b); or
                        are also insureds, but only with re-
                                                                                          (d) Arising out of his or her pro-
                        spect     to    their    liability    as
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                                                                                              viding or failing to provide
                        stockholders.
                                                                                              professional health care ser-
                   e.   A trust, you are an insured. Your                                     vices.
                        trustees are also insureds, but only
                                                                                     (2) "Property damage" to property:
                        with respect to their duties as trust-
                        ees.                                                              (a) Owned,    occupied   or used
                                                                                              by;
                                                                                          (b) Rented to, in the care, cus-
                                                                                              tody or control of, or over
                                                                                              which physical control is be-
                                                                                              ing exercised for any pur-
                                                                                              pose by;



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                              you, any of your "employees",                3.   The most we will pay under Business Li-
                              "volunteer workers", any part-                    ability Coverage for damages because of
                              ner or member (if you are a part-                 "property damage" to a premises while
                              nership or joint venture), or any                 rented to you or in the case of fire while
                              member (if you are a limited li-                  rented to you or temporarily occupied by
                              ability company).                                 you with permission of the owner is the
                     b.   Any person (other than your "em-                      applicable Damage To Premises Rented
                          ployee" or "volunteer worker"), or                    To You limit shown for that premises in
                          any organization while acting as your                 the Declarations. For a premises tempo-
                          real estate manager.                                  rarily occupied by you, the applicable
                                                                                limit will be the highest Damage To
                     c.   Any person or organization having
                                                                                Premises Rented To You limit shown in
                          proper temporary custody of your
                                                                                the Declarations.
                          property if you die, but only:
                                                                           4.   Aggregate Limits
                          (1) With respect to liability arising
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                              out of the maintenance or use of                  The most we will pay for:
                              that property; and                                a.   All "bodily injury" and "property
                          (2) Until your legal representative                        damage" that is included in the "pro-
                              has been appointed.                                    ducts-completed operations hazard"
                                                                                     is twice the Liability and Medical Ex-
                     d.   Your legal representative     if you die,
                                                                                     penses limit.
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                          but only with respect to        duties as
                          such. That representative       will have             b.   All:
                          all your rights and duties    under this                   (1) "Bodily injury" and "property
                          policy.                                                        damage" except damages be-
                No person or organization is an insured with                             cause of "bodily     injury"    or
                respect to the conduct of any current or past                            "property damage" included in
                partnership, joint venture or limited liability                          the "products-completed      oper-
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                company that is not shown as a Named In-                                 ations hazard";
                sured in the Declarations.                                           (2) Plus medical expenses;
           D.   Liability And Medical Expenses Limits Of In-                         (3) Plus all "personal and advertis-
                surance                                                                  ing injury" caused by offenses
                1.   The Limits of Insurance of Section II - Li-                         committed;
                     ability shown in the Declarations and the                       is twice the Liability and Medical Ex-
                     rules below fix the most we will pay re-                        penses limit.
                     gardless of the number of:                                 Subject to Paragraph a. or b. above,
                     a.   Insureds;                                             whichever applies, the Damage To Prem-
                     b.   Claims made or "suits" brought; or                    ises Rented To You limit is the most we
                                                                                will pay for damages because of "prop-
                     c.   Persons or organizations         making
                                                                                erty damage" to any one premises, while
                          claims or bringing "suits".
                                                                                rented to you, or in the case of fire, while
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                2.   The most we will pay for the sum of all                    rented to you or temporarily occupied by
                     damages because of all:                                    you with permission of the owner.
                     a.   "Bodily injury", "property damage"                    The Limits of Insurance of Section II - Li-
                          and medical expenses arising out of                   ability apply separately to each consecu-
                          any one "occurrence"; and
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                                                                                tive annual period and to any remaining
                     b.   "Personal and advertising injury"                     period of less than 12 months, starting
                          sustained by any one person or or-                    with the beginning of the policy period
                          ganization;                                           shown in the Declarations, unless the
                     is the Liability and Medical Expenses lim-                 policy period is extended after issuance
                     it shown in the Declarations. But the                      for an additional period of less than 12
                     most we will pay for all medical ex-                       months. In that case, the additional pe-
                     penses because of "bodily injury" sus-                     riod will be deemed part of the last pre-
                     tained by any one person is the Medical                    ceding period for purposes of determin-
                     Expenses limit shown in the Declara-                       ing the Limits of Insurance.
                     tions.



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         E.   Liability And     Medical   Expenses     General                 d.   No insured will, except at that in-
              Conditions                                                            sured’s own cost, voluntarily make a
              1.   Bankruptcy                                                       payment, assume any obligation, or
                                                                                    incur any expense, other than for
                   Bankruptcy or insolvency of the insured
                                                                                    first aid, without our consent.
                   or of the insured’s estate will not relieve
                   us of our obligations under this policy.               3.   Legal Action Against Us
              2.   Duties In The Event Of Occurrence, Of-                      No person or organization has a right un-
                   fense, Claim Or Suit                                        der this policy:
                   a.   You must see to it that we are noti-                   a.   To join us as a party or otherwise
                        fied as soon as practicable of an "oc-                      bring us into a "suit" asking for dam-
                        currence" or an offense which may                           ages from an insured; or
                        result in a claim. To the extent possi-                b.   To sue us on this policy unless all of
                        ble, notice should include:                                 its terms have been fully complied
                        (1) How, when and where the "oc-                            with.
                            currence" or offense took place;                   A person or organization may sue us to
                        (2) The names and addresses of any                     recover on an agreed settlement or on a
                            injured persons and witnesses;                     final judgment against an insured; but
                            and                                                we will not be liable for damages that are
                                                                               not payable under the terms of this policy
                        (3) The nature and location of any
                                                                               or that are in excess of the applicable
                            injury or damage arising out of
                                                                               Limit of Insurance. An agreed settlement
                            the "occurrence" or offense.
                                                                               means a settlement and release of liabil-
                   b.   If a claim is made or "suit" is                        ity signed by us, the insured and the
                        brought against any insured, you                       claimant or the claimant’s legal represen-
                        must:                                                  tative.
                        (1) Immediately record the specifics              4.   Separation Of Insureds
                            of the claim or "suit" and the
                                                                               Except with respect to the Limits of Insur-
                            date received; and
                                                                               ance of Section II - Liability, and any
                        (2) Notify us as soon as practicable.                  rights or duties specifically assigned in
                        You must see to it that we receive                     this policy to the first Named Insured,
                        written notice of the claim or "suit"                  this insurance applies:
                        as soon as practicable.                                a.   As if each Named Insured were the
                   c.   You and any other involved insured                          only Named Insured; and
                        must:                                                  b.   Separately to each insured against
                        (1) Immediately send us copies of                           whom claim is made or "suit" is
                            any demands, notices, sum-                              brought.
                            monses or legal papers received          F.   Liability And Medical Expenses Definitions
                            in connection with the claim or
                                                                          1.   "Advertisement"    means a notice that is
                            "suit";
                                                                               broadcast or published to the general
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                        (2) Authorize us to obtain records                     public or specific market segments about
                            and other information;                             your goods, products or services for the
                        (3) Cooperate with us in the inves-                    purpose of attracting customers or sup-
                            tigation or settlement of the                      porters. For the purposes of this defini-
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                            claim or defense against the                       tion:
                            "suit"; and                                        a.   Notices that are published include
                        (4) Assist us, upon our request, in                         material placed on the Internet or on
                            the enforcement of any right                            similar electronic means of commu-
                            against any person or organiza-                         nication; and
                            tion that may be liable to the in-                 b.   Regarding web sites, only that part
                            sured because of injury or dam-                         of a web site that is about your
                            age to which this insurance may                         goods, products or services for the
                            also apply.                                             purposes of attracting customers or
                                                                                    supporters is considered an adver-
                                                                                    tisement.



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               2.   "Auto" means:                                          7.   "Hostile fire" means one which becomes
                    a.   A land motor vehicle, trailer or                       uncontrollable or breaks out from where
                         semitrailer designed for travel on                     it was intended to be.
                         public roads, including any attached              8.   "Impaired    property" means tangible
                         machinery or equipment; or                             property, other than "your product" or
                    b.   Any other land vehicle that is subject                 "your work", that cannot be used or is
                         to a compulsory or financial respon-                   less useful because:
                         sibility law or other motor vehicle in-                a.   It incorporates "your product" or
                         surance or motor vehicle registration                       "your   work"   that is known or
                         law where it is licensed or principally                     thought to be defective, deficient, in-
                         garaged.                                                    adequate or dangerous; or
                    However, "auto"    does not include "mo-                    b.   You have failed to fulfill the terms of
                    bile equipment".                                                 a contract or agreement;
               3.   "Bodily injury" means bodily injury, sick-                  if such property can be restored to use
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                    ness or disease sustained by a person,                      by:
                    including death resulting from any of                            (1) The repair, replacement, adjust-
                    these at any time.                                                   ment or removal of "your prod-
               4.   "Coverage territory" means:                                          uct" or "your work"; or
                    a.   The United States of America (in-                           (2) Your fulfilling the terms of the
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                         cluding its territories and posses-                             contract or agreement.
                         sions), Puerto Rico and Canada;                   9.   "Insured contract" means:
                    b.   International waters or airspace, but                  a.   A contract for a lease of premises.
                         only if the injury or damage occurs in                      However, that portion of the contract
                         the course of travel or transportation                      for a lease of premises that indem-
                         between any places included in Para-                        nifies any person or organization for
                         graph a. above; or                                          damage by fire to premises while
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                    c.   All other parts of the world if the in-                     rented to you or temporarily occu-
                         jury or damage arises out of:                               pied by you with permission of the
                         (1) Goods or products made or sold                          owner is not an "insured contract";
                             by you in the territory described                  b.   A sidetrack agreement;
                             in Paragraph a. above;                             c.   Any easement or license agreement,
                         (2) The activities of a person whose                        except in connection with construc-
                             home is in the territory de-                            tion or demolition operations on or
                             scribed in Paragraph a. above,                          within 50 feet of a railroad;
                             but is away for a short time on                    d.   An obligation, as required by ordi-
                             your business; or                                       nance, to indemnify a municipality,
                         (3) "Personal and advertising in-                           except in connection with work for a
                             jury" offenses that take place                          municipality;
                             through the Internet or similar
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                                                                                e.   An elevator maintenance agreement;
                             electronic means of communica-
                                                                                f.   That part of any other contract or
                             tion;
                                                                                     agreement pertaining to your busi-
                    provided the insured’s responsibility     to                     ness (including an indemnification of
                    pay damages is determined in a "suit"    on                      a municipality     in connection with
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                    the merits in the territory described     in                     work performed for a municipality)
                    Paragraph a. above or in a settlement    we                      under which you assume the tort li-
                    agree to.                                                        ability of another party to pay for
               5.   "Employee" includes a "leased worker".                           "bodily injury" or "property dam-
                    "Employee" does not include a "tempo-                            age" to a third person or organiza-
                    rary worker".                                                    tion. Tort liability means a liability
               6.   "Executive officer" means a person hold-                         that would be imposed by law in the
                    ing any of the officer positions created by                      absence of any contract or agree-
                    your charter, constitution, bylaws or any                        ment.
                    other similar governing document.




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                      Paragraph f. does not include that                     but "loading or unloading" does not in-
                      part of any contract or agreement:                     clude the movement of property by
                      (1) That indemnifies a railroad for                    means of a mechanical device, other than
                          "bodily   injury"  or "property                    a hand truck, that is not attached to the
                          damage" arising out of construc-                   aircraft, watercraft or "auto".
                          tion or demolition operations,                 12. "Mobile equipment" means any of the
                          within 50 feet of any railroad                     following types of land vehicles, includ-
                          property    and affecting      any                 ing any attached machinery or equip-
                          railroad bridge or trestle, tracks,                ment:
                          roadbeds, tunnel, underpass or                     a.   Bulldozers, farm machinery, forklifts
                          crossing;                                               and other vehicles designed for use
                      (2) That indemnifies an architect,                          principally off public roads;
                          engineer or surveyor for injury                    b.   Vehicles maintained for use solely on
                          or damage arising out of:                               or next to premises you own or rent;
                          (a) Preparing, approving or fail-                  c.   Vehicles    that   travel     on    crawler
                              ing to prepare or approve                           treads;
                              maps, drawings, opinions,
                                                                             d.   Vehicles, whether self-propelled or
                              reports, surveys, change or-
                                                                                  not, on which are permanently
                              ders, designs or specifica-
                                                                                  mounted:
                              tions; or
                                                                                  (1) Power cranes, shovels, loaders,
                          (b) Giving directions or instruc-
                                                                                      diggers or drills; or
                              tions, or failing to give them,
                              if that is the primary cause                        (2) Road construction or resurfacing
                              of the injury or damage; or                             equipment     such as graders,
                                                                                      scrapers or rollers;
                      (3) Under which the insured, if an
                          architect, engineer or surveyor,                   e.   Vehicles not described in Paragraph
                          assumes liability for an injury or                      a., b., c. or d. above that are not self-
                          damage arising out of the in-                           propelled and are maintained pri-
                          sured’s rendering or failure to                         marily to provide mobility to perma-
                          render professional services, in-                       nently attached equipment of the
                          cluding those listed in Paragraph                       following types:
                          (2) above and supervisory, in-                          (1) Air compressors,      pumps and
                          spection or engineering        ser-                         generators, including spraying,
                          vices.                                                      welding, building cleaning, geo-
             10. "Leased worker" means a person leased                                physical   exploration,   lighting
                 to you by a labor leasing firm under an                              and well servicing equipment; or
                 agreement between you and the labor                              (2) Cherry pickers and similar de-
                 leasing firm, to perform duties related to                           vices used to raise or lower
                 the conduct of your business. "Leased                                workers;
                 worker" does not include a "temporary                       f.   Vehicles not described in Paragraph
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                 worker".                                                         a., b., c. or d. above maintained pri-
             11. "Loading or unloading"      means the han-                       marily for purposes other than the
                 dling of property:                                               transportation of persons or cargo.
                 a.   After it is moved from the place                            However,     self-propelled vehicles
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                      where it is accepted for movement                           with the following types of perma-
                      into or onto an aircraft, watercraft or                     nently attached equipment are not
                      "auto";                                                     "mobile equipment" but will be con-
                 b.   While it is in or on an aircraft, water-                    sidered "autos":
                      craft or "auto"; or                                         (1) Equipment      designed        primarily
                 c.   While it is being moved from an air-                            for:
                      craft, watercraft or "auto" to the                                (a) Snow removal;
                      place where it is finally delivered;                              (b) Road maintenance, but not
                                                                                            construction or resurfacing;
                                                                                            or
                                                                                        (c) Street cleaning;


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                        (2) Cherry pickers and similar de-                 15. "Pollutants" means any solid, liquid, gas-
                            vices mounted on automobile or                     eous or thermal irritant or contaminant,
                            truck chassis and used to raise                    including smoke, vapor, soot, fumes,
                            or lower workers; and                              acids, alkalis, chemicals and waste.
                        (3) Air compressors,      pumps and                    Waste includes materials to be recycled,
                            generators, including spraying,                    reconditioned or reclaimed.
                            welding, building cleaning, geo-               16. "Products-completed       operations    haz-
                            physical   exploration,   lighting                 ard":
                            and well servicing equipment.                      a.   Includes all "bodily injury"  and
                   However, "mobile equipment" does not                             "property damage" occurring away
                   include land vehicles that are subject to a                      from premises you own or rent and
                   compulsory or financial responsibility                           arising out of "your product" or
                   law or other motor vehicle insurance or                          "your work" except:
                   motor vehicle registration law where                             (1) Products that are still in your
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                   they are licensed or principally garaged.                            physical possession; or
                   Land vehicles subject to a compulsory or
                                                                                    (2) Work that has not yet been com-
                   financial responsibility law or other mo-
                                                                                        pleted or abandoned. However,
                   tor vehicle insurance law or motor vehi-
                                                                                        "your work" will be deemed
                   cle registration    law are considered
                                                                                        completed at the earliest of the
                   "autos".
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                                                                                        following times:
               13. "Occurrence" means an accident, includ-
                                                                                          (a) When all of the work called
                   ing continuous or repeated exposure to
                                                                                              for in your contract has been
                   substantially the same general harmful
                                                                                              completed.
                   conditions.
                                                                                          (b) When all of the work to be
               14. "Personal and advertising injury" means
                                                                                              done at the job site has been
                   injury, including consequential "bodily
                                                                                              completed if your contract
                   injury", arising out of one or more of the
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                                                                                              calls for work at more than
                   following offenses:
                                                                                              one job site.
                   a.   False arrest, detention or imprison-
                                                                                          (c) When that part of the work
                        ment;
                                                                                              done at the job site has been
                   b.   Malicious prosecution;                                                put to its intended use by
                   c.   The wrongful eviction from, wrong-                                    any other person or organi-
                        ful entry into, or invasion of the right                              zation other than another
                        of private occupancy of a room,                                       contractor or subcontractor
                        dwelling or premises that a person                                    working    on     the   same
                        occupies, committed by or on behalf                                   project.
                        of its owner, landlord or lessor;                                 Work that may need service,
                   d.   Oral or written publication, in any                               maintenance, correction, repair
                        manner, of material that slanders or                              or replacement, but which is oth-
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                        libels a person or organization or dis-                           erwise complete, will be treated
                        parages a person’s or organization’s                              as completed.
                        goods, products or services;                                The "bodily injury" or "property
                   e.   Oral or written publication, in any                         damage" must occur away from
                        manner, of material that violates a                         premises you own or rent, unless
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                        person’s right of privacy;                                  your business includes the selling,
                   f.   The use of another’s advertising idea                       handling or distribution of "your
                        in your "advertisement"; or                                 product" for consumption on prem-
                                                                                    ises you own or rent.
                   g.   Infringing upon another’s copyright,
                        trade dress or slogan in your "adver-
                        tisement".




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                 b.   Does not include "bodily injury" or               20. "Volunteer worker" means a person who
                      "property damage" arising out of:                     is not your "employee",         and who
                      (1) The transportation of property,                   donates his or her work and acts at the
                          unless the injury or damage                       direction of and within the scope of du-
                          arises out of a condition in or on                ties determined by you, and is not paid a
                          a vehicle not owned or operated                   fee, salary or other compensation by you
                          by you, and that condition was                    or anyone else for their work performed
                          created by the "loading         or                for you.
                          unloading" of that vehicle by                 21. "Your product":
                          any insured; or                                   a.   Means:
                      (2) The      existence  of     tools,                      (1) Any goods or products, other
                          uninstalled equipment or aban-                             than real property, manufac-
                          doned or unused materials.                                 tured, sold, handled, distributed
             17. "Property damage" means:                                            or disposed of by:
                 a.   Physical injury to tangible property,                            (a) You;
                      including all resulting loss of use of                           (b) Others trading   under your
                      that property. All such loss of use                                  name; or
                      shall be deemed to occur at the time
                                                                                       (c) A person or organization
                      of the physical injury that caused it;
                                                                                           whose business or assets
                      or
                                                                                           you have acquired; and
                 b.   Loss of use of tangible property that
                                                                                 (2) Containers   (other than vehicles),
                      is not physically injured. All such
                                                                                     materials,   parts or equipment
                      loss of use shall be deemed to occur
                                                                                     furnished    in connection with
                      at the time of the "occurrence" that
                                                                                     such goods    or products.
                      caused it.
                                                                            b.   Includes:
                 For the purposes of this insurance, elec-
                 tronic data is not tangible property.                           (1) Warranties   or representations
                                                                                     made at any time with respect to
                 As used in this definition, electronic data
                                                                                     the fitness, quality, durability,
                 means information, facts or programs
                                                                                     performance or use of "your
                 stored as, created or used on, or trans-
                                                                                     product"; and
                 mitted to or from computer software, in-
                 cluding systems and applications soft-                          (2) The providing of or failure to
                 ware, hard or floppy disks, CD-ROMs,                                provide warnings   or instruc-
                 tapes, drives, cells, data processing de-                           tions.
                 vices or any other media which are used                    c.   Does not include vending machines
                 with electronically controlled equipment.                       or other property rented to or located
             18. "Suit" means a civil proceeding in which                        for the use of others but not sold.
                 damages because of "bodily injury",                    22. "Your work":
                 "property damage", or "personal and ad-                    a.   Means:
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                 vertising injury" to which this insurance
                                                                                 (1) Work or operations performed
                 applies are alleged. "Suit" includes:
                                                                                     by you or on your behalf; and
                 a.   An arbitration proceeding in which
                                                                                 (2) Materials, parts or equipment
                      such damages are claimed and to
                                                                                     furnished in connection with
                      which the insured must submit or
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                                                                                     such work or operations.
                      does submit with our consent; or
                                                                            b.   Includes:
                 b.   Any other alternative dispute resolu-
                      tion proceeding in which such dam-                         (1) Warranties   or representations
                      ages are claimed and to which the                              made at any time with respect to
                      insured submits with our consent.                              the fitness, quality, durability,
                                                                                     performance or use of "your
             19. "Temporary    worker" means a person
                                                                                     work"; and
                 who is furnished to you to substitute for a
                 permanent "employee" on leave or to                             (2) The providing of or failure to
                 meet seasonal or short-term workload                                provide warnings   or instruc-
                 conditions.                                                         tions.




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           SECTION III - COMMON POLICY CONDITIONS                                      (5) Failure to:
           (APPLICABLE TO SECTION I - PROPERTY AND                                          (a) Furnish necessary heat, wa-
           SECTION II - LIABILITY)                                                              ter,    sewer      service   or
           A.   Cancellation                                                                    electricity for 30 consecutive
                1.   The first Named Insured shown in the                                       days or more, except during
                     Declarations may cancel this policy by                                     a    period      of    seasonal
                     mailing or delivering to us advance writ-                                  unoccupancy; or
                     ten notice of cancellation.                                            (b) Pay property taxes that are
                2.   We may cancel this policy by mailing or                                    owing and have been out-
                     delivering to the first Named Insured                                      standing for more than one
                     written notice of cancellation at least:                                   year following the date due,
                                                                                                except that this provision
                     a.   Five days before the effective date of
                                                                                                will not apply where you are
                          cancellation if any one of the follow-
                                                                                                in a bona fide dispute with
                          ing conditions exists at any building
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                                                                                                the taxing authority regard-
                          that is Covered Property in this poli-
                                                                                                ing payment of such taxes.
                          cy:
                                                                                  b.   10 days before the effective date of
                          (1) The building has been vacant or
                                                                                       cancellation if we cancel for nonpay-
                              unoccupied 60 or more consecu-
                                                                                       ment of premium.
                              tive days. This does not apply to:
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                                                                                  c.   30 days before the effective date of
                               (a) Seasonal unoccupancy; or
                                                                                       cancellation if we cancel for any oth-
                               (b) Buildings in the course of                          er reason.
                                   construction, renovation or
                                                                             3.   We will mail or deliver our notice to the
                                   addition.
                                                                                  first Named Insured’s last mailing ad-
                               Buildings with 65% or more of                      dress known to us.
                               the rental units or floor area va-
                                                                             4.   Notice of cancellation will state the effec-
                               cant or unoccupied are consid-
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                                                                                  tive date of cancellation. The policy pe-
                               ered unoccupied under this pro-
                                                                                  riod will end on that date.
                               vision.
                                                                             5.   If this policy is cancelled, we will send
                          (2) After damage by a Covered
                                                                                  the first Named Insured any premium re-
                              Cause of Loss, permanent re-
                                                                                  fund due. If we cancel, the refund will be
                              pairs to the building:
                                                                                  pro rata. If the first Named Insured can-
                               (a) Have not started; and                          cels, the refund may be less than pro
                               (b) Have not been contracted                       rata. The cancellation will be effective
                                   for;                                           even if we have not made or offered a
                               within 30 days of initial payment                  refund.
                               of loss.                                      6.   If notice is mailed, proof of mailing will
                          (3) The building has:                                   be sufficient proof of notice.
                               (a) An outstanding   order to va-        B.   Changes
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                                   cate;                                     This policy contains all the agreements be-
                               (b) An outstanding    demolition              tween you and us concerning the insurance
                                   order; or                                 afforded. The first Named Insured shown in
                                                                             the Declarations is authorized to make
                               (c) Been declared unsafe       by
97




                                                                             changes in the terms of this policy with our
                                   governmental authority.
                                                                             consent. This policy’s terms can be amended
                          (4) Fixed and salvageable items                    or waived only by endorsement issued by us
                              have been or are being removed                 and made a part of this policy.
                              from the building and are not be-
                                                                        C.   Concealment, Misrepresentation Or Fraud
                              ing replaced. This does not apply
                              to such removal that is neces-                 This policy is void in any case of fraud by you
                              sary or incidental to any renova-              as it relates to this policy at any time. It is also
                              tion or remodeling.                            void if you or any other insured, at any time,
                                                                             intentionally conceals or misrepresents a ma-
                                                                             terial fact concerning:
                                                                             1.   This policy;



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              2.   The Covered Property;                             H.   Other Insurance
              3.   Your interest in the Covered Property; or              1.   If there is other insurance covering the
              4.   A claim under this policy.                                  same loss or damage, we will pay only
                                                                               for the amount of covered loss or dam-
         D.   Examination Of Your Books And Records
                                                                               age in excess of the amount due from
              We may examine and audit your books and                          that other insurance, whether you can
              records as they relate to this policy at any                     collect on it or not. But we will not pay
              time during the policy period and up to three                    more than the applicable Limit of Insur-
              years afterward.                                                 ance of Section I - Property.
         E.   Inspections And Surveys                                     2.   Business   Liability   Coverage   is excess
              1.   We have the right to:                                       over:
                   a.   Make inspections and surveys at any                    a.   Any other insurance that insures for
                        time;                                                       direct physical loss or damage; or
                   b.   Give you reports on the conditions                     b.   Any other primary insurance avail-
                        we find; and                                                able to you covering liability for
                   c.   Recommend changes.                                          damages arising out of the premises
                                                                                    or operations for which you have
              2.   We are not obligated to make any inspec-
                                                                                    been added as an additional insured.
                   tions, surveys, reports or recommenda-
                   tions and any such actions we do under-                3.   When this insurance is excess, we will
                   take relate only to insurability and the                    have no duty under Business Liability
                   premiums to be charged. We do not                           Coverage to defend any claim or "suit"
                   make safety inspections. We do not un-                      that any other insurer has a duty to de-
                   dertake to perform the duty of any person                   fend. If no other insurer defends, we will
                   or organization to provide for the health                   undertake to do so, but we will be en-
                   or safety of workers or the public. And we                  titled to the insured’s rights against all
                   do not warrant that conditions:                             those other insurers.
                   a.   Are safe and healthful; or                   I.   Premiums
                   b.   Comply     with  laws,       regulations,         1.   The first Named Insured shown in the
                        codes or standards.                                    Declarations:
              3.   Paragraphs 1. and 2. of this condition ap-                  a.   Is responsible for the payment of all
                   ply not only to us, but also to any rating,                      premiums; and
                   advisory, rate service or similar organiza-                 b.   Will be the payee for any return pre-
                   tion which makes insurance inspections,                          miums we pay.
                   surveys, reports or recommendations.                   2.   The premium shown in the Declarations
              4.   Paragraph 2. of this condition does not                     was computed based on rates in effect at
                   apply to any inspections, surveys, reports                  the time the policy was issued. On each
                   or recommendations we may make rela-                        renewal, continuation or anniversary of
                   tive to certification, under state or mu-                   the effective date of this policy, we will
                   nicipal statutes, ordinances or regula-                     compute the premium in accordance with
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                   tions, of boilers, pressure vessels or                      our rates and rules then in effect.
                   elevators.                                             3.   With our consent, you may continue this
         F.   Insurance Under Two Or More Coverages                            policy in force by paying a continuation
              If two or more of this policy’s coverages ap-                    premium for each successive one-year
98




              ply to the same loss or damage, we will not                      period. The premium must be:
              pay more than the actual amount of the loss                      a.   Paid to us prior to the anniversary
              or damage.                                                            date; and
         G.   Liberalization                                                   b.   Determined in accordance with Para-
              If we adopt any revision that would broaden                           graph 2. above.
              the coverage under this policy without addi-                     Our forms then in effect will apply. If you
              tional premium within 45 days prior to or dur-                   do not pay the continuation premium,
              ing the policy period, the broadened coverage                    this policy will expire on the first anniver-
              will immediately apply to this policy.                           sary date that we have not received the
                                                                               premium.




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                4.   Undeclared exposures or change in your                     b.   After a loss to your Covered Property
                     business operation, acquisition or use of                       only if, at time of loss, that party is
                     locations may occur during the policy pe-                       one of the following:
                     riod that are not shown in the Declara-                         (1) Someone insured by this insur-
                     tions. If so, we may require an additional                          ance;
                     premium. That premium will be deter-
                                                                                     (2) A business firm:
                     mined in accordance with our rates and
                     rules then in effect.                                                (a) Owned or controlled by you;
                                                                                              or
           J.   Premium Audit
                                                                                          (b) That owns or controls you;
                1.   This policy is subject to audit if a premi-
                                                                                              or
                     um designated as an advance premium is
                     shown in the Declarations. We will com-                         (3) Your tenant.
                     pute the final premium due when we de-                     You may also accept the usual bills of
                     termine your actual exposures.                             lading or shipping receipts limiting the li-
58899809




                2.   Premium shown in this policy as advance                    ability of carriers.
                     premium is a deposit premium only. At                      This will not restrict your insurance.
                     the close of each audit period, we will               2.   Applicable   to Businessowners      Liability
                     compute the earned premium for that pe-                    Coverage:
                     riod and send notice to the first Named
                                                                                If the insured has rights to recover all or
                     Insured. The due date for audit premiums
002260




                                                                                part of any payment we have made under
                     is the date shown as the due date on the
                                                                                this policy, those rights are transferred to
                     bill. If the sum of the advance and audit
                                                                                us. The insured must do nothing after
                     premiums paid for the policy period is
                                                                                loss to impair them. At our request, the
                     greater than the earned premium, we will
                                                                                insured will bring "suit" or transfer those
                     return the excess to the first Named In-
                                                                                rights to us and help us enforce them.
                     sured.
                                                                                This condition does not apply to Medical
                3.   The first Named Insured must keep
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                                                                                Expenses Coverage.
                     records of the information we need for
                                                                      L.   Transfer Of Your Rights And Duties Under
                     premium     computation   and send us
                                                                           This Policy
                     copies at such times as we may request.
                                                                           Your rights and duties under this policy may
           K.   Transfer Of Rights Of Recovery Against Oth-
                                                                           not be transferred without our written con-
                ers To Us
                                                                           sent except in the case of death of an individ-
                1.   Applicable   to Businessowners    Property            ual Named Insured.
                     Coverage:
                                                                           If you die, your rights and duties will be trans-
                     If any person or organization to or for               ferred to your legal representative but only
                     whom we make payment under this poli-                 while acting within the scope of duties as
                     cy has rights to recover damages from                 your legal representative. Until your legal re-
                     another, those rights are transferred to us           presentative is appointed, anyone having
                     to the extent of our payment. That person             proper temporary custody of your property
                     or organization must do everything nec-
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                                                                           will have your rights and duties but only with
                     essary to secure our rights and must do               respect to that property.
                     nothing after loss to impair them. But you
                     may waive your rights against another
                     party in writing:
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                     a.   Prior to a loss to your Covered Prop-
                          erty.




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                                                                                                      BUSINESSOWNERS
                                                                                                           BP 01 89 03 15

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 NEW JERSEY CHANGES
         This endorsement modifies insurance provided under the following:

              BUSINESSOWNERS COVERAGE FORM
              INFORMATION SECURITY PROTECTION ENDORSEMENT

         A.   Section I - Property is amended as follows:                          a.     A list or other record of each
              The following exclusion and related provi-                                  "occurrence" of which we were
              sions are added to Paragraph B. Exclusions:                                 notified in accordance with Para-
                                                                                          graph 2.a. of the Duties In The
              Domestic Violence Exclusion                                                 Event Of Occurrence, Offense,
                   a.   We will not pay for loss or damage                                Claim Or Suit Condition in this
                        arising out of any act committed:                                 Section. We will include a brief
                        (1) By or at the direction of any in-                             description of the "occurrence"
                            sured; and                                                    and information on whether any
                                                                                          claim arising out of the "occur-
                        (2) With the intent to cause a loss.                              rence" is open or closed.
                   b.   However, this exclusion will not ap-                       b.     A summary by policy year, of
                        ply to deny payment to a co-insured                               payments made and amounts re-
                        who did not cooperate in or contri-                               served, stated separately under
                        bute to the creation of the loss if the                           any applicable Aggregate Limit.
                        loss arose out of domestic violence.
                                                                                    Amounts reserved are based on our
                   c.   If we pay a claim pursuant to Para-                         judgment.    They are subject to
                        graph b. above, our payment to the                          change and should not be regarded
                        insured is limited to that insured’s in-                    as ultimate settlement values.
                        surable interest in the property. In no
                        event will we pay more than the Lim-                        You must not disclose this informa-
                        it of Insurance.                                            tion to any claimant or any claim-
                                                                                    ant’s representative without our con-
                   To the extent that the Concealment, Mis-                         sent.
                   representation Or Fraud Condition con-
                   flicts with the provisions of Paragraph b.                       We will provide this information only
                   above, the provisions of b. will apply.                          if we receive a written request from
                                                                                    the first Named Insured during the
         B.   Section II - Liability is amended as follows:                         policy period. We will provide this in-
              1.   The term "spouse" is replaced by the fol-                        formation within 45 days of receipt
                   lowing:                                                          of the request.
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                   Spouse or party to a civil union recog-                          We compile claim and "occurrence"
                   nized under New Jersey law.                                      information for our own business
              2.   The following is added to Paragraph E.                           purposes and exercise reasonable
                   Liability And Medical Expenses General                           care in doing so. In providing this in-
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                   Conditions:                                                      formation to the first Named Insured,
                                                                                    we make no representations or war-
                   6.   Your Right To Loss Information                              ranties to insureds, insurers or oth-
                        We will provide the first Named In-                         ers to whom this information is fur-
                        sured shown in the Declarations the                         nished by or on behalf of any
                        following loss information relating to                      insured.
                        this and any preceding Business-
                        owners Liability Coverage Form we
                        have issued to you during the pre-
                        vious three years:




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           C.   Section III - Common Policy Conditions            is                                      individual,    corpo-
                amended as follows:                                                                       rate, partnership or
                1.   Paragraph A.2. Cancellation is replaced                                              other insured that
                     by the following:                                                                    will   increase the
                                                                                                          probability of such
                     2.   If this Policy has been in effect for                                           a loss or liability
                          less than 60 days, we may cancel this                                           may be considered
                          Policy for any reason subject to the                                            a ’moral hazard’."
                          following:
                                                                                             (2) 30 days before the effective
                          a.   We may cancel this Policy by                                      date of cancellation if we
                               mailing or delivering to the first                                cancel for any other reason.
                               Named Insured and any person
                               entitled to notice under this Poli-                      b.   In the notice of cancellation
                               cy written notice, of cancellation,                           which is sent to the first Named
                               at least:                                                     Insured, we will state the reason
58899809




                                                                                             for cancellation.
                               (1) 10 days before the effective
                                   date of cancellation if we                 2.   The following    is added to Paragraph A.
                                   cancel for:                                     Cancellation:

                                   (a) Nonpayment       of premi-                  7.   Cancellation Of Policies In Effect For
                                       um; or                                           60 Days Or More
002260




                                   (b) Existence of a moral                             a.   If this Policy has been in effect
                                       hazard, as defined in                                 for 60 days or more, or is a re-
                                       N.J.A.C. 11:1-20.2(f) as                              newal of a policy we issued, we
                                       follows:                                              may cancel this Policy only for
                                                                                             one or more of the following rea-
                                        (i)   "The risk, danger or                           sons:
                                              probability that the
                                                                                             (1) Nonpayment of premium;
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                                              insured    will   de-
                                              stroy, or permit to                            (2) Existence of a moral hazard,
                                              be destroyed, the                                  as defined      in  N.J.A.C.
                                              insured property for                               11:1-20.2(f);
                                              the purpose of col-                            (3) Material misrepresentation
                                              lecting the insur-                                 or nondisclosure to us of a
                                              ance proceeds. Any                                 material fact at the time of
                                              change in the cir-                                 acceptance of the risk;
                                              cumstances of an
                                              insured that will in-                          (4) Increased hazard or material
                                              crease the probabil-                               change in the risk assumed
                                              ity of such a de-                                  which we could not have
                                              struction   may be                                 reasonably contemplated at
                                              considered a ’moral                                the time of assumption of
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                                              hazard’; and                                       the risk;

                                        (ii) "The       substantial                          (5) Substantial     breaches    of
                                             risk,   danger       or                             contractual    duties, condi-
                                             probability that the                                tions or warranties that ma-
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                                             character,    circum-                               terially  affect the nature
                                             stances or personal                                 and/or insurability    of the
                                             habits of the in-                                   risk;
                                             sured may increase                              (6) Lack of cooperation from the
                                             the possibility      of                             insured on loss control mat-
                                             loss or liability for                               ters materially affecting in-
                                             which an insurer                                    surability of the risk;
                                             will be held respon-                            (7) Fraudulent acts against us
                                             sible. Any change in                                by the insured or its repre-
                                             the character or cir-                               sentative that materially af-
                                             cumstances of an                                    fect the nature of the risk in-
                                                                                                 sured;


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                          (8) Loss of      or reduction  in                             (14) Any other reasons in accor-
                              available    insurance capac-                                  dance with our underwriting
                              ity;                                                           guidelines for cancellation
                          (9) Material increase in expo-                                     of commercial lines cover-
                              sure arising out of changes                                    age.
                              in statutory or case law sub-                      b.     If we cancel this Policy based on
                              sequent to the issuance of                                Paragraph 7.a.(1) or (2) above,
                              the insurance contract or                                 we will mail or deliver a written
                              any subsequent renewal;                                   notice, to the first Named In-
                          (10) Loss   of  or    substantial                             sured and any person entitled to
                               changes in applicable rein-                              notice under this Policy, at least
                               surance;                                                 10 days before the effective date
                                                                                        of cancellation. If we cancel this
                          (11) Failure by the insured to                                Policy for any other reason listed
                               comply with any federal,                                 above, we will mail or deliver a
                               state or local fire, health,                             written notice to the first Named
                               safety or building or con-                               Insured and any person entitled
                               struction regulation, law or                             to notice under this Policy, not
                               ordinance with respect to an                             more than 120 days nor less than
                               insured risk which substan-                              30 days before the effective date
                               tially increases any hazard                              of such cancellation.
                               insured against within 60
                               days of written notification                      c.     In the notice of cancellation
                               of a violation of any such                               which is sent to the first Named
                               law, regulation      or ordi-                            Insured, we will state the reason
                               nance;                                                   for cancellation. For cancellation
                                                                                        due to the nonpayment of pre-
                          (12) Failure   by the insured to                              mium, the notice will state the
                               provide   reasonable and nec-                            effect of nonpayment by the due
                               essary    underwriting  infor-                           date. Cancellation for nonpay-
                               mation    to us upon written                             ment of premium will not be ef-
                               request   therefor and a rea-                            fective if payment of the amount
                               sonable    opportunity to re-                            due is made before the effective
                               spond;                                                   date set forth in the notice.
                          (13) Agency     termination,   pro-                    d.     Notice will be sent to the last
                               vided:                                                   mailing addresses known to us,
                              (a) We     document       that                            by:
                                  replacement      coverage                             (1) Certified mail; or
                                  at comparable rates and
                                  terms has been pro-                                   (2) First class mail, if we have
                                  vided to the first Named                                  obtained from the post of-
                                                                                            fice a date stamped proof of
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                                  Insured, and we have in-
                                  formed the first Named                                    mailing showing names and
                                  Insured, in writing, of                                   addresses.
                                  the right to continue                          e.     We need not send notice of can-
                                  coverage with us; or                                  cellation if you have:
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                              (b) We have informed the                                  (1) Replaced     coverage    else-
                                  first Named Insured, in                                   where; or
                                  writing, of the right to                              (2) Specifically requested termi-
                                  continue coverage with                                    nation.
                                  us and the first Named
                                  Insured has agreed, in
                                  writing, to the cancella-
                                  tion    or   nonrenewal
                                  based on the termina-
                                  tion of the first Named
                                  Insured’s      appointed
                                  agent.

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               3.   The following paragraph is added and                                    This provision shall not apply to
                    supersedes any other provision to the                                   any policy which has been in ef-
                    contrary:                                                               fect for less than 60 days at the
                    M.   Nonrenewal                                                         time notice of cancellation is
                                                                                            mailed or delivered, unless the
                         1.   We may elect not to renew this                                Policy is a renewal policy.
                              Policy for any reason permitted
                              to cancel it. If we elect not to re-                     5.   The following is added to Para-
                              new this Policy, we will mail a                               graph K. Transfer Of Rights Of
                              notice of nonrenewal, stating the                             Recovery Against Others To Us
                              reasons for nonrenewal, to the                                Condition:
                              first Named Insured at least 30                               If we pay a co-insured for loss
                              days but not more than 120 days                               arising out of an act of domestic
                              before the expiration date of this                            violence by another insured, the
                              Policy. If this Policy does not                               rights of the co-insured, who did
58899809




                              have a fixed expiration date, it                              not cooperate in or contribute to
                              shall be deemed to expire annu-                               the creation of the loss, to recov-
                              ally on the anniversary of its in-                            er damages from the perpetrator
                              ception.                                                      of domestic violence are trans-
                         2.   This notice will be sent to the                               ferred to us to the extent of our
                                                                                            payment. Following the loss, the
002260




                              first Named Insured at the last
                              mailing address known to us by:                               co- insured who did not cooper-
                                                                                            ate in or contribute to the loss
                              a.   Certified mail; or                                       may not waive such rights to re-
                              b.   First class mail, if we have                             cover against the perpetrator of
                                   obtained from the post of-                               domestic violence.
                                   fice a date stamped proof of         D.   The following changes apply only to Informa-
                                   mailing showing the first                 tion Security Protection Endorsement BP 15
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                                   Named Insured’s name and                  07 if it is attached to this Policy:
                                   address.
                                                                             1.   Paragraph (2) of Insuring Agreement d.
                         3.   We need not mail or deliver this                    Security Breach Liability is replaced by
                              notice if you have:                                 the following:
                              a.   Replaced    coverage       else-                    (2) We will pay for "defense ex-
                                   where; or                                               penses" as a result of a "claim"
                              b.   Specifically requested termi-                           in the form of a "regulatory pro-
                                   nation.                                                 ceeding" first made against the
                         4.   The following       paragraph      is                        insured during the "policy peri-
                              added:                                                       od" or during the applicable Ex-
                                                                                           tended Reporting Period, in re-
                              Pursuant to New Jersey law, this                             sponse to a "wrongful act" or a
                              Policy cannot be cancelled or                                series of "interrelated wrongful
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                              nonrenewed           for       any                           acts" covered under Paragraph
                              underwriting reason or guideline                             d.(1).
                              which is arbitrary, capricious or
                              unfairly discriminatory or with-               2.   Paragraph d. of the definition of "loss" in
                                                                                  Paragraph V. is replaced by the follow-
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                              out adequate prior notice to the
                              insured. The underwriting rea-                      ing:
                              sons or guidelines that an insur-                   d.   With respect to Insuring Agreements
                              er can use to cancel or nonrenew                         d. Security Breach Liability and g.
                              this Policy are maintained by the                        Web Site Publishing Liability:
                              insurer in writing and will be fur-                      Compensatory damages, settlement
                              nished to the insured and/or the                         amounts and costs awarded pursu-
                              insured’s lawful representative                          ant to judgments or settlements.
                              upon written request.




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                     "Loss" does not include:
                     (1) Civil or criminal fines or penal-
                         ties imposed by law;
                     (2) Punitive or exemplary damages;
                     (3) The multiplied portion of multi-
                         plied damages;
                     (4) Taxes;
                     (5) Royalties;
                     (6) The amount    of any disgorged
                         profits; or
                     (7) Matters that are uninsurable pur-
                         suant to law.
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           POLICY NUMBER:                                                                            BUSINESSOWNERS
                                                                                                          BP 04 09 07 13

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        ADDITIONAL INSURED - MORTGAGEE,
                                              ASSIGNEE OR RECEIVER

           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS COVERAGE FORM


                                                               SCHEDULE
58899809




           Name Of Person(s) Or Organization(s):
           Bank of America NA ISAOA ATIMA

           70 Batterson Park Road
002260




           CT2-515-BB-11
           FARMINGTON, CT 06032

           Designation Of Premises:
           10-12 Embroidery St
435




           Sayreville
           NJ
           08872-1809

           Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


           Section II - Liability is amended as follows:               B.   This insurance does not apply to structural
           A.   The following is added to Paragraph C. Who                  alterations, new construction and demolition
                Is An Insured:                                              operations performed by or for that person or
                                                                            organization.
                3.   The person(s) or organization(s) shown
                     in the Schedule is also an additional in-         C.   With respect to the insurance afforded to
                     sured, but only with respect to liability as           these additional insureds, the following is
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                     mortgagee, assignee or receiver and aris-              added to Paragraph D. Liability And Medical
                     ing out of the ownership, maintenance or               Expenses Limits Of Insurance:
                     use of the premises by you and as shown                If coverage provided to the additional insured
                     in the Schedule.                                       is required by a contract or agreement, the
                                                                            most we will pay on behalf of the additional
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                     However:
                                                                            insured is the amount of insurance:
                     a.   The insurance afforded to such addi-
                          tional insured only applies to the ex-            1.   Required by the contract or agreement;
                          tent permitted by law; and                             or
                     b.   If coverage provided to the addition-             2.   Available under the applicable Limits Of
                          al insured is required by a contract or                Insurance shown in the Declarations;
                          agreement, the insurance afforded to              whichever is less.
                          such additional insured will not be               This endorsement shall not increase the ap-
                          broader than that which you are re-               plicable Limits Of Insurance shown in the
                          quired by the contract or agreement               Declarations.
                          to provide for such additional in-
                          sured.


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                                                                                                    BUSINESSOWNERS
                                                                                                         BP 04 17 01 10

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EMPLOYMENT - RELATED PRACTICES EXCLUSION

         This endorsement modifies insurance provided under the following:

             BUSINESSOWNERS COVERAGE FORM

         The following exclusion is added to Paragraph                            (2) The spouse, child, parent, broth-
         B.1. Exclusions - Applicable To Business Liability                           er or sister of that person as a
         Coverage in Section II - Liability:                                          consequence of "bodily injury"
                      This insurance does not apply to                                or "personal and advertising in-
                      "bodily injury" or "personal and ad-                            jury" to that person at whom any
                      vertising injury" to:                                           of the employment-related prac-
                                                                                      tices described in Paragraph (a),
                     (1) A person arising out of any:
                                                                                      (b) or (c) above is directed.
                           (a) Refusal to employ that per-
                                                                                   This exclusion applies:
                               son;
                                                                                  (1) Whether      the    injury-causing
                           (b) Termination of that person’s
                                                                                      event described in Paragraph (a),
                               employment; or
                                                                                      (b) or (c) above occurs before
                           (c) Employment-related         prac-                       employment,      during    employ-
                               tices, policies, acts or omis-                         ment or after employment of
                               sions, such as coercion, de-                           that person;
                               motion,             evaluation,
                                                                                  (2) Whether the insured may be lia-
                               reassignment,        discipline,
                                                                                      ble as an employer or in any oth-
                               defamation,       harassment,
                                                                                      er capacity; and
                               humiliation,    discrimination
                               or malicious prosecution di-                       (3) To any obligation to share dam-
                               rected at that person; or                              ages with or repay someone else
                                                                                      who must pay damages because
                                                                                      of the injury.
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           POLICY NUMBER:                                                                                BUSINESSOWNERS
                                                                                                              BP 04 19 07 13

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            AMENDMENT - LIQUOR LIABILITY EXCLUSION -
                         EXCEPTION FOR SCHEDULED PREMISES OR ACTIVITIES

           This endorsement modifies insurance provided under the following:
               BUSINESSOWNERS COVERAGE FORM

                                                               SCHEDULE

           Description Of Premises Or Activities:
58899809
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           Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


           Paragraph 1.c. under B. Exclusions in Section II -                   This exclusion applies only if you:
           Liability is replaced by the following:                                  (a) Manufacture, sell or distribute
               c.   Liquor Liability                                                    alcoholic beverages;
                    "Bodily injury" or "property damage" for                        (b) Serve or furnish alcoholic bever-
                    which any insured may be held liable by                             ages for a charge whether or not
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                    reason of:                                                          such activity:
                    (1) Causing or contributing to the intoxi-                             (i)   Requires a license;
                        cation of any person, including                                    (ii) Is for the purpose of finan-
                        causing or contributing to the intoxi-                                  cial gain or livelihood;
                        cation of any person because alco-
                                                                                    (c) Serve or furnish alcoholic bever-
                        holic beverages were permitted to be
                                                                                        ages without a charge, if a li-
                        brought on your premises, for con-
                                                                                        cense is required      for such
                        sumption on your premises;
                                                                                        activity; or
                    (2) The furnishing of alcoholic bever-
                                                                                    (d) Permit any person to bring any
                        ages to a person under the legal
                                                                                        alcoholic  beverages on your
                        drinking age or under the influence
                                                                                        premises, for consumption on
                        of alcohol; or
                                                                                        your premises.
                    (3) Any statute, ordinance or regulation
of 148




                                                                                However, this exclusion does not apply
                        relating to the sale, gift, distribution
                                                                                to "bodily injury" or "property damage"
                        or use of alcoholic beverages.
                                                                                arising out of:
                    This exclusion applies even if the claims
                                                                                    (a) The selling, serving or furnishing
                    allege negligence or other wrongdoing
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                                                                                        of alcoholic beverages at the
                    in:
                                                                                        specific activity described in the
                        (a) The supervision, hiring, employ-                            Schedule; or
                            ment, training or monitoring of
                                                                                    (b) Permitting any person to bring
                            others by an insured; or
                                                                                        any alcoholic beverages on the
                        (b) Providing or failing to provide                             premises    described  in   the
                            transportation   with respect to                            Schedule, for consumption on
                            any person that may be under                                the premises described in the
                            the influence of alcohol;                                   Schedule.
                    if the "occurrence"      which caused the
                    "bodily injury" or "property damage", in-
                    volved that which is described in Para-
                    graph (1), (2) or (3) above.

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                                                                                                           BUSINESSOWNERS
                                                                                                                BP 05 17 01 06

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                EXCLUSION - SILICA OR SILICA- RELATED DUST
         This endorsement modifies insurance provided under the following:

              BUSINESSOWNERS COVERAGE FORM

         A.   The following exclusion is added to Para-                             4.   Any loss, cost or expense arising, in
              graph B. Exclusions in Section II - Liability:                             whole or in part, out of the abating,
              B.   Exclusions                                                            testing for, monitoring, cleaning up,
                                                                                         removing,      containing,     treating,
                   This insurance does not apply to:
                                                                                         detoxifying, neutralizing, remediat-
                   SILICA OR SILICA-RELATED DUST                                         ing or disposing of, or in any way re-
                   1.   "Bodily injury"    arising, in whole or in                       sponding to or assessing the effects
                        part, out of       the actual, alleged,                          of, "silica" or "silica-related dust",
                        threatened or      suspected inhalation                          by any insured or by any other per-
                        of, or ingestion    of, "silica" or "silica-                     son or entity.
                        related dust".                                    B.   The following definitions are added to Para-
                   2.   "Property damage" arising, in whole                    graph F. Liability And Medical Expenses Defi-
                        or in part, out of the actual, alleged,                nitions in Section II - Liability:
                        threatened    or suspected contact                     1.   "Silica"     means       silicon    dioxide,
                        with, exposure to, existence of, or                         (occurring in crystalline, amorphous and
                        presence of, "silica" or "silica-relat-                     impure forms), silica particles, silica dust
                        ed dust".                                                   or silica compounds.
                   3.   "Personal and advertising injury"                      2.   "Silica-related dust" means a mixture or
                        arising, in whole or in part, out of the                    combination of silica and other dust or
                        actual, alleged, threatened or sus-                         particles.
                        pected inhalation of, ingestion of,
                        contact with, exposure to, existence
                        of, or presence of, "silica" or "silica-
                        related dust".
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                                                                                                                  WAP 000121
         BP 05 17 01 06                                    ISO Properties, Inc., 2005                                Page 1 of 1
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                                                                                                      BUSINESSOWNERS
                                                                                                           BP 05 23 01 15

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           CAP ON LOSSES FROM CERTIFIED
                                                ACTS OF TERRORISM

           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS COVERAGE FORM

           The following provisions are added to the Bus-                   If aggregate insured losses attributable to ter-
           inessowners Policy and apply to Property and Li-                 rorist acts certified under the Terrorism Risk
58899809




           ability Coverages:                                               Insurance Act exceed $100 billion in a calen-
           A.   CAP ON CERTIFIED TERRORISM LOSSES                           dar year and we have met our insurer deduct-
                                                                            ible under the Terrorism Risk Insurance Act,
                "Certified act of terrorism" means an act that
                                                                            we shall not be liable for the payment of any
                is certified by the Secretary of the Treasury,
                                                                            portion of the amount of such losses that ex-
                in accordance with the provisions of the fed-
002260




                                                                            ceeds $100 billion, and in such case insured
                eral Terrorism Risk Insurance Act, to be an act
                                                                            losses up to that amount are subject to pro
                of terrorism pursuant to such Act. The criteria
                                                                            rata allocation in accordance with procedures
                contained in the Terrorism Risk Insurance Act
                                                                            established by the Secretary of the Treasury.
                for a "certified act of terrorism" include the
                following:                                             B.   The terms and limitations of any terrorism ex-
                                                                            clusion, or the inapplicability or omission of a
                1.   The act resulted in insured losses in ex-
                                                                            terrorism exclusion, do not serve to create
                     cess of $5 million in the aggregate, attrib-
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                                                                            coverage for loss or injury or damage that is
                     utable to all types of insurance subject to
                                                                            otherwise excluded under this Policy.
                     the Terrorism Risk Insurance Act; and
                2.   The act is a violent act or an act that is
                     dangerous to human life, property or in-
                     frastructure and is committed by an in-
                     dividual or individuals as part of an effort
                     to coerce the civilian population of the
                     United States or to influence the policy or
                     affect the conduct of the United States
                     Government by coercion.
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                                                                                                     BUSINESSOWNERS
                                                                                                          BP 05 77 01 06

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 FUNGI OR BACTERIA EXCLUSION (LIABILITY)
         This endorsement modifies insurance provided under the following:

                   BUSINESSOWNERS COVERAGE FORM

         The following    provisions are added to Section II -                 (2) Any loss, cost or expenses arising
         Liability:                                                                out of the abating, testing for, moni-
                                                                                   toring, cleaning up, removing, con-
         A.   The following exclusion is added to Para-
                                                                                   taining, treating, detoxifying, neu-
              graph B.1., Exclusions - Applicable To Busi-
                                                                                   tralizing, remediating or disposing
              ness Liability Coverage:
                                                                                   of, or in any way responding to, or
              t.   Fungi or Bacteria                                               assessing the effects of, "fungi" or
                                                                                   bacteria, by any insured or by any
                   (1) "Bodily injury", "property damage"
                                                                                   other person or entity.
                       or "personal and advertising injury"
                       which would not have occurred, in                       This exclusion does not apply to any
                       whole or in part, but for the actual,                   "fungi" or bacteria that are, are on, or are
                       alleged or threatened inhalation of,                    contained in, a good or product intended
                       ingestion of, contact with, exposure                    for bodily consumption.
                       to, existence of, or presence of, any
                                                                     B.   The following definition is added to Para-
                       "fungi" or bacteria on or within a
                                                                          graph F. Liability And Medical Expenses Defi-
                       building or structure, including its
                                                                          nitions:
                       contents, regardless of whether any
                       other cause, event, material or prod-              1.   "Fungi" means any type or form of fun-
                       uct contributed concurrently or in                      gus, including mold or mildew and any
                       any sequence to such injury or dam-                     mycotoxins, spores, scents or by-pro-
                       age.                                                    ducts produced or released by fungi.
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                                                                                                              Page  1 of 1
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                                                                                                      BUSINESSOWNERS
                                                                                                           BP 15 04 05 14

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                EXCLUSION - ACCESS OR DISCLOSURE OF
                             CONFIDENTIAL OR PERSONAL INFORMATION AND
                                DATA-RELATED LIABILITY - WITH LIMITED
                                       BODILY INJURY EXCEPTION
           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS COVERAGE FORM

           A.   Exclusion B.1.q. of Section II - Liability is re-                    processing devices or any other re-
                                                                                     positories   of computer      software
58899809




                placed by the following:
                                                                                     which are used with electronically
                    This insurance does not apply to:                                controlled   equipment.     The term
                    q.   Access Or Disclosure Of Confiden-                           computer programs, referred to in
                         tial Or Personal Information And                            the foregoing description of electron-
                         Data-related Liability                                      ic data, means a set of related elec-
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                         (1) Damages, other than damages                             tronic instructions which direct the
                             because of "personal and adver-                         operations and functions of a com-
                             tising injury", arising out of any                      puter or device connected to it,
                             access to or disclosure of any                          which enable the computer or device
                             person’s or organization’s confi-                       to receive, process, store, retrieve or
                             dential or personal information,                        send data.
                             including patents, trade secrets,         B.   The following is added to Paragraph B.1.p.
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                             processing methods, customer                   Personal And Advertising Injury Exclusion of
                             lists, financial information, credit           Section II - Liability:
                             card information, health infor-                    This insurance does not apply to:
                             mation or any other type of
                             nonpublic information; or                          p.   Personal And Advertising Injury

                         (2) Damages arising out of the loss                         "Personal and advertising injury":
                             of, loss of use of, damage to,                          Arising out of any access to or disclo-
                             corruption of, inability to access,                     sure of any person’s or organiza-
                             or inability to manipulate elec-                        tion’s confidential or personal infor-
                             tronic data.                                            mation,    including   patents, trade
                         This exclusion applies even if dam-                         secrets, processing methods, cus-
                         ages are claimed for notification                           tomer lists, financial information,
                         costs, credit monitoring expenses,                          credit card information, health infor-
                                                                                     mation    or any other type of
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                         forensic expenses, public relations
                         expenses or any other loss, cost or                         nonpublic information.
                         expense incurred by you or others                           This exclusion applies even if dam-
                         arising out of that which is described                      ages are claimed for notification
                         in Paragraph (1) or (2) above.                              costs, credit monitoring expenses,
111




                         However, unless Paragraph (1) above                         forensic expenses, public relations
                         applies, this exclusion does not ap-                        expenses or any other loss, cost or
                         ply to damages because of "bodily                           expense incurred by you or others
                         injury".                                                    arising out of any access to or disclo-
                                                                                     sure of any person’s or organiza-
                         As used in this exclusion, electronic                       tion’s confidential or personal infor-
                         data means information,      facts or                       mation.
                         computer programs stored as or on,
                         created or used on, or transmitted to
                         or from computer software (includ-
                         ing systems and applications soft-
                         ware), on hard or floppy disks, CD-
                         ROMs, tapes, drives, cells, data

           BP 15 04 05 14                          Insurance Services Office, Inc., 2013                     WAP 000124
                                                                                                               Page  1 of 1
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                                                                                        POLICY NUMBER
                                                                                        BZW    (20) 58 89 98 09
                                                                                        Policy Period:
                                     General Endorsement                                From 10/01/2019 To 10/01/2020
                                                                                        12:01 am Standard Time
                                                                                        at Insured Mailing Location




                                  This Endorsement Changes The Policy. Please Read it Carefully.

                                  AMENDMENT OF CANCELLATION PROVISIONS
                                  Any term or provision of the Cancellation
                                  Conditions of the policy or any endorsment
                                  amending or replacing such Conditions is amended
                                  by the following:
                                  A. Our obligation to send notice to the person
                                  organization listed in the Schedule below will
                                  terminate at the earlier of the current policy
                                  period expiration or when you no longer have a
                                  legal or contractual obligation to such person
                                  or organization to maintain insurance coverage
                                  under a policy which requires that such person or
                                  organization be notified in the event of
                                  cancellation.
                                  Name: Township of Randolph and The MCCPC, 502
                                  Address: Millbrook Ave
                                  Randolph, NJ 07869
                                  Number of days advance notice: 30
                                  Name: County of Essex Risk Management Department
                                  Hall of Records/Room 510,465
                                  Dr Martin Luther King Blvd
                                  Newark, NJ 07102
                                  Number of days advance notice: 30
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         To report a claim, call your Agent or 1-800-362-0000

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                                                                                                          WAP 000125
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                                                                      POLICY NUMBER
                                                                      BZW    (20) 58 89 98 09
                                                                      Policy Period:
                                       General Endorsement            From 10/01/2019 To 10/01/2020
                                                                      12:01 am Standard Time
                                                                      at Insured Mailing Location
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           To report a claim, call your Agent or 1-800-362-0000

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                                                                                                                      BUSINESSOWNERS
                                                                                                                           BP 79 19 09 16

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    BUSINESSOWNERS PROPERTY EXTENSION ENDORSEMENT
         This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS COVERAGE FORM

         Below is a summarization of the coverages provided by this endorsement. No coverages are given by this
         summary. Actual coverage descriptions are within this endorsement.


                                                                                         LIMITS OF INSURANCE OR CHANGE
           SECTION                               SUBJECT                                           IN CONDITION
               A.    Business Personal Property                                      Legal Liability requirement deleted
                                                                                     Extended to 1,000 feet of premises
                          Undamaged Tenants Improvements                             Covered as Business Personal Property
                          And Betterments                                            Loss Payment Valuation
                          Leased Building Property                                   $    5,000

               B.    Property Not Covered                                            Stained Glass

               C.    Limitations
                        Fragile Articles Limitation                                  $      5,000 All Covered Causes of Loss

               D.    Additional Coverages broadened:
                       Preservation Of Property                                      60 days
                       Fire Department Service Charge                                $ 15,000
                       Business Income - Ordinary Payroll Expense
                       Business Income - Newly Acquired Locations                    $ 250,000 at each Newly Acquired
                                                                                     Premises / 60 days
                          Money Orders And Counterfeit Money                         $ 10,000
                          Forgery Or Alteration                                      Same as Employee Dishonesty limit
                          Increased Cost Of Construction
                          Business Income From Dependent Property                    $ 50,000 or 30 days Actual Loss
                                                                                     Sustained
                          Glass Expenses
                          Fire Extinguisher Systems Recharge Expense                 $     15,000
                          Electronic Data                                            $     25,000

               E.    Additional Coverages added:
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                       Computer Equipment                                            $ 25,000
                       Employee Dishonesty                                           $ 25,000
                       Employee Tools                                                $ 25,000
                       Money And Securities                                          $ 10,000 on premises / $5,000 off-
                                                                                     premises
114




                          Off-premises Power Failure                                 $ 25,000 / 24 hours
                          Ordinance Or Law                                           Included - Coverage 1 - Loss to the
                                                                                     Undamaged Property
                                                                                     $ 150,000
                                                                                     Coverage 2 - Demolition Cost Coverage
                                                                                     Coverage 3 - Increased Cost of Construction
                                                                                                  Coverage
                          Outdoor Signs                                              $ 25,000
                          Reward                                                     $ 10,000




                                                         2016 Liberty Mutual Insurance                                      WAP 000127
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                 F.    Coverage Extensions broadened:
                         Newly Acquired Or Constructed
                         Property
                            Building                                                   $1,000,000      up to 180 days
                            Business Personal Property                                 $ 500,000       up to 180 days
                         Personal Property Off-premises                                $ 25,000
                         Outdoor Property                                              All Covered     Causes Of Loss
                            Fences, retaining walls, radio and                         $ 25,000        aggregate
                            television antennas, trees and shrubs                      $    1,000      each tree, shrub or plant
                         Personal Effects                                              $ 15,000
                         Valuable Papers And Records                                   $ 25,000        on premises / $10,000 off-
                                                                                       premises
                            Accounts Receivable                                        $ 35,000        on premises / $5,000 off-
                                                                                       premises

                 G.    Coverage Extensions added:
58899809




                         Cellular Phones - Coverage                                    $    1,000
                         Fine Arts                                                     $ 10,000
                         Lock Replacement                                              Actual Loss Sustained
                         Loss Adjustment Expenses                                      $    5,000
                         Water Back-up And Sump Overflow                               $ 25,000
002260




                 H.    Limits Of Insurance
                          Coverages in addition to Limits of Insurance
                          Business Personal Property Limit - Seasonal                  33%
                          Increase

                 I.    Deductible
                         No more than $500 deductible
                         No deductible
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                         Deductible - Cellular Phones                                  $          50

                 J.    Property Loss Conditions
                          Amendment Loss Payment Provision
                          Brand And Labels                                             Included in Business Personal Property Limit
                          Consequential Loss To Stock                                  Included in Business Personal Property Limit

                 K.    Property Definitions
                          Period of Restoration
                          Fine Arts
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         Section I - Property is amended as follows:
         A.   Paragraph A.1.b. Business Personal Property is replaced by the following:
              b.   Business Personal Property located in or on the buildings at the described premises or in the open
                   (or in a vehicle) within 1,000 feet of the described premises, including:
                   (1) Property you own that is used in your business;
                   (2) Property of others that is in your care, custody or control, plus the cost of labor, materials or
                       services furnished or arranged by you on personal property of others;
                       Property of others coverage does not apply to Employee Tools except as provided under
                       Section E. of this endorsement.
                   (3) Tenants improvements and betterments.                   Improvements        and betterments        are fixtures, alter-
                       ations, installations or additions:
                       (a) Made a part of the building or structure you occupy but do not own; and
                       (b) You acquire or made at your expense but cannot legally remove;
                   (4) Leased personal property which you have a contractual responsibility                        to insure, unless other-
                       wise provided for under Paragraph 1.b.(2) ; and
                   (5) Exterior building glass, if you are a tenant and no Limit of Insurance is shown in the Declara-
                       tions for Building property. The glass must be owned by you or in your care, custody or control.
                   (6) Undamaged tenants improvements                 and betterments.
                       (a) Improvements and betterments coverage includes                          the portion      of improvements         and
                           betterments not damaged in a covered loss.
                       (b) We will pay for the portion of undamaged tenants improvements and betterments only if a
                           minimum of six months is required to repair or rebuild the building for your occupancy,
                           and only when your lease is cancelled:
                            (i)    By the lessor;
                            (ii) By a valid condition of your lease; and
                            (iii) Due to direct physical loss or damage by a Covered Cause of Loss to property at the
                                  premises stated in the Declarations.
                   (7) Leased Building Property, including but not limited to, building or doors, at a premises where
                       you are a tenant and are liable for such damage, unless coverage is otherwise provided for
                       above in Paragraph A.1.a. Covered Property - Buildings. The most we will pay for loss or
                       damage by a Covered Cause of Loss under this provision as respects leased Building Property
                       is $5,000 in any one occurrence. This provision does not apply to exterior glass and semi-
                       exterior glass (glass which is on the exterior of the insured premises, but which is interior to an
                       enclosed structure, i.e., an enclosed shopping mall), including all lettering and ornamentation.
         B.   The following is added to Section A.2. Property Not Covered:
              Stained Glass except as provided under Paragraph G.2. Fine Arts of this endorsement.
         C.   Paragraph A.4.b.(2) Limitations - Fragile articles is replaced by the following:
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              (2) We will not pay more than $5,000 for loss or damage to fragile articles such as glassware, statuary,
                  marbles, chinaware and porcelain, if broken, unless caused by a Covered Cause of Loss or building
                  glass breakage. This restriction does not apply to:
                   (a) Glass that is part of the exterior or interior of a building or structure;
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                   (b) Containers of property while held for sale;
                   (c) Photographic or scientific instrument lenses; or
                   (d) Fine Arts Coverage Extension.
         D.   Section A.5. Additional Coverages is modified as follows:
              1.   The 30 day limit shown in Paragraph A.5.b.(2) Preservation of Property is replaced by a 60 day
                   limit.
              2.   The $2,500 limit shown in Paragraph A.5.c. Fire Department Service Charge is replaced by a
                   $15,000 limit.
              3.   The 60 day limitation for ordinary payroll expense shown in Paragraph A.5.f.(1)(b) Business Income
                   does not apply.




                                                             2016 Liberty Mutual Insurance                                     WAP 000129
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               4.   The following is added to Paragraph A.5.f. Business Income:
                    (5) Newly Acquired Locations
                        (a) If this policy includes Business Income Coverage, you may extend your Business Income
                            Coverage to apply to property at a location you acquire other than at fairs or exhibitions .
                        (b) The most we will pay for loss or damage under this Extension is $250,000 at each location
                            in any one occurrence.
                        (c) Insurance under this Extension for each newly acquired location will end when any of the
                            following first occurs:
                            (i)    This policy expires;
                            (ii) 60 days expire after you acquire or begin to construct the property;
                            (iii) You report values to us; or
                            (iv) The property is more specifically insured.
               5.   The $1,000 limit shown in Paragraph A.5.j. Money Orders And "Counterfeit Money" is replaced by
58899809




                    a $10,000 limit.
               6.   Paragraph A.5.k.(4) Forgery Or Alteration is replaced by the following:
                    (4) The most we will pay for any loss, including legal expenses, under this Additional Coverage is
                        the greater of $25,000 or an amount equal to the Limit of Insurance for Employee Dishonesty
                        shown in the Declarations.
002260




               7.   Paragraph A.5.l. Increased Cost Of Construction does not apply. Refer to Paragraph E.6. - Ordi-
                    nance Or Law Coverage of this endorsement.
               8.   Paragraph A.5.m. Business Income From Dependent Properties is replaced by the following:
                    (1) We will pay for the actual loss of Business Income you sustain due to physical loss or damage
                        at the premises of a dependent property or secondary dependent property caused by or result-
                        ing from any Covered Cause of Loss.
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                        However, this Additional Coverage does not apply when the only loss to dependent property or
                        secondary dependent property is loss or damage to "electronic data", including destruction or
                        corruption of "electronic data". If the dependent property or secondary dependent property
                        sustains loss or damage to "electronic data" and other property, coverage under this Addi-
                        tional Coverage will not continue once the other property is repaired, rebuilt or replaced.
                        The most we will pay under this Additional Coverage is the lesser of:
                        (a) $50,000; or
                        (b) 30 days actual loss sustained after direct loss or damage to the property.
                    (2) We will reduce the amount of your Business Income loss, other than Extra Expense, to the
                        extent you can resume "operation" in whole or in part, by using any other available:
                        (a) Source of materials; or
                        (b) Outlet for your products.
                    (3) If you do not resume "operations", or do not resume "operations" as quickly as possible, we
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                        will pay based on the length of time it would have taken to resume "operations" as quickly as
                        possible.
                    (4) Dependent property means property owned by others whom you depend on to:
                        (a) Deliver materials or services to you, or to others for your account. But services does not
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                            mean water supply services, wastewater removal services, communication supply ser-
                            vices, or power supply services;
                        (b) Accept your products or services;
                        (c) Manufacture your products for delivery to your customers under contract for sale; or
                        (d) Attract customers to your business.
                        The dependent property must be located in the coverage territory of this policy.
                    (5) Secondary dependent property means an entity which is not owned or operated by a depen-
                        dent property and which;
                        (a) Delivers materials or services to a dependent property, which in turn are used by the
                            dependent property in providing materials or services to you; or



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                        (b) Accepts materials or services from a dependent property, which in turn accepts your ma-
                            terials or services.
                        A road, bridge, tunnel, waterway, airfield, pipeline or any other similar area or structure is not a
                        secondary dependent property
                        Any property which delivers any of the following                services is not a secondary dependent prop-
                        erty with respect to such services:
                            (i)    Water supply services;
                            (ii) Wastewater removal services;
                            (iii) Communication         supply services; or
                            (iv) Power supply services.
                        The secondary dependent property must be located in the coverage territory of this policy.
                   (6) The coverage period for Business Income under this Additional Coverage:
                        (a) Begins 72 hours after the time of direct physical loss or damage caused by or resulting
                            from any Covered Cause of Loss at the premises of the dependent property or secondary
                            dependent property; and
                        (b) Ends on the date when the property at the premises of the dependent property or secon-
                            dary dependent property should be repaired, rebuilt or replaced with reasonable speed and
                            similar quality.
                   (7) The Business Income coverage period as stated in Paragraph (5), does not include any in-
                       creased period required due to the enforcement of or compliance with any ordinance or law
                       that:
                        (a) Regulates the construction, use or repair, or requires the tearing down of any property; or
                        (b) Requires any insured or others to test for, monitor, clean up, remove, contain, treat, de-
                            toxify or neutralize, or in any way respond to, or assess the effects of " pollutants".
                        The expiration date of this policy will not reduce the Business Income coverage period.
                   (8) The definition of Business Income contained in the Business Income Additional Coverage also
                       applies to this Business Income from Dependent Properties Additional Coverage.
              9.   Paragraph A.5.n. Glass Expenses is replaced by the following:
                   We will pay for direct physical loss of or damage to glass, including lettering or ornamentation,
                   which is part of or contained in a covered building or structure at the described premises. The glass
                   must be owned by you, or owned by others but in your care, custody or control. We will also pay for
                   necessary:
                   (1) Expenses incurred to put up temporary plates or board up openings if repair or replacement of
                       damaged glass is delayed;
                   (2) Repair or replacement of encasing frames; and
                   (3) Expenses incurred to remove or replace obstructions when repairing or replacing glass that is
                       part of a building. This does not include removing or replacing window displays.
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              10. Paragraph A.5.o. Fire Extinguisher Systems Recharge Expense is replaced by the following:
                   (1) We will pay:
                        (a) The cost of recharging or replacing, whichever is less, your fire extinguishers and fire
                            extinguishing systems (including hydrostatic testing if needed) if they are discharged on or
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                            within 1,000 feet of the described premises; and
                        (b) For loss or damage to Covered Property if such loss or damage is the result of an acciden-
                            tal discharge of chemicals from a fire extinguisher or a fire extinguishing system.
                   (2) No coverage will apply if the fire extinguishing                 system is discharged during installation       or
                       testing.
                   (3) The most we will pay under this Additional Coverage is $15,000 in any one occurrence.
              11. The $10,000 limit shown in Paragraph A.5.p.(3) Electronic Data is replaced by a $25,000 limit.
         E.   The following is added to Section A.5 Additional Coverages:
              1.   Computer Equipment
                   a.   We will pay for direct loss of or damage to Computer Equipment resulting from direct physical
                        loss or damage by a Covered Cause of Loss at the premises described in the Declarations.


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                    b.   The most we will pay for loss under this Additional Coverage is $25,000 in any one occurrence.
                         Our payment will only be for the account of the owner of the computer equipment.
               2.   Employee Dishonesty
                    a.   We will pay for direct loss of or damage to Business Personal Property and "money" and
                         "securities" resulting from dishonest acts committed by any of your employees acting alone or
                         in collusion with other persons (except you or your partner) with the manifest intent to:
                         (1) Cause you to sustain loss or damage; and also
                         (2) Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions,
                             awards, profit sharing, pensions or other employee benefits earned in the normal course of
                             employment) for;
                             (a) Any employee; or
                             (b) Any other person or organization.
                    b.   We will not pay for loss or damage:
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                         (1) Resulting from any dishonest or criminal act that you or any of your partners or "mem-
                             bers" commit whether acting alone or in collusion with other persons.
                         (2) Resulting from any dishonest act committed by any of your employees (except as provided
                             in Paragraph a. ), "managers" or directors:
                             (a) Whether acting alone or in collusion with other persons; or
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                             (b) While performing services for you or otherwise.
                         (3) The only proof of which as to its existence or amount is:
                             (a) An inventory computation;           or
                             (b) A profit and loss computation.
                         (4) Caused by an employee if the employee had also committed theft or any other dishonest
                             act prior to the effective date of this policy and you or any of your partners, "members",
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                             "managers", officers, directors or trustees, not in collusion with the employee, learned of
                             that theft or dishonest act prior to the policy period shown in the Declarations.
                    c.   The most we will pay for loss or damage in any one occurrence is:
                         (1) $25,000; or
                         (2) The Limit of Insurance for Employee Dishonesty shown in the Declarations;
                         whichever is greater.
                    d.   All loss or damage:
                         (1) Caused by one or more persons; or
                         (2) Involving a single or series of related acts;
                         is considered one occurrence.
                    e.   If any loss is covered:
                         (1) Partly by this insurance; and
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                         (2) Partly by any prior cancelled or terminated insurance that we or any affiliate has issued to
                             you or any predecessor in interest;
                         the most we will pay is the larger of the amount recoverable under this insurance or the prior
                         insurance.
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                         We will pay only for loss or damage you sustain through acts committed or events occurring
                         during the policy period. Regardless of the number of years this policy remains in force or the
                         number of premiums paid, no Limit of Insurance cumulates from year to year or period to
                         period.
                    f.   This Additional Coverage is cancelled as to any employee immediately upon discovery by:
                         (1) You; or
                         (2) Any of your partners, "members",             "managers",      officers or directors not in collusion with
                             the employee;
                         of any dishonest act committed by that employee before or after being hired by you.
                    g.   We will pay only for covered loss or damage sustained during the policy period and discovered
                         no later than one year from the end of the policy period.


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                 h.   If you (or any predecessor in interest) sustained loss or damage during the policy period of any
                      prior insurance that you could have recovered under that insurance except that the time within
                      which to discover loss or damage had expired, we will pay for it under this Additional Cov-
                      erage, provided:
                      (1) This Additional Coverage became effective at the time of cancellation or termination of the
                          prior insurance; and
                      (2) The loss or damage would have been covered by this Additional Coverage had it been in
                          effect when the acts or events causing the loss or damage were committed or occurred.
                 i.   The insurance under Paragraph h. above is part of, not in addition to, the Limit of Insurance
                      applying to this Additional Coverage and is limited to the lesser of the amount recoverable
                      under:
                      (1) This Additional Coverage as of its effective date; or
                      (2) The prior insurance had it remained in effect.
                 j.   With respect to the Employee Dishonesty Additional Coverage Paragraph E.2. of this endorse-
                      ment, employee means:
                      (1) Any natural person:
                          (a) While in your service or for 30 days after termination of service;
                          (b) Who you compensate directly by salary, wages or commissions;                      and
                          (c) Who you have the right to direct and control while performing services for you;
                      (2) Any natural person who is furnished temporarily to you:
                          (a) To substitute for a permanent employee as defined in Paragraph (1) above, who is on
                              leave; or
                          (b) To meet seasonal or short-term workload conditions;
                      (3) Any natural person who is leased to you under a written agreement between you and a
                          labor leasing firm, to perform duties related to the conduct of your business, but does not
                          mean a temporary employee as defined in Paragraph (2) above;
                      (4) Any natural person who is a former employee, director, partner, "member", "manager",
                          representative or trustee retained as a consultant while performing services for you; or
                      (5) Any natural person who is a guest student or intern pursuing studies or duties, excluding,
                          however, any such person while having care and custody of property outside any building
                          you occupy in conducting your business.
                      But employee does not mean;
                      (1) Any agent, broker, factor, commission merchant, consignee, independent                      contractor or
                          representative of the same general character; or
                      (2) Any "manager", director or trustee except while performing                   acts coming within the usual
                          duties of an employee.
                 k.   This Additional Coverage replaces Paragraph G.3. Optional Coverages - Employee Dishonesty.
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                 l.   Paragraph B.2.f. Exclusions - Dishonesty does not apply to coverage for employees as pro-
                      vided by this Additional Coverage.
                 m. Theft Of Clients’ Property Coverage
                      (1) We will also pay for loss of or damage to "money", "securities" and "other property"
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                          which was located at your clients’ premises, and your client owned, leased, or held for
                          others at the time of loss or damage, resulting directly from theft committed by any of your
                          employees, acting alone or in collusion with other persons.
                          However, this insurance is for your benefit only. It provides no rights or benefits to any
                          other person or organization, including your client. Any claim for loss that is covered under
                          this coverage must be presented by you.
                      (2) The most we will pay for covered loss or damage under this Additional Coverage is $5,000,
                          unless a higher Theft of Clients’ Property Coverage Limit of Insurance is shown in the
                          Declarations.
                      (3) We will not pay for any covered loss or damage until the amount of covered loss or
                          damage exceeds $250 in any one occurrence. We will then pay the amount of covered loss
                          or damage in excess of this deductible amount up to the applicable Limit of Insurance. No
                          other deductible applies to this Theft of Clients’ Property Coverage.

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                         (4) As used in the Theft Of Clients’ Property Coverage, "other property" means any tangible
                             property other than "money" and "securities " that has intrinsic value, but does not in-
                             clude any property described under subparagraphs a., c., d., f., h. and i. of Section A.2.
                             Property Not Covered.
               3.   Employee Tools
                    We will pay for loss of or damage to tools owned by your employees located on the described
                    premises or in transit resulting from a Covered Caused of Loss.
                    The most we will pay for loss under this Additional Coverage is $25,000 or the Limit of Insurance
                    shown in the Declarations in any one occurrence. Our payment will only be for the account of the
                    owner of the tools.
               4.   Money And Securities
                    a.   We will pay for loss of "money" and "securities" used in your business while at a bank or
                         savings institution, within your living quarters or the living quarters of your partners or any
                         employee (including a temporary or leased employee) having use and custody of the property,
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                         at the described premises, or in transit between any of these places, resulting directly from:
                         (1) Theft, meaning any act of stealing;
                         (2) Disappearance; or
                         (3) Destruction.
                    b.   In addition to the limitations     and exclusions applicable to Section I - Property , we will not pay
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                         for loss:
                         (1) Resulting from accounting or arithmetical errors or omissions;
                         (2) Due to the giving or surrendering of property in any exchange or purchase; or
                         (3) Of property contained in any "money" operated device unless the amount of "money"
                             deposited in it is recorded by a continuous recording instrument in the device.
                    c.   The most we will pay for loss in any one occurrence is:
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                         (1) $10,000 for Inside the Premises for "money"              and "securities"     while:
                              (a) In or on the described premises; or
                              (b) Within a bank or savings institution;         and
                         (2) $5,000 for Outside the Premises for "money"              and "securities"     while anywhere else; or
                         (3) The Limit of Insurance for Money And Securities shown in the Declarations;
                         whichever is greater.
                    d.   All loss:
                         (1) Caused by one or more persons; or
                         (2) Involving a single act or series of related acts;
                         is considered one occurrence.
                    e.   You must keep records of all "money"           and "securities"      so we can verify the amount of any loss
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                         or damage.
                    f.   This Additional Coverage replaces Paragraph G.2. Optional Coverages - Money And Securities.
               5.   Off-premises Power Failure
                    We will pay up to $25,000 for loss of Business Income and Extra Expense caused by the failure of
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                    power or other utility service supplied to the described premises if the failure occurs away from the
                    described premises.
                    The failure of power or other utility service must result from direct physical loss or damage by a
                    Covered Cause of Loss.
                    We will only pay for loss you sustain after the first 24 hours following the direct physical loss to the
                    off-premises property.
               6.   Ordinance Or Law Coverage
                    a.   The following    Additional Coverages apply only to covered buildings written on a replacement
                         cost basis.
                    b.   Application Of Coverage(s)
                         The Additional Coverage for Ordinance Or Law provided by this endorsement applies only if
                         both 6.b.(1) and 6.b.(2) are satisfied and are then subject to the qualifications set forth in 6.b.(3).

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                      (1) The ordinance or law:
                          (a) Regulates the demolition, construction or repair of buildings or tenants improvements
                              and betterments, or establishes zoning or land use requirements at the described
                              premises; and
                          (b) Is in force at the time of loss.
                          But coverage applies only in response to the minimum requirements of the ordinance or
                          law. Losses and costs incurred in complying with recommended actions or standards that
                          exceed actual requirements are not covered.
                      (2) The building or tenants improvements            and betterments sustain direct physical damage:
                          (a) That is covered under this policy and as a result of such damage, you are required to
                              comply with the ordinance or law; or
                          (b) That is covered under this policy and direct physical damage that is not covered under
                              this policy, and as a result of the building or tenants improvements and betterments
                              damage in its entirety, you are required to comply with the ordinance or law.
                          (c) But if the damage is not covered under this policy, and such damage is the subject of
                              the ordinance or law, then there is no coverage under this endorsement even if the
                              building or tenants improvements and betterments has also sustained covered direct
                              physical damage.
                      (3) In the situation described in 6.b.(2)(b) above, we will not pay the full amount of loss
                          otherwise payable under the terms of Coverages 1, 2 and/or 3 of this endorsement. Instead,
                          we will pay a proportion of such loss, meaning the proportion that the covered direct
                          physical damage bears to the total direct physical damage.
                          However, if the covered direct physical damage alone would have resulted in a require-
                          ment to comply with the ordinance or law, then we will pay the full amount of loss
                          otherwise payable under terms of Coverages 1, 2 and/or 3.
                 c.   We will not pay under Coverages 1, 2 or 3 for:
                      (1) Enforcement of or compliance with any ordinance or law which requires the demolition,
                          repair, replacement, reconstruction, remodeling or remediation of property due to con-
                          tamination by "pollutants" or due to the presence, growth, proliferation, spread of any
                          activity of "fungi", wet rot or dry rot; or
                      (2) The costs associated with the enforcement of or compliance with any ordinance or law
                          which requires any insured or others to test for, monitor, clean up, remove, contain treat,
                          detoxify or neutralize, or in any way respond to, or assess the effects of "pollutants",
                          "fungi", wet rot or dry rot.
                 d.   Coverage
                      (1) Coverage 1 - Coverage For Loss To The Undamaged Portion Of The Building or Tenants
                          Improvements And Betterments
                          With respect to the building or tenants improvements and betterments that has sustained
                          covered direct physical damage, we will pay under Coverage 1 for the loss in value of the
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                          undamaged portion of the building or tenants improvements and betterments as a con-
                          sequence of a requirement to comply with an ordinance or law that requires demolition of
                          undamaged parts of the same building or tenants improvements and betterments. Cov-
                          erage 1 is included within the Limit of Insurance shown in the Declarations as applicable to
                          the covered building. Coverage 1 does not increase the Limit of Insurance.
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                      (2) Coverage 2 - Demolition Cost Coverage
                          With respect to the building that has sustained covered direct physical damage, we will
                          pay the cost to demolish and clear the site of undamaged parts of the same building, as a
                          consequence of a requirement to comply with an ordinance or law that requires demolition
                          of such undamaged property.
                          Paragraph E.5.d. Loss Payment - Property Loss Condition does not apply to Demolit ion
                          Cost Coverage.
                      (3) Coverage 3 - Increased Cost Of Construction Coverage
                          With respect to the building that has sustained covered direct physical damage, we will
                          pay the increased cost to:
                          (a) Repair or reconstruct damaged portions of that building; and/or


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                            (b) Reconstruct or remodel            undamaged        portions     of that building,      whether   or not
                                demolition is required;
                            when the increased cost is a consequence of a requirement to comply with the minimum
                            standards of the ordinance or law.
                            However:
                            (a) This coverage applies only if the restored or remodeled property is intended for similar
                                occupancy as the current property, unless such occupancy is not permitted by zoning
                                or land use ordinance or law.
                            (b) We will not pay the increased cost of construction                   if the building   is not repaired,
                                reconstructed or remodeled.
                            Paragraph E.5.d. Loss Payment Property Loss Condition does not apply to the Incre ased
                            Cost Of Construction Coverage.
                   e.   Loss Payment
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                        (1) Loss payment Provisions e.(2) and e.(3) below, are subject to the apportionment                  procedure
                            set forth in Paragraph 6.b.(3) above.
                        (2) When there is a loss in value of an undamaged portion of a building or tenants improve-
                            ments and betterments to which Coverage 1 applies, the loss payment for that building or
                            tenants improvements and betterments, including damaged and undamaged portions, will
                            be determined as follows:
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                            (a) If the property is repaired or replaced on the same or another premises, we will not
                                pay more than the lesser of:
                                (i)   The amount you actually spend to repair, rebuild or reconstruct the building or
                                      tenants improvements and betterments, but not for more than the amount it
                                      would cost to restore the building on the same premises and to the same height,
                                      floor area, style and comparable quality of the original property insured; or
                                (ii) The Limit of Insurance shown in the Declarations as applicable to the covered
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                                     building.
                            (b) If the property is not repaired or replaced, we will not pay more than the lesser of:
                                (i)   The actual cash value of the building at the time of loss; or
                                (ii) The Limit of Insurance shown in the Declarations as applicable to the covered
                                     building.
                                (iii) If the tenants improvements and betterments are not repaired or replaced, we will
                                      pay based on a proportion of your original cost of the tenants improvements and
                                      betterments. We will determine the proportionate value as follows:
                                      i.    Multiply the original cost by the number of days from the loss or damage to
                                            the expiration of the lease; and
                                      ii.   Divide the amount determined in (a) above by the number of days from the
                                            installation of improvements to the expiration of the lease.
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                                If your lease contains a renewal option, the expiration of the renewal option period will
                                replace the expiration of the lease in the procedure.
                        (3) For Coverage 2 - Demolition Cost Coverage and Coverage 3 - Increased Cost Of Construc-
                            tion Coverage, the most we will pay at each described premises for the total of all covered
                            losses is:
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                            (a) $150,000; or
                            (b) The Limit of Insurance for Demolition Cost Coverage and Increased Cost Of Construc-
                                tion Coverage shown in the Declarations;
                            whichever is greater.
                            The Limit of Insurance for Demolition Cost Coverage and Increased Cost Of Construction
                            Coverage described in Paragraph e.(3) above, is subject to the following additional loss
                            payment provisions:
                            (a) For Demolition Cost, we will not pay more than the amount you actually spend to
                                demolish and clear the site of the described premises.




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                           (b) With respect to the Increased Cost Of Construction:
                                 (i)   We will not pay for the increased cost of construction:
                                       i.    Until the property is actually repaired or replaced, at the same or another
                                             premises; and
                                       ii.   Unless the repair or replacement is made as soon as reasonably possible after
                                             the loss or damage, not to exceed two years. We may extend this period in
                                             writing during the two years.
                                 (ii) If the building or tenants improvements and betterments are repaired or replaced
                                      at the same premises, or if you elect to rebuild at another premises, the most we
                                      will pay for the Increased Cost Of Construction is the lesser of:
                                       i.    The increased cost of construction at the same premises; or
                                       ii.   The applicable Demolition Cost and Increased Cost of Construction Limit of
                                             Insurance described in Paragraph e.(3) above.
                                 (iii) If the ordinance or law requires relocation to another premises, the most we will
                                       pay for the Increased Cost Of Construction is the lesser of:
                                       i.    The increased cost of construction at the new premises; or
                                       ii.   The applicable Demolition Cost and Increased Cost Of Construction Limit of
                                             Insurance described in Paragraph e.(3) above.
                  f.   The terms of this Additional Coverage apply separately to each building to which this endorse-
                       ment applies.
                  g.   Under this endorsement, we will not pay for loss due to any ordinance or law that:
                       (1) You were required to comply with before the loss, even if the building was undamaged;
                           and
                       (2) You failed to comply with.
                  h.   Example of Proportionate Loss Payment for Ordinance Or Law Coverage Losses (procedure as
                       set forth in Paragraph 6.b.(3) above).
                       Assume:
                           Wind is a Covered Cause of Loss. Flood is an excluded Cause of Loss;
                           The building has a value of $200,000;
                           Total direct physical damage to building: $100,000;
                           The ordinance or law in this jurisdiction             is enforced when building            damage equals or
                           exceeds 50% of the building’s value;
                           Portion of direct physical damage that is covered (caused by wind): $30,000;
                           Portion of direct physical damage that is not covered (caused by flood): $70,000; and
                           Loss under Ordinance Or Law Coverage 3 of this endorsement: $60,000.
                       Step 1: Determine the proportion          that the covered direct physical damage bears to the total
                       direct physical damage.
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                       $30,000 divided by $100,000 = .30
                       Step 2: Apply that proportion to the Ordinance Or Law loss.
                       $60,000 x .30 = $18,000
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                       In this example, the most we will pay under this endorsement for Coverage 3 loss is $18,000,
                       subject to the applicable Limit of Insurance and any other applicable provisions.
                       NOTE: The same procedure applies to losses under Coverage 1 and 2 of this endorsement.
             7.   Outdoor Signs
                  a.   We will pay for direct physical loss of or damage to all outdoor signs at the described prem-
                       ises:
                       (1) Owned by you; or
                       (2) Owned by others but in your care, custody or control.
                  b.   Section A.3. Covered Causes of Loss and Section B. Exclusions do not apply to this Additional
                       Coverage, except for:
                       (1) Paragraph B.1.c. Governmental Action;


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                          (2) Paragraph B.1.d. Nuclear Hazard; and
                          (3) Paragraph B.1.f. War And Military Action.
                     c.   We will not pay for loss or damage caused by or resulting from:
                          (1) Wear and tear;
                          (2) Hidden or latent defect;
                          (3) Rust;
                          (4) Corrosion; or
                          (5) Mechanical breakdown.
                     d.   The most we will pay for loss or damage in any one occurrence is:
                          (1) $25,000; or
                          (2) The Limit of Insurance for Outdoor Signs shown in the Declarations;
                          whichever is greater.
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                     e.   This Additional Coverage replaces Paragraph G.1. Optional Coverages - Outdoor Signs.
                     f.   Paragraph C.2. Limits Of Insurance does not apply to this Additional Coverage.
                8.   Reward
                     We will pay up to $10,000 as a reward for information which leads to a conviction in connection
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                     with a fire loss or theft loss covered under this policy. Regardless of the number of persons
                     involved in providing information, the limit of our liability under this Additional Coverage shall not
                     be increased.
           F.   Section A.6. Coverage Extensions is modified as follows:
                1.   Paragraph A.6.a Newly Acquired Or Constructed Property is replaced by the following:
                     (1) Buildings
                          If this policy covers Buildings, you may extend that insurance to apply to:
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                          (a) Your new buildings while being built on the described premises; and
                          (b) Buildings you acquire at premises other than the one described, intended for:
                              (i)    Similar use as the building described in the Declarations; or
                              (ii) Use as a warehouse.
                          The most we will pay for loss or damage under this Extension is $1,000,000 at each building.
                     (2) Business Personal Property
                          If this policy covers Business Personal Property, you may extend that insurance to apply to:
                          (a) Business Personal Property, including such property that you newly acquire, at any loca-
                              tion you acquire;
                          (b) Business Personal Property, including such property that you newly acquire, located at
                              your newly constructed or acquired buildings at the location described in the Declarations;
                              or
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                          (c) Business Personal Property that you newly acquire, located at the described premises.
                          This Extension does not apply to personal property that you temporarily acquire in the course
                          of installing or performing work on such property or your wholesale activities.
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                          The most we will pay for loss or damage under this Extension is $500,000 at each building.
                     (3) Period Of Coverage
                          With respect to insurance provided under this Coverage Extension for Newly Acquired Or
                          Constructed Property, coverage will end when any of the following first occurs:
                          (a) This policy expires;
                          (b) 180 days expire after you acquire the property or begin construction                          of that part of the
                              building that would qualify as Covered Property; or
                          (c) You report values to us.
                          We will charge you additional premium for values reported from the date you acquire the
                          property or begin construction of that part of the building that would qualify as Covered Prop-
                          erty.



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              2.   Paragraph A.6.b. Personal Property Off-premises is replaced by the following:
                   You may extend the insurance provided by this policy to apply to your Covered Property, other than
                   "money" and "securities", "valuable papers and records" or accounts receivable, while it is in the
                   course of transit or at a premises you do not own, lease or operate. The most we will pay for loss or
                   damage under this Extension is $25,000.
                   The above Limit does not include Employee Tools. Refer to Paragraph E.3. Additional Coverages -
                   Employee Tools of this endorsement for specific coverage.
              3.   Paragraph A.6.c. Outdoor Property is replaced by the following:
                   You may extend the insurance provided by this policy to apply to your outdoor fences and retaining
                   walls; radio or television antennas (including satellite dishes), including their lead-in wiring, masts,
                   or towers; trees, shrubs and plants, including debris removal expense, caused by or resulting from
                   a Covered Cause of Loss.
                   The most we will pay for loss or damage under this Extension is $25,000 but not more than $1,000
                   for any one tree, shrub or plant. These limits apply to any one occurrence, regardless of the types or
                   number of items lost or damaged in that occurrence.
              4.   Paragraph A.6.d. Personal Effects is replaced by the following:
                   You may extend the insurance that applies to Business Personal Property to apply to personal
                   effects owned by you, your officers, your partners or "members", your "managers" or your em-
                   ployees, including temporary or leased employees. This extension does not apply to:
                   (1) Tools or equipment used in your business except as provided by Paragraph E.3. Additional
                       Coverages - Employee Tools of this endorsement; or
                   (2) Loss or damage by theft.
                   The most we will pay for loss or damage under this Extension is $15,000 at each described prem-
                   ises.
              5.   Paragraph A.6.e.(3) Valuable Papers And Records is replaced by the following:
                   (3) The most we will pay under this Coverage Extension for loss or damage to "valuable papers
                       and records" in any one occurrence at the described premises is $25,000, unless a higher Limit
                       of Insurance is shown in the Declarations.
                        For "valuable papers and records" not at the described premises, the most we will pay is the
                        lesser of 25% of the Valuable Papers And Records Limit of Insurance described above, or
                        $10,000.
              6.   Paragraph A.6.f.(2) Accounts Receivable is replaced by the following:
                   (2) The most we will pay under this Coverage Extension for loss or damage in any one occurrence
                       at the described premises is $35,000, unless a higher Limit of Insurance for Accounts Receiv-
                       able is shown in the Declarations.
                        For accounts receivable not at the described premises, the most we will pay is $5,000.
         G.   The following are added to Section A.6. Coverage Extensions:
              1.   Cellular Phones And Personal Digital Assistant (PDA)
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                   a.   The most we will pay for loss or damage to Cellular Phones, PDA’s and similar hand-held
                        wireless communication devices is $1,000.
                   b.   A $50 per occurrence deductible applies to this Coverage Extension. This deductible does not
                        increase the amount of the deductible shown in the Declarations and will be used to satisfy the
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                        requirements of the deductible shown in the Declarations.
              2.   Fine Arts
                   You may extend the insurance which applies to Your Business Personal Property to apply to "fine
                   arts" that are:
                   a.   Property you own that is used in your business; or
                   b.   Property of others that is in your care, custody or control.
                   The most we will pay for loss or damage under this Coverage Extension is $10,000 at each de-
                   scribed premises; or the Limit of Insurance for Fine Arts shown in the Declarations; whichever is
                   greater.
                   In the event of loss or damage to property covered under this Extension, we will pay the market
                   value of the property at the time of loss or damage.



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                     Section B. Exclusions does not apply to this Coverage Extension except for:
                     a.   Paragraph B.1.c. Governmental Action;
                     b.   Paragraph B.1.d. Nuclear Hazard;
                     c.   Paragraph B.1.f. War And Military Action;
                     d.   Paragraph B.2.f. Dishonesty;
                     e.   Paragraph B.2.g. False Pretense; and
                     f.   Paragraph B.2.k. Neglect.
                3.   Lock Replacement
                     You may extend the insurance provided by this policy to apply to the cost to repair or replace the
                     door locks or tumblers of your described premises due to theft of your door keys.
                4.   Loss Adjustment Expenses
                     You may extend the insurance provided by this policy to apply to your expenses for preparation of
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                     loss data, including inventories and appraisals, in connection with any claim covered under this
                     policy. This Coverage Extension will not pay for expenses incurred insuring the services of a public
                     adjuster.
                     The most we will pay under this Coverage Extension is $5,000.
                5.   Water Back-up And Sump Overflow
002260




                     a.   You may extend the insurance provided by this policy to apply to direct physical loss or
                          damage to your covered property caused by or resulting from:
                          (1) Water or waterborne material which backs up into a building or structure through sewers
                              or drains contained within a building which are directly connected to a sanitary sewer or
                              septic system; or
                          (2) Water or waterborne material which enters into or overflows from a sump, sump pump or
                              related equipment, provided that it is located in a building and designed to remove subsur-
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                              face water which is drained from the foundation area, even if the overflow or discharge
                              results from mechanical breakdown of a sump pump or its related equipment.
                               However, with respect to Paragraph (2) above, we will not pay the cost of repairing or
                               replacing a sump pump or its related equipment in the event of mechanical breakdown.
                     b.   The coverage described in Paragraph a. above does not apply to loss or damage resulting from
                          an insured’s failure to:
                          (1) Keep a sump pump or its related equipment in proper working condition; or
                          (2) Perform the routine maintenance or repair necessary to keep a sewer or drain free from
                              obstructions.
                     c.   The most we will pay for the coverage provided under the Water Back-up And Sump Overflow
                          Coverage Extension is $25,000 per location.
                     d.   We will not, however, pay for any loss or damage that results from water or other materials
                          that back up, overflow, or are discharged from a sewer, drain, sump, sump pump or related
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                          equipment when it is caused directly or indirectly by any flood, whether the flood is caused by
                          an act of nature or is otherwise caused. Such loss or damage is excluded regardless of any
                          other cause or event that contributes concurrently or in any sequence to the loss.
           H.   Section C. Limits Of Insurance is modified as follows:
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                1.   Paragraph C.3. is replaced by the following:
                     3.   Unless otherwise stated, the amounts of insurance applicable to the Coverage Extensions, and
                          the following Additional Coverages listed below, are in addition to the Limits of Insurance:
                          a.   Computer Equipment;
                          b.   Employee Dishonesty;
                          c.   Employee Tools;
                          d.   Fire Department Service Charge;
                          e.   Fire Extinguisher Systems Recharge Expense;
                          f.   Forgery Or Alteration;
                          g.   Money And Securities;



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                        h.   Money Orders And "Counterfeit Money";
                        i.   Off-premises Power Failure;
                        j.   Ordinance Or Law Coverage;
                        k.   Pollutant Clean Up And Removal; and
                        l.   Reward.
              2.   Paragraph C.5.a. Business Personal Property Limit - Seasonal Increase is replaced by the following:
                   a.   The Limit of Insurance for Business Personal Property will automatically                        increase by 33% to
                        provide for seasonal variations.
         I.   Paragraphs D.2. and D.3. Deductibles are replaced by the following:
              2.   Regardless of the amount of the Deductible, the most we will deduct from any loss or damage is
                   $500 in any one occurrence under the following Additional Coverages:
                   a.   Employee Dishonesty;
                   b.   Forgery Or Alteration;
                   c.   Money Orders And "Counterfeit Money";
                   d.   Money And Securities; or
                   e.   Outdoor Signs.
                   But this $500 deductible will not increase the deductible shown in the Declarations. This deductible
                   will be used to satisfy the requirements of the deductible in the Declarations.
              3.   No deductible applies to the following:
                   a.   Additional Coverages:
                        (1) Business Income;
                        (2) Civil Authority;
                        (3) Extra Expense;
                        (4) Fire Department Service Charge;
                        (5) Fire Extinguisher Systems Recharge Expense;
                        (6) Off-premises Power Failure;
                        (7) Reward; or
                   b.   Coverage Extensions:
                        (1) Lock Replacement; or
                        (2) Loss Adjustment Expenses.
                   c.   A $50 per occurrence deductible applies to Cellular Phone Coverage, but this $50 per occur-
                        rence deductible will not increase the deductible shown in the Declarations. This deductible
                        will be used to satisfy the requirements of the deductible in the Declarations.
         J.   Section E. Property Loss Conditions is modified as follows:
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              1.   Paragraph E.5. Loss Payment is replaced by the following:
                   In the event of loss or damage covered by this policy:
                   a.   At our option, we will either:
                        (1) Pay the value of lost or damaged property;
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                        (2) Pay the cost of repairing or replacing the lost or damaged property;
                        (3) Take all or any part of the property at an agreed or appraised value; or
                        (4) Repair, rebuild or replace the property with other property of like kind and quality, subject
                            to Paragraph d.(1)(a) below.
                   b.   We will give notice of our intentions within 30 days after we receive the sworn proof of loss.
                   c.   We will not pay you more than your financial interest in the Covered Property.
                   d.   Except as provided in Paragraphs (2) through (8) below, we will determine the value of Covered
                        Property as follows:
                        (1) At replacement cost without deduction for depreciation, subject to the following:
                             (a) We will not pay more for loss or damage on a replacement cost basis than the least of:


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                                (i)   The Limit of Insurance under Section I - Property that applies to the lost or
                                      damaged property;
                                (ii) The cost to replace, on the same premises, the lost or damaged property with
                                     other property:
                                      i.    Of comparable material and quality; and
                                      ii.   Used for the same purpose; or
                                (iii) The amount you actually spend that is necessary to repair or replace the lost or
                                      damaged property.
                                If a building is rebuilt at a new premises, the cost is limited to the cost which would
                                have been incurred had the building been built at the original premises.
                            (b) You may make a claim for loss or damage covered by this insurance on an actual cash
                                value basis instead of on a replacement cost basis. In the event you elect to have loss
                                or damage settled on an actual cash value basis, you may still make a claim on a
                                replacement cost basis if you notify us of your intent to do so within 180 days after the
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                                loss or damage.
                            (c) We will not pay on a replacement cost basis for any loss or damage:
                                (i)   Until the lost or damaged property is actually repaired or replaced; and
                                (ii) Unless the repair or replacement is made as soon as reasonably possible after the
                                     loss or damage.
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                                However, if the cost to repair or replace the damaged building property is $2,500 or
                                less, we will settle the loss according to the provisions of Paragraph d.(1)(a) whether
                                or not the actual repair or replacement is complete.
                            (d) The cost to repair, rebuild or replace does not include the increased cost attributable to
                                enforcement of or compliance with any ordinance or law regulating the construction,
                                use or repair of any property.
                       (2) If the Actual Cash Value - Buildings option applies, as shown in the Declarations, Para-
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                           graph (1) above does not apply to Buildings. Instead, we will determine the value of
                           Buildings at actual cash value.
                       (3) The following property at actual cash value:
                            (a) Used or second-hand merchandise held in storage or for sale;
                            (b) Household contents, except personal property in apartments or rooms furnished by
                                you as landlord; or
                            (c) Manuscripts.
                       (4) Works of art, antiques or rare articles, including etchings, pictures, statuary, marbles,
                           bronzes, porcelains and bric-a-brac at market value at the time of loss.
                       (5) Glass at the cost of replacement with safety glazing material if required by law.
                       (6) Tenants improvements           and betterments        and/or undamaged tenants improvements              and
                           betterments at:
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                            (a) The cost to repair or replace on the same or another site if you make repairs promptly;
                            (b) A proportion of your original cost if you do not make repairs promptly. We will deter-
                                mine the proportionate value as follows:
                                (i)   Multiply the original cost by the number of days from the loss or damage to the
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                                      expiration of the lease; and
                                (ii) Divide the amount determined in (i) above by the number of days from the instal-
                                     lation of improvements to the expiration of the lease.
                                If your lease contains a renewal option, the expiration of the renewal option period will
                                replace the expiration of the lease in this procedure.
                            (c) Nothing if others pay for repairs or replacement.
                       (7) Applicable only to coverage for Money And Securities:
                            (a) "Money"      at its face value; and
                            (b) "Securities"    at their value at the close of business on the day the loss is discovered.




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                        (8) Applicable only to Accounts Receivable:
                            (a) If you cannot accurately establish the amount of accounts receivable outstanding as of
                                the time of loss or damage:
                                (i)   We will determine the total of the average monthly amounts of accounts receiv-
                                      able for the 12 months immediately preceding the month in which the loss or
                                      damage occurs; and
                                (ii) We will adjust that total for any normal fluctuations in the amount of accounts
                                     receivable for the month in which the loss or damage occurred or for any dem-
                                     onstrated variance from the average for that month.
                            (b) The following will be deducted from the total amount of accounts receivable, however
                                that amount is established:
                                (i)   The amount of the accounts for which there is no loss or damage;
                                (ii) The amount of the accounts that you are able to re-establish or collect;
                                (iii) An amount to allow for probably bad debts that you are normally unable to col-
                                      lect; and
                                (iv) All unearned interest and service charges.
                   e.   Our payment for loss of or damage to personal property of others will only be for the account of
                        the owners of the property. We may adjust losses with the owners of lost or damaged property
                        if other than you. If we pay the owners, such payments will satisfy your claims against us for
                        the owners’ property. We will not pay the owners more than their financial interest in the
                        Covered Property.
                   f.   We may elect to defend you against suits arising from claims of owners of property. We will do
                        this at our expense.
                   g.   We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss,
                        provided you have complied with all the terms of this policy, and:
                        (1) We have reached agreement with you on the amount of loss; or
                        (2) An appraisal award has been made.
              2.   The following are added to Paragraph E.5. Loss Payment:
                   a.   Brands And Labels
                        If branded or labeled merchandise that is Covered Property is damaged by a Covered Cause of
                        Loss, and we take all or part of the property at an agreed or appraised value, you may extend
                        the insurance that applies to Business Personal Property to pay expenses you incur to:
                        (1) Stamp salvage on the merchandise or its containers, if the stamp will not physically dam-
                            age the merchandise; or
                        (2) Remove the brands and labels, if doing so will not physically damage the merchandis e or
                            its containers to comply with the law.
                        Payment of these expenses is included within the applicable Limit of Insurance.
                   b.   Consequential Loss To Stock
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                        If a Covered Cause of Loss occurs to covered "stock", we will pay any reduction in value of the
                        remaining undamaged parts of covered "stock".
                        Payment for any reduced value in "stock" is included within the applicable Limit of Insurance.
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         K.   Section H. Property Definitions is modified as follows:
              1.   Paragraph H.9. "Period of restoration"        is replaced by the following:
                   a.   Means the period of time that:
                        (1) Begins:
                            (a) 72 hours after the time of direct physical loss or damage for Business Income Cov-
                                erage; or
                            (b) Immediately      after the time of direct physical loss or damage for Extra Expense Cov-
                                erage;
                            caused by or resulting from any Covered Cause of Loss at the described premises; and




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                         (2) Ends on the earlier of:
                             (a) The date when your business activities at the described premises return to the level
                                 that existed immediately before the loss; but in no event for more than 30 days after
                                 the date when the property at the described premises should be repaired, rebuilt or
                                 replaced with reasonable speed and similar quality; or
                             (b) The date when business is resumed at a new permanent location.
                    b.   Does not include any increased period required due to the enforcement of or compliance with
                         any ordinance or law that:
                         (1) Regulates the construction, use or repair, or requires the tearing down of any property; or
                         (2) Requires any insured or others to test for, monitor, clean up, remove, contain, treat, de-
                             toxify or neutralize, or in any way respond to or assess the effects of "pollutants".
                         The expiration date of this policy will not cut short the "period of restoration".
               2.   With respect to this endorsement, the following is added to Section H. Property Definitions:
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                    "Fine Arts" means paintings, etchings, pictures, tapestries, art or stained glass windows, valuable
                    rugs, statuary, marbles, bronzes, antique furniture, rare books, antique silver, manuscripts, por-
                    celains, rare glass, bric-a-brac, sports memorabilia and any other similar property of rarity, historic
                    value or artistic merit.
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                                                                                                                        BUSINESSOWNERS
                                                                                                                             BP 79 74 07 13

                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   AMENDMENT                  OF POLLUTION EXCLUSION
                                                              (PREMISES)
         This endorsement modifies insurance provided under the following:

              BUSINESSOWNERS COVERAGE FORM

         1.   The following exception is added to Exclusion B.1.f. Pollution in Section II - Liability:
              Subparagraph (a) of Paragraph (1) does not apply to "bodily injury" or to "property damage" to tangible
              property arising out of the actual discharge, dispersal, seepage, migration, release or escape of "pollu-
              tants" if the actual discharge, dispersal, seepage, migration, release or escape:
                  (a) begins on a clearly identifiable specific day during the policy period and ends in its entirety not
                      later than seventy-two (72) hours thereafter;
                  (b) is discovered and reported to us within fifteen (15) days of the specific day it begins;
                  (c) is neither expected nor intended from the standpoint of any insured;

                  (d) is unrelated to any previous discharge, dispersal, seepage, migration, release or escape; and

                  (e) does not originate at or from a storage tank or other container, duct or piping which is below
                      the surface of the ground or water or which at any time has been buried under the surface of
                      the ground or water and then is subsequently exposed by erosion, excavation or any other
                      means.
              Tangible property, as used in this endorsement, does not include land or water, which is below ground
              level or not.
              Coverage provided hereunder does not apply to any discharge, dispersal, seepage, migration, release
              or escape that is merely threatened or alleged rather than shown to have actually occurred.
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                                                                                                                               BUSINESSOWNERS
                                                                                                                                    BP 79 96 09 16

                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          BUSINESSOWNERS LIABILITY EXTENSION ENDORSEMENT

           This endorsement modifies insurance provided under the following:

                 BUSINESSOWNERS COVERAGE FORM


           Below is a summarization of the coverages provided by this endorsement.                            No coverages are given by this
           summary. Actual coverage descriptions are within this endorsement.
58899809




                        SECTION                                                              SUBJECT

                            A.                       Supplementary Payments
                                                       Bail Bonds
                                                       Loss Of Earnings
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                            B.                       Broadened Coverage For Damage To Premises Rented To You

                            C.                       Incidental Medical Malpractice Injury

                            D.                       Mobile Equipment
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                            E.                       Blanket Additional Insured (Owners, Contractors Or Lessors)

                            F.                       Newly Formed Or Acquired Organizations

                            G.                       Aggregate Limits

                            H.                       Duties In The Event Of Occurrence, Offense, Claim Or Suit

                             I.                      Liability And Medical Expenses Definitions
                                                       Bodily Injury
                                                       Insured Contract
                                                       Personal And Advertising Injury
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           Section II - Liability is amended as follows:
           A.    Supplementary Payments
                 Section A.1. Business Liability is modified as follows:
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                 1.   The $250 limit shown in Paragraph A.1.f.(1)(b) Coverage Extension - Supplementary Payments for the
                      cost of bail bonds is replaced by a $3,000 limit.
                 2.   The $250 limit shown in Paragraph A.1.f.(1)(d) Coverage Extension - Supplementary Payments for
                      reasonable expenses and loss of earnings is replaced by a $500 limit.
           B.    Broadened Coverage For Damage To Premises Rented To You
                 1.   The last paragraph of Section B.1. Exclusions - Applicable To Business Liability Coverage is replaced
                      by the following:
                      With respect to the premises which are rented to you or temporarily occupied by you with the permis-
                      sion of the owner, Exclusions c., d., e., g., h., k., l., m., n. and o. do not apply to "property damage".



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               2.   Paragraph D.2. Liability And Medical Expenses Limits Of Insurance is replaced by the following:
                    The most we will pay under this endorsement for the sum of all damages because of all "property
                    damage" to premises while rented to you or temporarily occupied by you with the permission of the
                    owner is the Limit of Insurance shown in the Declarations.
               3.   Paragraph D.3. Liability And Medical Expenses Limits Of Insurance does not apply.
         C.    Incidental Medical Malpractice Injury
               1.   Paragraph (4) under Paragraph B.1.j. Exclusions - Applicable To Business Liability Coverage - Profes-
                    sional Services does not apply to "Incidental Medical Malpractice Injury" coverage.
               2.   With respect to this endorsement, the following            is added to Section F. Liability And Medical Expenses
                    Definitions:
                    a.   "Incidental Medical Malpractice Injury" means bodily injury arising out of the rendering of or
                         failure to render, during the policy period, the following services:
                         (1) Medical, surgical, dental, x-ray or nursing service or treatment or the furnishing                     of food or
                             beverages in connection therewith; or
                         (2) The furnishing or dispensing of drugs or medical, dental or surgical supplies or appliances.
                    b.   This coverage does not apply to:
                         (1) Expenses incurred by the insured for first-aid to others at the time of an accident and the
                             Duties in the Event of Occurrence, Offense, Claim or Suit Condition is amended accordingly.
                         (2) Any insured engaged in the business or occupation of providing any of the services described
                             under a. above.
                         (3) Injury caused by any indemnitee if such indemnitee is engaged in the business or occupation
                             of providing any of the services described under a. above.
         D.    Mobile Equipment
               Section C. Who Is An Insured is amended to include any person driving "mobile                           equipment"   with your
               permission.
         E.    Blanket Additional Insured (Owners, Contractors Or Lessors)
               1.   Section C. Who Is An Insured is amended to include as an insured any person or organization whom
                    you are required to name as an additional insured on this policy under a written contract or written
                    agreement. The written contract or agreement must be:
                    a.   Currently in effect or becoming effective during the term of this policy; and
                    b.   Executed prior to the "bodily injury", "property damage", or "personal and advertising injury".
               2.   The insurance afforded to the additional insured is limited as follows:
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                    a.   The person or organization is only an additional insured with respect to liability arising out of:
                         (1) Real property, as described in a written contract or written agreement, you own, rent, lease,
                             maintain or occupy; and
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                         (2) Caused in whole or in part by your ongoing operations performed for that insured.
                    b.   The Limit of Insurance applicable to the additional insured are those specified in the written
                         contract or written agreement or the limits available under this policy, as stated in the Declara-
                         tions, whichever are less. These limits are inclusive of and not in addition to the Limit of Insurance
                         available under this policy.
                    c.   The insurance afforded to the additional insured does not apply to:
                         (1) Liability arising out of the sole negligence of the additional insured;
                         (2) "Bodily injury", "property damage", "personal and advertising injury", or defense coverage
                             under the Supplementary Payments section of the policy arising out of an architect’s, en-
                             gineer’s or surveyor’s rendering of or failure to render any professional services including:

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                               (a) The preparing or approving of maps, shop drawings, opinions, reports, surveys, field
                                   orders, change orders, or drawings and specifications; and
                               (b) Supervisory, inspection, architectural or engineering activities.
                           (3) Any "occurrence" that takes place after you cease to be a tenant in the premises described in
                               the Declarations; or
                           (4) Structural alterations, new construction or demolition                  operations     performed     by or for the
                               person or organization designated in the Declarations.
                 3.   Any coverage provided hereunder shall be excess over any other valid and collectible insurance avail-
                      able to the additional insured whether primary, excess, contingent or on any other basis unless a
                      contract specifically requires that this insurance be primary or you request that it apply on a primary
                      basis.
           F.    Newly Formed Or Acquired Organizations
58899809




                 The following is added to Section C. Who Is An Insured:
                 Any business entity acquired by you or incorporated or organized by you under the laws of any individual
                 state of the United States of America over which you maintain majority ownership interest exceeding fifty
                 percent. Such acquired or newly formed organization will qualify as a Named Insured if there is no similar
                 insurance available to that entity. However:
002260




                 1.   Coverage under this provision is afforded only until the 180th day after the entity was acquired or
                      incorporated or organized by you or the end of the policy period, whichever is earlier;
                 2.   Section A.1. Business Liability does not apply to:
                      a.   "Bodily injury" or "property damage" that occurred before the entity was acquired or incorporated
                           or organized by you; and
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                      b.   "Personal and advertising injury" arising out of an offense committed before the entity was ac-
                           quired or incorporated or organized by you.
                 3.   Records and descriptions of operations must be maintained by the first Named Insured.
                 No person or organization is an insured with respect to the conduct of any current or past partnership, joint
                 venture or limited liability company that is not shown as a Named Insured in the Declarations.
           G.    Aggregate Limits
                 The following   is added to Paragraph D.4. Aggregate Limits Liability                    and Medical Expenses Limits Of
                 Insurance:
                 1.   The Aggregate Limits apply separately to each of the "locations"                       owned by or rented to you or
                      temporarily occupied by you with the permission of the owner.
                 2.   The Aggregate Limits also apply separately to each of your projects away from premises owned by or
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                      rented to you.
                      For the purpose of this endorsement only, "location" means premises involving the same or connect-
                      ing lots, or premises whose connection is interrupted only by a street, roadway, waterway or right-
                      of-way of a railroad.
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           H.    Duties In The Event Of Occurrence, Offense, Claim Or Suit
                 1.   Paragraph E.2.a. Duties In The Event Of Occurrence, Offense, Claim Or Suit Liability And Medical
                      Expenses General Condition applies only when the "occurrence" is known to any insured listed in
                      Paragraph C.1. Who Is An Insured or any "employee" authorized by you to give or receive notice of an
                      "occurrence" or claim.
                 2.   Paragraph E.2.b. Duties In The Event Of Occurrence, Offense, Claim Or Suit Liability And Medical
                      Expenses General Condition will not be considered breached unless the breach occurs after such claim
                      or "suit" is known to any insured listed under Paragraph C.1. Who Is An Insured or any "employee"
                      authorized by you to give or receive notice of an "occurrence" or claim.


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         I.    Section F. Liability And Medical Expenses Definitions is modified as follows:
               1.   Paragraph F.3. is replaced by the following:
                    3.   "Bodily Injury" means bodily injury, sickness, disease, or incidental medical malpractice injury
                         sustained by a person, and includes mental anguish resulting from any of these; and including
                         death resulting from any of these at any time.
               2.   Paragraph F.9. is replaced by the following:
                    9.   "Insured contract" means:
                         a.   A contract for a lease of premises. However, that portion of the contract for a lease of prem-
                              ises that indemnifies any person or organization for damage by fire to premises while rented
                              to you or temporarily occupied by you with permission of the owner is not an "insured
                              contract";
                         b.   A sidetrack agreement;
                         c.   Any easement or license agreement, except in connection with construction                            or demolition
                              operations on or within 50 feet of a railroad;
                         d.   An obligation, as required by ordinance, to indemnify                  a municipality,        except in connection
                              with work for a municipality;
                         e.   An elevator maintenance agreement;
                         f.   That part of any other contract or agreement pertaining to your business (including an indem-
                              nification of a municipality in connection with work performed for a municipality) under which
                              you assume the tort liability of another party to pay for "bodily injury" or "property damage"
                              to a third person or organization, provided the "bodily injury" or "property damage" is
                              caused, in whole or in part, by you or by those acting on your behalf. However, such part of a
                              contract or agreement shall only be considered an "insured contract" to the extent your
                              assumption of the tort liability is permitted by law. Tort liability means a liability that would be
                              imposed by law in the absence of any contract or agreement.
                              Paragraph f. does not include that part of any contract or agreement:
                              (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of con-
                                  struction or demolition operations, within 50 feet of any railroad property and affecting
                                  any railroad bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;
                              (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                  (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opin-
                                      ions, reports, surveys, field orders, change orders or drawings and specifications; or
                                  (b) Giving directions or instructions, or failing to give them, if that is the primary cause of
                                      the injury or damage; or
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                              (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an
                                  injury or damage arising out of the insured’s rendering or failure to render professional
                                  services, including those listed in (2) above and supervisory, inspection, architectural or
                                  engineering activities.
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               3.   Paragraph F.14.b. Personal And Advertising Injury is replaced by the following:
                    b.   Malicious prosecution or abuse of process;




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                                                                                                                         BUSINESSOWNERS
                                                                                                                              BP 80 60 01 07

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              PEAK SEASON ENDORSEMENT

           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS COVERAGE FORM

           Section I - Property is amended as follows:

           Part C. Limits of Insurance, Paragraph 5.a., Business Personal Property - Seasonal Increase, is replaced by
           the following:
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               a.   The Limit of Insurance for Business Personal Property - Seasonal Increase will automatically                            in-
                    crease by 100% to provide for seasonal variations.
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                                                                                                 BUSINESSOWNERS
                                                                                                      BP 81 15 03 11

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                                              EXCLUSION - ASBESTOS
         This endorsement modifies insurance provided under the following:

             BUSINESSOWNERS COVERAGE FORM

         Section II - Liability is amended as follows:

         This insurance does not apply to:

             "Bodily injury", "property damage", or "personal and advertising injury"     arising out of or related in
             any way to asbestos or asbestos -containing materials.
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                                                                                                                          BUSINESSOWNERS
                                                                                                                               BP 82 37 08 15

                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           EQUIPMENT BREAKDOWN COVERAGE ENDORSEMENT

           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS COVERAGE FORM

           Section I - Property is amended as follows:
           A.   The following is added to Paragraph A.5 Additional Coverages:
                Equipment Breakdown Additional Coverages
58899809




                1.   We will pay for direct physical damage to Covered Property that is a direct result of an "accident"                    to
                     "covered equipment".
                2.   The most we will pay for loss, damage or expense under this endorsement arising from any "one
                     accident" is the applicable Limit of Insurance in the Declarations. Coverage provided under this
                     endorsement does not increase and is not in addition to any other Limit of Insurance.
002260




                3.   The following coverages also apply to the direct result of an "accident".                   These coverages do not
                     provide additional limits of insurance.
                     a.   Expediting Expenses
                          With respect to your damaged Covered Property, we will pay the reasonable extra cost to:
                          (1) Make temporary repairs; and
                          (2) Expedite permanent repairs or replacement.
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                          Reasonable extra cost shall mean the extra cost of temporary repair and of expediting the
                          repair of such damaged equipment of the insured, including overtime and the extra cost of
                          express or other rapid means of transportation.
                     b.   Hazardous Substances
                          We will pay for the additional cost to repair or replace Covered Property because of contamina-
                          tion by a "hazardous substance". This includes the additional expense to clean up or dispose of
                          such property.
                          This does not include contamination of "perishable goods" by a refrigerant, including ammo-
                          nia, which is addressed in 2.d below. As used in this coverage, additional costs mean those
                          beyond what would have been payable under this Equipment Breakdown Coverage had no
                          "hazardous substance" been involved.
                          The most we will pay for under this coverage, including actual loss of Business Income you
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                          sustain and necessary Extra Expense you incur is $50,000.
                     c.   Spoilage
                          We will pay for physical damage to "perishable goods" due to spoilage. The spoilage damage
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                          must be due to the lack of or excess of power, light, heat, steam or refrigeration caused by an
                          "accident" to "covered equipment" covered by this policy.
                          We will also pay any necessary expense you incur to reduce the amount of loss under this
                          coverage. We will pay such expenses to the extent that they do not exceed the amount of loss
                          that otherwise would have been payable under this coverage.
                          Loss payment will be in accordance with Loss Payment provisions of the Property Loss Condi-
                          tions of the policy. However, if you are unable to replace "perishable goods" before the antici-
                          pated sale date of such goods had no loss occurred, the amount of our payment will be
                          determined on the basis of the sale price of "perishable goods" at the time of the "accident"
                          less discounts and expenses you would normally incur.



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                        The most we will pay for loss, damage or expense under this coverage is $50,000.
                   d.   Ammonia Contamination
                        The physical damage to Covered Property due to the contamination                    from the release of ammo-
                        nia, including any salvage expense.
                        The most we will pay for loss or damage under this coverage is $50,000.
                   f.   Data Restoration
                        We will pay for your reasonable and necessary cost to research, replace and restore lost
                        "electronic data".
                        The most we will pay for loss or expense under this coverage, including the actual loss of
                        Business Income you sustain and necessary Extra Expense you incur is $50,000.
                   g.   Service Interruption
                        (1) Insurance provided for Business Income, Extra Expense and Spoilage is extended to apply
                            to your loss, damage or expense caused by an "accident" to equipment that is owned,
                            managed, or controlled by your landlord or landlord’s utility, or utility or other supplier
                            with whom you have a contract, that directly supplies you with any of the following ser-
                            vices: electrical power, waste disposal, air conditioning, refrigeration, heating, natural gas,
                            compressed air, water, steam, internet access, telecommunications services, wide area
                            networks or data transmission to the premises as described in the Declarations. The equip-
                            ment must meet the definition of "covered equipment" except that it is not Covered Prop-
                            erty.
                        (2) Service Interruption coverage will not apply unless the loss of or disruption                   of service
                            exceeds 24 hours immediately following the "accident".
                        (3) The most we will pay for loss, damage or expense under this coverage is the limit that
                            applies to Business Income, Extra Expense or Spoilage.
         B.   The following is added to Paragraph B. Exclusions:
              Equipment Breakdown Exclusions
              All exclusions in the Businessowners Coverage Form apply except as modified below and to the extent
              that coverage is specifically provided by this Equipment Breakdown Additional Coverage.
              1.   The exclusions are modified as follows:
                   a.   The following is added to B.1.g.(1) Water Exclusion:
                        However, if electrical "covered equipment" requires drying out because of Water as described
                        in B.1.g.(1) above, we will pay for the direct expenses of such drying out subject to the ap-
                        plicable Limit of Insurance and Deductible for Building or Business Personal Property, which-
                        ever applies.
                   b.   As respects to this endorsement only, the next to the last Paragraph of B.1.h. Certain Com-
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                        puter-related Losses Exclusion is deleted and replaced with the following:
                        However, if excluded loss or damage, as described in Paragraph (1) above results in an
                        "accident’", we will pay only for the loss, damage or expense caused by such "accident".
                        As respects to this endorsement only, the last paragraph of B.2.I Other Types of Loss Exclusion
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                   c.
                        is deleted and replaced with the following:
                        But if an excluded cause of loss that is listed in Paragraphs 2.I.(1) through (7) results in an
                        "accident", we will pay for the loss, damage or expense caused by that "accident".
                   d.   The following   is added to B.2.m. Errors Or Omissions and B.2.n Installati on, Testing, Repair
                        Exclusions:
                        We will also pay for direct physical loss or damage caused by an "accident".




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                2.   We will not pay under this endorsement for loss, damage or expense caused by or resulting from:
                     a.   Any defect, programming error, programming limitation, computer virus, malicious code, loss
                          of data, loss of access, loss of use, loss of functionality or other condition within or involving
                          "electronic data" of any kind. But if an "accident" results, we will pay for the resulting loss,
                          damage or expense; or
                     b.   Any of the following tests: a hydrostatic, pneumatic or gas pressure test of any boiler or
                          pressure vessel, or an electrical insulation breakdown test of any type of electrical equipment.
                3.   With respects to Service Interruption coverage, we will also not pay for an "accident" caused by or
                     resulting from: fire; lightning; windstorm or hail; explosion (except as specifically provided in
                     D.1.c. below); smoke; aircraft or "vehicles"; riot or civil commotion; vandalism; sprinkler leakage;
                     falling objects; weight of snow, ice or sleet; freezing; collapse; flood or earth movement.
                4.   With respect to Business Income, Extra Expense and Service Interruption                       coverages, we will also
                     not pay for:
58899809




                     a.   Loss caused by your failure to use due diligence and dispatch and all reasonable means to
                          resume business; or
                     b.   Any increase in loss resulting from an agreement between you and your customer or supplier,
                          including contract penalties.
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                5.   We will not pay under this endorsement for any loss or damage to animals.
           C.   The following are added to Paragraph F. Property General Conditions:
                1.   Suspension
                     Whenever "covered equipment" is found to be in, or exposed to, a dangerous condition, any of our
                     representatives may immediately suspend the insurance against loss from an "accident" to that
                     "covered equipment". This can be done by mailing or delivering a written notice of suspension to:
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                     (a) Your last known address; or
                     (b) The address where the "covered equipment"                is located.
                     Once suspended in this way, your insurance can be reinstated only by and endorsement for that
                     "covered equipment". If we suspend your insurance, you will get a pro rata refund for that "cov-
                     ered equipment" for the period of suspension. But the suspension will be effective even if we have
                     not yet made or offered a refund.
                2.   Jurisdictional Inspections
                     If any property that is "covered equipment" under this endorsement requires inspection to comply
                     with state or municipal boiler and pressure vessel regulations, we agree to perform such inspection
                     on your behalf. We do not warrant that conditions are safe or healthful.
                3.   Environmental, Safety and Efficiency Improvements
                     If "covered equipment" requires replacement due to an "accident", we will pay your additional cost
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                     to replace with equipment that is better for the environment, safer or more efficient than the
                     equipment being replaced.
                     However, we will not pay more than 125% of what the cost would have been to repair or replace
                     with like kind and quality. This condition does not increase any of the applicable limits. This
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                     condition does not apply to any property to which Actual Cash Value applies.
           D.   The following are added to Paragraph H. Property Definitions:
                1.   "Accident" means a fortuitous event that causes direct physical damage to "covered equipment"
                     that requires repair or replacement. The event must be one of the following:
                     a.   Mechanical breakdown, including rupture or bursting caused by centrifugal force;
                     b.   Artificially generated electrical current, including            electric arcing that damages electrical de-
                          vices, appliances or wires;
                     c.   Explosion of steam boilers, steam pipes, steam engines, or steam turbines owned or leased by
                          you, or operated under your control;



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                  d.   Loss or damage to steam boilers, steam pipes, steam engines or steam turbines caused by or
                       resulting from any event inside such equipment, unless otherwise excluded; or
                  e.   Loss or damage to hot water boilers or other water heating equipment caused by or resulting
                       from any event inside such boilers or equipment, unless otherwise excluded.
                  An "accident" does not include the functioning of any safety or protective device, or any other
                  condition, which can be corrected by resetting, tightening, adjusting, cleaning, or the performance
                  of maintenance.
             2.   "Covered equipment"
                  a.   "Covered equipment"       means Covered Property:
                       (1) That generates, transmits or utilizes energy, including electronic communications                and data
                           processing equipment; or
                       (2) Which, during normal usage, operates under vacuum or pressure, other than the weight of
                           its contents.
                  b.   None of the following is "covered equipment":
                       (1) Structure, foundation, cabinet, compartment or air supported structure or building;
                       (2) Insulating or refractory material;
                       (3) Sewer piping, buried vessels or piping, or piping forming a part of a sprinkler system;
                       (4) Water piping other than boiler feedwater piping, boiler condensate return piping or water
                           piping forming a part of a refrigerating or air conditioning system;
                       (5) "Vehicle" or any equipment mounted on a "vehicle";
                       (6) Satellite, spacecraft or any equipment mounted on a satellite or spacecraft;
                       (7) Dragline, excavation or construction equipment; or
                       (8) Equipment manufactured by you for sale.
             3.   "Hazardous substance" means any substance that has been declared to be hazardous to health by
                  any governmental agency.
             4.   "One accident" means, if an initial "accident" causes other "accidents", all will be considered "one
                  accident". All "accidents" that are the result of the same event will be considered "one accident".
             5.   "Perishable goods" means personal property maintained under controlled conditions for its pres-
                  ervation, and susceptible to loss or damage if the controlled conditions change.
             6.   "Vehicle" means, as respects this endorsement only, any machine or apparatus that is used for
                  transportation or moves under its own power. "Vehicle" includes, but is not limited to: car, truck,
                  bus, trailer, train, aircraft, watercraft, forklift, bulldozer, tractor or harvester.
                  However, any property that is stationary, permanently installed at a covered location and that
                  receives electrical power from an external power source will not be considered a "vehicle".
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                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   EXCLUSION - PROFESSIONAL SERVICES (REAL ESTATE AGENTS,
                    INSURANCE AGENTS, TRAVEL AGENTS, FINANCIAL SERVICES,
                         COMPUTER SOFTWARE, INSURANCE OPERATIONS)
           This endorsement modifies insurance provided under the following:
           BUSINESSOWNERS COVERAGE FORM
           Exclusion B.1.j. Professional Services in Section II, Liability, the following                 is added:
           j.   Professional Services:
58899809




                (10) Services while you are acting in a fiduciary or representative                  capacity including but not limited
                     to Real Estate Agents, Insurance Agents and Travel Agents.
                (11) Financial services including but not limited to:
                    (a) Planning, administering or advising on investments,                   pensions, annuities or individual         retire-
                        ment plan, fund or account;
002260




                    (b) The issuance or withdrawal           of stocks, bonds or other securities;
                    (c) The trading of securities or commodities;
                    (d) Maintaining      of financial accounts or records;
                    (e) Tax planning, tax advising or the preparation of tax returns.
                (12) Services in connection with the selling, licensing, franchising or furnishing of your computer
                     software including electronic data processing programs, designs, specifications, manuals and
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                     instructions.
                (13) Services arising from insurance or related operations:
                    (a) with respect to any contract or treaty of insurance, reinsurance, suretyship, annuity endow-
                        ment or employee benefit plan, including applications, receipts or binders:
                        (i)    any obligation assumed by any Insured; or
                        (ii) the failure to discharge,             or the improper          discharge      of, any obligation        or duty,
                             contractual or otherwise;
                    (b) due to membership in or contribution to any plan, pool, association, insolvency or guar-
                        antee fund or any similar fund, organization or association, whether voluntary or involun-
                        tary;
                    (c) due to the rendering or failure to render professional services in
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                        (i)    advising, inspecting, reporting, or making recommendations in the Insured’s capacity as
                               an insurance company, consultant, broker, agent or representative thereof;
                        (ii) effecting insurance, reinsurance or suretyship coverages;
                        (iii) investigating, defending or settling any claim under any contract of insurance,                             self-
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                              insurance, reinsurance or suretyship;
                        (iv) auditing of accounts or records of others;
                        (v) conducting an investment,            loan or real estate department or operation;
                        (vi) acting in any capacity as a fiduciary               or trustee for mutual funds, pension or welfare
                             funds or other similar activities; or
                        (vii) performing     any claim, investigative,        adjustment,      engineering or inspection service for a
                              fee.




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                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 IDENTITY THEFT ADMINISTRATIVE SERVICES
                                          AND EXPENSE COVERAGE

         This endorsement modifies insurance provided under the following:

              BUSINESSOWNERS COVERAGE FORM

         The following is added to A. 5. Additional Coverages in Section I - Property:

         IDENTITY THEFT ADMINISTRATIVE SERVICES AND EXPENSE COVERAGE
         We will provide "Identity Theft Administrative Services" and will reimburse up to $25,000 for "Identity Theft
         Expenses" incurred by an "identity theft insured" as a direct result of any one "identity theft" in the
         "coverage territory" if all of the following requirements are met:
         1.   The personal identity of an "identity         theft insured" under this policy was the subject of an "identity
              theft";
         2.   Such "identity theft" is first discovered by the "identity theft insured" during the policy period for which
              this Identity Theft Expense Coverage is applicable;
         3.   Such "identity theft" is reported to us as soon as practicable but in no event later than 60 days after it is
              first discovered by the "identity theft insured"; and
         4.   The "identity   theft insured" reports the "identity         theft" in writing to the appropriat e law enforcement
              agency.
         Any act or series of acts committed by one or more persons, or in which such person or persons are aiding
         or abetting others, against an "identity theft insured" is considered to be one "identity theft", even if a
         series of acts continues into a subsequent policy period.

         LIMITS
         Regardless of the number of claims or "identity theft insureds", the most we will pay in the aggregate for all
         "Identity Theft Expenses" resulting from "identity theft" discovered during the policy period is $25,000.
         1.   The $25,000 Identity Theft Expense Limit shall be reduced by the amount of any payment made by us
              under the terms of this insurance. If the Identity Theft Expense Limit of Insurance is exhausted, we will
              have no further liability to pay for loss which may be discovered during the remainder of the policy
              period.
         2.   Any recovery made by us after settlement of a loss covered by this insurance shall not be used to
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              increase or reinstate the Limit of Insurance.
         3.   "Identity Theft Administrative     Services" is provided up to 12 consecutive months after service begins.
         4.   "Identity Theft Administrative     Services" do not reduce the "Identity Theft Expense" Limit.
         This "Identity   Theft Administrative     Service" and "Identity         Theft Expense" Coverage are additional insur-
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         ance.

         EXCLUSIONS
         The following additional exclusions apply to this coverage.
         We do not provide "Identity Theft Administrative           Services" or cover "Identity Theft Expenses":
         1.   Incurred as the result of "identity theft" due to any fraudulent, dishonest, or criminal act by you, your
              partners, employees, members, "executive officers", managers, directors, or trustees or by any au-
              thorized representative of yours, whether acting alone or in collusion with others.




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                In the event of any such act, no "identity theft insured" is entitled to "Identity Theft Expenses", even an
                "identity theft insured" who did not commit or conspire to commit the act causing the "identity theft".
           2.   Arising out of "identity theft" committed by or with knowledge of any relative or former relative of the
                "identity theft insured".
           3.   Arising out of an "identity theft" first discovered by the "identity theft insured" prior to the policy period
                or after the policy period, even if the "identity theft" began or continued during the policy period.
           4.   Arising out of an "identity theft" that is not reported to us within 60 days after it is first discovered by
                the "identity theft insured".

           DEDUCTIBLE
           1.   There is no deductible applicable to the "Identity Theft Administrative               Services".
           2.   We will not pay for "Identity Theft Expenses" resulting from an "identity theft" unless the amount
                exceeds $250. We will then pay the amount of "Identity Theft Expense" in excess of the Deductible
58899809




                Amount, up to the Limit of Insurance. Each "identity theft insured" shall be subject to only one deduct-
                ible during any one policy period.

           CONDITIONS
           The following additional conditions are added for "Identity                Theft Administrative         Services" and "Identity
           Theft Expenses" Coverage:
002260




           1.   The coverage provided under this endorsement will be excess over any other insurance covering the
                same loss or damage, whether you can collect on it or not. But we will not pay any more than the
                Identity Theft Expense Limits of Insurance applicable to this coverage.
           2.   Reimbursement for "Identity Theft Expenses" will be made to the "identity theft insured."
           3.   "Identity Theft Administrative     Services" will provide instructions on:
                a.   How to respond to a potential "identity theft";
435




                b.   How to submit a request for "Identity Theft Administrative              Services"; and
                c.   Information needed for reimbursement           of "Identity Theft Expenses".
                We may provide        "Identity Theft Administrative Services" prior to a final determination of "identity
                theft." However,    if we determine there was not an "identity theft" these services will end and we will
                not have a right    or duty to continue these services. Offering "Identity Theft Administrative Service"
                does not indicate   an admission of liability under this policy.
           4.   Identify Theft Administrative     Services. The following         apply with respect to "Identity Theft Administra-
                tive Services":
                a.   Services will depend on the cooperation,            permissions,      and assistance provided by the "identity
                     theft insured";
                b.   There is no warranty or guarantee that "identity           theft" issues will end and it will not prevent future
                     "identity theft" incidences; and
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                c.   All services may not be offered or applicable to all "identity              theft insureds." For example, minors
                     may not have credit reports available to be monitored.

           DEFINITIONS
145




           With respect to the provisions of this endorsement only, the following definitions are added:
           1.   "Coverage Territory" means:
                a.   The United States of America (including its territories and possessions);
                b.   Puerto Rico; and
                c.   Canada.
           2.   "Executive officers" means a person holding any of the officer positions                        created by your charter,
                constitution, by-laws or any other similar governing document.




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         3.   "Identity theft" means the act of knowingly transferring or using, without lawful authority, a means of
              identification of an "identity theft insured" with the intent to commit, or to aid or abet another to
              commit, any unlawful activity that constitutes a violation of federal law or a felony under any applicable
              state or local law. "Identity theft" does not include the fraudulent use of a business name, d/b/a or any
              other method of identifying a business activity.
         4.   "Identity Theft Expenses" means the following               reasonable and necessary items incurred as a result of
              "identity theft":
              a.   Costs for notarizing affidavits or similar documents attesting to fraud required by financial institu-
                   tions or similar credit grantors or credit agencies.
              b.   Costs for certified mail to law enforcement agencies, credit agencies, financial institutions                 or simi-
                   lar credit grantors.
              c.   Costs for obtaining credit reports.
              d.   Charges incurred for long distance telephone calls to merchants, vendors, suppliers, customers,
                   law enforcement agencies, financial institutions or similar credit grantors, or credit agencies to
                   report or discuss an actual "identity theft".
              e.   Application fees for re-applying for a loan, or loans when the original application is rejected solely
                   because the lender received incorrect credit information as a result of a covered "identity theft."
              f.   Lost income resulting from time taken off from work to complete fraud affidavits, meet with or talk
                   to law enforcement agencies, credit agencies and/or legal counsel, up to a maximum of $250 per
                   day. Total payment for loss of income is not to exceed $5,000 per "identity theft insured" and is
                   included within the "Identity Theft Expenses" and aggregate limits.
              g.   Attorney fees to:
                   i.     Defend lawsuits brought against an "identity theft insured" by merchants, vendors, suppliers,
                          financial institutions, or their collection agencies.
                   ii.    Remove any criminal or civil judgments wrongly entered against an "identity                     theft insured";
                          and
                   iii.   Challenge the accuracy or completeness of any information in a consumer credit report.
              h.   Advertising expenses to restore the reputation of your business after an "identity theft insured" has
                   been the victim of "identity theft". Total payment for advertising expenses is not to exceed $5,000
                   per "identity theft insured" and is included within the "Identity Theft Expenses" and aggregate
                   limits.
         5.   "Identity Theft Administrative Services" means one or more individuals assigned by us to the "identity
              theft insured" to assist with the communication needed to re-establish the integrity of the "identity theft
              insured’s" identity, including with the "identity theft insured’s" permission and cooperation, written
              and telephone communication with law enforcement authorities, government agencies, credit agen-
              cies, and individual creditors and businesses.
         6.   "Identity theft insured" means the following if you are designated in the Declarations as:
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              a.   An individual or sole proprietorship,        you and your spouse are insureds.
              b.   A partnership or joint venture, your members, your partners, and their spouses are insured’s.
              c.   A limited liability company, your members are insured’s.
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              d.   An organization other than a partnership, joint venture, or limited liability company, your "execu-
                   tive officers" and directors are insureds. Your stockholders are not "identity theft insureds."




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                                                                                                                            BUSINESSOWNERS
                                                                                                                                 BP 88 78 07 13

                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    BUSINESS PERSONAL PROPERTY LIMIT - AUTOMATIC INCREASE

           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS COVERAGE FORM

           The following is added to Part C. Limits of Insurance of Section I - Property, of the Businessowners
           Coverage Form:
               6.   Business Personal Property Limit - Automatic Increase
58899809




                    a.   In accordance with Paragraph C.6.b., the Limit of Insurance for Business Personal Property will
                         automatically increase by 2%, unless a different percentage of annual increase applicable to
                         Business Personal Property is shown in the Declarations.
                    b.   The amount of increase is calculated as follows:
                         (1) Multiply the Business Personal Property limit that applied on the most recent of the policy
002260




                             inception date, the policy anniversary date, or any other policy change amending the
                             Business Personal Property limit by:
                                (a) the percentage of annual increase applicable to Business Personal Property shown in
                                    the Declarations, expressed as a decimal (example: 2% is .02); or
                                (b) .02, if no applicable percentage of annual increase is shown in the Declarations; and
                         (2) Multiply the number calculated in accordance with b.(1) by the number of days since the
435




                             beginning of the current policy year, or the effective date of the most recent policy change
                             amending the Business Personal Property limit, divided by 365.
                         Example:
                         If:
                         The applicable Business Personal Property limit is $100,000.
                         The Automatic Increase Business Personal Property is 2%. The number of days since the
                         beginning of the policy year (or last policy change) is 146.
                         The amount of increase is
                         $100,000 x .02 x 146         365 = $800.
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                                                                               WAP 000161
           Case 3:20-cv-12584-FLW-TJB Document 11 Filed 12/08/20 Page 199 of 376Number:
                                                                           Policy PageID: 399
                                                                                                            BZW    (20) 58 89 98 09
                                                                                                            Policy Period:
                                                      Policyholder      Information                         From 10/01/2019 To 10/01/2020
                                                                                                            12:01 am Standard Time
                                                                                                            at Insured Mailing Location
           Named Insured & Mailing Address                                      Agent Mailing Address & Phone No.

           METUCHEN CENTER INC                                                  (732) 548-2727
           10-12 EMBROIDERY ST                                                  THE SCHENCK AGENCY INC
           SAYREVILLE, NJ 08872                                                 PO BOX 351
                                                                                METUCHEN, NJ 08840-0351
58899809




                                 Dear Policyholder:
                                 We know you work hard to build your business. We work together with your agent,
                                 THE SCHENCK AGENCY INC                       (732) 548-2727
001974




                                 to help protect the things you care about. Thank you for selecting us.

                                 Enclosed are Important Notices to Policyholders. This notice is being sent to you in
                                 advance of your upcoming policy expiration to alert you of changes in coverage that
                                 will apply in the event we offer you a renewal policy. Should we elect to not renew
                                 your policy, you will receive a nonrenewal notice.

                                          .
435




                                              Commercial Protector

                                 If you have any questions or changes that may affect your insurance needs, please
                                 contact your Agent at (732) 548-2727




           You Need To Know

           .   NOTICE(S) TO POLICYHOLDER(S)
               The Important Notice(s) to Policyholder(s) provide a general explanation of changes in coverage to your policy. The
               Important Notice(s) to Policyholder(s) is not a part of your insurance policy and it does not alter policy provisions or
               conditions. Only the provisions of your policy determine the scope of your insurance protection. It is important that you
4




               read your policy carefully to determine your rights, duties and what is and is not covered.
of




               FORM NUMBER                    TITLE
1




               NP 72 66 04 17                 New Jersey Earthquake Insurance Availability Notice




           To report a claim, call your Agent or 1-800-362-0000

                                                                                                                     WAP 000162
           RL 00 01 07 17
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                                                                           WAP 000163
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                                                                                                           NP 72 66 04 17

                                    NEW JERSEY EARTHQUAKE INSURANCE
                                           AVAILABILITY NOTICE
           All insureds and applicants are cautioned that commercial fire and extended coverage insurance policies do
           not provide coverage for earthquake damage.

           The definition of an earthquake:

                   is a shaking or trembling of the earth that is geologic or tectonic in nature;
                   includes shock waves or tremors before, during or after a volcanic eruption; and
                   can also include after-shocks that occur within a seventy-two hour period following an earthquake.

           A typical commercial fire and extended coverage insurance policy:
58899809




                   does not cover the cost to replace your damaged dwelling, premises or structure, such as garages,
                   resulting from an earthquake;
                   does not cover the cost to replace or repair the contents of your business if the damages result from
                   an earthquake; and
                   does not pay for any additional business expenses if your property is badly damaged or destroyed
                   by an earthquake.
001974




           Earthquake insurance is available through an endorsement to your policy for an additional premium. The
           decision to purchase earthquake insurance is one that should be carefully considered based on individual
           circumstances.

           Historically, an earthquake in New Jersey is a rare event, although the possibility exists that it could happen.
           Over the five (5) -year period from 2010 to 2015, for every $1 of earthquake insurance premium, 1/10 of one
           cent has been paid out for losses.
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           Please contact your agent if you have any questions or want additional information on how you can obtain
           earthquake insurance.

           This notice is a general description of coverage and does not change, modify or invalidate any of the
           provisions, terms or conditions of your policy or endorsements.
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           NP 72 66 04 17                              2017 Liberty Mutual Insurance                        WAP 000164
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      EXHIBIT “C”
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      EXHIBIT “D”
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   Fax: (732) 505-1360
   Attorney Id. # 020391998
   Attorney for Plaintiff
   File Number:     134473
                                               :   SUPERIOR COURT OF NEW JERSEY
   METUCHEN CENTER, INC.                       :   LAW DIVISION
                                               :   MIDDLESEX COUNTY
                                               :
                                               :   Docket No.:
                                               :
                                   Plaintiffs, :
                   vs.                         :   CIVIL ACTION
                                               :
                                               :
   LIBERTY MUTUAL INSURANCE                    :         COMPLAINT FOR
   COMPANY, WEST AMERICAN                      :   DECLARATORY JUDGMENT,
   INSURANCE COMPANY, and XYZ                  :   NOTICE OF OTHER ACTIONS,
   COMPANY 1-100 (a fictitious name for        :      DESIGNATION OF TRIAL
   insurance companies and underwriters        :    COUNSEL, CERTIFICATION
   presently unknown)                          :     PURSUANT TO RULE 4:5-1,
                                               :    DEMAND FOR DOCUMENTS
                                               :   AND DEMAND FOR ANSWERS
                                                      TO INTERROGATORIES
                                              :
                                  Defendants. :

         Plaintiff, METUCHEN CENTER, INC (“MCI”) files this Complaint for damages

  and declaratory judgment against defendants, LIBERTY MUTUAL INSURANCE

  COMPANY (“LIMU”), WEST AMERICAN INSURANCE COMPANY, (“WAIC”),

  and XYZ COMPANY 1-100, (“XYZ”) being a fictitious name or insurance companies

  and underwriters presently unknown, alleging the following:
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                                     INTRODUCTION

         1.     This action for bad faith and declaratory judgment arises out of plaintiff’s

  claim for coverage under its All Risk Insurance Policy insured by defendant LIMU and

  apparently underwritten by co-defendant WAIC.

         2.     An All Risk Policy is a special type of insurance covering all fortuitous

  losses, in the absence of fraud or other intentional misconduct of the insured, unless a

  specific provision in the insurance policy expressly excludes or limits the loss from

  coverage. Victory Peach Group, Inc. Greater N.Y. Mutual Ins. Co., 310 N.J. Super. 82,

  87-88 (App. Div. 1998).

         3.     Despite agreeing to cover plaintiff, MCI, for all risks of direct physical loss

  of or physical damage to Covered Property, unless specifically excluded or limited by the

  policy, and plaintiff’s business interruption loss following Governor Philip D. Murphy’s

  March 9, 2020 Executive Order 103 which declared a State of Emergency and a Public

  Health Emergency throughout New Jersey and which resulted in the mandatory closure

  of plaintiff’s non-essential businesses indefinitely beginning on March 21, 2020

  following the execution of Executive Order 107, defendant(s) LIMU and/or WAIC have

  taken a calculated risk of their own by systemically denying business interruption claims

  throughout New Jersey which seek insurance benefits for the loss of business due to the

  aforesaid business closures following New Jersey’s State of Emergency and Public

  Health Emergency.

         4.     Undeniably, defendant(s) chose to insure plaintiff MCI against the very loss

  caused by the closure of their insureds’ non-essential business during the pending State of
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  Emergency and Public Health Emergency throughout New Jersey. Plaintiff is entitled to

  recover under its insurance contract which it has long-relied upon as protection against

  unforeseen loss or damage and resulting loss of income.

                                         THE PARTIES

            5.   Defendant, LIBERTY MUTUAL INSURANCE COMPANY (“LIMU”),

  with its principal place of business located at 175 Berkeley Street, Boston,

  Massachusetts, and the entity who insures the plaintiff and who is authorized to transact

  business in the state of New Jersey.

            6.   Defendant, WEST AMERICAN INSURANCE COMPANY, (“WAIC”),

  with its principal place of business located at 175 Berkeley Street, Boston,

  Massachusetts, is a subsidiary of LIMU, and the underwriter of the policy in dispute.

  Upon information and belief, WAIC is authorized to transact business in the state of New

  Jersey.

            7.   Defendant, XYZ COMPANY 1-100, (“XYZ”) being a fictitious name or

  insurance companies and underwriters presently unknown, is an entity that insures the

  plaintiff and or was the underwriter of the subject policy in dispute, and who is or may

  be liable to the plaintiff for some or all of the alleged damages set forth in this Complaint.

            8.   Plaintiff, METUCHEN CENTER, INC (“MCI”) with its principal place of

  business located at 10-12 Embroidery Street, in the Borough of Sayreville, County of

  Middlesex, state of New Jersey, is a sporting goods apparel company that, during all

  times hereinafter mentioned, was insured under a certain Business Owner’s Policy issued

  by defendants bearing policy number BZW(20) 58 89 98 09, and which was in effect
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  between March 9, 2020 and the present. This policy insured the plaintiff with business

  interruption insurance coverage.

                               FACTUAL BACKGROUND

        9.     On March 9, 2020, Governor Philip D. Murphy executed Executive Order

  103 which declared a State of Emergency and a Public Health Emergency throughout

  New Jersey. (Exhibit “A”)

        10.    Thereafter, on March 21, 2020, with the execution of Executive Order 107,

  Governor Philip D. Murphy closed all New Jersey non-essential businesses indefinitely.

  (Exhibit “B”)

        11.    Plaintiff, MCA, is a sporting good apparel company which was deemed a

  non-essential business and ordered closed by the Governor effective March 21, 2020.

        12.    The mandatory closure of the plaintiff’s non-essential business, constitutes

  “physical damage” under the terms of the subject policy.

        13.    The mandatory closure of the plaintiff’s non-essential business, constitutes

  a Constructive Eviction under the terms of the subject policy.

        14.    The term “physical” is ambiguous since it can mean more than material

  alteration or damage, therefore it was incumbent upon the defendant(s) to clearly and

  specifically rule out coverage in the circumstances where it was not to be provided,

  something which did not occur in the case at bar. Wakefern Food Corp. v. Liberty Mutual

  Fire Ins. Co., 406 N.J. Super. 524, 541-542 (App. Div. 2009).
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          15.    “Physical Damage” is not restricted to the physical destruction or harm to

  the insured property, rather it includes the loss of access, loss of use and loss of

  functionality of the insured/ scheduled premises. Wakefern Food Corp, 406 N.J. Super.

  543.

          16.    Had defendant(s) intended that its policy would not provide coverage for a

  State of Emergency, a Public Health Emergency, and or a Constructive Eviction then it

  was obligated to define its policy exclusion more clearly. Wakefern Food Corp. v.

  Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524, 541 (App. Div. 2009)

          17.    Prior to March 9, 2020, plaintiff MCI entered into a contract of indemnity

  with defendants, LIMU and or WIC, whereby plaintiff agreed to make cash payments to

  defendant(s) in exchange for defendants’ promise to indemnify the plaintiff for losses

  including, but not limited to, business income losses at 10-12 Embroidery Street, in the

  Borough of Sayreville, County of Middlesex, state of New Jersey hereinafter referred to

  as the “insured premises” / “scheduled premises”, known as METUCHEN CENTER,

  INC. (“MCI”).

          18.    The insured premises known as METUCHEN CENTER, INC is covered

  under a policy issued by defendant SIC bearing policy number BZW(20) 58 89 98 09.

          19.    Policy BZW(20) 58 89 98 09 (Business Owners Coverage endorsement

  BP00030713) was in effect on March 9, 2020 and remains in effect to this day. A copy of

  the Policy is attached hereto as Exhibit “C”.
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         20.      Policy BZW(20) 58 89 98 09 (Business Owners Coverage endorsement

  BP00030713) specifically includes property, business personal property, business income

  and extra expense, ordinance or law coverage, and civil authority coverage to its insured.

         21.      On or about March 31, 2020, plaintiff filed a business interruption claim

  with defendant, LIMU, via the defendant’s on-line portal. The claim was assigned to

  Property Adjuster, Michael Stanford, and assigned Claim Number 23799145.

         22.      The denial letter, which is dated April 2, 2020, that plaintiff MCI received

  from defendant LIMU is attached hereto as Exhibit “D” and stated the following:

               Dear Mr. Douglas,

               This letter is to inform you that we have conducted an investigation of your claim for
               the reported loss of income. We have completed our review of the information provided
               by you or on your behalf. The following is a summary of our findings and position on
               coverage for the claim asserted.

               The insurance policy issued to Metuchen Center Inc provides coverage subject to the
               policy terms and conditions. Based on our investigation and review of the policy, there
               is no coverage available for your loss as outlined below.

               THE CLAIM

               Our first notice of loss was on or about 03/31 /2020. It was reported your business
               suffered an income loss due to restrictions from COVID-19.

               Our investigation of your claim revealed the following relevant information:

               We have determined that your Athletic apparel business was fully shutdown and has
               suffered loss of income due to government recommendations or restrictions on the
               travel of people as a preventative measure to slow the spread of COVID-19. We
               confirmed no direct physical loss or damage to your personal property or the
               building(s) or to neighboring properties.
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         23.     The defendant(s) denial letter (Exhibit “D”) went on to explain in detail

  the specific policy provisions upon which the plaintiff’s claim was denied, and it states:

         THE POLICY

         With regard to your Policy, we refer you to the following relevant provisions
         contained in the BUSINESSOWNERS COVERAGE FORM BP 00 03 (7/13)
         which states:

         Various provisions in this policy restrict coverage. Read the entire policy carefully
         to determine rights, duties and what is and is not covered.

         Throughout this Coverage Form the words "you" and "your" refer to the Named
         Insured shown in the Declarations.


         The words "we", "us" and "our" refer to the company providing this insurance.

           ***



          SECTION I - PROPERTY

          A. Coverage

               We will pay for direct physical loss of or damage to Covered Property at the
               premises described in the Declarations caused by or resulting from any
               Covered Cause of Loss.

          ***
                5. Additional Coverages

          ***
                   f. Business Income

                     (1) Business Income
                         (a) We will pay for the actual loss of Business Income you sustain
                             due to the necessary suspension of your "operations" during
                             the "period of restoration". The suspension must be caused by
                             direct physical loss of or damage to property at the described
                             premises. The loss or damage must be caused by or result from
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                          a Covered Cause of Loss. With respect to loss of or damage to
                          personal property in the open or personal property in a vehicle,
                          the described premises include the area within 100 feet of such
                          premises.

          ***
                 i. Civil Authority
                    When a Covered Cause of Loss causes damage to property other than
                    property at the described premises, we will pay for the actual loss of
                    Business Income you sustain and necessary Extra Expense caused by
                    action of civil authority that prohibits access to the described
                    premises, provided that both of the following apply:

                   (1) Access to the area immediately surrounding the damaged property
                       is prohibited by civil authority as a result of the damage, and the
                       described premises are within that area but are not more than one
                       mile from the damaged property; and
                   (2) The action of civil authority is taken in response to dangerous
                       physical conditions resulting from the damage or continuation of
                       the Covered Cause of Loss that caused the damage, or the action
                       is taken to enable a civil authority to have unimpeded access to
                       the damaged property.

                   Civil Authority Coverage for Business Income will begin 72 hours
                   after the time of the first action of civil authority that prohibits access
                   to the described premises and will apply for a period of up to four
                   consecutive weeks from the date on which such coverage began.

                   Civil Authority Coverage for necessary Extra Expense will begin
                   immediately after the time of the first action of civil authority that
                   prohibits access to the described premises and will end:
                   (1)     Four consecutive weeks after the date of that action; or
                   (2)     When your Civil Authority Coverage for Business Income
                   ends; whichever is later.

                   The definitions of Business Income and Extra Expense contained in
                   the Business Income and Extra Expense Additional Coverages also
                   apply to this Civil Authority Additional Coverage. The Civil
                   Authority Additional Coverage is not subject to the Limits of
                   Insurance of Section I - Property

          ***
          B. Exclusions
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                1. We will not pay for loss or damage caused directly or indirectly by any
                of the following. Such loss or damage is excluded regardless of any other
                cause or event that contributes concurrently or in any sequence to the loss.
                These exclusions apply whether or not the loss event results in widespread
                damage or affects a substantial area.


           ***

                   j. Virus Or Bacteria

                       (1) Any virus, bacterium or other microorganism that induces or is
                           capable of inducing physical distress, illness or disease.
                       (2) However, the exclusion in Paragraph (1) does not apply to loss or
                           damage caused by or resulting from "fungi", wet rot or dry rot.
                           Such loss or damage is addressed in Exclusion i.
                       (3) With respect to any loss or damage subject to the exclusion in
                           Paragraph (1), such exclusion supersedes any exclusion relating
                           to "pollutants".


           ***

                2. We will not pay for loss or damage caused by or resulting from any of
                the following:
                   b. Consequential Losses
                      Delay, loss of use or loss of market.
          ***

                  j. Pollution
                     We will not pay for loss or damage caused by or resulting from the
                     discharge, dispersal, seepage, migration, release or escape of
                     "pollutants" unless the discharge, dispersal, seepage, migration,
                     release or escape is itself caused by any of the "specified causes of
                     loss". But if the discharge, dispersal, seepage, migration, release or
                     escape of "pollutants" results in a "specified cause of loss", we will
                     pay for the loss or damage caused by that "specified cause of loss".


          ***

                 3. We will not pay for loss or damage caused by or resulting from any of
                 the following Paragraphs a. through c. But if an excluded cause of loss that
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                is listed in Paragraphs a. through c. results in a Covered Cause of Loss, we
                will pay for the loss or damage caused by that Covered Cause of Loss.

          ***

                 b. Acts Or Decisions

                     Acts or decisions, including the failure to act or decide, of any
                     person, group organization or governmental body.


          ***

          H. Property Definitions

          ***

                8. "Operations" means your business activities occurring at the described
                premises.

                9. "Period of restoration":
                    a. Means the period of time that:
                       (1) Begins:
                          (a) 72 hours after the time of direct physical loss or damage for
                          Business Income Coverage; or
                          (b) Immediately after the time of direct physical loss or damage
                          for Extra Expense Coverage; caused by or resulting from any
                          Covered Cause of Loss at the described premises; and
                       (2) Ends on the earlier of:
                          (a) The date when the property at the described premises should
                          be repaired, rebuilt or replaced with reasonable speed and similar
                          quality; or
                          (b) The date when business is resumed at a new permanent
                          location.
          ***

                10. "Pollutants" means any solid, liquid, gaseous or thermal irritant or
                     contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
                     chemicals and waste. Waste includes materials to be recycled,
                     reconditioned or reclaimed.

          ***
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           24.   The policy issued by defendants to plaintiff, MCI, upon which the subject

  claim was made, did not contain exclusions or limitations for a State of Emergency.

  (Exhibit “C”)

           25.   The policy issued by defendants to plaintiff, MCI, upon which the subject

  claim was made, did not contain exclusions or limitations for a Public Health Emergency.

  (Exhibit “C”).

           26.   The policy issued by defendants to plaintiff, MCI, upon which the subject

  claim was made, did not contain exclusions or limitations for a Constructive Eviction.

  (Exhibit “C”).

           27.   In fact, the denial letter explicitly contained an explanation of the limited

  yet specific and limited reasons for the denial. (Exhibit “D”)

           28.   Therein, the defendant, LIMU, stated, “We have determined that your

  Athletic apparel business was fully shutdown and has suffered loss of income due to

  government recommendations or restrictions on the travel of people as a preventative

  measure to slow the spread of COVID-19.” (Exhibit “D”)

           29.   The defendant, LIMU, goes on to explain that, “We confirmed no direct

  physical loss or damage to your personal property or the building(s) or to neighboring

  properties.” (Exhibit “D”)

           30.   Governor Murphy’s Executive Order was not a secret! The defendants

  knew full well why non-essential businesses were closed: a State of Emergency as well as

  a Public Health Emergency were declared on March 9, 2020 through Executive Order

  103.
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         31.     Wherein the opening language of this policy as seen in section “A.

  Coverage”, specifically states that “We will pay for direct physical loss or damage to

  Covered Property at the premises described . . .” the policy’s section “B. Exclusions”

  section redefines the scope of direct physical loss or damage coverage to only cover

  “loss or damage.”

         32.     Clearly, the operative policy language (“loss or damage” and “physical loss

  or physical damage”) is distinguishable and intended to have two distinct meanings,

  although not specifically defined within the policy, thus creating ambiguity throughout

  the entire “B. Exclusions” section of this policy.

         33.     Moreover, in the denial letter (Exhibit “D”) the defendant(s) only relied

  upon the following applicable specific exclusion to denying plaintiff’s claim:

           B. Exclusions

                 1. We will not pay for loss or damage caused directly or indirectly by any
                 of the following. Such loss or damage is excluded regardless of any other
                 cause or event that contributes concurrently or in any sequence to the loss.
                 These exclusions apply whether or not the loss event results in widespread
                 damage or affects a substantial area.
         ***

                 3. We will not pay for loss or damage caused by or resulting from any of
                 the following Paragraphs a. through c. But if an excluded cause of loss
                 that is listed in Paragraphs a. through c. results in a Covered Cause of
                 Loss, we will pay for the loss or damage caused by that Covered Cause
                 of Loss.

           ***

                   b. Acts Or Decisions

                       Acts or decisions, including the failure to act or decide, of any
                       person, group, organization or governmental body.
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         34.    The acts or decision of Governor Murphy, through Executive Order 103,

  created a State of Emergency as well as a Public Health Emergency, both of which are

  independent of the other.

         35.     In addition, the acts or decision of Governor Murphy, through Executive

  Order 103, created a Constructive Eviction of the insured premises.


                                        BAD FAITH

         36.    Defendants failed to exercise good faith in processing MCI’s claim. Had

  defendants not conducted an inadequate and improper investigation of MCI’s claim then

  defendants would have realized that no debatable reason exists for the denial of MCI’s

  insurance benefits.

         37.    It is quite apparent, based upon the face of defendant’s denial letter

  (Exhibit “D”), that defendant(s) did not conduct any investigation into the merits of

  plaintiff’s claim.

         38.    No reasonable Claims Examiner or Property Adjuster can say with a

  straight face that he was unaware of the March 9, 2020 Executive Order 103 which

  declared a State of Emergency as well as a Public Health Emergency throughout New

  Jersey and which was immediately followed-up with Executive Order 107 on March 21,

  2020 which indefinitely closed all New Jersey non-essential businesses in New Jersey.

         39.    Upon information and belief, defendant(s) never intended to insure such a

  claim and, furthermore, defendant(s) have denied all such claims made by its New Jersey

  insureds.
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         40.     When an insured files an insurance claim, an insurer must treat its

  policyholders’ interests with equal regard as it does its own interests.

         41.    When an insured files an insurance claim, an insurer must treat its

  policyholders’ interests with equal regard as it does its own interests because this is not

  an adversarial process.



         42.    An insurance company should assist its policyholder with the claim.

         43.    An Insurance company must disclose to its insured all benefits, coverages

  and time limits that may apply to the claim.

         44.    An Insurance company must conduct a full, fair, and prompt investigation

  of the clam as its own expense.

         45.    An insurance company must fully, fairly, and promptly evaluate and adjust

  the claim.

         46.    An insurance company may not deny a claim or part of claim based on

  insufficient information, speculation, or biased information.

         47.    An insurance company may not misrepresent facts or policy provisions.

         48.    An insurance company acts with good faith when it assist the policyholder

  with locating coverage for the claimed loss.

         49.    An insurance company acts with good faith when it assist the policyholder

  with locating coverage for the claimed loss, such as when the insurer scours its policy for

  coverage rather than exclusions.
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         50.    Upon information and belief defendants did not treat its policyholder’s (the

  plaintiff), interests with equal regard as it does its own interests.

         51.    Upon information and belief defendants did not treat its policyholder’s (the

  plaintiff), interests with equal regard as it does its own interests because defendants

  treated the clam as an adversarial process.

         52.    Defendants did not assist its policyholder (the plaintiff) with its claim.

         53.    Defendants did not disclose to its insured all benefits, coverages, and time

  limits that may apply to the claim.

         54.    Defendants did not conduct a full, fair, and prompt investigation of the

  plaintiff’s clam.

         55.    Defendants did not fully, fairly, and promptly evaluate and adjust the

  plaintiff’s claim.

         56.    Defendants denied plaintiff’s claim based on insufficient information,

  speculation, or a biased information.

         57.    Defendants misrepresented the claim facts and policy provisions in order to

  attempt to justify its wrongful denial of plaintiff’s claim.

         57.    Defendants did not assist its policyholder (the plaintiff) with locating

  coverage for the claimed loss.

         58.    Defendants did not search its policy for coverage that would protect its

  policyholder, the plaintiff.

         59.     Defendants searched its policy for exclusions.
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                                           COUNT ONE

                                    Declaratory Judgment

         61.    Plaintiff repeats and reiterates each of the averments set forth above

  as though more fully set forth herein.

         62.    Plaintiff, MCI, seeks the Court’s declaration of the parties’ rights and duties

  under the Policy pursuant to N.J.S.A. 2A:16-50 et seq.

         63.    A justiciable controversy exists between defendants and the plaintiff, MCI.

         64.    The controversy between the defendants and the plaintiff, MCI is ripe for

  judicial review.

         65.    New Jersey has enacted the Declaratory Judgment Act, N.J.S.A. 2A:16-50

  et seq. for purposes of declaring parties’ rights in this precise circumstance.

         66.    Accordingly the plaintiff, MCI seeks a declaration from the Court that:

                (a).   No policy exclusion applies to bar or limit Business Owners

  Coverage under endorsement BP00030713 for METUCHEN CENTER, INC.’s claim

  under Policy number BZW(20) 58 89 98 09;

                (b).   The Policy, BZW(20) 58 89 98 09, Business Owners Coverage

  endorsement BP00030713 covers METUCHEN CENTER, INC.’s claim;

                (c).   The various coverage provisions identified herein are triggered by

  METUCHEN CENTER, INC.’s claim;

                (d).   The Exclusions contained within the plaintiff’s Business Owners

  Coverage policy are ambiguous;
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                 (e).   The Exclusions contained within the plaintiff’s Business Owners

  Coverage policy are unenforceable;

                 (f).   The mandatory closure of the plaintiff’s non-essential business

  constitutes “physical damage” under the terms of the subject policy;

                 (g)    The term “physical” is ambiguous since it can mean more than

  material alteration or damage, therefore it was incumbent upon the insurer (defendant) to

  clearly and specifically rule out coverage in the circumstances where it was not to be

  provided, something which did not occur in the case at bar. Wakefern Food Corp. v.

  Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524, 541-542 (App. Div. 2009).

                 (h).   Had defendants intended that its policy would provide no coverage

  for a State of Emergency and a Public Health Emergency, it was obligated to define its

  policy exclusion more clearly. Wakefern Food Corp. v. Liberty Mutual Fire Ins. Co., 406

  N.J. Super. 524, 541 (App. Div. 2009); and

                 (i)    “Physical Damage” is not restricted to the physical destruction or

  harm to the insured property, rather it includes the loss of access, loss of use and loss of

  functionality of the insured/ scheduled premises. Wakefern Food Corp, 406 N.J. Super.

  543.

           WHEREFORE, pursuant to the Declaratory Judgment Act, N.J.S.A. 2A:16-50 et

  seq. the plaintiff prays for judgment by this Court that no policy exclusion applies to bar

  or limit coverage for METUCHEN CENTER, INC’s claim under policy BZW(20) 58 89

  98 09; the Policy (BZW(20) 58 89 98 09) covers METUCHEN CENTER, INC’s claim;

  the various coverage provisions identified herein are triggered by METUCHEN
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  CENTER, INC’s claim; the mandatory closure of the plaintiff’s non-essential business

  constitutes “physical damage” under the terms of the subject policy; the term “physical”

  is ambiguous since it can mean more than material alteration or damage, therefore it was

  incumbent upon the insurer (defendant) to clearly and specifically rule out coverage in

  the circumstances where it was not to be provided, something which did not occur in the

  case at bar. Wakefern Food Corp. v. Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524,

  541-542 (App. Div. 2009); had defendants intended that its policy would provide no

  coverage for a State of Emergency, a Public Health Emergency and or a Constructive

  Eviction, it was obligated to define its policy exclusion more clearly. Wakefern Food

  Corp. v. Liberty Mutual Fire Ins. Co., 406 N.J. Super. 524, 541 (App. Div. 2009);

  “Physical Damage” is not restricted to the physical destruction or harm to the insured

  property, rather it includes the loss of access, loss of use and loss of functionality of the

  insured/ scheduled premises. Wakefern Food Corp, 406 N.J. Super. 543; and that the

  plaintiff be awarded costs, counsel fees, and such other relief as the Court deems

  equitable and just.

                                          COUNT TWO

                                 BREACH OF CONTRACT

         67.    Plaintiff repeats and reiterates each of the averments set forth above

  as though more fully set forth herein.

         68.    The Policy (BZW(20) 58 89 98 09) is a valid and enforceable contract

  between the defendants and plaintiff.
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         69.    In the Policy, the defendants agreed to cover property against all risks of

  physical loss or damage not otherwise limited or excluded.

         70.    The Executive Orders of Governor Philip D. Murphy created physical loss

  or damage to the insured/scheduled premises.

         71.    No exclusions apply to bar coverage.

         72.    MCI is entitled to coverage for the physical loss or damage.

         73.    MCI complied with all applicable Policy provisions, including paying

  premiums and providing timely notice of its claim.

         74.    Nonetheless, defendants unjustifiably refuse to pay for MCI’s direct

  physical loss or damage in breach of the Policy.

         75.    MCI has suffered and continues to suffer damages as a result of

  defendant(s) breach of contract.

         WHEREFORE, the plaintiff, MCI demands judgment against the defendants for

  damages, interest, costs of suit, and such further relief as the Court deems just and proper.

                                       COUNT THREE

                                           BAD FAITH

         76.    Plaintiff repeats and reiterates each of the averments set forth above

  as though more fully set forth herein.

         77.    Defendants failed to exercise good faith in processing MCI’s claim. Had

  defendants not conducted an inadequate and improper investigation of MCI’s claim the

  defendants would have realized that no debatable reason exists for the denial of plaintiff’s

  insurance benefits.
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         78.    It is quite apparent, based upon the face of the LIMU’s denial letter

  (Exhibit “D”), that defendant did not conduct any investigation into the merits of

  plaintiff’s claim.

         79.    No reasonable Claims Examiner or Property Adjuster can say with a

  straight face that he was unaware of the March 9, 2020, Executive Order 103 which

  declared a State of Emergency, as well as a Public Health Emergency throughout New

  Jersey and which was immediately followed-up with Executive Order 107 on March 21,

  2020 which indefinitely closed all New Jersey non-essential businesses in New Jersey.

         80.    Upon information and belief, defendants never intended to insure such a

  claim and, furthermore, defendants have denied all such claims made by its New Jersey

  insureds following the aforesaid Executive Orders.

         81.     When an insured files an insurance claim, an insurer must treat its

  policyholders’ interests with equal regard as it does its own interests.

         82.    When an insured files an insurance claim, an insurer must treat its

  policyholders’ interests with equal regard as it does its own interests because this is not

  an adversarial process.

         83.    An insurance company should assist its policyholder with the claim.

         84.    An Insurance company must disclose to its insured all benefits, coverages

  and time limits that may apply to the claim.

         85.    An Insurance company must conduct a full, fair, and prompt investigation

  of the claim as its own expense.
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         86.    An insurance company must fully, fairly, and promptly evaluate and adjust

  the claim.

         87.    An insurance company may not deny a claim or part of claim based on

  insufficient information, speculation, or biased information.

         88.    An insurance company may not misrepresent facts or policy provisions.

         89.    An insurance company acts with good faith when it assist the policyholder

  with locating coverage for the claimed loss.

         90.    An insurance company acts with good faith when it assist the policyholder

  with locating coverage for the claimed loss, such as when the insurer scours its policy for

  coverage rather than exclusions.

         91.    Upon information and belief defendants did not treat its policyholder’s (the

  plaintiff), interests with equal regard as it does its own interests.

         92.    Upon information and belief defendants did not treat its policyholder’s (the

  plaintiff), interests with equal regard as it does its own interests because defendants

  treated the claim as an adversarial process.

         93.    Defendants did not assist its policyholder (the plaintiff) with its claim.

         94.    Defendants did not disclose to its insured all benefits, coverages, and time

  limits that may apply to the claim.

         95.    Defendants did not conduct a full, fair, and prompt investigation of the

  plaintiff’s clam.

         96.    Defendants did not fully, fairly, and promptly evaluate and adjust the

  plaintiff’s claim.
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         97.    Defendants denied plaintiff’s claim based on insufficient information,

  speculation, or a biased information.

         98     Defendants misrepresented the claim facts and policy provisions in order to

  attempt to justify its wrongful denial of plaintiff’s claim.

         99.    Defendants did not assist its policyholder (the plaintiff) with locating

  coverage for the claimed loss.

         100.   Defendants did not search its policy for coverage that would protect its

  policyholder, the plaintiff.

         101.    Defendants searched its policy for exclusions.

         101.   Defendant does not have the capacity to pay for all business interruption

  claims, therefore it never intended to insure such an event as claimed herein.

         WHEREFORE, the plaintiff, MCI demands judgment against the defendants for

  damages, punitive damages, attorney’s fees, interest, costs of suit, and such further relief

  as the Court deems just and proper.

                                   DEMAND FOR TRIAL BY JURY

         Plaintiffs demand trial buy jury as to all issues involved in Counts Two and Three.

                                 DESIGNATION OF TRIAL COUNSEL

         Pursuant to R. 4:25-4, MICHAEL J. DEEM, ESQ. is hereby designated a Trial

  Counsel of this matter.
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                                         CERTIFICATION

         I hereby certify that this matter is not the subject of any other action pending in

  any Court or a pending Arbitration proceeding, nor is any other action or Arbitration

  proceeding contemplated. All parties known to plaintiff at this time who should have

  been joined in this action, have been joined.

                                            R.C. SHEA & ASSOCIATES
                                            Attorneys for Plaintiff

                                            By: Michael Deem
                                            MICHAEL J. DEEM, ESQUIRE

  Dated: July 7, 2020

                   DEMAND FOR PRODUCTION OF DOCUMENTS

         PLEASE TAKE NOTICE that the undersigned attorneys for plaintiff(s),

  pursuant to New Jersey Court Rule 4:18-1, hereby demand that defendant(s) produce the

  following documents for inspection at the offices of R.C. SHEA & ASSOCIATES, 244

  Main Street, Toms River, New Jersey, within 35 days from the date of this Notice.

                               DOCUMENTS REQUESTED

         1.     Any and all statements made by any party to this lawsuit, their agents,

  representatives or employees, whether written or oral.

         2.     Any and all statements made by any witnesses to the events described in

  any and all of the paragraphs of the cause of action.

         3.     Any and all statements made by any person other than witnesses or parties

  which relate or refer in any way to the cause of action.
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         4.      Any and all written reports rendered by defendant(s) proposed expert

  witnesses, intended or not intended to be called at the time of trial.

         5.      Any and all books, treatises commentaries, reports, statutes, codes,

  ordinances, rules, regulations or other published documents referred to and utilized by or

  relied upon by an expert witness whom defendant(s) intend(s) to call at trial.

         6.      Any and all blue prints, charts, diagrams, drawings, graphs, maps, plats,

  plans, photographs, video, models or other visual reproduction of any object, place or

  thing prepared or utilized by, referred to or relied upon by any expert witnesses whom

  defendant(s) intend(s) to call at the time of trial.

         7.      A copy of any and all written report or summaries of oral reports, as well as

  copies of the curriculum vitae of any and all experts that have been supplied to

  defendant’s attorneys, whose testimony will be offered at time of trial in the above

  captioned matter.

         8.      The entire underwriting file and insurance policy for Policy Number

  BZW(20) 58 89 98 09.

         9.      The entire claims file of the defendant pertaining to Claim Number

  23799145 including, but not limited to, any and all e-mail correspondence, policy logs,

  and claims activity logs.

         10.     Specifically identify and attached hereto the name of each and every

  underwriter(s) or any other person(s) that reviewed and approved the plaintiff’s

  application for insurance; and the person(s) who set the rate plaintiffs insurance premium.
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          11.   For    the    time    period    immediately     preceding    the   plaintiff’s

  application/renewal date for the coverage period at issue, specifically identify and

  produce any and all documents including, but not limited to, defendant’s policies and

  procedures, underwriting standards/guidelines, memorandum, notes or any other

  document that defendant, its agents, and employees relied upon to determine whether or

  not to issue a policy or to set the cost of an applicant’s premiums.

          12.   Produce a Curriculum Vitae for each and every agent, employee and/or

  other person identified in this Notice to Produce, defendant’s Answers to Interrogatories

  and/or who defendant will call to testify at the time of trial, including but not limited to

  any expert witnesses.

          13.   Produce a complete and legible copy of defendant’s Operations Guide,

  Business Interruption Claims Handling Manual, or the functional equivalent thereof for

  its first party claims and which was in effect on between March 9, 2020 and May 15,

  2020.

          14.   A list of all New Jersey business interruption claims which this defendant

  has agreed to pay due to the closure of non-essential businesses in New Jersey following

  the execution of Governor Philip D. Murphy’s Executive Order 103 and 107.

          15.   Any and all documents, including email, which demonstrate that defendant

  was aware of Governor Philip D. Murphy’s Executive Order 103 and 107.

          16.   Any and all documents, including email, which demonstrate that defendant

  was now aware of Governor Philip D. Murphy’s Executive Order 103 and 107.
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         17.    Any and all documents demonstrating that defendant conducted a full, fair,

  and prompt investigation of the plaintiff’s claim.

         18.    Any and all documents demonstrating that defendant fully, fairly, and

  promptly evaluated and adjusted the plaintiff’s claim.

         19.    Identify and attach hereto any and all facts, data and documents this

  defendant submitted to the Insurance Services Office seeking to exclude “virus” as an

  insurable risk from its New Jersey business interruption policies.

      DEMAND FOR ANSWERS TO SUPPLEMENTAL INTERROGATORIES.

               PLEASE TAKE NOTICE that pursuant to Rule 4:17-1(b)(1), plaintiff

  hereby demands Certified answers to the following Supplemental Interrogatories within

  sixty (60) days of the filing of Defendant’s Answer to this Complaint.

               SCHEDULE OF SUPPLEMENTAL INTERROGATORIES

         PLEASE TAKE NOTICE that the term “YOU” and LIBERTY MUTUAL

  INSURANCE COMPANY (“LIMU”) / WEST AMERICAN INSURANCE COMPANY

  (“WAIC”) are used interchangeably throughout these interrogatories. “YOU” refers to

  the person answering these interrogatories and also refers to LIBERTY MUTUAL

  INSURANCE COMPANY (“LIMU”) / WEST AMERICAN INSURANCE COMPANY

  (“WAIC”) and

         PLEASE TAKE FURTHER NOTICE that “Policy” or “subject policy” refers to

  Policy Number BZW(20) 58 89 98 09.
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          1.    Please state whether, during the time period from January 1, 2019, to the
  present defendant issued a policy of automobile liability insurance or a renewal policy to
  plaintiff.


         2.   If your answer to interrogatory number 1 was yes, please set forth the
  policy number assigned to each policy.



         3.      If your answer to interrogatory number 1 was yes, please set forth the
  effective date of each policy.



         4. If your answer to interrogatory number 1 was yes, please set forth the amount of
  the indemnity limits provided by each policy.



         5.     If your answer to interrogatory number 1 was yes, please identify any
  additional named insured under the terms of the policy.



         6.     If your answer to interrogatory number 1 was yes, please identify the
  present custodian of each policy.




  Effective Date

         7.     Please set forth the effective date of the Policy in question.




  Receipt of Claim for Policy Benefits

          8.      Please state whether defendant received notice of a claim tendered by
  plaintiff for the payment of benefits payable under the terms of the policy number
  between March 1, 2020 and the present.
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         9.       If your answer to interrogatory number 8 was yes, please set forth the date
  that you first received notice.



        10.    If your answer to interrogatory number 8 was yes, please state whether the
  claim was presented orally or in writing.



        11.    If your answer to interrogatory number 8 was yes, please identify the
  person who first transmitted notice of the claim to you.


         12.    If your answer to interrogatory number 8 was yes, please state whether you
  received a written proof of claim relating to that claim.



         13.    If your answer to interrogatory number 8 was yes, please identify the
  present custodian of each writing relating to that claim.



         14.     Please identify each person who received a notice of the claim which is the
  subject of this lawsuit.



         15.    Please set forth each fact transmitted to you in support of the claim for
  policy benefits tendered by plaintiff which is the subject of this lawsuit.



         16.     As to each fact identified in your answer to interrogatory number 15,
  please identify any person who possesses knowledge relating to that fact.
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         17.    As to each fact identified in your answer to interrogatory number 15, please
  identify each writing relating to each fact.



        18.     Please identify the present custodian of each writing identified in your
  answer to interrogatory number 17.




  Cause for Withholding Policy Benefits

         19.    Please state whether you paid business interruption benefits under the
  subject policy in response to the claim for benefits tendered by plaintiff.


         20.    Please set forth each fact you relied upon in determining to withhold
  payment of the claim tendered by plaintiff under the policy that is the subject of this
  lawsuit.



         21.    As to each fact identified in your answer to interrogatory number 20, please
  identify each person who possesses knowledge relating to that fact.



         22.    As to each fact identified in your answer to interrogatory number 20, please
  identify each writing relating to each fact.



         23.     As to each fact identified in your answer to interrogatory number 20, please
  identify the present custodian of any writing identified in your answer to interrogatory
  number 22.



          24.    As to each fact identified in your answer to interrogatory number 20, please
  set forth the date that you became aware of that fact.
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          25.    As to each fact identified in your answer to interrogatory number 20, please
  set forth the means by which you became aware of such fact.




  Cause for Non-Coverage Claim

        26.      Do you contend that the claim for benefits tendered by plaintiff was based
  upon a risk, loss, damage [or other occurrence] as to which the subject policy afforded no
  coverage?




         27.     If your answer to interrogatory number 26 was yes, please set forth each
  fact you relied upon in determining that the risk, loss, damage [or claim for benefits] was
  not covered under the terms of the subject policy.



        28.   If your answer to interrogatory number 26 was yes, please identify each
  person who possesses knowledge relating to any fact.



         29.     If your answer to interrogatory number 26 was yes, please identify each
  writing relating to any fact.



        30.      Please identify the present custodian of each writing identified in your
  answer to interrogatory number 29.



         31.     Please state the date that you determined that the loss [or claim for
  Business Interruption benefits] tendered by plaintiff was not covered under the terms of
  the subject policy.
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         32.   If you determined that the loss [or claim for Business Interruption benefits]
  tendered by plaintiff was not covered under the subject policy, please set forth the date
  that you communicated that determination to the insured [or claimant].



         33.   If you determined that the loss [or claim for Business Interruption benefits]
  tendered by plaintiff was not covered under the subject policy, please set forth the
  manner that you communicated the determination to the insured [or claimant].




         34.   If you determined that the loss [or claim for Business Interruption benefits]
  tendered by plaintiff was not covered under the subject policy, please identify each
  person who participated in the determination of non-coverage.




         35.    Please identify each writing relating to your determination of non-coverage.




        36.     Please identify the present custodian of each writing identified in your
  answer to interrogatory number 35.




  Cause for Partial Payment

          37.   Please state whether you determined that some portion of the loss [or claim
  for Business Interruption benefits] tendered by plaintiff under policy which is subject to
  this lawsuit was compensable under the terms of that policy.



         38.    If your answer to interrogatory number 37 was yes, please describe each
  loss [or claim for Business Interruption benefits] that you determined to be compensable.
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        39.  If your answer to interrogatory number 37 was yes, please set forth whether
  you communicated that determination to the [insured or claimant].




         40.   If your answer to interrogatory number 37 was yes, please set forth the
  dollar amount that you determined was payable for the losses which you determined to be
  compensable.


        41.     If your answer to interrogatory number 37 was yes, please set forth
  whether you tendered payment for the losses.




        42.      If your answer to interrogatory number 37 was no, please set forth the
  reasons that you did not tender payment.



         43.     If your answer to interrogatory number 37 was yes, please describe each
  loss [or claim for Business Interruption benefits that you determined to be non-
  compensable.



        44.    As to each loss [or claim for Business Interruption benefits] that you
  determined to be non-compensable, please identify each person who participated in the
  determination.



        45.    As to each loss [or claim for Business Interruption benefits] that you
  determined to be non-compensable, please set forth each fact upon which you relied in
  making that determination.
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         46.    as to each fact set forth in your answer to interrogatory number 45, please
  identify each person who possesses knowledge relating to any fact.




         47.    As to each fact set forth in your answer to interrogatory number 45, please
  identify each writing relating to such fact.




        48.     Please identify the present custodian of each writing identified in your
  answer to interrogatory number 47.




  Establishment of Claim File

          49.     Please set forth the date that you received notice of the claim tendered by
  plaintiff for benefits under the terms of policy that is the subject of this lawsuit.




          50.   Did you establish a claim file upon receipt of the claim tendered by
  plaintiff?



          51.   If your answer to interrogatory number 50 was yes, please set forth the date
  that the claim file was established.




         52.  If your answer to interrogatory number 50 was yes, please set forth the
  claim number assigned to the file.
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        53.   If your answer to interrogatory number 50 was yes, please identify the
  person who was assigned primary responsibility for the administration of the claim file.




         54.    If your answer to interrogatory number 50 was yes, please identify the
  present custodian of the claim file.




         55.      Please state whether, upon receipt of the claim tendered by plaintiff under
  policy that is the subject of this lawsuit, any particular person was assigned to investigate
  the facts relating to the claim.




        56.    If your answer to interrogatory number 55 was yes, please identify each
  such person.




          57.   If your answer to interrogatory number 55 was yes, please set forth the date
  that the person was so assigned.




       58.     If your answer to interrogatory number 55 was yes, please set forth the
  manner in which that person was selected.




         59.     If your answer to interrogatory number 55 was yes, please identify each
  writing relating to that assignment.
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        60.     Please identify the present custodian of each writing identified in your
  answer interrogatory number 69.




  Written Standards

         61.   At the time that you received notice of the claim tendered by plaintiff for
  the payment of benefits under policy which is the subject of this lawsuit, did you
  maintain any writing setting forth your procedures for the investigation of these claims?



         62.    If your answer to interrogatory number 61 was yes, please identify any such
  writing.



        63.   If your answer to interrogatory number 61 was yes, please identify each
  person who participated in assembling the writing.



         64.    If your answer to interrogatory number 61 was yes, please identify the
  present custodian of that writing.




         65.    If your answer to interrogatory number 61 was yes, please state whether the
  person assigned to investigate the facts relating to the subject claim complied with the
  provisions of that writing.



        66.      If your answer to interrogatory number 61 was no, please set forth the
  reasons that they did not do so.
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  Establishment of Loss Reserve

         67.     Did you establish a loss reserve relating to the claim tendered by under the
  policy that is the subject of this lawsuit?




          68.    If your answer to interrogatory number 67 was yes, please set forth the date
  that the reserve was set.



       69.     If your answer to interrogatory number 67 was yes, please set forth the
  amount of the reserve.




        70.   If your answer to interrogatory number 67 was yes, please identify each
  person who participated in setting the reserve.




         71.    If your answer to interrogatory number 67 was yes, please state each fact
  you relied upon in establishing the reserve.




         72.     As to each fact identified in your answer to interrogatory number 67,
  please identify each person who possesses knowledge relating to such fact.




         73.     If your answer to interrogatory number 67 was yes, please identify each
  writing relating to the setting of the reserve.
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        74.     Please identify the present custodian of each writing identified in your
  answer to interrogatory number 73.



  Nature and Extent of Investigation

         75.     Did you conduct an investigation of the factual basis for the claim for
  benefits tendered by plaintiff under policy that is the subject of this lawsuit?


         76.      If your answer to interrogatory number 87 was yes, please set forth the
  date that the investigation was conducted.




         77.    If your answer to interrogatory number 75 was yes, please set forth each
  step you took to investigate the factual basis of the claim.




         78.     If your answer to interrogatory number 75 was yes, please set forth whether
  the investigation is reflected in any writing.




         79.    If your answer to interrogatory number 78 was yes, please identify each
  writing.



        80.      Please identify the present custodian of each writing identified in your
  answer to interrogatory number 78.
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          81.    If your answer to interrogatory number 75 was yes, please set forth the date
  that the investigation was concluded.




         82.    In conducting your investigation of the facts relating to the claim for
  benefits tendered by plaintiff under the policy subject to this lawsuit, did you identify any
  person who possesses knowledge relating to any of these facts?




        83.     If your answer to interrogatory number 82 was yes, please identify any such
  person.




        84.   If your answer to interrogatory number 82 was yes, please describe the
  knowledge possessed by that person.




         85.     If your answer to interrogatory number 82 was yes, please identify each
  writing relating to the knowledge possessed by that person.




        86.     Please identify the present custodian of each writing identified in your
  answer to interrogatory number 85.




          87.    Please state whether, in your investigation of the facts which form the basis
  for the claim for benefits tendered by plaintiff under policy subject to this lawsuit, you
  obtained any statements from any person.
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        88.   If your answer to interrogatory number 87 was yes, please identify the
  person who gave the statement.




          89.    If your answer to interrogatory number 87 was yes, please set forth the date
  that the statement was taken.



        90.    If your answer to interrogatory number 87 was yes, please identify the
  person who took the statement.




        91.   If your answer to interrogatory number 87 was yes, please identify each
  person who was present when the statement was taken.




         92.    If your answer to interrogatory number 87 was yes, please identify the
  present custodian of the statement.




         93.     Please state whether, in your investigation of the facts relating to the claim
  for benefits tendered by plaintiff under the subject policy you obtained all information
  that was reasonably available to you prior to your determination to [deny/partially
  deny/delay] payment of the claim.




         94.     If your answer to interrogatory number 93 was no, please set forth a
  description of any information that you did not obtain.
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         95.   If your answer to interrogatory number 93 was no, please set forth the
  reason you did not obtain that information.



          96.    Identify what efforts were mad by you to find coverage for the plaintiff, and
  if no effort was made then state the reason(s) why no effort was made.




  Expert Utilization

          97.   In the course of your investigation of the claim for benefits tendered by
  plaintiff under the subject policy did you obtain any expert opinion relating to your
  determination to [deny/partially deny/delay] payment of the claim?




            98.   If your answer to interrogatory number 97 was yes, please identify any
  expert.




         99.     If your answer to interrogatory number 97 was yes, please set forth the
  discipline in which that person has expertise.




         100. If your answer to interrogatory number 97 was yes, please set forth a
  description of the expert's training.




         101. If your answer to interrogatory number 97 was yes, please set forth the
  date that the expert was retained.
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         102. If your answer to interrogatory number 97 was yes, please set forth whether
  the expert has examined any writing relating to the claim.




         103. If your answer to interrogatory number 97 was yes, please set forth the
  date that the examination was conducted.




        104. If your answer to interrogatory number 97 was yes, please identify any
  person present at the time of the examination.




         105. If your answer to interrogatory number 97 was yes, please identify each
  writing relating to the expert's conclusions.




        106      Please identify the present custodian of each writing identified in your
  answer to interrogatory number 105.




  Investigation by Others

          107. Did you retain any person to conduct an investigation of the facts relating
  to the claim tendered by plaintiff under the subject policy?
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         108. If your answer to interrogatory number 107 was yes, please set forth the
  date that you retained that person.



         109. If your answer to interrogatory number 107 was yes, please set forth each
  fact upon which you relied in selecting that person to conduct the investigation.




         110. if your answer to interrogatory number 107 was yes, please set forth
  whether you provided that person with any writing relating to the manner in which the
  investigation was to be conducted.




         111. If your answer to interrogatory number 107 was yes, please identify each
  writing relating to the investigation.




        112. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 107.




         113. If your answer to interrogatory number 107 was yes, please identify each
  writing relating to the investigation conducted by that person.




        114. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 113.
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  Insured or Claimant Conduct Regarding Investigation

         115. Do you contend that any act or omission on the part of the insured [or
  claimant] in any way affected your ability to conduct an adequate investigation of the
  insured's [or claimant's] claim?




         116. Do you contend that any act or omission on the part of any agent of the
  insured [or claimant] affected your ability to conduct an adequate investigation of the
  claim for payment?


  Claim Evaluation

         117. Please set forth each fact that supported your decision to deny payment of
  the claim of plaintiff under subject policy.




         118. As to each fact identified in your response to interrogatory number 117,
  please set forth the date that you became aware of that fact.



         119. As to each fact identified in your response to interrogatory number 117,
  please set forth the manner in which you became aware of that fact.



         120. As to each fact identified in your response to interrogatory number 117,
  please identify any person who possesses knowledge relating to any such fact.



         121. As to each fact identified in your response to interrogatory number 117,
  please identify each writing relating to that fact.
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        122. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 121.



         123. Please set forth each fact that supported the claim for payment as of the
  date that you determined to deny the payment of the claim under the subject policy.



         124. As to each fact identified in your answer to interrogatory number 121,
  please set forth the manner in which you became aware of each fact or contention.


         125. As to each fact identified in your answer to interrogatory number 121,
  please identify each person who possesses knowledge relating to any such fact.




         126. As to each fact identified in your answer to interrogatory number 121,
  please identify each writing relating to that fact.



        127. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 126.




         128. If you were in possession of facts supporting the payment of [claimant's]
  claim as well as facts supporting the denial of such claim, please set forth each reason
  you decided to deny payment.




         129. Please state whether, at the time you decided to deny payment of the
  [claimant's] claim, you possessed any writing pertaining to the means by which these
  claims were evaluated.
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         130.   If your answer to interrogatory number 129 was yes, please identify each
  writing.




        131. If your answer to interrogatory number 129 was yes, please identify each
  person who participated in the preparation of that writing.




        132. If your answer to interrogatory number 129 was yes, please state whether
  you consulted that writing in the course of evaluating [claimant's] claim.




        133. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 132.




         134. Was the [claimant's] claim for payment under the policy submitted to any
  claims committee for evaluation?




         135. If your answer to interrogatory number 134 was yes, please set forth the
  date that [claimant's] claim was submitted to the claims committee.




        136. If your answer to interrogatory number 134 was yes, please identify each
  person who constituted the committee.
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       137. If your answer to interrogatory number 134 was yes, please set forth the
  manner in which the claim was presented to the committee.



         138. If your answer to interrogatory number 134 was yes, please identify each
  writing relating to the submission of the claim to the committee.


        139. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 138.




         140. Prior to your determination to deny payment of the [claimant's] claim under
  the policy number did you conduct any investigation to identify the reasonable
  expectations of the insured [or claimant] under the terms of the policy?




         141. If your answer to interrogatory number 140 was yes, please set forth the
  nature of any investigation you conducted.




        142. If your answer to interrogatory number 140 was yes, please identify each
  person who has knowledge of any fact relating to the investigation.



         143 If your answer to interrogatory number 140 was yes, please identify each
  writing relating to the investigation.
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          144. Please identify the present custodian of any writing identified in your answer
  to interrogatory number 143.




         145. If your answer to interrogatory number 140 was no, please set forth the
  reason why you did not conducted an investigation.




  Persons Involved in Claim Evaluation

       146. Please identify each person who participated in the determination to deny
  payment of the [claimant's] claim.




         147. As to each person identified in your answer to interrogatory number 146,
  please set forth the job classification occupied by that person.



         148. As to each person identified in your answer to interrogatory number 146,
  please set forth the length of time that each person had been employed by you as of the
  time that [claimant's] claim was denied.




         149. As to each person identified in your answer to interrogatory number 146,
  please set forth the nature of any specialized training possessed by that person.




          150. As to each person identified in your answer to interrogatory number 146,
  please set forth whether you presently employ that person, and if you do not then set forth
  their last known address.
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         151. Please state whether the decision to deny payment of the [claimant's] claim
  was reviewed by any review board or similar entity prior to the time that the claimant was
  notified of the denial.




       152. If your answer to interrogatory number 151 was yes, please identify each
  member of the review board or similar entity who reviewed your initial determination.




         153. If your answer to interrogatory number 151 was yes, please set forth the
  date that your initial determination was reviewed.




       154. If your answer to interrogatory number 151 was yes, please set forth the
  manner in which each determination was reviewed.




         155. If your answer to interrogatory number 151 was yes, please identify each
  writing presented to the review board or similar entity.




        156. Please identify the present custodian of each writing identified in your
  answer to interrogatory number 155.




         157. If your answer to interrogatory number 151 was yes, please set forth the
  action taken by the review board or similar entity.
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        158. By April 1, 2020, were you were aware of the March 9, 2020 Executive
  Order 103 which declared a State of Emergency as well as a Public Health Emergency
  throughout New Jersey?




          159. If the answer to question 158 is no, then state what effort, if any , was made
  to learn the answer to that question.




        160. By April 1, 2020, were you were aware of the March 21, 2020 Executive
  Order which indefinitely closed all New Jersey non-essential businesses?




          161. If the answer to question 160 is no, then state what effort, if any, was made
  to learn the answer to that question.




         162. To date, have you paid any New Jersey business interruption claims
  following the March 21, 2020 Executive Order?




         163.   If your answer to question 162 is yes, then identify each and every claim.




        164. Do you agree that when an insured files an insurance claim, you must treat
  your policyholders’ interests with equal regard as your own?
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         165. If your answer to question 164 is no then explain why you do not feel the
  need treat your policyholders’ interests with equal regard as your own?




         166. Do you agree that an insured files an insurance claim, you must treat the
  policyholders’ interests with equal regard as your own because the claims process is not
  an adversarial process.




         167. If your answer to question 166 is no then explain why you feel that the
  claims process is adversarial.




                                      CERTIFICATION

  I hereby certify that the foregoing answers to interrogatories are true. I am aware that if
  any of the foregoing statements made by me are willfully false, I am subject to
  punishment.

  I hereby certify that the copies of the reports annexed hereto provided by either treating
  physicians or proposed expert witnesses are exact copies of the entire report or reports
  provided by them; that the existence of other reports of said doctors or experts are
  unknown to me, and if such become later known or available, I shall serve them promptly
  on the propounding party.




                                                    ______________________
  Dated
      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 51 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 53 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 54 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 55 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 56 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 57 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 58 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 59 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 60 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 61 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 62 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 63 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 64 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 65 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 66 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 67 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 68 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 69 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 70 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 71 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 72 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 73 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 74 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 75 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 76 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 77 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 78 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 79 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 80 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 81 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 82 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 83 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 84 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 85 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 86 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 87 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 88 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 89 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 90 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 91 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 92 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 93 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 94 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 95 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 96 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 97 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 98 of 142 Trans ID: LCV20201176984
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      MID-L-004490-20 07/07/2020 1:10:16 PM Pg 99 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 100 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 101 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 102 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 103 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 104 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 105 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 106 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 107 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 108 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 109 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 110 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 111 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 112 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 113 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 114 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 115 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 116 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 117 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 118 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 119 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 120 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 121 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 123 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 124 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 131 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 136 of 142 Trans ID: LCV20201176984
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     MID-L-004490-20 07/07/2020 1:10:16 PM Pg 140 of 142 Trans ID: LCV20201176984
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                         Civil Case Information Statement
  Case Details: MIDDLESEX | Civil Part Docket# L-004490-20

 Case Caption: METUCHEN CENTER, INC . VS LIBERTY                  Case Type: OTHER INSURANCE CLAIM (INCLUDING
 MUTUAL INSUR A                                                   DECLARATORY JUDGMENT ACTIONS)
 Case Initiation Date: 07/07/2020                                 Document Type: Complaint with Jury Demand
 Attorney Name: MICHAEL JAMES DEEM                                Jury Demand: YES - 6 JURORS
 Firm Name: R. C. SHEA & ASSOCIATES                               Is this a professional malpractice case? NO
 Address: 244 MAIN STREET PO BOX 2627                             Related cases pending: NO
 TOMS RIVER NJ 08754                                              If yes, list docket numbers:
 Phone: 7325051212                                                Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : Metuchen Center, Inc.                 transaction or occurrence)? NO
 Name of Defendant’s Primary Insurance Company
 (if known): Unknown                                              Are sexual abuse claims alleged by: Metuchen Center, Inc.? NO




       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  07/07/2020                                                                                     /s/ MICHAEL JAMES DEEM
  Dated                                                                                                           Signed
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      EXHIBIT “E”
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